Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 1 of 312 PageID #: 608




                 EXHIBIT 11
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 2 of 312 PageID #: 609
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 3 of 312 PageID #: 610
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 4 of 312 PageID #: 611
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 5 of 312 PageID #: 612
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 6 of 312 PageID #: 613
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 7 of 312 PageID #: 614
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 8 of 312 PageID #: 615
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 9 of 312 PageID #: 616
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 10 of 312 PageID #: 617
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 11 of 312 PageID #: 618
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 12 of 312 PageID #: 619
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 13 of 312 PageID #: 620
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 14 of 312 PageID #: 621
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 15 of 312 PageID #: 622




                 EXHIBIT 12
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 16 of 312 PageID #: 623
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 17 of 312 PageID #: 624
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 18 of 312 PageID #: 625
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 19 of 312 PageID #: 626
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 20 of 312 PageID #: 627
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 21 of 312 PageID #: 628
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 22 of 312 PageID #: 629
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 23 of 312 PageID #: 630
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 24 of 312 PageID #: 631
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 25 of 312 PageID #: 632
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 26 of 312 PageID #: 633
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 27 of 312 PageID #: 634
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 28 of 312 PageID #: 635
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 29 of 312 PageID #: 636
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 30 of 312 PageID #: 637
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 31 of 312 PageID #: 638
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 32 of 312 PageID #: 639
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 33 of 312 PageID #: 640
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 34 of 312 PageID #: 641
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 35 of 312 PageID #: 642
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 36 of 312 PageID #: 643
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 37 of 312 PageID #: 644
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 38 of 312 PageID #: 645
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 39 of 312 PageID #: 646
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 40 of 312 PageID #: 647
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 41 of 312 PageID #: 648




                 EXHIBIT 13
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 42
                                                         1 ofof35
                                                                312 PageID
                                                                  PageID #: #:256
                                                                               649




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



  HARRIS CORPORATION,                   )
                                        )
                    Plaintiff,          )   CIVIL ACTION NO. 2:18-cv-439
                                        )
       v.                               )   JURY TRIAL DEMANDED
                                        )
  HUAWEI DEVICE USA, INC., HUAWEI       )
  DEVICE CO., LTD., HUAWEI              )
  TECHNOLOGIES USA INC., HUAWEI         )
  TECHNOLOGIES CO. LTD., AND            )
  HUAWEI DEVICE (SHENZHEN) CO.,         )
  LTD.                                  )
                                        )
                    Defendants.         )
                                        )
                                        )
                                        )


         HARRIS CORPORATION’S AMENDED COMPLAINT FOR PATENT
                           INFRINGEMENT
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 43
                                                         2 ofof35
                                                                312 PageID
                                                                  PageID #: #:257
                                                                               650




 TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, Harris Corporation, for its Complaint against Defendants, Huawei Device USA,

 Inc., Huawei Device Co., Ltd., Huawei Technologies USA Ltd., Huawei Technologies Co. Ltd.,

 and Huawei Device (Shenzhen) Co., Ltd. (collectively “Huawei”) alleges:

                                           THE PARTIES

        1.      Plaintiff Harris Corporation (“Harris”) is a Delaware corporation duly organized

 and existing under the laws of the state of Delaware with its principal place of business at 1025

 West NASA Boulevard, Melbourne, Florida.

        2.      Defendant Huawei Device USA, Inc. (“Huawei USA”) is a corporation organized

 under the laws of Texas with its principal place of business in this judicial district at 5700

 Tennyson Parkway, Suite 300, Plano, Texas 75024.

        3.      Defendant Huawei Device Co., Ltd. (“Huawei China”) is a Chinese company with

 its principal place of business in Bantian, Longgang District Shenzhen, 518129 China. Huawei

 China does business in Texas and in the Eastern District of Texas.

        4.      Defendant Huawei Technologies Co. Ltd. (“Huawei Technologies”) is a Chinese

 corporation with its principal place of business at Huawei Industrial Base, Bantian Longgang

 District Shenzhen, China.

        5.      Defendant Huawei Technologies USA Inc. (“HTUS”) is a corporation organized

 under the laws of Texas with its principal place of business in this judicial district at 5700

 Tennyson Parkway, Suite 500, Plano, Texas, 75024.

        6.      Defendant Huawei Device (Shenzhen) Co., Ltd. (“HSZ”) is a corporation

 organized and existing under the laws of the People’s Republic of China with its principal place

 of business at Building 2, Section B, Huawei Industrial Base (Shenzhen Campus), Bantian,

 Longgan District, Shenzhen, Guangdong, 518129, China.
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 44
                                                         3 ofof35
                                                                312 PageID
                                                                  PageID #: #:258
                                                                               651




                                          JURISDICTION

       7.       This is an action arising under the patent laws of the United States, 35 U.S.C. §

 271, et seq. Accordingly, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

 1331 and 1338(a).

        8.      This Court has personal jurisdiction over Huawei due to its continuous presence

 in, and systematic contact with, this judicial district and Huawei USA’s and HTUS’s

 incorporation in Texas and domicile in this judicial district.

                                               VENUE

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§1391(b), (c), (d)

 and 1400(b) because Huawei USA and HTUS are Texas corporations located in this judicial

 district. Huawei has committed, and continues to commit, acts of infringement, including

 providing electronic products that are used, offered for sale, sold, and have been purchased in the

 State of Texas, including in the Eastern District of Texas.

                                   FACTUAL ALLEGATIONS

                                           Harris Patents

        10.     Harris is an international communications and information technology company

 serving government and commercial markets in more than 150 countries. Harris is a proven

 leader in tactical communications, avionics, air traffic management, space and intelligence, and

 weather systems.

        11.     For more than 120 years, Harris has been a leader in technology and innovation.

 Harris currently employs more than 7,700 scientists and engineers and has advanced facilities

 that promote innovation and collaboration. In addition to substantial government funded

 research, Harris spent more than $300 million in research and development in fiscal year 2018

 alone. Harris owns more than 3,000 patents that span various fields of technology.



                                                   2
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 45
                                                         4 ofof35
                                                                312 PageID
                                                                  PageID #: #:259
                                                                               652




            12.   United States Patent No. 6,535,227 (“the ’227 Patent”), entitled “System and

 Method for Assessing the Security Posture of a Network and Having a Graphical User

 Interface,” was duly and lawfully issued March 18, 2003. Harris is the owner of all right, title,

 and interest in the ’227 Patent. A true and correct copy of the ’227 Patent is attached hereto as

 Exhibit 1.

            13.   The ’227 Patent describes problems and shortcomings in the field of vulnerability

 analysis in computer network infrastructure and claims novel and inventive technological

 improvements and solutions to such problems and shortcomings. By providing a data processing

 system and method for assessing the security vulnerability of the network, a security posture is

 determined efficiently. In one aspect of the invention, a graphical user interface is used for

 determining the vulnerability posture of a network. A system design window displays network

 icons of a network map that are representative of different network elements contained within a

 network. The respective network icons are linked together in an arrangement corresponding to

 how network elements are interconnected within the network. Network vulnerabilities are

 depicted in different colors on the network map. A graphical user interface can also comprise a

 manager window for displaying properties of network elements. A data sensitivity box can have

 user selected items for selecting the sensitivity of network elements. The graphical user interface

 can also comprise a select node configuration edit box having a user selectable vulnerability

 profile.

            14.   United States Patent No. 6,958,986 (“the ’986 Patent”), entitled “Wireless

 Communication System with Enhanced Time Slot Allocation and Interference

 Avoidance/Mitigation Features And Related Methods,” was duly and lawfully issued October

 25, 2005. Harris is the owner of all right, title, and interest in the ’986 Patent. A true and correct

 copy of the ’986 Patent is attached hereto as Exhibit 2.


                                                   3
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 46
                                                         5 ofof35
                                                                312 PageID
                                                                  PageID #: #:260
                                                                               653




        15.     The ’986 Patent describes problems and shortcomings in the field of wireless

 networks and claims novel and inventive technological improvements and solutions to such

 problems and shortcomings. For example, Time Division Multiple Access (TDMA) is an access

 scheme used to establish communication links between mobile communication systems.

 Because an omnidirectional antenna is typically used in TDMA systems when operating at a

 fixed frequency, the mobile communication systems must take turns transmitting within their

 respective time slots to prevent channel interference. It is an object of the invention of the ’986

 Patent to schedule time slots and mitigate the effects of interference in a manner that is

 responsive to variations in communication link demands within a mobile wireless network. For

 example, a controller may schedule semi-permanent time slots to establish communication links

 with neighboring mobile nodes for transmitting data therebetween. The controller may also

 determine respective link utilization metrics for each data priority level for each communication

 link, and schedule demand-assigned time slots for establishing additional communication links

 with the neighboring mobile nodes for transmitting data therebetween based upon the link

 utilization metrics and data priority levels.

        16.     United States Patent No. 6,980,537 (“the ’537 Patent”), entitled “Method and

 Apparatus for Communication Network Cluster Formation and Transmission of Node Link

 Status Messages with Reduced Protocol Overhead Traffic,” was duly and lawfully issued

 December 27, 2005. Harris is the owner of all right, title, and interest in the ’537 Patent. A true

 and correct copy of the ’537 Patent is attached hereto as Exhibit 3.

        17.     The ’537 Patent describes problems and shortcomings pertaining to wireless

 communication systems utilizing network topology information and claims novel and inventive

 technological improvements and solutions to such problems and shortcomings. The invention

 utilizes network topology information to identify network nodes crucial for relaying traffic. The


                                                  4
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 47
                                                         6 ofof35
                                                                312 PageID
                                                                  PageID #: #:261
                                                                               654




 identified nodes are designated as head nodes, while remaining nodes are designated as member

 nodes. Since head nodes basically serve as relay nodes, the invention removes the need for

 gateway type nodes. In other words, the invention leverages network nodes with relay or routing

 capability, designating such as head nodes, to achieve connectivity among the nodes. Since the

 invention employs a deterministic approach, the cluster formation remains substantially the same

 independently of the initial start-up sequence of network nodes. Further, the designation of head

 nodes is optimal since the designated nodes are crucial for relaying network traffic. Moreover,

 since the quantity of head nodes that may facilitate communications depends upon the interval

 between node status packet transmissions, the invention, inter alia, adaptively adjusts that

 interval to subsequently facilitate cluster formation independent of network size and varying start

 times of network nodes.

        18.     United States Patent No. 7,017,426 (“the ’426 Patent”), entitled “Multi-Channel

 Mobile Ad Hoc Network,” was duly and lawfully issued April 11, 2006. Harris is the owner of

 all right, title, and interest in the ’426 Patent. A true and correct copy of the ’426 Patent is

 attached hereto as Exhibit 4.

        19.     The ’426 Patent describes problems and shortcomings in the field of wireless

 networks and claims novel and inventive technological improvements and solutions to such

 problems and shortcomings. For example, the patent specification describes mobile ad hoc

 networks, in which the network does not in general depend on a particular node and dynamically

 adjusts as some nodes join or others leave the network. Conventional mobile ad hoc networks

 did not utilize multiple channels for transmitting packet data. One object of the invention is to

 provide a multichannel ad hoc network to make use of a plurality of channels.

        20.     United States Patent No. 7,224,678 (“the ’678 Patent”), entitled “Wireless Local

 or Metropolitan Area Network with Intrusion Detection Features and Related Methods,” was


                                                    5
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 48
                                                         7 ofof35
                                                                312 PageID
                                                                  PageID #: #:262
                                                                               655




 duly and lawfully issued May 29, 2007. Harris is the owner of all right, title, and interest in the

 ’678 Patent. A true and correct copy of the ’678 Patent is attached hereto as Exhibit 5.

        21.     The ’678 Patent describes problems and shortcomings in the field of wireless

 networks and claims novel and inventive technological improvements and solutions to such

 problems and shortcomings. For example, wireless local area networks (LAN) or metropolitan

 area networks (MAN) have significant drawbacks, including that they are readily available to

 would-be hackers who may attempt to intrude upon the network and compromise network

 security using an unauthorized wireless station. Intrusion detection software might attempt to

 detect intruders by monitoring packet addresses and comparing them to known addresses of

 authorized network stations. However, if a rogue station obtained access to an authorized

 address and/or ID, these approaches may not detect the intrusion of the rogue station into the

 networks. The ’678 Patent describes novel ways of monitoring transmissions and packets to

 provide intrusion detection features and related methods in wireless networks. Exemplary ways

 of detecting intrusions include monitoring transmissions to detect frame check sequence (FCS)

 errors from a medium access control (MAC) address exceeding a threshold; monitoring

 transmissions to detect failed attempts to authenticate MAC addresses; monitoring requests-to-

 send and clear-to-send packets to detect illegal network allocation vector values; monitoring

 transmissions to detect transmissions during contention or contention-free mode; and detecting

 frame check sequence errors for MAC addresses exceeding a threshold.

        22.     United States Patent No. 7,327,690 (“the ’690 Patent”), entitled “Wireless Local

 or Metropolitan Area Network with Intrusion Detection Features and Related Methods,” was

 duly and lawfully issued Feb. 5, 2008. Harris is the owner of all right, title, and interest in the

 ’690 Patent. A true and correct copy of the ’690 Patent is attached hereto as Exhibit 6.




                                                   6
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 49
                                                         8 ofof35
                                                                312 PageID
                                                                  PageID #: #:263
                                                                               656




        23.     The ’690 Patent describes problems and shortcomings in the field of wireless

 networks and claims novel and inventive technological improvements and solutions to such

 problems and shortcomings. For example, wireless local area networks (LAN) or metropolitan

 area networks (MAN) have significant drawbacks, including that they are readily available to

 would-be hackers who may attempt to intrude upon the network and compromise network

 security using an unauthorized wireless station. Intrusion detection software might attempt to

 detect intruders by monitoring packet addresses and comparing them to known addresses of

 authorized network stations. However, if a rogue station obtained access to an authorized

 address and/or ID, these approaches may not detect the intrusion of the rogue station into the

 networks. The ’690 Patent describes novel ways of monitoring transmissions and packets to

 provide intrusion detection features and related methods in wireless networks. Exemplary ways

 of detecting intrusions include detecting transmissions during an unauthorized period and

 integrity checking for values that do not correspond with their respective data packets; detecting

 usage of non-consecutive MAC sequence numbers; detecting a threshold number of collisions of

 packets having a predetermined packet type; and detecting a threshold number of collisions of a

 same MAC address.

        24.     United States Patent No. 7,440,572 (“the ’572 Patent”), entitled “Secure Wireless

 LAN Device and Associated Methods,” was duly and lawfully issued October 21, 2008. Harris

 is the owner of all right, title, and interest in the ’572 Patent. A true and correct copy of the ’572

 Patent is attached hereto as Exhibit 7.

        25.     The ’572 Patent describes problems and shortcomings in the field of wireless

 networks and claims novel and inventive technological improvements and solutions to such

 problems and shortcomings. For example, the ’572 Patent describes connecting computers

 wirelessly by means of a local area network (LAN). Security for communications can be


                                                   7
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 13 Filed
                                     Filed 09/03/19
                                           02/15/19 Page
                                                    Page 50
                                                         9 ofof35
                                                                312 PageID
                                                                  PageID #: #:264
                                                                               657




 provided by a wireless standard, such as IEEE 802.11. To provide higher levels of security,

 more powerful cryptographic equipment is available, but such equipment is relatively bulky and

 expensive. It is an object of the invention of the ’572 Patent to provide a secure wireless device,

 such as a LAN device, that provides greater security without significant increase in cost or

 complexity. For example, such devices may include a cryptography circuit that encrypts both

 address and data information for transmission, and decrypts both address and data information

 upon reception.

                            Huawei’s Use of the Patented Technology

                              Huawei Intrusion Detection Products

        26.     On information and belief, Huawei makes, uses, sells, and/or offers to sell in the

 United States, and/or imports into the United States various enterprise networking equipment and

 solutions.

        27.     On information and belief, in the fall of 2011, Huawei formally launched its

 United States enterprise business focusing on unified communications and collaboration

 (UC&C), cloud computing, and enterprise information security. Huawei delivers its portfolio of

 products to American enterprises through channel partners including, but not limited to, WAV,

 TigerDirect and NewEgg. For example, on information and belief, Huawei, alone or in

 collaboration with its partners, recently worked or is working with a company in San Francisco,

 California (Cloud4Wi) to install a CloudCampus solution. https://cloud4wi.com/cloud4wi-and-

 huawei/.

        28.     Network security is a critical part of any wireless network, and it is desirable to

 detect attempts at network intrusion. On information and belief, Huawei’s Wireless Intrusion

 Detection System (WIDS) and Wireless Intrusion Prevention System (WIPS) ensure network

 border security for Huawei networking products in small-, medium-, and large-scale enterprise


                                                  8
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 10
                                                         51 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:265
                                                                              658




 networks to help detect attacks from rogue devices. On information and belief, Huawei includes

 these technologies across an array of products including at least Huawei’s access points, access

 controllers, routers, remote units and switches.

        29.       On information and belief, the Huawei Access Points (APs) support WIDS, WIPS

 and/or other similar intrusion detection and prevention technology. The Accused Huawei APs

 include, but are not limited to: AD9000 series, AP1000 series, AP2000 series, AP3000 series,

 AP4000 series, AP5000 series, AP6000 series, AP7000 series, AP8000 series, AP9000 series

 Access Points, the AT815SN Outdoor Access Terminal and other models that include similar

 functionality.

        30.       On information and belief Huawei remote units also support WIDS, WIPS and/or

 other similar intrusion detection and prevention technology. The Accused Huawei remote units

 include, but are not limited to: R230D, R240D, R250D, R250D-E, R251D, R251D-E, R450D

 Remote Units and other models that include similar functionality.

        31.       On information and belief, Huawei switches support WIDS, WIPS and/or other

 similar intrusion detection and prevention technology. The Accused Huawei switches include,

 but are not limited to: S12700 Series Switches, S5720-LI and S5720-SI Switches, S5700-SI

 Series Standard Gigabit Switches, S5700-EI Series Enhanced Gigabit Switches, S3700 Series

 Enterprise Switches, S6720-HI Series Agile Fixed Switches, S5730-HI Series Next generation

 Agile Switch and other models that include similar functionality.

        32.       On information and belief, Huawei Access Controllers (ACs) support WIDS,

 WIPS and/or other similar intrusion detection and prevention technology. The Accused Huawei

 ACs include, but are not limited to: AC6800V, AC6605, AC6005, ENP Series, ACU2 Wireless

 Access Controller Unit, and other models that include similar functionality.




                                                    9
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 11
                                                         52 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:266
                                                                              659




            33.   On information and belief Huawei routers also support WIDS, WIPS and/or other

 similar intrusion detection and prevention technology. The routers include, but are not limited to,

 NE9000 Series, NE 5000E Cluster, Net Engine40E Series, NE20E Series, NE05E Series, NE08E

 Series, ME60 Series, AR Series, and other models that include similar functionality.

            34.   Huawei makes, uses, offers to sell, sells or imports into the U.S various other

 hardware and software that support WLAN security and intrusion detection and prevention

 technology, including but not limited to, Next-Generation Intrusion Prevention (NIP) devices,

 formerly also known as Network Intelligent Police devices, such as the NIP6000 series; Anti-

 DDoS devices such as the AntiDDoS1000 Series and AntiDDoS8000 Series and other hardware

 and software that include similar functionality. Huawei further operates and/or supports at least

 four Cloud Mitigation Alliance scrubbing centers in the United States (San Jose, Miami, Los

 Angeles and Ashburn) that work with the Anti-DDoS systems to detect and clean network

 traffic.

            35.   On information and belief, Huawei’s eSight Platform, the eSight WLAN Manager

 and other eSight products (“Huawei eSight Products”) incorporate the WIDS, WIPS and/or other

 similar intrusion detection and prevention technology.

                                       Huawei Wi-Fi Products

            36.   On information and belief, Huawei makes, uses, sells, and/or offers to sell in the

 United States, and/or imports into the United States numerous WLAN products compatible with

 802.11a/b/g/n/ac standards, including access points (e.g., AP1000, AP2000, AP4000, AP5000,

 AP6000, AP7000, AP8000, AP9000, AD9000 series of indoor and outdoor access points), access

 controllers (e.g., AC6000 series access controllers), routers (e.g., AR160-M series, AR161W-P-

 M9, and AR169RW-P-M9), access networks (e.g., DN8245W-10) and Home Wi-Fi (e.g., Q2




                                                   10
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 12
                                                         53 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:267
                                                                              660




 and A1) and other models that include similar functionality. On information and belief, at least

 some of these products are included in the CloudCampus Solution, discussed above.

        37.     Wireless Mesh Networks (WMN) consist of multiple wirelessly connected access

 points (nodes) that can automatically establish a wireless multi-hop network that is connected to

 a wired network through a portal node. Nodes in a WMN can automatically establish ad-hoc

 topology and maintain mesh connectivity. On information and belief, many of Huawei’s WLAN

 products devices listed above have mesh networking capability (e.g., the Home Wi-Fi Q2 and

 most of the Huawei’s APs and ACs listed above).

                                     Huawei Zigbee Products

        38.     The Internet of Things, often referred to as IoT, is a rapidly expanding market. At

 a simple level, IoT is the concept of connecting any device with an on/off switch to the Internet

 (and/or to each other). This includes cellphones, coffee makers, washing machines, other home

 appliances, headphones, light fixtures, lamps, wearable fitness devices and virtually any other

 electrical or battery-operated device.

        39.     The Zigbee Alliance is the standard bearer of the open IoT. Zigbee devices are

 based on the IEEE 802.15.4 MAC and PHY specification.

        40.     The IEEE 802.15.4 standard defines the physical layer (PHY) and medium access

 control (MAC) sublayer specifications for low-data-rate wireless connectivity with fixed,

 portable, and moving devices with no battery or very limited battery consumption requirements

 typically operating in the personal operating space (POS) of 10 m. Zigbee is an enhancement of

 the IEEE 802.15.4 standard that covers the third and higher layers (including the network and

 application layers) of the standard model of network operation. Thus, any device that is Zigbee

 compliant is also compliant with the IEEE 802.15.4 standard.




                                                 11
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 13
                                                         54 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:268
                                                                              661




        41.     On information and belief, the media access layer and physical layer of the IEEE

 802.15.4 specifications are used at the underlying layers of Huawei’s IoT solutions.

        42.     On information and belief, Huawei makes, uses, sells, and/or offers to sell in the

 United States, and/or imports into the United States, numerous Zigbee certified products. On

 information and belief, Huawei is a member of the Zigbee Alliance and produces products

 certified by Zigbee, including but not limited to the EchoLife HS2145V, LS2035V, and LS2025

 smart home gateway devices, the QUIVICON Home Base and other similar products certified by

 Zigbee. In its product literature, Huawei identifies a number of other products as Zigbee

 compliant, including the AR160-M series enterprise routers (specifically the AR169RW-P-M9

 router) and the X-Gen Wi-Fi AP7060DN access point.

                                       FIRST COUNT
                           (Infringement of U.S. Patent No. 6,535,227)

       43.      Harris incorporates by reference the allegations set forth in Paragraphs 1-42 of

 this Complaint as though fully set forth herein.

       44.      Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that directly infringe the ’227 Patent, including the above

 identified Huawei eSight Products (’227 Accused Products). Huawei’s ’227 Accused Products

 infringe one or more claims of the ’227 Patent, including without limitation, claim 24.

       45.      As an example, the ’227 Accused Products contain a graphical user interface on a

 computer screen and used for determining the security posture of a network. The Huawei eSight

 Platform has a graphical user interface that displays a unified topology of devices over the entire

 network as well as device and link statuses in real time, simplifying topology monitoring. See

 Huawei eSight Platform, https://e.huawei.com/us/products/software/mgmt-sys/esight/esight-

 platform. Huawei eSight Platform displays the networking structure, device alarms, and network

 status over the entire network in one topology.

                                                    12
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 14
                                                         55 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:269
                                                                              662




       46.      Huawei eSight has a system design window for displaying network icons of a

 network map that are representative of different network elements contained within a network,

 wherein respective network icons are linked together in an arrangement corresponding to how

 network elements are interconnected within the network. For example, Huawei eSight Platform

 has a graphical user interface that displays a unified topology of devices over the entire network

 as well as device and link statuses in real time, simplifying topology monitoring. See Huawei

 eSight Platform, https://e.huawei.com/us/products/software/mgmt-sys/esight/esight-platform.

       47.      Huawei eSight has a select node configuration edit box having a user selectable

 vulnerability profile for selecting a vulnerability profile of a network node. The Wireless

 Intrusion Detection System (WIDS) in eSight manages information about rogue devices,

 interference resources, and attacks, and supports type-based recognition and alarm notification

 based on user-defined rules. See Huawei eSight WLAN Technical Paper

 (https://e.huawei.com/ca/material/onLineView?MaterialID=90f6b3166abd445e8760fa679fac2ec

 6), 2017-03-20, at 10. Network administrators can classify, and filter rogue APs and

 management alarms based on defined rules. (Id. at 9.) Users can enable eSight to generate

 alarms when rogue APs are detected in accordance with defined rules. (Id.)




                                                 13
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 15
                                                         56 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:270
                                                                              663




 (Id. at 27.)




 (Id. at 15.)

        48.     In Huawei eSight, a selected portion of the network map changes color to indicate

 the vulnerability that has been established for that portion of the network after a security posture

 of the network has been established. For example, eSight identifies alarm severity levels, such as




                                                  14
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 16
                                                         57 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:271
                                                                              664




 critical, major, minor, and warning using different colors or words. See Huawei eSight Platform,

 https://e.huawei.com/us/products/software/mgmt-sys/esight/esight-platform.

       49.      By making, using, offering for sale, and/or selling products in the United States,

 and/or importing products into the United States, including but not limited to the ’227 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’227 Patent, including without limitation claim 24 pursuant to 35 U.S.C. § 271(a).

       50.      Huawei also infringes the ’227 Patent under 35 U.S.C. § 271(b) & (c).

       51.      Huawei knowingly encourages and intends to induce infringement of the ’227

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’227 Accused Products,

 with knowledge and specific intention that such products will be used by its customers. For

 example, Huawei instructs its customers on how to use and implement the technology claimed in

 the ’227 patent. See e.g., See Huawei eSight Platform webpage,

 https://e.huawei.com/us/products/software/mgmt-sys/esight/esight-platform.

       52.      Huawei also contributes to the infringement of the ’227 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’227 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’227 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       53.      On March 12, 2018, Harris informed Huawei of its infringement of the ’227

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’227 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following




                                                  15
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 17
                                                         58 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:272
                                                                              665




 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       54.       Huawei’s infringement of the ’227 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       55.       As a result of Huawei’s infringement of the ’227 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                       SECOND COUNT
                            (Infringement of U.S. Patent No. 6,958,986)

           56.   Harris incorporates by reference the allegations set forth in Paragraphs 1-55 of

 this Complaint as though fully set forth herein.

           57.   Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that comply with the Zigbee and IEEE 802.15.4

 standards that directly infringe the ’986 Patent, including but not limited to the Huawei Zigbee

 Products identified above (the ’986 Accused Products). Huawei’s ’986 Accused Products

 infringe one or more claims of the ’986 Patent, including without limitation claim 25 of the ’986

 Patent.

           58.   As an example, the ’986 Accused Products are mobile nodes with data queues that

 can be assembled into a wireless communication network. For example, because the ’986

 Accused Products comply with IEEE 802.15.4, they contain a “coordinator” as defined and

 discussed in that standard, i.e., “[a] device in an [sic] low rate wireless personal area network

 (LR WPAN) that provides synchronization services to other devices in the LR WPAN.” See

 IEEE Std. 802.15.4-2011, at § 3.1. The coordinator contains a data queue. Id. at § 5.1.6.4.3.



                                                    16
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 18
                                                         59 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:273
                                                                              666




         59.     The ’986 Accused Products schedule semi-permanent time slots to establish

 communication links between respective pairs of mobile nodes for transmitting data stored in the

 data queues therebetween. For example, because the ’986 Accused Products comply with IEEE

 802.15.4, they contain a MAC sublayer which feature “beacon management, channel access,

 GTS management, frame validation, acknowledged frame delivery, association, and

 disassociation.” Id. at § 4.4.2. Further, in the MAC protocol, personal area networks (PANs)

 “that wish to use the superframe structure (referred to as beacon-enabled PANs) shall set

 macBeaconOrder to a value between 0 and 14, both inclusive, and macSuperframeOrder to a

 value between 0 and the value of macBeaconOrder, both inclusive.” Id. at § 5.1.1.1

         60.     The ’986 Accused Products determine link utilization metrics for each

 communication link based upon a quantity of data previously sent over the communication link

 during the semi-permanent time slots and the data queues. For example, because the ’986

 Accused Products comply with IEEE 802.15.4, they contain a Link Quality Indicator (LQI). Id.

 at § 8.2.6. Further, a “device on a beacon-enabled PAN can determine whether any frames are

 pending for it by examining the contents of the received beacon frame, as described in 5.1.4.1.”

 Id. at § 5.1.6.3.

         61.     The ’986 Accused Products schedule demand assigned time slots for establishing

 additional communication links between the pairs of mobile nodes for transmitting the data

 based upon the link utilization metrics. For example, because the ’986 Accused Products comply

 with IEEE 802.15.4, they contain a superframe structure which, “[f]or low-latency applications

 or applications requiring specific data bandwidth, the PAN coordinator dedicates portions of the

 active superframe to that application.” Id. at § 4.5.1. “GTSs shall be allocated on a first-come-

 first-served basis …provided there is sufficient bandwidth available.” Id. at § 5.1.7.2




                                                 17
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 19
                                                         60 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:274
                                                                              667




        62.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’986 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’986 Patent, including without limitation claim 25, pursuant to 35 U.S.C. § 271(a).

        63.     Huawei also infringes the ’986 Patent under 35 U.S.C. § 271(b) & (c).

        64.     Huawei knowingly encourages and intends to induce infringement of the ’986

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’986 Accused Products,

 with knowledge and specific intention that such products will be made by Huawei or by its

 customers into a network that infringes the ’986 Patent. One example is the CloudCampus

 Solution being implemented for Cloud4Wi, as discussed above.

       65.      Huawei also contributes to the infringement of the ’986 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’986 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’986 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       66.      On March 12, 2018, Harris informed Huawei of its infringement of the ’986

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’986 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following

 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.




                                                  18
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 20
                                                         61 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:275
                                                                              668




           67.   Huawei’s infringement of the ’986 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       68.       As a result of Huawei’s infringement of the ’986 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                        THIRD COUNT
                            (Infringement of U.S. Patent No. 6,980,537)

       69.       Harris incorporates by reference the allegations set forth in Paragraphs 1-68 of

 this Complaint as though fully set forth herein.

       70.       Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that comply with the Zigbee and IEEE 802.15.4

 standards that directly infringe the ’537 Patent, including but not limited to the Huawei Zigbee

 Products identified above (the ’537 Accused Products). Huawei’s ’537 Accused Products

 infringe one or more claims of the ’537 Patent, including without limitation claim 30 of the ’537

 Patent.

       71.       Huawei communications networks are made up of two or more ’537 Accused

 Products and comprise a plurality of communication units that transmit and receive messages

 within said network.

       72.       The ’537 Accused Products comprise a status transmission module to facilitate

 periodic transmission of a unit status message. For example, because the ’537 Accused Products

 comply with IEEE 802.15.4 standard, they contain a MAC sublayer that features “beacon

 management, channel access, GTS management, frame validation, acknowledged frame delivery,

 association, and disassociation.” See IEEE Std. 802.15.4-2011 at § 4.4.2. When a ’537 Accused

 Product, which is an IEEE 802.15.4 WPAN full-functioning device (FFD), joins the WPAN at

                                                    19
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 21
                                                         62 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:276
                                                                              669




 the PAN coordinator, it adds the PAN coordinator as its parent in its neighbor list and begins

 transmitting periodic beacons; other candidate devices are able to then join the network at that

 device. See IEEE Std. 802.15.4-2011 at § 4.3.2.

       73.      The ’537 Accused Products comprise an interval module to adjust the time

 between each said periodic transmission in response to detecting modifications in connectivity

 with neighboring units. When a ’537 Accused Product, which is an IEEE 802.15.4 WPAN full-

 functioning device (FFD), “misses between one and (aMaxLostBeacons–1) consecutive beacon

 frames from its coordinator, the device shall continue to transmit its own beacons based on both

 macBeaconOrder… and its local clock. If the device… does not lose synchronization, the device

 shall resume transmitting its own beacons based on the StartTime parameter and the incoming

 beacon.” See IEEE Std. 802.15.4-2011 at § 5.1.2.4.

       74.      The ’537 Accused Products comprise a configuration module to determine a

 status of that communication unit as a routing unit for routing network traffic or as a member

 unit of a corresponding routing unit in accordance with information contained within received

 unit status messages. The responsibilities of the ZDO (ZigBee Device Object) include defining

 the role of the device within the network (e.g., ZigBee coordinator or end device), initiating

 and/or responding to binding requests and establishing a secure relationship between network

 devices. The ZDO is also responsible for discovering devices on the network and determining

 which application services they provide. See ZigBee Specification, ZigBee Document

 053474r06, Version 1.0, 2005 at 17-18.

       75.      In the Huawei communications network, a status of a ’537 Accused Products as a

 said routing unit is fixed for routing subsequent network messages and re-evaluated in response

 to changes in network connectivity. For example, the network manager shall implement the

 ZigBee Coordinator, ZigBee Router or ZigBee End Device logical device types according to


                                                 20
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 22
                                                         63 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:277
                                                                              670




 configuration settings established either via a programmed application or during installation. If

 the device type is a ZigBee Router or ZigBee End Device, this function shall provide the ability

 to select an existing PAN to join and implement orphaning procedures which permit the device

 to re-associate with the same ZigBee Coordinator or ZigBee Router if network communication is

 lost. (Id. at 136).

        76.       By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’537 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’537 Patent, including without limitation claim 30, pursuant to 35 U.S.C. § 271(a).

        77.       Huawei also infringes the ’537 Patent under 35 U.S.C. § 271(b) & (c).

        78.       Huawei knowingly encourages and intends to induce infringement of the ’537

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’537 Accused Products,

 with knowledge and specific intention that such products will be made by Huawei or by its

 customers into a network that infringes the ’537 Patent. One example is the CloudCampus

 Solution being implemented for Cloud4Wi, as discussed above.

        79.       Huawei also contributes to the infringement of the ’537 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’537 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’537 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

        80.       On March 12, 2018, Harris informed Huawei of its infringement of the ’537

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’537 Patent, had knowledge of the


                                                   21
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 23
                                                         64 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:278
                                                                              671




 infringing nature of its activities, and nevertheless continues its infringing activities. Following

 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       81.      Huawei’s infringement of the ’537 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       82.      As a result of Huawei’s infringement of the ’537 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                      FOURTH COUNT
                           (Infringement of U.S. Patent No. 7,017,426)

       83.      Harris incorporates by reference the allegations set forth in Paragraphs 1-82 of

 this Complaint as though fully set forth herein.

       84.      Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that use Wi-Fi and/or Zigbee radio links, including but

 not limited to the Huawei Zigbee Wi-Fi Products identified above (the ’426 Wi-Fi Accused

 Products) and the Huawei Zigbee Products identified above (the ’426 Zigbee Accused Products)

 (collectively, the ’426 Accused Products) that Huawei and others combine into networks that

 perform the infringing process described below. The ’426 Accused Products infringe one or

 more of the claims of the ’426 Patent, including without limitation claim 8.

       85.      As an example, networks consisting of the ’426 Accused Products perform a

 method for operating a mobile ad hoc network comprising a plurality of wireless mobile nodes

 and a plurality of wireless communication links connecting the plurality of nodes together over a

 plurality of electrically separate wireless channels. For example, Huawei has shown in public

 documentation how it uses the ’426 Wi-Fi Accused Products to set up mobile ad hoc network

                                                    22
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 24
                                                         65 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:279
                                                                              672




 having a plurality of mobile nodes (e.g., mesh points or access points) connected by wireless

 communication links (e.g., 802.11 radio links). Huawei documentation shows Wi-Fi mesh

 networks connecting the nodes over more than one electrically separate wireless channel. See,

 e.g., Huawei Configuration Guide WLAN-AC

 (http://support.huawei.com/enterprise/en/doc/EDOC1000141952), § 13.3, at 744 (S5720HI

 V200R010C00; Nov. 30, 2017). For the ’426 Zigbee Accused Products, the 802.15.4 standard

 specifies a plurality of mobile nodes (e.g., Zigbee Coordinators, Zigbee Routers) connected by

 wireless communication links (e.g., 802.15.4 radio links) over more than one electrically

 separate wireless channels. See, e.g., Zigbee Specification, Zigbee document 053474r06, v. 1.0,

 at 135 (2005).

       86.        Networks consisting of the ’426 Accused Products perform the step of, at the

 source node, sending a route request over each of the plurality of electrically separate channels to

 discover routing to a destination node. For example, Huawei public documentation shows that

 the ’426 Wi-Fi Accused Products support automatic route discovery. See, e.g., Huawei

 Configuration Guide WLAN-AC at § 13.2. This discovery is done over more than one

 electrically separate channel. Id. at § 13.3. IEEE 802.15.4 documentation shows that ’426

 Zigbee Accused Products, which comply with the 802.15.4 standard, perform an orphan scan

 across a specified list of channels when they lose synchronization with the coordinator. See, e.g.,

 IEEE Std. 802.15.4-2011, at 27 (5 Sept. 2011).

       87.        Networks consisting of the ’426 Accused Products perform the step of, at the

 source node, selecting a route to the destination node on at least one of the plurality of

 electrically separate channels. For example, for the ’426 Wi-Fi Accused Products, the Huawei

 public documentation shows that the destination node responds to the route requests, which in

 turn causes the source node to select a route to the destination node on at least one of the


                                                  23
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 25
                                                         66 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:280
                                                                              673




 channels. See, e.g., Huawei Configuration Guide WLAN-AC at § 13.2. For the ’426 Zigbee

 Accused Products, the standard documentation shows that the Zigbee coordinator returns a

 coordinator realignment command to the source node, which causes it to select a route to the

 destination node on at least one of the channels. See, e.g., IEEE Std. 802.15.4-2011, at 27.

       88.      By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’426 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’426 Patent, including without limitation claim 8, pursuant to 35 U.S.C. § 271(a).

       89.      Huawei also infringes the ’426 Patent under 35 U.S.C. § 271(b) & (c).

       90.      Huawei knowingly encourages and intends to induce infringement of the ’426

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’426 Accused Products,

 with knowledge and specific intention that such products will be made by Huawei or by its

 customers into a network that infringes the ’426 Patent, as shown by Huawei documentation for

 customers, such as Huawei Configuration Guide WLAN-AC referenced above.

       91.      Huawei also contributes to the infringement of the ’426 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’426 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’426 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       92.      On March 12, 2018, Harris informed Huawei of its infringement of the ’426

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’426 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following


                                                  24
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 26
                                                         67 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:281
                                                                              674




 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       93.      Huawei’s infringement of the ’426 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       94.      As a result of Huawei’s infringement of the ’426 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                       FIFTH COUNT
                           (Infringement of U.S. Patent No. 7,224,678)

       95.      Harris incorporates by reference the allegations set forth in Paragraphs 1-94 of

 this Complaint as though fully set forth herein.

       96.      Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that directly infringe the ’678 Patent, including but not

 limited to the above identified Huawei Intrusion Detection Products that support WIDS, WIPS

 and/or other similar intrusion detection and prevention technology (’678 Accused Products).

 Huawei’s ’678 Accused Products infringe one or more claims of the ’678 Patent, including

 without limitation, claim 12 of the ’678 Patent.

       97.      Huawei Wireless LANs/MANs are made up of two or more ’678 Accused

 Products and comprise a plurality of stations for transmitting data therebetween using a MAC

 layer, each of said stations having a respective MAC address associated therewith. For example,

 Huawei ’678 Accused Products, transmit data therebetween. On information and belief, the ’678

 Accused Products comply with one or more of the IEEE 802.11 standards and transmit data

 using MAC layers and further have a MAC address associated therewith.



                                                    25
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 27
                                                         68 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:282
                                                                              675




       98.      Huawei Wireless LAN/MAN contain a policing station for detecting intrusions

 into the wireless network by monitoring transmissions among said plurality of stations to detect

 failed attempts to authenticate MAC addresses. For example, Huawei eSight and WLAN

 devices that incorporate the WIDS, WIPS and/or intrusion alert technology, including at least

 APs and ACs, are capable of detecting flood attacks, spoofing attacks, weak initialization vector

 (IV) attacks, and can also defend the WLAN against brute force cracking. See generally

 Huawei’s WLAN WIDS & WIPS Technology White Paper

 (https://e.huawei.com/us/material/onLineView?materialid=b81ebd45523d4d6591d00aa98b9969

 2c), 2017-07-05. Brute force cracking attacks also exist when a user authentication mode is

 used, such as MAC address. (Id. at 15.) The WIDS and intrusion detection systems thus detect

 failed attempts to authenticate MAC addresses.

       99.      The Huawei Wireless LANs/MANs generate an intrusion alert based upon

 detecting a number of failed attempts to authenticate a MAC address. For example, when an

 attack is detected, the AP may report an intrusion alert to the AC. (Id. at 15-16.) Further, when

 an AC identifies an AP as a rogue AP, a rogue AP alarm is triggered and sent to the network

 management system (NMS). (Id.)

       100.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’678 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’678 Patent, including without limitation claim 12, pursuant to 35 U.S.C. § 271(a).

       101.     Huawei also infringes the ’678 Patent under 35 U.S.C. § 271(b) & (c).

       102.     Huawei knowingly encourages and intends to induce infringement of the ’678

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’678 Accused Products,


                                                  26
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 28
                                                         69 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:283
                                                                              676




 with knowledge and specific intention that such products will be used by its customers. One

 example is Huawei’s supporting documentation instructing customers how to implement the

 technology claimed in the ’678 patent. See e.g., Huawei’s WLAN WIDS & WIPS Technology

 White Paper

 (https://e.huawei.com/us/material/onLineView?materialid=b81ebd45523d4d6591d00aa98b9969

 2c), 2017-07-05.

       103.     Huawei also contributes to the infringement of the ’678 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’678 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’678 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       104.     On March 12, 2018, Harris informed Huawei of its infringement of the ’678

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’678 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following

 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       105.     Huawei’s infringement of the ’678 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       106.     As a result of Huawei’s infringement of the ’678 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.




                                                  27
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 29
                                                         70 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:284
                                                                              677




                                       SIXTH COUNT
                           (Infringement of U.S. Patent No. 7,327,690)

       107.     Harris incorporates by reference the allegations set forth in Paragraphs 1-106 of

 this Complaint as though fully set forth herein.

       108.     Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that directly infringe the ’690 Patent, including but not

 limited to the above identified Huawei Intrusion Detection Products that support WIDS, WIPS

 and/or other similar intrusion detection and prevention technology (’690 Accused Products).

 Huawei’s ’690 Accused Products infringe one or more claims of the ’690 Patent, including

 without limitation, claim 40 of the ’690 Patent.

       109.     Huawei wireless LAN/MAN are made up of two or more ’690 Accused Products

 and comprises a plurality of stations for transmitting data via a MAC layer, each station having a

 MAC address associated therewith to be transmitted with data sent therefrom. For example,

 Huawei ’690 Accused Products transmit data therebetween. On information and belief, all

 Huawei Access Points and the ’690 Accused Products comply with one or more of the IEEE

 802.11 standards and transmit data using MAC layers and further have a MAC address

 associated therewith to be transmitted with data sent therefrom.

       110.     Huawei Wireless LAN/MAN contain a policing station for detecting intrusions

 into the wireless network by monitoring transmissions among said plurality of stations to detect

 collisions of a same MAC address. For example, Huawei eSight and WLAN devices that

 incorporate the WIDS and/or intrusion alert technology, including at least APs, ACs, are capable

 of detecting flood attacks, spoofing attacks, weak initialization vector (IV) attacks, and can also

 defend the WLAN against brute force cracking. See generally Huawei’s WLAN WIDS & WIPS

 Technology White Paper

 (https://e.huawei.com/us/material/onLineView?materialid=b81ebd45523d4d6591d00aa98b9969

                                                    28
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 30
                                                         71 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:285
                                                                              678




 2c), 2017-07-05. A flood attack occurs when an AP receives a large number of management

 packets or null packets of the same type from a source MAC address within a short period. (Id. at

 12.) WIDS can detect 802.11 packet flood, and attack information reported by an AP that

 includes the rogue device MAC address. (Id.)

       111.     The Huawei Wireless LAN/MAN networks generate an intrusion alert based upon

 detecting a threshold number of collisions of a same MAC address. For example, in the ’690

 Accused Products using WIDS, when the traffic received from a device exceeds the allowed

 threshold, the AP considers that the device is initiating a flood attack and reports an alarm

 message to the AC. (Id. at 17.) Further, when an AC identifies an AP as a rogue AP, a rogue AP

 alarm is triggered and sent to the network management system (NMS). (Id.)

       112.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’690 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’690 Patent, including without limitation claim 40, pursuant to 35 U.S.C. § 271(a).

       113.     Huawei also infringes the ’690 Patent under 35 U.S.C. § 271(b) & (c).

       114.     Huawei knowingly encourages and intends to induce infringement of the ’690

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’690 Accused Products,

 with knowledge and specific intention that such products will be used by its customers. One

 example is Huawei’s supporting documentation instructing customers how to implement the

 technology claimed in the ’690 patent. See e.g., Huawei’s WLAN WIDS & WIPS Technology

 White Paper

 (https://e.huawei.com/us/material/onLineView?materialid=b81ebd45523d4d6591d00aa98b9969

 2c), 2017-07-05.


                                                  29
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 31
                                                         72 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:286
                                                                              679




       115.     Huawei also contributes to the infringement of the ’690 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’690 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’690 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       116.     On March 12, 2018, Harris informed Huawei of its infringement of the ’690

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’690 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following

 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       117.     Huawei’s infringement of the ’690 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       118.     As a result of Huawei’s infringement of the ’690 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                      SEVENTH COUNT
                           (Infringement of U.S. Patent No. 7,440,572)

       119.     Harris incorporates by reference the allegations set forth in Paragraphs 1-118 of

 this Complaint as though fully set forth herein.

       120.     Huawei makes, uses, sells, and/or offers to sell in the United States, and/or

 imports into the United States products that comply with the Zigbee and IEEE 802.15.4

 standards that directly infringe the ’572 Patent, including but not limited to the Huawei Zigbee

 Products identified above (the ’572 Accused Products). Huawei’s ’572 Accused Products

                                                    30
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 32
                                                         73 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:287
                                                                              680




 infringe one or more claims of the ’572 Patent, including without limitation claim 1 of the ’572

 Patent.

       121.     As an example, Huawei makes, uses, sells, and/or offers for sale in the United

 States, and imports into the United States secure wireless LAN devices. For example, because

 the ’572 Accused Products comply with IEEE 802.15.4, they comprise a “device” as defined and

 discussed in that standard, i.e., “[a] system conforming to this standard consists of several

 components. The most basic is the device. Two or more devices communicating on the same

 physical channel constitute a WPAN.” See IEEE Std 802.15.4-2011, at § 4.2. These devices are

 secure. Id. at Ch. 7 (Security).

       122.     The ’572 Accused Products comprise a housing in which the electronic

 components of the device are contained.

       123.     The ’572 Accused Products comprise a wireless transceiver carried by said

 housing. For example, because the ’572 Accused Products comply with IEEE 802.15.4, their

 housings contain a wireless transceiver. Id. at § 4.2. (“An LR-WPAN [low-rate wireless

 personal area network] is a simple, low-cost communication network that allows wireless

 connectivity in applications with limited power and relaxed throughput requirements.”)

       124.     The ’572 Accused Products comprise a MAC carried by said housing for

 implementing a predetermined wireless LAN MAC protocol. For example, because the ’572

 Accused Products comply with IEEE 902.15.4 standard, they use the LAN MAC protocol

 specified in detail in chapter 5 of the standard.

       125.     The ’572 Accused Products comprise a cryptography circuit carried by said

 housing and connected to said MAC and said wireless transceiver for encrypting both address

 and data information for transmission by at least adding a plurality of encrypting bits to both the

 address and data information, and for decrypting both the address and the data information upon


                                                     31
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 33
                                                         74 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:288
                                                                              681




 reception. For example, because the ’572 Accused Products comply with IEEE 902.15.4

 standard, they follow a specific security protocol as set forth in chapter 7 of the standard, which

 specifies inputs to the CCM* encryption transformation including a nonce (which contains

 address information), an encryption key, and data. See, e.g., id. at §§ 7.3.2 & 7.3.4.

       126.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’572 Accused

 Products, Huawei has injured Harris and is liable to Harris for directly infringing one or more

 claims of the ’572 Patent, including without limitation claim 1 pursuant to 35 U.S.C. § 271(a).

       127.     Huawei also infringes the ’572 Patent under 35 U.S.C. § 271(b) & (c).

       128.     Huawei knowingly encourages and intends to induce infringement of the ’572

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’572 Accused Products.

 One example is the CloudCampus Solution being implemented for Cloud4Wi, as discussed

 above.

       129.     Huawei also contributes to the infringement of the ’572 Patent. Huawei makes,

 uses, sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’572 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’572 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

       130.     On March 12, 2018, Harris informed Huawei of its infringement of the ’572

 Patent. Thus, as of March 12, 2018, Huawei was aware of the ’572 Patent, had knowledge of the

 infringing nature of its activities, and nevertheless continues its infringing activities. Following




                                                  32
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 34
                                                         75 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:289
                                                                              682




 the March 12, 2018 letter, Harris attempted to contact Huawei on multiple occasions (April 25,

 2018 email, May 4, 2018 email and May 25, 2018 letter), but received no response from Huawei.

       131.     Huawei’s infringement of the ’572 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

       132.     As a result of Huawei’s infringement of the ’572 Patent, Harris has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Huawei’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment and seeks relief against Huawei as follows:

        (a)     For judgment that U.S. Patent Nos. 6,535,227; 6,980,537; 6,958,986; 7,027,426;

 7,224,678; 7,327,690; and 7,440,572 have been and continue to be infringed by Huawei;

        (b)     For an accounting of all damages sustained by Plaintiff as the result of Huawei’s

 acts of infringement;

        (c)     For finding that Huawei’s infringement is willful and enhancing damages pursuant to

 35 U.S.C. § 284;

        (d)     For a mandatory future royalty payable on each and every future sale by Huawei

 of a product that is found to infringe one or more of the Patents-in-Suit and on all future products

 which are not colorably different from products found to infringe;

        (e)     For an award of attorneys’ fees pursuant to 35 U.S.C. § 285 or otherwise

 permitted by law;

        (f)     For all costs of suit; and

        (g)     For such other and further relief as the Court may deem just and proper.




                                                 33
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 02/15/19
                                 13 Filed  09/03/19 Page
                                                    Page 35
                                                         76 of
                                                            of 35
                                                               312PageID
                                                                   PageID#:#:290
                                                                              683




                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and Local Rule CV-38,

 Plaintiff demands a trial by jury of this action.


 Dated: February 15, 2019                       Respectfully Submitted,



                                            By: /s/ Denise De Mory

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                                                ATTORNEYS FOR PLAINTIFF
                                                HARRIS CORPORATION




                                                     34
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 77 of 312 PageID #: 684




                 EXHIBIT 14
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 178ofof14312 PageID
                                                                   PageID #: #: 685
                                                                             1184




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


  HARRIS CORPORATION,                    )
                                         )
              Plaintiff,                 )   CIVIL ACTION NO. 2:18-cv-00439-JRG
                                         )
        v.                               )   JURY TRIAL DEMANDED
                                         )
  HUAWEI DEVICE USA, INC., HUAWEI        )
  DEVICE CO., LTD., HUAWEI               )
  TECHNOLOGIES USA INC., HUAWEI          )
  TECHNOLOGIES CO. LTD., AND             )
  HUAWEI DEVICE (SHENZHEN) CO.,          )
  LTD.                                   )
                                         )
               Defendants.               )




    PLAINTIFF HARRIS CORPORATION’S MOTION TO SEVER DEFENDANTS’
                   INFRINGEMENT COUNTERCLAIMS
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 279ofof14312 PageID
                                                                   PageID #: #: 686
                                                                             1185



                                                     TABLE OF CONTENTS

                                                                                                                                     Page



 I.     INTRODUCTION .............................................................................................................. 1

 II.    HUAWEI’S INFRINGEMENT COUNTERCLAIMS PRESENT A
        COMPLETELY SEPARATE SET OF FACTS ................................................................. 2

        A.        The two cases do not share common factual background or facts to be
                  determined............................................................................................................... 2

        B.        Huawei has not identified any practical benefit to litigating the two cases
                  together other than distraction and limitation of Harris’s claims. .......................... 4

 III.   THIS COURT HAS PREVIOUSLY SEVERED IN LIKE CIRCUMSTANCES ............. 7

 IV.    CONCLUSION ................................................................................................................... 9




                                                                  i
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 380ofof14312 PageID
                                                                   PageID #: #: 687
                                                                             1186



                                                        TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

 CASES

 Anderson v. Red River Waterway Comm’n,
       231 F.3d 211 (5th Cir. 2000) .............................................................................................. 8

 Arteris S.A.S. v. Sonics, Inc.,
         No. C 12–0434 SBA, 2013 WL 3052903 (N.D. Cal. June 17, 2013)................................. 8

 Broadcom Corp. v. Sony Corp.,
       No. SACV 16-1052-JVS (JCGx), 2016 WL 9108039 (N.D. Cal.
       Dec. 20, 2016) ..................................................................................................................... 8

 Huawei Technologies Co. Ltd. v. T-Mobile US, Inc.,
       No. 2:16-cv-00052-JRG-RSP, 2016 WL 7191855 (E.D. Tex. July
       11, 2016) ......................................................................................................................... 1, 7

 In re TS Tech USA Corp.,
         551 F.3d 1315 (Fed. Cir. 2008)........................................................................................... 8

 Intel Corp. v. Commonwealth Scientific and Indus. Research Corp.,
        Nos. 6:06–cv–551 et al., 2008 WL 5378037 (E.D. Tex. Dec. 23,
        2008) ................................................................................................................................... 9

 ROY-G-BIV Corporation v. FANUC Ltd.,
      No. 2:07-CV-418 (DF), 2009 WL 10677443 (E.D. Tex. April 14,
      2009) ................................................................................................................................... 7

 Spectra-Physics Lasers, Inc. v. Uniphase Corp.,
        144 F.R.D. 99 (N.D. Cal. 1992) .......................................................................................... 9

 Wyndham Assoc. v. Bintliff,
      398 F.2d 614 (2d Cir. 1968)................................................................................................ 8

 RULES

 Fed. R. Civ. P. 21 ........................................................................................................................ 1, 8

 Fed. R. Civ. P. 42(b) ....................................................................................................................... 9




                                                                       ii
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 481ofof14312 PageID
                                                                   PageID #: #: 688
                                                                             1187



 I.       INTRODUCTION

          Huawei’s Counterclaims for infringement, brought six months after this case was filed

 and over a year after Harris first notified Huawei of its infringement, attempt to inject a

 completely separate case into these proceedings—a case with little to no common operative

 facts. Huawei’s surprise assertion of five Power over Ethernet and LTE patents here will over-

 burden and confuse the factfinder, disrupt the schedule and proceedings, and will be prejudicial

 to Harris’s own assertion of its Wi-Fi and Zigbee networking and security patents. Huawei’s

 infringement counterclaims concern different networking technologies and standards, accuse

 different categories of products in different markets, implicate no common witnesses or

 evidence, and will require completely separate analyses for claim construction, infringement,

 validity, and damages—including because Huawei’s asserted patents are subject to FRAND

 obligations whereas Harris’s asserted patents are not.

          Accordingly, Harris respectfully moves this Court to sever Huawei’s Fifteenth through

 Nineteenth Counterclaims for patent infringement into a separate action, pursuant to the Court’s

 discretion under Federal Rule of Civil Procedure 21.1

          Courts in this district have generally not allowed plaintiffs’ patents and defendants’

 distinct technology counterclaim patents to proceed to trial together. For example, as discussed

 below Huawei successfully moved this Court in a recent case to sever LTE patent counterclaims

 due to the lack of factual commonality between the claims. Huawei Technologies Co. Ltd. v. T-

 Mobile US, Inc., No. 2:16-cv-00052-JRG-RSP, 2016 WL 7191855, Dkt. 54 at 2-3 (E.D. Tex.

 July 11, 2016) (severing “the counterclaims against Huawei Tech to reduce the complexity of the



      1
      Harris also opposes Huawei’s Motion to Amend the DCO in this case (Dkt. 60), for the
 reasons given herein and in Harris’s Opposition to that Motion to be filed today at the Court’s
 request. See Order, Dkt. 62.



                                                  -1-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 582ofof14312 PageID
                                                                   PageID #: #: 689
                                                                             1188



 cases.”). The same result is appropriate here. Where there is no commonality of issues, there is

 no efficiency gain from forcing those issues to be discovered, briefed, heard, or tried together.

 Instead there is only risk of prejudice to litigants and of factfinder confusion.

 II.       HUAWEI’S INFRINGEMENT COUNTERCLAIMS PRESENT A COMPLETELY
           SEPARATE SET OF FACTS

           A.     The two cases do not share common factual background or facts to be
                  determined.

           Harris’s seven Asserted Patents claim distinct innovations in routing, clustering, and

 scheduling, as well as security (including cryptography and intrusion detection) for wireless

 networks. See, e.g., Harris’s Response in Opposition to Defendants’ Motion to Dismiss, Dkt. 40

 at 12-15, 17-19, 22-23, 26-27, 29-30, 31-33 (describing the claimed advances of Harris’s

 asserted patents). Harris accuses various Huawei commercial products, including many of its

 wireless routers, access points, gateways, switches, and consumer Wi-Fi or Zigbee products.

 Am. Complaint, Dkt. 13 at ¶¶ 26-42. Harris’s infringement contentions provide extensive

 documentation, based on public materials,2 of Huawei’s use of the claimed inventions—

 including by Huawei’s advertised compliance with certain IEEE 802.11 Wi-Fi standard

 amendments, as well as IEEE 802.15.4 Low-Rate Wireless Personal Area Network standards and

 Zigbee Alliance specifications, provisions of which are implicated in infringement here. Harris

 does not believe its Asserted Patents are subject to FRAND restrictions, and Huawei has

 provided no facts suggesting otherwise. See generally Answer and Counterclaims, Dkt. 56.




       2
      To date, Huawei has not produced non-public technical documentation for the Accused
 Products, including for those numerous products identified by model number in Harris’s
 original Complaint on October 24, 2018. Declaration of Denise De Mory in Support of
 Harris’s Motion to Sever (“De Mory Decl.”), ¶ 3.



                                                  -2-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 683ofof14312 PageID
                                                                   PageID #: #: 690
                                                                             1189



        Harris initially informed Huawei of its infringement of the Asserted Patents via letter on

 March 12, 2018. See, e.g., Dkt. 13 at ¶¶ 53, 130. After Huawei failed to even acknowledge any

 of the four letters Harris sent between March and October (id. at ¶ 130), Harris filed its initial

 Complaint on October 24, 2018, further informing Huawei of the basis for its claims. Dkt. 1.

 Harris then agreed to a lengthy extension on service (90 days) and time to answer (45 days), and

 also amended its Complaint merely to adjust the Defendant party entities, both at Huawei’s

 request. Huawei then filed, and the parties briefed, its Motion to Dismiss, and the parties

 proceeded through initial disclosures, service of Harris’s Infringement Contentions with nearly

 700 pages of claim charts, and negotiation of the various proposed case management orders.

 During this time, Huawei provided no notice to Harris or the Court that it would be filing

 infringement counterclaims related to its LTE patents.3

        Huawei’s infringement counterclaims assert five distinct patents related to aspects of

 Power over Ethernet (“PoE”) technology or of Long-Term Evolution (“LTE”) mobile phone

 communications. Dkt. 56 at Counterclaims, ¶¶ 12-35. Huawei asserts that its asserted PoE

 patent is practiced by and/or essential to aspects of IEEE 802.3af, at, or bt standards, and that its

 LTE patents are practiced by and/or essential to aspects of versions of 3GPP standards for LTE.

 See, e.g., id. at ¶¶ 116, 128. Huawei does not allege any commonality or overlap between these



    3
        After Harris filed its Complaint, Huawei finally responded to Harris’s requests to engage
 in discussions. Huawei did eventually mention its LTE patents during negotiations between the
 parties, specifically suggesting that they be treated on a separate negotiation track because
 discussions about a license to the Huawei patents are “not related to the pending lawsuit.” De
 Mory Decl., ¶ 1, Exhibit A. Huawei makes several counter-factual allegations concerning
 Harris’s responses, both in its Counterclaims (Dkt. 56 at ¶ 36) and in its Motion to Amend the
 DCO (Dkt. 60). In fact, Harris did respond to Huawei’s March 31, 2019 letter, contrary to
 statements in ¶ 36 of the Counterclaims, including via email days later expressing willingness
 to “includ[e] the LTE patents as part of the discussions.” De Mory Decl., ¶ 2, Exhibit B.
 Whatever strategic reasons Huawei had for filing its infringement Counterclaims when it chose
 to, its unsupported assertions that Harris failed to respond or lacked good faith are wrong and
 should be disregarded.



                                                 -3-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 784ofof14312 PageID
                                                                   PageID #: #: 691
                                                                             1190



 standards or the issues raised by their application, beyond the fact that some of them fall under

 the umbrella of the IEEE. Dkt. 60 at 4. On information and belief, Huawei’s participation in

 these standards and its assertion of allegedly essential patents will subject it to FRAND

 obligations under the relevant patent policies of those standards organizations. See, e.g., Dkt. 56

 at ¶¶ 6, 123, 134, 144, 156.

        Huawei’s infringement counterclaims accuse commercial sales of various military-grade

 battlefield and tactical communications equipment, including the “Falcon III RF-7850A-TM001

 Roll-on/Roll-off Airborne System” and several of Harris’s Tactical and Vehicle Based Radios.

 Id. at ¶¶ 37, 42. In its single paragraph on allegedly common issues, Huawei does not allege any

 commonality or overlap between these products or the markets they are sold to, and the

 corresponding products or markets of Harris’s infringement accusations. Dkt. 60 at 4. Huawei

 merely alleges that the patents are all related to “networking arrangements and communications.”

 Id.

        In short, there are no identified factual issues in common between claim construction,

 infringement, validity, or damages for Harris’s Asserted Patents and Huawei’s counterclaim

 patents. There are no identified common witnesses, evidence, or claim terms to be construed.

 Accordingly, there are no issues that could be reduced or avoided by treating the groups of

 patents together.

        B.      Huawei has not identified any practical benefit to litigating the two cases
                together other than distraction and limitation of Harris’s claims.

        In its Motion to Amend the DCO, Huawei does not support its conclusory assertion that

 proceeding under a common schedule will “reduce costs” or promote efficiency. Dkt. 60 at 3-4.

 Indeed, because there is no overlap of issues, there is no reason to expect that Huawei’s

 counterclaims will not simply double the parties’ collective need for access to judicial and



                                                -4-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 885ofof14312 PageID
                                                                   PageID #: #: 692
                                                                             1191



 factfinder resources to resolve all of the issues and claims. Huawei’s only alleged justification

 for treating the indisputably distinct allegations together in one hearing or trial, rather than two

 hearings or trials, is Huawei’s stated hope that the additional issues derived from its

 counterclaims will force Harris to drop aspects of its claims in order to fit them within the

 briefing pages, hearing time, or trial days allotted to one case instead of two. Id. at 4-5. Put

 another way, Huawei expects that access to judicial resources will not double if the two cases

 proceed together, and so merely by asserting counterclaims it will have reduced Harris’s ability

 to fairly litigate and try its own claims.

         Harris fully expects that both its claims, and Huawei’s counterclaims, will be narrowed

 through the course of discovery, claim construction, and dispositive motions—in the ordinary

 course according to the established procedures of this Court, with which both sides’ counsel are

 well familiar. Huawei’s attempt to apply further narrowing pressure through the untimely

 assertion and proposed joint treatment of disparate counterclaims should be rejected as

 prejudicial.

         In addition, Huawei’s proposed combined schedule prejudices Harris even with respect to

 the Counterclaims alone, by denying Harris time to investigate and prepare defenses. Huawei

 has known of Harris’s specific patent infringement counts and dozens of Accused Products since

 October 24, 2018 when the original Complaint was filed. Harris has known of Huawei’s specific

 patent infringement assertions and accused products for less than three weeks. Yet under

 Huawei’s proposed common schedule, Harris would have to serve Invalidity Contentions less

 than six weeks after Huawei does. See Dkt. 60-1 at 4. Defendants in this district under this

 Court’s procedures are not asked to proceed so quickly. Because Harris had no prior notice of

 the Counterclaims, and because they assert completely factually distinct claims and raise




                                                  -5-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument
                        Document16-3 Filed 05/15/19
                                 65 Filed  09/03/19 Page
                                                    Page 986ofof14312 PageID
                                                                   PageID #: #: 693
                                                                             1192



 separate issues, Harris is in the same position as if the Counterclaims were a newly filed

 Complaint.

         Huawei’s voluntary early service of contentions or disclosures, as well as its stated

 willingness to enter claim construction days after seeing Harris’s contentions (see Dkt. 60 at 3),

 fail to cure the burden it seeks to impose on Harris by compressing the ordinary early course of

 what is (in practical effect) a completely separate litigation. In addition, the compressed

 proposed schedule fails to allow time to address, and exacerbates the harm from, any deficiencies

 in Huawei’s contentions, disclosures, or document productions.4 Huawei also does not mention

 or address the shortened period for fact discovery before claim construction that arises under its

 proposal with respect to the Counterclaim patents, a shortened period that would now need to

 accommodate discovery related to twelve patents instead of seven. The additional claims, as

 well as the different accused products, will likely also require that the parties negotiate new

 discovery limits and Protective Order provisions, whether the Counterclaims are severed or not.

 The need to do so immediately, whilst also preparing contentions and disclosures under

 Huawei’s compressed proposed schedule, only increases the harm to Harris.

         Huawei has not identified any practical benefit to its proposed treatment of its

 Counterclaims together with and on the same schedule as Harris’s claims. But the harm to

 Harris would be substantial, because of the compressed early schedule for responding, Huawei’s

 hoped-for reduction in access to judicial and factfinder resources, and likely jury confusion of

 complex distinct issues at trial.




     4
      Huawei served Infringement Contentions on May 13, 2019. Harris is evaluating those
 materials—which appear to only cite to three Harris documents in one of the five claim charts
 among unexplained quotations from industry standards—and will seek to confer with Huawei
 regarding any deficiencies that are identified. De Mory Decl., ¶ 4.



                                                 -6-
Case
Case 1:19-cv-01306-MN
     2:18-cv-00439-JRG Document
                        Document16-3 Filed05/15/19
                                 65 Filed  09/03/19 Page
                                                     Page10
                                                          87ofof14
                                                                 312 PageID
                                                                   PageID #: #:1193
                                                                                694




 III.   THIS COURT HAS PREVIOUSLY SEVERED IN LIKE CIRCUMSTANCES

        In a recent prior case before this very Court, Huawei asserted several of its LTE patents,

 Nokia intervened and asserted counterclaims alleging infringement of other LTE patents, and

 Huawei sought severance. Huawei argued: “There is no technical efficacy to be gained by tying

 these patents together because the issues for infringement, validity, and damages will have little

 in common.” Huawei Technologies Co. Ltd. v. T-Mobile US, Inc., No. 2:16-cv-00052-JRG-RSP,

 Dkt. 35 at 4-5 (E.D. Tex. June 6, 2016). This Court agreed, finding that: “Trying these

 technologically disparate patents in one case creates no efficiency gains. A fact-finder’s

 understanding of one patent will not inform her understanding of the other patent.” Id., Order,

 2016 WL 7191855, Dkt. 54 at 2-3 (E.D. Tex. July 11, 2016). This Court noted that while the

 patents on both sides in that case related to LTE and presented issues of FRAND encumbrances,

 they covered distinct aspects of LTE with no factual overlap, and damages in FRAND cases

 “raise highly patent-specific issues.” Id. Here, as discussed above, the patents are not even in

 the same networking technology categories or standards, and only Huawei has relevant FRAND

 commitments. This case presents even stronger reasons to sever the infringement counterclaims.

        Other courts in this district have granted severance when a defendant seeks to inject

 technologically dissimilar patents into ongoing litigation. See ROY-G-BIV Corporation v.

 FANUC Ltd., No. 2:07-CV-418 (DF), 2009 WL 10677443 at *1 (E.D. Tex. April 14, 2009)

 (“Given the different technology embodied in Defendants’ patents, this Court believes that a

 severance would simplify an already complex matter.”). In its motion proposing a combined

 schedule and opposing severance, Huawei fails to cite any Eastern District of Texas authority

 supporting litigation or trial of separate counterclaim patents together with plaintiffs’ claims.




                                                 -7-
Case
Case 1:19-cv-01306-MN
     2:18-cv-00439-JRG Document
                        Document16-3 Filed05/15/19
                                 65 Filed  09/03/19 Page
                                                     Page11
                                                          88ofof14
                                                                 312 PageID
                                                                   PageID #: #:1194
                                                                                695




 Dkt. 60.5 Huawei also fails to even mention its own prior case before this Court—where LTE

 counterclaim patents were severed from other asserted LTE patents at its request. Id.

        The Court has broad discretion in deciding whether to sever. Anderson v. Red River

 Waterway Comm’n, 231 F.3d 211, 214 (5th Cir. 2000).6 Rule 21 of the Federal Rules of Civil

 Procedure provides that: “On a motion or on its own, the court may at any time, on just terms, . .

 . sever any claim against a party.” Fed. R. Civ. P. 21. Rule 21 “authorizes the severance of any

 claim, even without a finding of improper joinder, when there are sufficient other reasons for

 ordering a severance.” Wyndham Assoc. v. Bintliff, 398 F.2d 614, 618 (2d Cir. 1968).

        Here, there are no common issues supporting any alleged need to align the case schedule

 or deal with Harris’s and Huawei’s patents at the same time. Any logistical benefit from having

 the proceedings in the same Court, with the same counsel, could just as easily be realized with

 Huawei’s counterclaims trailing in a separate action. Finally, and most importantly, there is no

 benefit from trying Harris’s and Huawei’s patents before the same jury, with all of the

 complications and risk of jury confusion that doing so would raise. See, e.g., Huawei, 2016 WL

 7191855 at *1 (“A fact-finder’s understanding of one patent will not inform her understanding of

 the other patent.”).


    5
       Huawei mentions one Northern District of California case that denied a motion to sever
 infringement counterclaims. Dkt. 60 at 4. But even in that case the court found that several
 factors favored severing. Broadcom Corp. v. Sony Corp., No. SACV 16-1052-JVS (JCGx),
 2016 WL 9108039, at *3-5 (N.D. Cal. Dec. 20, 2016) (noting “large factual differences,” and
 the need for “different evidence and witnesses”). The Broadcom court also noted that there,
 unlike here, prejudice was reduced because defendant “disclosed its intent to pursue
 infringement counterclaims in the parties’ Rule 26(f) discussions and in pre-suit negotiations.”
 Id. at *5. Other courts in California have separated claims on distinct sets of patents. See
 Arteris S.A.S. v. Sonics, Inc., No. C 12–0434 SBA, 2013 WL 3052903 at * 7-8 (N.D. Cal. June
 17, 2013) (severing remaining declaratory judgment claims into one action and consolidating
 infringement counterclaims into a separate action in which the counterclaim patents had been
 asserted). Huawei provides no basis for overturning what has been common practice in this
 district in favor of a factually distinguishable result in another circuit and district.
     6
       Because motions to sever do not involve substantive issues of patent law, precedent from
 the Fifth Circuit controls. See In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008).


                                                -8-
Case
Case 1:19-cv-01306-MN
     2:18-cv-00439-JRG Document
                        Document16-3 Filed05/15/19
                                 65 Filed  09/03/19 Page
                                                     Page12
                                                          89ofof14
                                                                 312 PageID
                                                                   PageID #: #:1195
                                                                                696




        Huawei has not shown otherwise. Spectra-Physics Lasers, Inc. v. Uniphase Corp., 144

 F.R.D. 99 (N.D. Cal. 1992), cited by Huawei, concerned bifurcation of liability and damages and

 did not involve separate counterclaim patent assertions. In comparison, courts in this district

 frequently bifurcate or sever when there are no common issues predominating. See, e.g., Intel

 Corp. v. Commonwealth Scientific and Indus. Research Corp., Nos. 6:06–cv–551 et al., 2008

 WL 5378037 at *1-2 (E.D. Tex. Dec. 23, 2008) (ordering separate trials on damages, and noting

 that “‘any separate issue’ may be severed for trial ‘in furtherance of convenience or to avoid

 prejudice, or to expedite and economize.’”) (quoting Fed. R. Civ. Proc. 42(b)). Despite being

 informed of Harris’s intention to move to sever and/or proceed on a different schedule for

 Huawei’s infringement Counterclaims (see Dkt. 60 at 1), Huawei failed to point to any relevant

 authority in this district, ignored countervailing authority including from this Court, and

 presented no common issues or facts that would justify the result it seeks here. Huawei’s

 infringement Counterclaims should be severed into a separate action and proceed there according

 to an appropriate schedule based on the Court’s model. See also Harris’s Opposition to

 Huawei’s Motion to Amend the DCO, which will be filed on May 15, 2019 in accordance with

 the Court’s May 9, 2019 Order (Dkt. 62).

 IV.    CONCLUSION

        Plaintiff Harris respectfully requests that the Court sever Huawei’s counterclaims for

 patent infringement (Counterclaim Nos. 15-19) into a separate action.




                                                 -9-
Case
Case 1:19-cv-01306-MN
     2:18-cv-00439-JRG Document
                        Document16-3 Filed05/15/19
                                 65 Filed  09/03/19 Page
                                                     Page13
                                                          90ofof14
                                                                 312 PageID
                                                                   PageID #: #:1196
                                                                                697




 Dated: May 15, 2019                  Respectfully Submitted,


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                                       -10-
Case
Case 1:19-cv-01306-MN
     2:18-cv-00439-JRG Document
                        Document16-3 Filed05/15/19
                                 65 Filed  09/03/19 Page
                                                     Page14
                                                          91ofof14
                                                                 312 PageID
                                                                   PageID #: #:1197
                                                                                698



                              CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that counsel for Plaintiff have complied with the meet and

 confer requirement of Local Rule CV-7(h). This motion is opposed. The conference required by

 Local Rule CV-7(h) was conducted on May 7, 2019, by telephone, among the following

 participants: Corey Johanningmeier for Harris; and Andrew Radsch for Huawei. The parties’

 discussions on this issue have conclusively ended in an impasse, leaving an open issue for the Court

 to resolve.



 Dated: May 15, 2019
                                            By: /s/ Corey Johanningmeier
                                               Corey Johanningmeier




                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a) with a copy of this document via the Court’s CM/ECF

 system.



 Dated: May 15, 2019
                                            By: /s/ Corey Johanningmeier
                                               Corey Johanningmeier




                                                -11-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 92 of 312 PageID #: 699




                 EXHIBIT 15
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 93
                                                         1 ofof8312 PageID
                                                                 PageID    #: 700
                                                                        #: 1357




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


 HARRIS CORPORATION,                    )
                                        )
              Plaintiff,                )   CIVIL ACTION NO. 2:18-cv-00439-JRG
                                        )
       v.                               )   JURY TRIAL DEMANDED
                                        )
 HUAWEI DEVICE USA, INC., HUAWEI        )
 DEVICE CO., LTD., HUAWEI               )
 TECHNOLOGIES USA INC., HUAWEI          )
 TECHNOLOGIES CO. LTD., AND             )
 HUAWEI DEVICE (SHENZHEN) CO.,          )
 LTD.                                   )
                                        )
               Defendants.              )




   REPLY IN SUPPORT OF PLAINTIFF HARRIS CORPORATION’S MOTION TO
          SEVER DEFENDANTS’ INFRINGEMENT COUNTERCLAIMS
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 94
                                                         2 ofof8312 PageID
                                                                 PageID    #: 701
                                                                        #: 1358



                                                    TABLE OF CONTENTS

                                                                                                                                 Page



 I.     INTRODUCTION .............................................................................................................. 1

 II.    HUAWEI’S INFRINGEMENT COUNTERCLAIMS SHOULD BE SEVERED
        AND SHOULD PROCEED ON A SEPARATE, TRAILING SCHEDULE ..................... 2

 III.   CONCLUSION ................................................................................................................... 5




                                                                 i
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 95
                                                         3 ofof8312 PageID
                                                                 PageID    #: 702
                                                                        #: 1359



 I.       INTRODUCTION

          Harris brought this case more than seven months ago, asserting seven Wi-Fi and Zigbee

 routing and security patents, which are not alleged to be wholly standard essential or subject to

 FRAND obligations.1 Harris identified infringement by various Huawei commercial routers,

 switches, gateways, and consumer products. Six months later, Huawei brought a completely

 separate case via counterclaims, without prior notice to Harris or the Court. Huawei asserted

 five LTE cellular and Power over Ethernet patents—which are asserted as standard essential2 and

 are admittedly FRAND obligated3—against battlefield and tactical radio communications

 equipment used in vehicles, aircraft, and by soldiers and law enforcement officers. The factual

 dissimilarity between the two cases is starkly obvious from the parties’ own descriptions of the

 patents, products, and issues. See, e.g., Mot., Dkt. 65 at 2-4 (citing Motion to Dismiss

 Opposition, Amended Complaint, and Counterclaims). Huawei fails to rebut this clear

 dissimilarity with any specific examples of factual overlap.

          Without identified common issues to be decided once rather than twice, there is no

 efficiency gain to litigating and trying the two separate cases together. Huawei fails to explain

 how one combined Markman hearing or trial will supposedly narrow the disputes or “promote

 settlement” as compared to two Markman hearings or trials. Any narrowing that Huawei seeks

 here would be solely due to the logistical and scheduling pressure it seeks to impose by forcing

 Harris to share time in presentation of its case with Huawei’s separate patents and issues. Just


      1
       While Huawei’s opposition purports to disagree (see Opp., Dkt. 68 at 2), it has not pled
 defenses or made counterclaims alleging any FRAND obligation by Harris. See Dkt. 56.
     2
       Huawei’s infringement contention claim charts exclusively relate the asserted claim
 limitations to portions of the LTE and PoE standards and rely on no Harris technical
 information other than to allege compliance with standards—indicating that Huawei intends to
 prove infringement by the standards. See Opp. at 9 (describing contentions).
     3
       See Opp. at 1.



                                                -1-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 96
                                                         4 ofof8312 PageID
                                                                 PageID    #: 703
                                                                        #: 1360



 resolution is promoted when all important disputed terms or issues are argued and decided—but

 this does not require dissimilar issues to be lumped together or decided simultaneously.

 Furthermore, foregoing presentation and resolution of important disputed terms or issues due to

 complexity—or lack of time with the Court or jury—is not an efficiency.

           Finally, there is significant risk of jury confusion in Huawei’s proposal to cover up to

 twelve patents on distinct technologies, four distinct sets of industry standards, asymmetrical

 FRAND issues, and multiple damages models in one trial. In short, Huawei’s infringement

 counterclaims should be severed, and proceed on a separate schedule toward a separate trial.4

 Harris respectfully suggests that this course is the most efficient way to resolve both cases,

 without creating unnecessarily complex hearings, briefing, or trials. Huawei Technologies Co.

 Ltd. v. T-Mobile US, Inc., No. 2:16-cv-00052-JRG-RSP, 2016 WL 7191855 at *1, Dkt. 54 at 2

 (“The Court, however, in all of the cases above, severs the counterclaims against Huawei Tech to

 reduce the complexity of the cases.”).

 II.       HUAWEI’S INFRINGEMENT COUNTERCLAIMS SHOULD BE SEVERED
           AND SHOULD PROCEED ON A SEPARATE, TRAILING SCHEDULE

           Harris’s Motion demonstrated, consistent with prior cases of this Court, that the lack of

 factual overlap and the complexity of the issues presented by the two distinct cases here call for

 the exercise of the Court’s discretion to sever Huawei’s infringement counterclaims.

           In opposition, Huawei fails to identify any specific overlap between the two cases,

 instead relying on the general suggestions that the patents relate to networking, or to one of four

 sets of different industry standards, in some way. But this Court has recognized that “[t]rying


       4
      Huawei’s opposition to the Motion to Sever repeats and revisits certain arguments from its
 Motion to Amend the DCO (Dkt. 60). If the Court were to decline to exercise its discretion to
 sever the two cases, Harris respectfully requests that Huawei’s infringement counterclaims still
 proceed on a separate schedule, for all of the reasons given herein and in Harris’s opposition to
 the Motion to Amend the DCO (Dkt. 66).



                                                   -2-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 97
                                                         5 ofof8312 PageID
                                                                 PageID    #: 704
                                                                        #: 1361



 these technologically disparate patents in one case creates no efficiency gains,” and that damages

 in FRAND cases “raise highly patent-specific issues,” even in a case where all the patents were

 directed to LTE standards and implicated FRAND. Mot. at 7 (citing Huawei, 2016 WL 7191855

 at *1-2, Dkt. 54 at 2-3 (“A fact-finder’s understanding of one patent will not inform her

 understanding of the other patent.”)).

        Huawei’s attempt to distinguish the result it argued for (successfully) in its prior case

 falls flat. Opp. at 2-3. By Huawei’s own admission, there this Court severed four LTE patent

 cases, none of which had more than seven patents asserted, into eight cases, none of which had

 more than four. Id. Here there are twelve patents asserted in one case, and four distinct sets of

 industry standards at issue instead of just one. If this were simply a matter of counting patents-

 per-case, the result in Huawei v. T-Mobile would further support severing here.

        But this is not just a matter of counting patents, and instead is one of complete lack of

 factual overlap to justify simultaneous treatment of claims. As Huawei argued in its T-Mobile

 cases: “Although NSN contends both sets of patents broadly involve ‘LTE cellular technology,’ the

 differences . . . are incredibly broad.” Huawei, No. 2:16-cv-00052-JRG-RSP, Dkt. 35 at 4-5 (E.D.

 Tex. June 6, 2016) (“There is no technical efficacy to be gained by tying these patents together

 because the issues for infringement, validity, and damages will have little in common.”). In

 contrast, here Huawei suggests that the sets of claims remain together because they both “relate

 to networking arrangement and communications.” Opp. at 1. This alleged commonality is even

 more vague than what was argued in the Huawei v. T-Mobile cases, even as the differences

 between the patents are more pronounced here. Huawei’s position here simply cannot be

 reconciled with its position there. But even setting aside what Huawei has argued, this Court

 correctly determined in the Huawei v. T-Mobile cases, as it should here, that keeping




                                                -3-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 98
                                                         6 ofof8312 PageID
                                                                 PageID    #: 705
                                                                        #: 1362



 “technologically disparate patents in one case creates no efficiency gains.” Huawei, 2016 WL

 7191855 at *1-2, Dkt. 54 at 2-3.5

         Technological difference was also an important aspect of the court’s decision in ROY-G-

 BIV Corporation v. FANUC Ltd., No. 2:07-CV-418 (DF), 2009 WL 10677443 at *1 (E.D. Tex.

 April 14, 2009), where the court severed because “Defendants’ two counterclaim patents deal

 with relatively distinct technology,” and not merely because of delay as Huawei suggests. Opp.

 at 4; Mot. at 7.

         Huawei fails to present any case from this district denying a motion to sever infringement

 counterclaims. Instead Huawei suggests that the Court “allow[ed] a case to proceed without

 severing” or “declined to sever” in three cases in which no motion to sever infringement

 counterclaims was ever brought. Opp. at 7-9. In fact, in the Metaswitch cases referred to by

 Huawei (id. at 7-8) this Court did stay and then sever non-patent claims and counterclaims

 (including for breach of FRAND obligations) from two cases to consolidate them with a third.

 See, e.g., Genband US LLC v. Metaswitch Networks Ltd., 2:14-cv-00744-JRG, Dkt. 385 (June 3,

 2016). Huawei does not explain or opine why counsel in each of the three cases it cites did not

 also seek to sever infringement counterclaims, or provide analysis sufficient to determine




 5
   Differences between the patents were a significant factor weighing toward severing even in the
 primary N.D. Cal. case relied on by Huawei. See Broadcom Corp. v. Sony Corp., No. SACV 16-
 1052-JVS (JCGx), 2016 WL 9108039, at *3-5 (N.D. Cal. Dec. 20, 2016) (“There are vast,
 important factual differences between Broadcom’s claims and Sony’s counterclaims: ‘different
 patents, covering different technologies, invented by different inventors, allegedly infringed at
 different times, by different parties, by different, noncompeting products, in different ways.’”).
 That case was decided based in part on factors that do not apply and in fact would pull the other
 way here, such as advance notice by Sony of its “intent to pursue infringement counterclaims in
 the parties’ Rule 26(f) discussions and in pre-suit negotiations.” Id. at *5. Harris had no
 advance warning or reason to expect that Huawei would file counterclaims here, particularly
 given that Harris was participating in good faith in negotiations with Huawei immediately prior
 to the filing. See Mot. at fn. 3.


                                                -4-
Case
 Case1:19-cv-01306-MN
      2:18-cv-00439-JRGDocument 16-3
                         Document 69 Filed
                                     Filed 09/03/19
                                           05/30/19 Page
                                                    Page 99
                                                         7 ofof8312 PageID
                                                                 PageID    #: 706
                                                                        #: 1363



 whether doing so would have been warranted.

        Here in this case, for all of the reasons given in its Motion to Sever and herein, Harris has

 very real concerns about prejudice, undue complexity in hearings and briefs, and jury confusion

 at trial, should Harris’s claims and Huawei’s infringement counterclaims be jammed together

 into the same case and case schedule. These fundamentally separate and factually distinct cases

 should be treated as separate and factually distinct in the interest of the just and efficient

 resolution of both. Huawei has failed to show any legitimate reason to suggest otherwise, or any

 authority from this district for denying Harris’s motion.

 III.   CONCLUSION

        Plaintiff Harris respectfully requests that the Court sever Huawei’s counterclaims for

 patent infringement (Counterclaim Nos. 15-19) into a separate action to be litigated and tried

 according to a separate, trailing schedule.


 Dated: May 30, 2019                            Respectfully Submitted,


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                                                  -5-
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  69 Filed
                                       Filed09/03/19
                                             05/30/19 Page
                                                       Page100
                                                            8 ofof8 312 PageID
                                                                    PageID     #: 707
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a) with a copy of this document via the Court’s CM/ECF

 system.



 Dated: May 30, 2019
                                        By: /s/ Corey Johanningmeier
                                           Corey Johanningmeier




                                              -6-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 101 of 312 PageID #: 708




                  EXHIBIT 16
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page102
                                                            1 ofof8 312 PageID
                                                                    PageID     #: 709
                                                                           #: 1457



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  HARRIS CORPORATION,                             §
                                                  §
                                                  §
                Plaintiff,                        §
                                                  §
  v.                                              §     CIVIL ACTION NO. 2:18-CV-00439-JRG
                                                  §
  HUAWEI DEVICE USA, INC., HUAWEI                 §
  DEVICE CO., LTD., HUAWEI                        §
  TECHNOLOGIES CO. LTD., HUAWEI                   §
  TECHNOLOGIES USA INC., HUAWEI                   §
  DEVICE (SHENZHEN) CO., LTD.,                    §
                                                  §
                Defendants.                       §

                                             ORDER

        Before the Court is Defendants Huawei Device (Shenzhen) Co., Ltd., Huawei Device Co.,

 Ltd.; Huawei Device USA, Inc.; Huawei Technologies Co. Ltd.; and Huawei Technologies USA

 Inc.’s (collectively, “Huawei”) Opposed Motion to Amend/Correct Docket Control Order (the

 “Huawei Motion”). (Dkt. No. 60.) Also before the Court is Plaintiff Harris Corporation’s

 (“Harris”) Motion to Sever Defendants’ Infringement Counterclaims (the “Harris Motion”). (Dkt.

 No. 65.) Having considered the respective motions and for the reasons discussed herein, the Court

 GRANTS the Harris Motion and DENIES AS MOOT the Huawei Motion.

 I.     BACKGROUND

        On October 24, 2018, Harris sued Huawei for infringement (the “Harris Infringement

 Claims”) of U.S. Patent Nos. 6,535,227 (the “’227 Patent”); 6,958,986 (the “’986 Patent”);

 6,980,537 (the “’537 Patent”); 7,017,426 (the “’426 Patent”); 7,224,678 (the “’678 Patent”);

 7,327,690 (the “’690 Patent”); and 7,440,572 (the “’572 Patent”) (collectively, the “Harris

 Patents”). (Dkt. No. 1 ¶¶ 14–27, 45–134 (Complaint); see also Dkt. No. 13 ¶¶ 12–25, 43–132
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page103
                                                            2 ofof8 312 PageID
                                                                    PageID     #: 710
                                                                           #: 1458



 (Amended Complaint filed on Feb. 15, 2019).) The Harris Patents relate to network management

 (e.g., routing, clustering, and scheduling) and security (e.g., cryptography and intrusion detection)

 aspects of wireless networks. (See Dkt. No. 65 at 2; Dkt. No. 13 ¶¶ 12–25; Dkt. No. 31 at 1–3

 (Huawei’s Motion to Dismiss).) Huawei subsequently filed a Rule 12(b)(6) Motion to Dismiss

 Amended Complaint for Failure to State a Claim Under 35 U.S.C. § 101. (Dkt. No. 31; see also

 Dkt. No. 47 (identifying challenged claims of the Harris Patents).)

        Despite its pending motion to dismiss, Huawei filed an Answer on April 26, 2019, asserting

 five counterclaims of patent infringement (the “Huawei Infringement Claims”). (Dkt. No. 56

 ¶¶ 113–70 (Counterclaims Fifteen, Sixteen, Seventeen, Eighteen, and Nineteen).) Specifically,

 Huawei accuses Harris of infringing U.S. Patent Nos. RE44,325 (the “’325 Patent”); 8,416,892

 (the “’892 Patent”); 8,798,575 (the “’575 Patent”); 9,838,851 (the “’851 Patent”); and 10,117,226

 (the “’226 Patent”) (collectively, the “Huawei Patents”). (Id. at ¶ 1.) The Huawei Patents relate

 to aspects of Power over Ethernet technology and Long-Term Evolution (LTE) telecommunication

 technology. (See id.; see also Dkt. No. 68 at 1; Dkt. No. 65 at 3.)

        During the pendency of the Harris and Huawei Motions, Huawei disclosed its infringement

 contentions pursuant to Local Patent Rules 3-1 & 3-2 on May 13, 2019. (Dkt. No. 64.) Likewise,

 Harris has filed an Answer to the Huawei Infringement Claims. (Dkt. No. 72 ¶¶ 113–70.)

 II.    DISCUSSION

        Huawei moves for this Court to “add deadlines [to the Docket Control Order] for the

 parties’ disclosures and document productions pursuant to Local Patent Rules 3-1 through 3-4.”

 (Dkt. No. 60 at 1 (Huawei Motion).) Harris requests the Court “sever Huawei’s Fifteenth through

 Nineteenth Counterclaims for patent infringement into a separate action” and reject Huawei’s




                                                  2
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page104
                                                            3 ofof8 312 PageID
                                                                    PageID     #: 711
                                                                           #: 1459



 proposed amendments to the Docket Control Order. (Dkt. No. 65 at 1 (Harris Motion); Dkt. No.

 66 at 8 (Response to Huawei Motion).)

          Federal Rule of Civil Procedure 21 states that “[a]ny claim against a party may be severed

 and proceeded with separately.” A district court is afforded “broad discretion to sever issues to be

 tried before it.” Brunet v. United Gas Pipeline Co., 15 F.3d 500, 505 (5th Cir. 1994) (citing Rule

 21). However, the court may refuse to sever claims if it “believes that it only will result in delay,

 inconvenience, or added expense.” In re Rolls Royce Corp., 775 F.3d 671, 680 n.40 (5th Cir.

 2014).

          Harris argues that “there are no identified factual issues in common between claim

 construction, infringement, validity, or damages for [the Harris P]atents and [the]

 Huawei[ P]atents” because the Huawei Infringement Claims “concern different networking

 technologies and standards, accuse different categories of products in different markets, implicate

 no common witnesses or evidence, and will require completely separate analyses for claim

 construction, infringement, validity, and damages—including because [the Huawei P]atents are

 subject to FRAND obligations whereas [the Harris P]atents are not.” (See Dkt. No. 65 at 1, 4.)

 Harris also argues that “Huawei’s voluntary early service of contentions or disclosures, as well as

 its stated willingness to enter claim construction days after seeing Harris’s contentions . . . fail to

 cure the burden it seeks to impose on Harris by compressing the ordinary early course of what is

 (in practical effect) a completely separate litigation.” (Id. at 6 (internal citation omitted).)

 “Huawei’s attempt to apply further narrowing pressure through the untimely assertion and

 proposed joint treatment of disparate counterclaims should be rejected as prejudicial.” (Id. at 5

 (emphasis in original).)




                                                   3
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page105
                                                            4 ofof8 312 PageID
                                                                    PageID     #: 712
                                                                           #: 1460



        Huawei responds that “litigating Harris’[] and Huawei’s infringement claims at the same

 time will reduce the burden on the Court and the parties because there will not be a need to double

 all of the activities across two litigations and on different—often competing—schedules.” (Dkt.

 No. 68 at 5.) Harris is not prejudiced by litigating the Huawei Infringement Claims because

 “Huawei filed its counterclaims early enough to not disrupt the dates in the current schedule,”

 thereby “ensuring that the parties would be able to proceed with claim construction disclosures

 under a single, unified schedule.” (Dkt. No. 71 at 4.) Huawei also argues that “any risk of

 confusing the jury [is] premature because ‘there are other procedural mechanisms to address this

 issue’ and the parties are more likely to take steps toward resolving the dispute.” (See Dkt. No. 68

 at 6 (quoting Broadcom Corp. v. Sony Corp., No. SACV 16-1052-JVS (JCGx), 2016 WL 9108039,

 at *4 (C.D. Cal. Dec. 20, 2016)).) Additionally, Huawei contends that “jointly litigating both

 parties’ claims will promote earlier settlement.” (Dkt. No. 68 at 7.)

        Considering the totality of circumstances, the Court is persuaded that the Huawei

 Infringement Claims should be severed from the above-captioned case. See Fed. R. Civ. P. 21.

 The Harris Patents and the Huawei Patents do not share similar technologies, and severance would

 simplify an already complex matter. A fact-finder’s understanding of any one of the Harris Patents

 will not inform her understanding of the Huawei Patents, and vice-versa. See Huawei Techs. Co.

 v. T-Mobile US, Inc., No. 2:16-cv-52-JRG-RSP, 2016 WL 7191855, at *1 (E.D. Tex. July 11,

 2016), report and recommendation adopted, 2017 WL 7052466 (E.D. Tex. Sept. 10, 2017). This

 is particularly true given that the Harris Patents themselves involve interrelated, yet distinct,

 technologies (e.g., cryptography; intrusion detection; and network routing, scheduling, and

 clustering). Moreover, the technological differences between the Harris and Huawei Patents do

 not present common or overlapping questions of law or fact, thus necessitating different witnesses,



                                                  4
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page106
                                                            5 ofof8 312 PageID
                                                                    PageID     #: 713
                                                                           #: 1461



 experts, and documentary proof to resolve the parties’ respective disputes. 1,2 Further adding the

 complexity of the Huawei Patents to the factual considerations that the fact-finder would already

 be tasked with as to the Harris Patents risks jury-confusion. Indeed, “[t]rying these technologically

 disparate patents in one case creates no efficiency gains.” Huawei Techs., 2016 WL 7191855, at

 *1.

        Additionally, unlike the Broadcom case upon which Huawei relies, the Court finds no

 indication that the Harris Infringement Claims and the Huawei Infringement Claims arose from a

 single, pre-suit transaction. Cf. Broadcom, 2016 WL 9108039, at *3 (finding that the fact that “it

 appear[ed] as though there was a single transaction that involved some of the patents at issue . . . .

 weigh[ed] against severing the case”). The only commonality between the Harris Infringement

 Claims and the Huawei Infringement Claims is the presence of the parties before this Court in this

 case. Accordingly, the Court is persuaded that Harris’ and Huawei’s respective patent rights may



 1
   While the Court finds that the five factors set forth in Broadcom are persuasive in exercising the
 Court’s discretion under Rule 21, the Court declines to expressly adopt the Broadcom factors as
 the sole avenue through which to exercise its discretion in this instance. See Broadcom, 2016 WL
 9108039, at *2 (examining whether (1) the claims arise out of the same transaction or occurrence;
 (2) the claims present some common questions of law or fact; (3) settlement of the claims or
 judicial economy would be facilitated; (4) prejudice would be avoided if severance were granted;
 and (5) different witnesses and documentary proof are required for the separate claim.”)
 2
   See Broadcom, 2016 WL 9108039, at *3–4 (“There are vast, important factual differences
 between [the parties’ respective infringement claims and counterclaims]: different patents,
 covering different technologies, invented by different inventors, allegedly infringed at different
 times, by different parties, by different, noncompeting products, in different ways . . . . [that]
 weighs in favor of severing the case.”); id. at *5 (explaining that the counterclaimant’s “need to
 present different evidence and witnesses to establish its infringement claims . . . . weighs in favor
 of the Court severing the case”); Huawei Techs., 2016 WL 7191855, at *2 (explaining that “in
 many ways, FRAND cases actually de-emphasize the importance of shared facts such as facts
 about the parties” because “[d]amages assessments in FRAND cases raise highly patent-specific
 issues”); ROY-G-BIV Corp. v. FANUC Ltd., No. 2:07-cv-418-DF, 2009 WL 10677443, at *1 (E.D.
 Tex. Apr. 14, 2009) (“Because Defendants’ two counterclaim patents deal with relatively distinct
 technology and because this case would be unduly delayed if those patents remain in this case, the
 Court finds that Defendants’ infringement counterclaims . . . warrant a severance pursuant to Rule
 21.”).
                                                   5
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page107
                                                            6 ofof8 312 PageID
                                                                    PageID     #: 714
                                                                           #: 1462



 be prejudiced by trying the Harris Infringement Claims and the Huawei Infringement Claims

 together. Severance of the Huawei Infringement Claims is appropriate.

        However, given the early posture of this case, 3 the Court is not persuaded that resolution

 of the Huawei Infringement Claims should be delayed. See U.S. v. O’Neil, 709 F.2d 361, 368 (5th

 Cir. 1983) (explaining that severance creates “two separate actions or suits where previously there

 was but one”). Huawei has not been dilatory in bringing the Huawei Infringement Claims. Despite

 Huawei’s pending Rule 12(b)(6) motion, 4 Huawei filed its Answer and raised the Huawei

 Infringement Claims 70 days after Harris’ Amended Complaint and 125 days before Harris’

 deadline to file amended pleadings. (See Dkt. No. 45.) Additionally, the Court finds that Huawei’s

 proposed amendments to the Docket Control Order provides Harris with the same amount of time

 to serve its P.R. 3-3 and 3-4 invalidity contentions as to the Huawei Patents after receipt of

 Huawei’s P.R. 3-1 and 3-2 infringement contentions as Huawei had with respect to the Harris

 Patents. (See Dkt. No. 61-1 at 4 (Huawei’s proposed amendment to the Docket Control Order).)

 Indeed, Huawei has endeavored not to disturb the Court’s deadlines.

        Accordingly, the Court is persuaded that the pretrial deadlines set forth in Huawei’s

 proposed Docket Control Order, with some modification, should govern the severed action

 comprising the Huawei Infringement Claims.



 3
   The deadline for the parties to file amended pleadings is August 29, 2019, and the deadline for
 the parties to complete fact discovery is January 13, 2020. (Dkt. No. 45.) Cf. also ROY-G-BIV,
 2009 WL 10677443, at *1 (explaining that “Defendants’ delay in bringing their counterclaims
 created a situation in which discovery and claim-construction on both parties’ patents could not
 proceed simultaneously without drastic modification of this Court’s Docket Control Order” was
 “reason alone . . . to sever Defendants’ patents”).
 4
   “Unless the court sets a different time, serving a motion under [Rule 12] alters the[ time to serve
 responsive pleadings] as follows: (A) if the court denies the motion or postpones its disposition
 until trial, the responsive pleading must be served within 14 days after notice of the court’s action
 . . . .” Fed. R. Civ. P. 12. The Court has not yet ruled on Huawei’s Rule 12(b)(6) Motion to
 Dismiss Amended Complaint for Failure to State a Claim Under 35 U.S.C. § 101 (Dkt. No. 31).
                                                  6
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page108
                                                            7 ofof8 312 PageID
                                                                    PageID     #: 715
                                                                           #: 1463



 III.   CONCLUSION

        For the forgoing reasons, Harris’ Motion to Sever Defendants’ Infringement Counterclaims

 (Dkt. No. 65) is GRANTED. It is therefore ORDERED that Huawei’s Fifteenth, Sixteenth,

 Seventeenth, Eighteenth, and Nineteenth Counterclaims (Dkt. No. 56 ¶¶ 113–70) are hereby

 SEVERED into a separate cause of action (the “Huawei Action”), with Huawei’s remaining

 counterclaims continuing (and remaining unsevered) in the above-captioned case. It is further

 ORDERED that:

           1) Huawei is permitted to file an amended complaint asserting its Fifteenth, Sixteenth,

               Seventeenth, Eighteenth, and Nineteenth Counterclaims (Dkt. No. 56 ¶¶ 113–70)

               in the Huawei Action, in which Huawei shall be designated and re-aligned as the

               Plaintiff and Harris shall be designated and re-aligned as the Defendant;

           2) After the Huawei Action has been created, the Court will consolidate the Huawei

               Action (the “Member Case”) with this case—No. 2:18-cv-00439 (the “Lead

               Case”)—for all pre-trial issues;

           3) The Court hereby ADOPTS AS MODIFIED Huawei’s proposed amendment to

               the Docket Control Order (Dkt. No. 60-1) as the Docket Control Order for the

               Huawei Action. The Court SETS jury selection for the Huawei Action on June 8,

               2020. The proposed Docket Control Order (Dkt. No. 60-1), as modified, shall

               govern the Huawei Action regardless of when it is formally consolidated with the

               Lead Case. After the Huawei Action has been created, the Court will enter a Docket

               Control Order in that case that conforms to the Court’s instructions herein; and

           4) Harris and Huawei shall meet and confer to determine whether any amendments to

               the Court’s Protective Order (Dkt. No. 53), Discovery Order (Dkt. No. 44) in the



                                                  7
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  73 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page109
                                                            8 ofof8 312 PageID
                                                                    PageID     #: 716
                                                                           #: 1464
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              Lead Case should be made for entry in the Huawei Action. Unless and until

              modified as to the Huawei Action, these orders shall be equally binding in the

              Huawei Action and in this case.

 Accordingly, Huawei’s Opposed Motion to Amend/Correct Docket Control Order (Dkt. No. 60)

 is DENIED AS MOOT.

     So ORDERED and SIGNED this 12th day of June, 2019.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE




                                                8
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 110 of 312 PageID #: 717




                  EXHIBIT 17
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  74 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page111
                                                            1 ofof2 312 PageID
                                                                    PageID     #: 718
                                                                           #: 1465



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  HUAWEI DEVICE USA, INC., HUAWEI                   §
  DEVICE    CO., LTD.,       HUAWEI                 §
  TECHNOLOGIES CO. LTD., HUAWEI                     §
  TECHNOLOGIES USA INC., HUAWEI                     §
  DEVICE (SHENZHEN) CO., LTD.,                      §
                                                    §
                                                    §
                 Plaintiff,                         §
                                                    §
  v.                                                §      CIVIL ACTION NO. 2:19-CV-00222-JRG
                                                    §
  HARRIS CORPORATION,                               §
                                                    §
                 Defendants.                        §

                                              ORDER

        In view of the Court’s previous order (Case No. 2:18-cv-439, Dkt. No. 73) severing

 Plaintiffs Huawei Device (Shenzhen) Co.; Ltd., Huawei Device Co.; Ltd., Huawei Device USA,

 Inc.; Huawei Technologies Co. Ltd.; and Huawei Technologies USA Inc.’s (collectively,

 “Huawei”) claims of patent infringement against Defendant Harris Corporation (“Harris”) into the

 instant action, the Court issues this Order sua sponte.

        It is hereby ORDERED that Case No. 2:19-cv-00222 (“Member Case”) is hereby

 CONSOLIDATED into the LEAD CASE, No. 2:18-cv-00439 (“Lead Case”) (together,

 “Consolidated Action”). All parties are instructed to file any future filings (except relating to

 venue) in the Lead Case. The Court’s protective order (Lead Case, Dkt. No. 53), discovery order

 (Lead Case, Dkt. No. 44), and order appointing a mediator (Lead Case, Dkt. No. 39) in the Lead

 Case will govern the entire Consolidated Action and all parties thereto, as well as their counsel.

 The Court shall enter a separate docket control order to govern the Member Case. Any proposed
Case
 Case1:19-cv-01306-MN  Document
       2:18-cv-00439-JRG        16-3
                         Document  74 Filed
                                       Filed09/03/19
                                             06/12/19 Page
                                                       Page112
                                                            2 ofof2 312 PageID
                                                                    PageID     #: 719
                                                                           #: 1466



 amendments to the docket control order, protective order, discovery order, or appointment of a
   .
 mediator shall be filed within two weeks of this Order.

        The local rules’ page limitations for Markman briefs and other motions will apply to the

 Consolidated Action. To further promote judicial economy and to conserve the parties’ resources,

 the Court encourages the parties to file a notice with the Court in the event that there are other

 related cases currently pending on the Court’s docket that may also be appropriate for

 consolidation with this case.

      So ORDERED and SIGNED this 12th day of June, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




                                                 2
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 113 of 312 PageID #: 720




                  EXHIBIT 18
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 114 of 312 PageID #: 721




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 HARRIS CORPORATION,                             )
                                                 )
                Plaintiff,                       )   CIVIL ACTION NO. 2:18-cv-00439-JRG
                                                 )
        v.                                       )   JURY TRIAL DEMANDED
                                                 )
 HUAWEI DEVICE USA, INC., HUAWEI                 )
 DEVICE CO., LTD., HUAWEI                        )
 TECHNOLOGIES USA INC., HUAWEI                   )
 TECHNOLOGIES CO. LTD., AND                      )
 HUAWEI DEVICE (SHENZHEN) CO.,                   )
 LTD.                                            )
                                                 )
                 Defendants.                     )


      HARRIS CORPORATION’S DISCLOSURE OF ASSERTED CLAIMS AND
 INFRINGEMENT CONTENTIONS UNDER P.R. 3-1 AND DOCUMENT PRODUCTION
              ACCOMPANYING DISCLOSURE UNDER P.R. 3-2


        Pursuant to Patent Rules 3-1 and 3-2 of the United States District Court for the Eastern

 District of Texas, Harris Corporation (“Harris”) provides the following Disclosure of Asserted

 Claims and Infringement Contentions and Document Production Accompanying Disclosure

 relating to U.S. Patent Nos. 6,535,227; 6,958,986; 6,980,537; 7,027,426; 7,224,678; 7,327,690;

 and 7,440,572 (the “Asserted Patents”). Harris’ investigation of the infringing acts of

 Defendants Huawei Device USA, Inc., Huawei Device Co., Ltd., Huawei Technologies USA

 Inc., Huawei Technologies Co. Ltd., and Huawei Device (Shenzhen) Co., Ltd., collectively

 (“Huawei” or “Huawei Corporation”) is ongoing, and discovery has not started yet. Harris

 Corporation therefore expressly reserves the right to supplement or amend its contentions and

 disclosures herein based on additional information obtained through formal discovery or other
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 115 of 312 PageID #: 722




       Patent No.                 Claims                 Accused Products
                                                         Networking Management
                                                         systems, including Agile
                                                         Controller and Cybersecurity
                                                         Intelligence System.
       6,958,986          1, 5-6, 9, 17, 21-22, 25       The Huawei Wi-Fi Products, as
                                                         listed below with respect to the
                                                         ’426 patent.

                                                         The Huawei Zigbee Products, as
                                                         listed below with respect to the
                                                         ’537 patent.

       6,980,537      1-5, 10-11, 16-19, 24-25, 30-31,   Huawei products that support
                        33-34, 36-40, 45-49, 54-68       connectivity according to the
                                                         Zigbee and/or IEEE 802.15.4
                                                         standards, (collectively the
                                                         “Huawei Zigbee Products”)
                                                         including:
                                                                    HS2145V,
                                                                    LS2035V,
                                                                    LS2025, and
                                                                    Configuration Tools
                                                                     for the QIVICON
                                                                     Home Base product
                                                          Huawei Echolife ONT
                                                            products that support Zigbee
                                                            connectivity, including but
                                                            not limited to those listed
                                                            above as Zigbee Certified
                                                            Products
                                                          Huawei AR160-M series
                                                             routers that support Zigbee
                                                             connectivity, including:
                                                              AR169RW-P-M9
                                                          Huawei AR502 series IoT
                                                             gateways, including:
                                                                 AR502EG-L,
                                                                 AR502EGW-L,
                                                                 AR502EGRz-L,
                                                                 AR502CG-L, and
                                                                 AR502EG-L-PD
                                                          X-Gen Wi-Fi AP7060DN
                                                            access point
                                                          IoT Connection Management


                                           -3-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 116 of 312 PageID #: 723




       Patent No.               Claims            Accused Products
                                                      Platform and associated IoT
                                                      gateway devices that support
                                                      Zigbee connectivity

       7,027,426                 1-27             Huawei products that support
                                                  connectivity according to the
                                                  IEEE 802.11 Wi-Fi standards,
                                                  including 802.11a/b/g/n,
                                                  802.11ac, and 802.11s, as well
                                                  as Huawei’s Mesh networking
                                                  products (collectively the
                                                  “Huawei Wi-Fi Products”),
                                                  including, but not limited to:
                                                   Huawei Access Points (e.g.,
                                                      AP1000, AP2000, AP4000,
                                                      AP5000, AP6000, AP7000,
                                                      AP8000, AP9000, AD9000
                                                      series of indoor and outdoor
                                                      access points), including:
                                                       AP2010DN
                                                       AP2030DN,
                                                       AP2050DN,
                                                       AP2050DN-E,
                                                       AP4030DN,
                                                       AP4130DN,
                                                       AP4030TN,
                                                       AP4050DN,
                                                       AP4050DN-E,
                                                       AP4050DN-HD,
                                                       AP4051DN,
                                                       AP4151DN,
                                                       AP4051TN,
                                                       AP5030DN,
                                                       AP5130DN,
                                                       AP6050DN,
                                                       AP6150DN,
                                                       AP6052DN,
                                                       AP7030DE,
                                                       AP7050DE,
                                                       AP7052DE,
                                                       AP7052DN,
                                                       AP7152DN,
                                                       AP7060DN,


                                         -4-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 117 of 312 PageID #: 724




        Patent No.                       Claims                  Accused Products
                                                                        AC6605,
                                                                        AC6005,
                                                                        AC6003,
                                                                        ACU2 Wireless Access
                                                                         Controller Unit,
                                                                       X1E Series Native
                                                                         Wireless Access
                                                                         Controller Card,
                                                                       and other models that
                                                                         include WIDS or similar
                                                                         functionality.
                                                                  Huawei Routers, which may
                                                                      act as Access Controllers,
                                                                      including, on information
                                                                      and belief: AR Series
                                                                      (including AR120, AR150,
                                                                      AR160, AR200, AR500,
                                                                      AR510, AR1200, AR2200,
                                                                      AR3200, AR3600 Series
                                                                      Enterprise Routers.
                                                                  eSight Platform, eSight
                                                                      WLAN Manager and other
                                                                      eSight products that support
                                                                      WIDS
         7,440,572                        1, 47                  The Huawei Zigbee Products, as
                                                                 listed below with respect to the
                                                                 ’537 patent.


 III.   CLAIM CHARTS FOR INFRINGEMENT OF THE ASSERTED PATENTS (P.R.
        3-1 (c))

        Attached as Exhibits A-F are claim charts showing infringement of the Asserted Patents

 identifying where each limitation of each Asserted Claim is found in each Accused

 Instrumentality, including identification of the structures, acts, or materials in the Accused

 Instrumentalities that perform the function limitations governed by 35 U.S.C. § 112(6).

                           Exhibit            Chart For Patent No.
                              A.                     6,535,227
                              B.                     6,958,986
                              C.                     6,980,537

                                                  -13-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 118 of 312 PageID #: 725




 Dated: April 3, 2019                Respectfully Submitted,


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                                      ATTORNEYS FOR PLAINTIFF
                                      HARRIS CORPORATION




                                      -18-
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 119 of 312 PageID #: 726




                  EXHIBIT 19
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page120
                                                             1 ofof31312 PageID
                                                                      PageID #: #:
                                                                                17727



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 HUAWEI DEVICE USA, INC.                              )
 HUAWEI DEVICE CO., LTD.,                             ) Civil Action No. 2:19-cv-00222-JRG
 HUAWEI TECHNOLOGIES USA INC.,                        )
 HUAWEI TECHNOLOGIES CO. LTD., AND                    )
 HUAWEI DEVICE (SHENZHEN) CO., LTD.,                  )
                                                      ) JURY TRIAL DEMANDED
        Plaintiffs,                                   )
                                                      )
 v.                                                   )
                                                      )
 HARRIS CORPORATION,                                  )
                                                      )
        Defendant.                                    )


               PLAINTIFFS’ COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Huawei Device USA, Inc. (“Huawei USA”), Huawei Device Co. Ltd. (“Huawei

 Device”), Huawei Technologies USA Inc. (“HTUS”), Huawei Technologies Co. Ltd. (“Huawei

 Technologies”), and Huawei Device (Shenzhen) Co. Ltd. (“Huawei Shenzhen”) (collectively,

 “Plaintiffs” or “Huawei”) hereby files this complaint for Patent Infringement against Defendant

 Harris Corporation (“Harris” or “Defendant”) and alleges as follows:

                                     NATURE OF ACTION

        1.      This is an action brought by Huawei against Harris for infringement of U.S.

 Patent Nos. RE44,325 (“the ’325 Patent), 8,416,892 (“the ’892 Patent), 8,798,575 (“the ’575

 Patent), 9,838,851 (“the ’851 Patent) and 10,117,226 (“the ’226 Patent) (collectively, “the

 Huawei Asserted Patents”).

                                            PARTIES

        2.      Huawei USA is a Texas corporation with a place of business in Plano, Texas;

 Huawei Device is a Chinese company with a place of business in Dongguan, People’s Republic


                                                -1-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page121
                                                             2 ofof31312 PageID
                                                                      PageID #: #:
                                                                                18728



 of China; HTUS is a Texas corporation with a place of business in Plano, Texas; Huawei

 Technologies is a Chinese company with a place of business in Shenzhen, People’s Republic of

 China; Huawei Shenzhen is a Chinese company with a place of business in Shenzhen, People’s

 Republic of China.

        3.     Founded in 1987 in Shenzhen, China, Huawei has become a global leader of

 information and communication technology (“ICT”) solutions. Continuously innovating to meet

 customer need, Huawei is committed to enhancing customer experience and creating maximum

 value for telecommunications carriers, enterprises, and consumers. Huawei’s telecom network

 equipment, IT products and solutions, and smart devices are deployed and used in more than 170

 countries and regions and serve over one-third of the world’s population. Huawei currently

 employs 180,000 employees globally.

        4.     Huawei is a leader in research, innovation, and implementation of future

 networks, focusing on current customer needs, as well as long-term technology research and

 standardization. Huawei has invested substantially in research and development to become and

 maintain its global leadership in 4G, 5G and other wireless communications technology. Huawei

 has assembled a global team of approximately 80,000 employees working on research and

 development, located in 36 joint innovation centers and 14 R&D centers around the world.

        5.     Huawei’s innovations are central to important cutting-edge technologies,

 including ultrabroadband solutions, such as LTE wireless networks. As a result of Huawei’s

 substantial dedication to R&D in the telecommunications industry over the past three decades,

 Huawei has witnessed and contributed to the evolution of telecommunication networks from the

 Wire Link Age, into the Wireless Age, and developing from 2G to 3G to 4G, with current




                                               -2-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page122
                                                             3 ofof31312 PageID
                                                                      PageID #: #:
                                                                                19729



 progress toward 5G. Over the course of this evolution, Huawei has been responsible for several

 of the industry’s notable achievements and milestones.

        6.      Huawei actively participates and drives core telecommunications standards in

 leading technical organizations, such as 3GPP, IEEE, IETF, ITU-T, GSMA, ETSI, CCSA,

 IMTC, SIP Forum, MSF, NGMN, OMA, 3GPP2, etc. Huawei is a member of 400 Standard

 Setting Organizations (“SSOs”), industry alliances, and open source communities. Thousands of

 contributions submitted by Huawei were approved by these organizations. In addition, Huawei

 has obtained dozens of leadership positions in these core network technology related SSOs, such

 as chairs, rapporteurs, and editors.

        7.      Huawei has led the development of technologies that improve the individuation

 and reliability of wireless networks, while reducing the operating costs and improving the

 efficiency of wireless networks. These technologies enable, for example, efficient initial access

 to a wireless network, improving multicast communications over a wireless network, and

 improving the efficiency and variety of charging solutions. These features can be and generally

 are implemented on various networking products or software components, such as a User

 Equipment (“UE”), a Multi-cell/Multicast Coordination Entity (“MCE”), a Broadcast Multicast-

 Service Center (“BM-SC”), a Serving Gateway (“SGW”), a Packet Data Network Gateway

 (“PGW”), a Mobility Management Entity (“MME”), an Evolved Node B (“eNodeB”), a Radio

 Network Controller (“RNC”), Flow Based Charging (“FBC”) and/or Policy and Charging

 Control (“PCC”) system/ architecture related components, such as Charging Rules Function

 (CRF), Traffic Plane Function (TPF), Policy and Charging Rules Function (“PCRF”), Policy and

 Charging Enforcement Function (“PCEF”), and a Serving GPRS Support Node (“SGSN”), a

 Gateway GPRS Support Node (“GGSN”).




                                                -3-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page123
                                                             4 ofof31312 PageID
                                                                      PageID #: #:
                                                                                20730



        8.      In paragraph 1 its Amended Complaint in Case No. 2:18-cv-00439-JRG, Harris

 avers that Harris Corporation is a Delaware corporation duly organized and existing under the

 laws of the state of Delaware with its principal place of business at 1025 West NASA Boulevard,

 Melbourne, Florida.

                                 JURISDICTION AND VENUE

        9.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

 §§ 1331, 1338(a), 2201, and 2202 as Huawei counterclaims against Harris in Case No. 2:18-cv-

 00439-JRG pursuant to the patent laws of the United States, Title 35, United States Code, and

 the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. An actual, substantial and

 continuing justiciable controversy exists between Harris and Huawei based on Harris having

 filed an Amended Complaint in Case No. 2:18-cv-00439-JRG against Huawei alleging

 infringement of the ’227 Patent, the ’986 Patent, the’537 Patent, the’426 Patent, the ’678 Patent,

 the ’690 Patent, and the ’572 Patent.

        10.     Harris has submitted to personal jurisdiction of this Court through the filing of its

 Amended Complaint against Huawei in Case No. 2:18-cv-00439-JRG.

        11.     Venue is proper in this Court because Harris filed the Complaint in Case No.

 2:18-cv-00439-JRG.

                                         HUAWEI PATENTS

        12.     United States Reissue Patent No. RE44,325 (“the ’325 Patent”), titled “Method of

 Providing a Remote Power Feed to a Terminal in a Local Area Network, and Corresponding

 Remote Power Feed Unit, Concentrator, Repeator, and Terminal,” was duly and lawfully issued

 June 25, 2013. Huawei Technologies is the owner of all right, title, and interest in the ’325

 Patent. A true and correct copy of the ’325 Patent is attached hereto as Exhibit 1.




                                                 -4-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page124
                                                             5 ofof31312 PageID
                                                                      PageID #: #:
                                                                                21731



        13.     The claims of the ’325 Patent are not directed to basic tools of scientific and

 technological work, fundamental economic practices, or the use of an abstract idea or

 mathematical formula.

        14.     Rather, the ’325 Patent describes problems and shortcomings in the field of power

 distribution and networking, and claims novel and inventive technological improvements and

 solutions to such problems and shortcomings. For example, the ’325 Patent describes the

 difficulty of providing power to a remote terminal over a communication line. Transmitting

 supply power over the same set of wires used to transmit data can be advantageous, allowing

 devices to operate even if a local power source isn’t available. This transmission, however, can

 damage a terminal unless it is specially designed to be powered over the communication line. To

 address this problem, the ’325 Patent generally describes novel methods for safely testing a

 terminal, determining if it is designed to be powered remotely, and supplying power only if it is

 safe to do so. In an exemplary embodiment, the ’325 Patent describes a system that is

 configured to transmit low energy test signals to the terminal device. The system will then

 determine the impedance of the terminal. The system will transmit power if the detected

 impedance is indicative of a terminal that is designed to operate on remote power.

        15.     United States Patent No. 8,416,892 (“the ’892 Patent”), titled “Method and

 apparatus of transmitting a random access preamble,” was duly and lawfully issued April 9,

 2013. Huawei Technologies is the owner of all right, title, and interest in the ’892 Patent. A true

 and correct copy of the ’892 Patent is attached hereto as Exhibit 2.

        16.     The claims of the ’892 Patent are not directed to basic tools of scientific and

 technological work, fundamental economic practices, or the use of an abstract idea or

 mathematical formula.




                                                 -5-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page125
                                                             6 ofof31312 PageID
                                                                      PageID #: #:
                                                                                22732



        17.     Rather, the ’892 Patent describes a random access procedure that a mobile device

 and base station use to synchronize with and connect to each other in a mobile

 telecommunication system. As part of this procedure, a mobile device transmits a random access

 preamble (“RAP”) that a base station detects and uses to estimate the time of arrival of an uplink

 signal. The set of RAPs must be carefully designed to have good autocorrelation and cross-

 correlation properties in order to have good detection properties. The ’892 Patent discloses an

 improved synchronization process that involves transmitting RAPs with desirable properties.

 For example, the RAPs of the ’892 Patent are generated using a cyclic shift, selected from a pre-

 defined set of cyclic shift increments.

        18.     The ’892 Patent addresses a problem rooted in mobile communications

 technology: “selecting an appropriate limited set of ZCZ lengths, in order to ensure a small and

 limited signaling overload.” ’892 Patent at 3:20–23. Prior systems were deficient because they

 either selected only one of fixed set of preambles without modification, or cyclically shifted one

 preamble but without any restriction on the number of possible cyclic shifts. See, e.g., Id. at 3:9-

 14. The claimed solution of the ’892 Patent resulted in decreased interference and low signal

 overload.

        19.     United States Patent No. 8,798,575 (“the ’575 Patent”), titled “Method for

 improving service data flow based charging and system thereof,” was duly and lawfully issued

 August 5, 2014. Huawei Technologies is the owner of all right, title, and interest in the ’575

 Patent. A true and correct copy of the ’575 Patent is attached hereto as Exhibit 3.

        20.     The claims of the ’575 Patent are not directed to basic tools of scientific and

 technological work, fundamental economic practices, or the use of an abstract idea or

 mathematical formula.




                                                 -6-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page126
                                                             7 ofof31312 PageID
                                                                      PageID #: #:
                                                                                23733



        21.     Rather, the ’575 Patent describes methods and systems for improving service data

 flow based charging. The ’575 Patent provides a solution whereby a charging rules function

 (“CRF”) dynamically provides address information of a charging system to a traffic plane

 function (TPF) so that the TPF can address the charging system corresponding to the address

 information.

        22.     The claims of the ’575 Patent are directed to a manner in which a CRF and TPF

 communicate to facilitate access of charging system by the TPF. The claimed solutions of the

 ’575 Patent override the routine and conventional manner in which prior systems accessed

 charging systems. For example, instead of pre-configuring address information of a charging

 system, the CRF of ’575 Patent’s system dynamically sends address information to the TPF.

        23.     The claimed solution of the ’575 Patent addresses a problem rooted in wireless

 networking technology: how to efficiently direct a TPF to a charging system. The ’575 Patent’s

 claimed solution, like the problem it addresses, is also rooted in wireless networking technology,

 and is directed to how the CRF provides the TPF with the charging rules and address information

 about the charging system to facilitate flexible charging of services provided in a cellular

 telecommunications system. This interaction between the CRF and TPF maximizes the

 efficiency of the network.

        24.     United States Patent No. 9,838,851 (“the ’851 Patent”), titled “Subframe

 Processing Method and Device,” was duly and lawfully issued December 5, 2017. Huawei

 Technologies is the owner of all right, title, and interest in the ’851 patent. A true and correct

 copy of the ’851 Patent is attached hereto as Exhibit 4.




                                                  -7-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page127
                                                             8 ofof31312 PageID
                                                                      PageID #: #:
                                                                                24734



          25.   The claims of the ’851 Patent are not directed to basic tools of scientific and

 technological work, fundamental economic practices, or the use of an abstract idea or

 mathematical formula.

          26.   Rather, the ’851 Patent addresses problems and shortcomings in the field of

 mobile communications, and subframe processing in particular, and claims novel and inventive

 technological solutions to such problems and shortcomings. For example, the ’851 Patent

 describes the limitations in the prior art Multimedia Broadcast Multicast Service (MBMS)

 system where the loss of at least two consecutive MBMS data packets in a synchronization

 sequence or all type 0 PDUs that indicated transmission completion of a synchronization

 sequence would cause the evolved NodeB (eNB) to generate incorrect Dynamic Schedule

 Information (DSI) in a transmission between the eNB and user equipment (UE), which could

 interfere with other eNBs and cause incorrect data reception by the UE connected to the network.

          27.   The technology recited in the claims of the ’851 Patent specifies how to prevent

 the distribution of incorrect DSI and increase the quality of synchronization during the

 transmission of MBMS data packets in a MBMS Single Frequency Network (MBSFN)—a result

 that overrides the routine and conventional practice of transmitting incorrect DSI when data

 packets are lost during an MBMS transmission. For example, instead of the eNB in the MBSFN

 area transmitting incorrect DSI when two or more consecutive packets in a synchronization

 sequence are lost in transmission from a broadcast multicast-service center (BM-SC) to the eNB,

 as an eNB operating in the normal, expected manner would do, the claimed subframe processing

 method sets a subframe with DSI to null when an eNB cannot determine the transmission

 position of the at least two lost consecutive MBMS data packets in the Dynamic Schedule Period

 (DSP).




                                                 -8-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document     Filed09/03/19
                                              06/21/19 Page
                                                        Page128
                                                             9 ofof31312 PageID
                                                                      PageID #: #:
                                                                                25735



        28.     The claims of the ’851 Patent address problems arising out of the field of MBMS

 transmission. For example, the ’851 Patent explains how, in the art at the time, eNBs may

 transmit incorrect DSI when the eNB does not receive at least two consecutive packets and the

 eNB cannot determine the positions of these packets.

        In the prior art, transmission between a B[M]-SC and an eNB is based on the
        Internet Protocol (IP), which may cause loss of MBMS data packets or a type 0
        PDU. If an eNB in an MBSFN area cannot normally receive at least two
        consecutive MBMS data packets in a synchronization sequence or all type 0
        PDUs that indicate transmission completion of a synchronization sequence, the
        eNB generates incorrect DSI, which may interfere with other eNBs and cause
        incorrect data receiving of the UE.

 ’851 Patent at 2:35-43.

        [I]f the eNB predicts the length of each MBMS data packet and generates DSI
        according to the prior art, the DSI may be incorrect and may be different from
        DSI generated by other eNBs in other MBSFN areas. Consequently, the incorrect
        DSI interferes with other eNBs, and a UE may incorrectly receive data or even
        cannot receive data.

 ’851 Patent at 5:24-30.

        29.     The ’851 Patent solved this technological problem through a technical solution.

 The ’851 Patent explains, for example, that the technological approach of setting a subframe to

 null provided a solution to the technological problem mentioned above.

        In embodiments of the present invention, when an access network (AN) device
        (such as an eNB) finds that consecutive MBMS data packets are lost and/or a type
        0 PDU group is lost, a subframe that is used to transmit DSI may be null to
        prevent the eNB from transmitting incorrect DSI which may interfere with other
        eNBs and cause incorrect data receiving of a UE.

 ’851 Patent at 3:17-23.

        Compared with the method in which the eNB transmits no data packet or
        transmits incorrect DSI, the method according to this embodiment enables the UE
        to receive more data, and enables the eNB to transmit data more efficiently.

 ’851 Patent at 6:45-49.




                                                -9-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 129
                                                           10 ofof31
                                                                   312 PageID
                                                                     PageID #: #:26736



        30.     United States Patent No. 10,117,226 (“the ’226 Patent”), titled “Method,

 Apparatus, and System for Transmission Control of Multimedia Broadcast Multicast Service

 Data,” was duly and lawfully issued on October 30, 2018. Huawei Technologies is the owner of

 all right, title, and interest in the ’226 Patent. A true and correct copy of the ’226 Patent is

 attached hereto as Exhibit 5.

        31.     The claims of the ’226 Patent are not directed to basic tools of scientific and

 technological work, fundamental economic practices, or the use of an abstract idea or

 mathematical formula.

        32.     Rather, the ’226 Patent addresses problems and shortcomings in the field of

 mobile communications, and multimedia broadcast multicast service data in particular, and

 claims novel and inventive technological solutions to such problems and shortcomings. For

 example, the ’226 Patent describes limitations in the prior art transmission control methods and

 systems in an MBMS system, in which “multiple eNBs in a certain area need to send the

 completely same MBMS service data in the same sub-frame” (’226 Patent at 1:59-60), where

 eNBs would send MBMS service data at different times, based on Multicast Control Channel

 contents, when the multi-cell/multicast coordination entity (MCE) updates the MCCH contents.

        33.     The claims of the ’226 Patent specify technology for implementing transmission

 control for simultaneously transmitting MBMS data when the broadcast of data is suspended or

 reinstated—a result that overrides the routine and conventional practice of suspending or

 reinstating data transmission in an MBMS system. For example, instead of allowing eNBs in the

 same MBSFA range to suspend or resume MBMS service data transmission at different times,

 the ’226 Patent provides uniform transmission control of the MBMS data through modification




                                                  -10-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 130
                                                           11 ofof31
                                                                   312 PageID
                                                                     PageID #: #:27737



 of the MCCH in a specific way that requires synchronous suspension or resumption of MBMS

 service data transmission.

        34.     The claims of the ’226 Patent address technical problems arising out of the field

 of MBMS transmission. For example, the ’226 Patent explains how, in the art at the time,

 various eNBs would transmit MBMS at different times, resulting in interference in services, a

 problem unique to wireless networks.

        Although each eNB in the same MBSFA synchronously updates the MCCH
        message in the same MCCH modification period, the prior art does not have a
        unified method used for determining the time of transmission control for the
        corresponding MBMS service data, so that the eNB usually randomly determines
        the time of transmission control for the corresponding MBMS service data, and as
        a result, interferences in the service may be caused.

 ’226 Patent at 8:11-19.

        35.     The ’226 patent solves this technological problem through the technological

 solution of coordinating the transmission of MBMS service data by multiple eNBs so that they

 overlap completely.

        36.     Harris has shown unwillingness to license the Huawei Asserted Patents on fair,

 reasonable and non-discriminatory terms. On December 5, 2018, Huawei sent Harris a

 presentation setting forth Huawei’s extensive patent portfolio, including its LTE patents and PoE

 patents. On December 21, 2018, Huawei resent that presentation, and also sent Harris a list of

 selected essential patents. On March 31, 2019, Huawei sent a letter to Harris reminding Harris

 of the existence of Huawei’s LTE and PoE standard essential patent portfolios, and encouraging

 Harris to enter into good faith licensing discussions about Huawei’s patents. Harris did not

 respond to Huawei’s March 31, 2019 letter.




                                                -11-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 131
                                                           12 ofof31
                                                                   312 PageID
                                                                     PageID #: #:28738



                 HARRIS’S INFRINGING PRODUCTS AND ACTIVITIES

        37.    On information and belief, Harris makes, uses, sells, and/or offers to sell in the

 United States, and/or imports into the United States numerous networking products compatible

 with IEEE 802.3af, 802.3at, 802.3bt, or similar industry standards for providing power to

 network devices via Ethernet cables (Power over Ethernet (“POE”) standards). These products

 include the Harris RF-7800W-IU200 Network Interface Unit, the Harris RF-7800W-PS104

 Rugged Power Supply, the Harris Falcon III RF-7850A-TM001 Roll-on/Roll-off Airborne

 System and other similar devices that comply with one or more POE standards in the same way.

        38.    On information and belief, the Harris RF-7800W-IU200 Network Interface Unit

 is capable of providing power to devices in compliance with the IEEE 802.3at standard. For

 example, the Harris RF-7800W-IU200 Network Interface Unit data sheet specifies that it

 includes “802.3 at POE for deployment flexibility and integration with networked devices.” See

 RF-7800W-IU200 Data Sheet, https://www.harris.com/sites/default/files/downloads/solutions/rf-

 7800w-iu200-network-interface-unit-datasheet.pdf. The data sheet also specifies that the unit

 includes a “Data/Ethernet” interface with four “Rugged RJ-45 ports with PoE,” and allows “up

 to four Harris RF-7800W HCLOS radios to be deployed in the harshest scenarios.” Id.

    39. On information and belief, the Harris RF-7800W-PS104 Rugged Power Supply and

 Harris Falcon III RF-7850A-TM001 Roll-on/Roll-off Airborne System are capable of providing

 power to devices in accordance with a POE standard. For example, the Harris RF-7800W-IU200

 Network Interface Unit data sheet specifies that the unit is “designed for use with the RF-7800W

 family of radios” and includes two Ethernet ports “with POE++.” See RF-7800W-PS104 Rugged

 Power Supply Data Sheet, https://www.harris.com/sites/default/files/rf-7800w-ps104-rugged-

 power-supply-specifications.pdf. See also




                                               -12-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 132
                                                           13 ofof31
                                                                   312 PageID
                                                                     PageID #: #:29739



 https://www.harris.com/sites/default/files/downloads/solutions/rf-7850a-tm001-roll-on-roll-off-

 airborne-system-datasheet.pdf.

        40.     The term “PoE++” is an industry marketing term. Prior to the release of the

 802.3bt standard, several companies often used the term to refer to PoE systems that exceeded

 the 30 Watt limit imposed under the 802.3at standard. Upon information and belief, the POE++

 system described in connection with the Harris RF-7800W-PS104 Rugged Power Supply

 includes a similar method as set forth in the IEEE standards (e.g., the IEEE 802.3at standard) for

 detecting devices capable of being powered remotely.

        41.     On information and belief, Harris makes, uses, sells, and/or offers to sell in the

 United States, and/or imports into the United States numerous products compliant with 4G LTE

 mobile communication networks (“LTE Products”). These products include mobile

 communication devices capable of connecting to an LTE communications network, including

 user equipment (UE), and equipment supporting the infrastructure of an LTE communications

 network, including base stations (e.g., eNodeBs, eNBs), evolved packet core (EPC) components

 such as MMEs, SGWs, PGWs and PCRFs.

        42.     On information and belief, Harris’s mobile communication LTE products include

 XL Radios, Tactical 4G LTE Radios, and Vehicle Based Radios. Harris advertises that its XL

 Radios, including the XL-185P Single Band Portable Radio, and XL-200P Multiband Portable

 Radio, support LTE functionality. See, e.g.,

 https://www.harris.com/sites/default/files/downloads/product_line/xl-family-portable-radios-

 brochure.pdf. Harris advertises that Vehicle Based Radios, including the TM9300-DMR and

 TM9400 P25, provide connectivity through LTE. See, e.g.,

 https://www.harris.com/sites/default/files/unified-vehicle-network-computing-platform.pdf.




                                                -13-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 133
                                                           14 ofof31
                                                                   312 PageID
                                                                     PageID #: #:30740



 Harris advertises that its Tactical 4G LTE radios support LTE. See, e.g.,

 https://www.harris.com/solution-grouping/tactical-4g-lte-radios. Harris has stated that mobile

 devices such as the RF-3590 LTE Tablet support LTE. See, e.g., https://www.harris.com/press-

 releases/2012/02/harris-corporation-introduces-ruggedized-tablet-for-defense-and-public-safety.

 Upon information and belief, Harris makes, makes, uses, sells, and/or offers to sell in the United

 States, and/or imports into the United States cellular site simulator devices compliant with 4G

 LTE communications networks. For example, the manual for the Gemini describes support for

 LTE. See, e.g., https://www.documentcloud.org/documents/3105793-Gemini-3-3-Quick-Start-

 Guide.html#document/p1

                                FIRST CAUSE OF ACTION
                      (Infringement of U.S. Reissue Patent No. RE44,325)

        43.     Huawei incorporates by reference the allegations set forth in the foregoing

 paragraphs of its Complaint.

        44.     Harris makes, uses, sells, and/or offers to sell in the United States, and/or imports

 into the United States products that directly infringe the ’325 Patent, including but not limited to

 the Harris RF-7800W-IU200 Network Interface Unit, the Harris RF-7800W-PS104 Rugged

 Power Supply, the Harris Falcon III RF-7850A-TM001 Roll-on/Roll-off Airborne System, and

 other similar devices that comply with Power-Over-Ethernet (POE) standards (the “’325

 Accused Products”). The ’325 Accused Products infringe one or more claims of the ’325 Patent,

 including without limitation, claim 30 of the ’325 Patent.

        45.     As an example, the ’325 Accused Products provide a remote power feed to a

 terminal in a local area network. For example, the RF-7800W-IU200, the RF-7800W-PS104 and

 the RF-7850A-TM001 are capable of providing power throughout a network to feed power to

 remote terminals in a manner compliant with one or more POE standards. The RF-7800W-



                                                 -14-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 134
                                                           15 ofof31
                                                                   312 PageID
                                                                     PageID #: #:31741



 IU200 “delivers secure voice communications with other networked NIUs through a standard

 headset,” can connect “up to four Harris RF-7800W HCLOS radios,” and Harris advertises that

 the “Power over Ethernet and a fiber optic connection keeps users connected while separated

 from their communications equipment at distances up to 2 km.” RF-7800W-IU200 Data Sheet,

 https://www.harris.com/sites/default/files/downloads/solutions/rf-7800w-iu200-network-

 interface-unit-datasheet.pdf. The data sheet also states that the RF-7800W-IU200 includes

 “802.3 at PoE for deployment flexibility and integration with networked devices.” Similarly, the

 RF-7800W-PS104 “is a rugged power supply designed for use with the RF-7800W family of

 radios” that includes “two Power over Ethernet ports.” RF-7800W-PS104 Rugged Power Supply

 Data Sheet, https://www.harris.com/sites/default/files/rf-7800w-ps104-rugged-power-supply-

 specifications.pdf. Harris advertises that the RF-7850A-TM001 “standard kit includes . . .

 Ethernet switch with PoE.” https://www.harris.com/sites/default/files/downloads/solutions/rf-

 7850a-tm001-roll-on-roll-off-airborne-system-datasheet.pdf

        46.     The ’325 Accused Products produce at least first and second test signals on at

 least two conductors of a line for connecting the local area network to a remote terminal, the test

 signals having an energy such that the terminal cannot be damaged under any circumstances.

 For example, upon information and belief, in compliance with POE standards, such as the IEEE

 802.3at standard, the ’325 Accused Products detect compliant, powered devices (PD) prior to

 supplying power. See IEEE 802.3at at pp. 37-39. The ’325 Accused Products “probes the link

 section in order to detect a valid PD detection signature” prior to supplying power. See Id. at p.

 37. To evaluate the presence of the PD, the ’325 Accused Products make at least two

 measurements by applying test signals with voltages bounded between 2.8 V and 10.0 V and

 with current no greater than 0.005 amps. The ’325 Accused Products measure the resulting




                                                 -15-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 135
                                                           16 ofof31
                                                                   312 PageID
                                                                     PageID #: #:32742



 currents. See Id. at pp. 38-39. Upon information and belief, the energy of a signal with 10 volts

 and 0.005 amps prevents terminal damage. The ’325 Accused Products send the test signals over

 at least two conductors that carry signals and power to a PD according to one of the following

 arrangements. See Id. at pp. 24-38.




                                                -16-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 136
                                                           17 ofof31
                                                                   312 PageID
                                                                     PageID #: #:33743



        47.     The ’325 Accused Products detect the presence of a remote terminal adapted to

 receive a remote power feed by detecting the presence of predetermined impedance in the remote

 terminal in compliance with a predetermined impedance threshold, on the basis of a current




 created by at least one of the test signals in the line. For example, on information and belief, the

 ’325 Accused Products calculate a resistance and capacitance from voltage and current

 measurements created from the test signals, and determines that a terminal can receive power

 over the network line where the resistance and capacitance are in a range defined in table 33-5.

 See Id. at p. 39 and Table 33-5 reproduced below:

        48.     The ’325 Accused Products send a power supply current in the line when the

 presence of a terminal adapted to receive a remote power feed is detected. For example, the ’325

 Accused Products apply operating power to the terminal when the ’325 Accused Products

 successfully detect a PD requesting power. See Id. at pp. 37.

        49.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’325 Accused

 Products, Harris has injured Huawei and is liable to Huawei for directly infringing one or more

 claims of the ’325 Patent, including without limitation claim 30, pursuant to 35 U.S.C. § 271(a).

        50.     Harris also infringes the ’325 Patent under 35 U.S.C. § 271(b) & (c).




                                                 -17-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 137
                                                           18 ofof31
                                                                   312 PageID
                                                                     PageID #: #:34744



        51.     Harris knowingly encourages and intends to induce infringement of the ’325

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’325 Accused Products,

 with knowledge and specific intention that such products will be used by Harris or its customers

 in a network that infringes the ’325 patent, as shown by Harris’s documentation suggesting that

 the products be used to connect and power RF-7800W radios such as the RF-7800W-IU200 and

 the RF-7800W-PS104 data sheet referenced above.

        52.     Harris also contributes to the infringement of the ’325 Patent. Harris makes, uses,

 sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’325 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’325 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

        53.     Harris knew of Huawei’s patent portfolio before the filing of this action and was

 alerted by Huawei’s December 5, 2018 email that Huawei’s portfolio included a set of patents

 essential to the PoE standard. Upon information and belief, Harris knew of the ’325 patent or

 was willfully blind to the ’325 patent. Also, Harris has had knowledge of the ’325 Patent at least

 by virtue of the filing of this Complaint.

        54.     Harris’s infringement of the ’325 Patent has been and continues to be deliberate

 and willful, and this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.




                                                 -18-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 138
                                                           19 ofof31
                                                                   312 PageID
                                                                     PageID #: #:35745



        55.     As a result of Harris’s infringement of the ’325 Patent, Huawei has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Harris’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                 SECOND CAUSE OF ACTION
                           (Infringement of U.S. Patent No. 8,416,892)

        56.     Huawei realleges and incorporates by reference the allegations set forth in the

 foregoing paragraphs of its Complaint.

        57.     Harris makes, uses, sells, and/or offers to sell in the United States, and/or imports

 into the United States products that directly infringe the ’892 Patent, including but not limited to

 Harris’s Tactical 4G LTE Radios, and Harris’s LTE-capable User Equipment (UE) mobile

 devices, such as the XL-185M, the XL-185P, the RF3590 LTE Tablet, and the XL-200P, and any

 other Harris products practicing the LTE standard (the “’892 Accused Products”). Harris’s ’892

 Accused Products infringe one or more claims of the ’892 Patent, including without limitation,

 claims 10 and 20 of the ’892 Patent.

        58.     For example, 3GPP TS 36.213 (including v1.2.0, and all subsequent releases and

 versions) of the LTE standard practiced by the ’892 Accused Products requires that a mobile

 device select and transmit a random access preamble from a defined set. See, e.g., 3GPP TS

 36.213 v8.5.0, Section 6 (“Random access procedure”). 3GPP 36.211 (including v8.1.0, and all

 subsequent releases and versions) of the LTE standard uses the same set of random access

 preambles as claims 10 and 20 of the ’892 patent. See, e.g., 3GPP TS 36.211 v8.5.0, Section

 5.7.2 & Table 5.7.2-2. Table 5.7.2-2 of 3GPP TS 36.211 v8.5.0 requires creating the preambles

 in the same manner and using the exact same set of cyclic shift increments as claimed in the ’892

 patent: 0, 13, 15, 18, 22, 26, 32, 38, 46, 59, 76, 93, 119, 167, 279, and 419. Moreover, the




                                                 -19-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 139
                                                           20 ofof31
                                                                   312 PageID
                                                                     PageID #: #:36746



 random access preambles is provided with Zero Correlation Zones of length NCS -1. See, e.g.,

 3GPP TS 36.211 v8.5.0 at 39.

           59.   On information and belief, the ’892 Accused Products that include an LTE base

 station, such as Harris’s Tactical 4G LTE Radios, include a non-transitory computer readable

 storage medium that causes a processor to estimate a time of arrival of an uplink signal that

 includes a random access preamble. See, e.g., 3GPP TS 36.300 v8.7.0 at 29, 50. The ’892

 Accused Products that include an LTE base station, such as Harris’s Tactical 4G LTE Radios,

 include a processor that transmits a time advanced based on the uplink signal time of arrival.

 See, e.g.,3GPP TS 36.300 v8.7.0 at 29.

           60.   By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’892 Accused

 Products, Harris has injured Huawei and is liable to Huawei for directly infringing one or more

 claims of the ’892 Patent, including without limitation claims 10 and 20, pursuant to 35 U.S.C. §

 271(a).

           61.   Harris also infringes the ’892 Patent under 35 U.S.C. § 271(b) & (c).

           62.   Harris knowingly encourages and intends to induce infringement of the ’892

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’892 Accused Products,

 with knowledge and specific intention that such products will be used by Harris or its customers

 in a network that infringes the ’892 Patent. For example, Harris expressly advertises that its

 products can be used for LTE communications, and are “ideal” for various infringing uses. See,

 e.g., https://www.harris.com/solution-grouping/tactical-4g-lte-radios. On information and belief,

 Harris also trains its customers in the use of the ’892 Accused Products.




                                                 -20-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 140
                                                           21 ofof31
                                                                   312 PageID
                                                                     PageID #: #:37747



        63.     Harris also contributes to the infringement of the ’892 Patent. Harris makes, uses,

 sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’892 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’892 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

    64. Harris knew of Huawei’s patent portfolio before the filing of this action and was alerted

 by Huawei’s December 5, 2018 email that Huawei’s portfolio included a set of patents essential

 to the LTE standard. Moreover, on May 24, 2016, Huawei asserted the ’892 patent in Huawei

 Technologies Co., Ltd. v. Samsung Elecs. Co. Ltd., Case No. 3:16-cv-02787, in the Northern

 District of California. Upon information and belief, Harris knew of the ’892 Patent or was

 willfully blind to the ’892 Patent. Also, Harris has had knowledge of the ’892 Patent at least by

 virtue of the filing of this Complaint.

        65.     Harris’s infringement of the ’892 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

        66.     As a result of Harris’s infringement of the ’892 Patent, Huawei has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Harris’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                   THIRD CAUSE OF ACTION
                            (Infringement of U.S. Patent No. 8,798,575)

        67.     Huawei realleges and incorporates by reference the allegations set forth in the

 foregoing paragraphs of its Complaint.




                                                 -21-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 141
                                                           22 ofof31
                                                                   312 PageID
                                                                     PageID #: #:38748



           68.   Harris makes, uses, sells, and/or offers to sell in the United States, and/or imports

 into the United States products that directly infringe the ’575 Patent, including but not limited to

 Harris’s Evolved Packet Cores (EPCs) that practice and comply with the LTE standard (the

 “’575 Accused Products”). For example, upon information and belief, Harris uses Cisco Packet

 Data Network (PDN) Gateway (P-GW) as part of its EPC. Harris’s ’575 Accused Products

 infringe one or more claims of the ’575 Patent, including without limitation, claim 1 of the ’575

 Patent.

           69.   For example, on information and belief, Harris’s ’575 Accused Products include a

 Policy and Charging Rules Function (PCRF) that determining a charging method and charging

 rules in response to a credit-control request. See, e.g., 3GPP TS 29.212 v8.2.0 at 11, 12, 13, 15,

 17, 56-57. The PCRF provides a PCEF with the charging rules and address information of a

 charging system, such as an offline charging system and/or online charging system. See, e.g.,

 3GPP TS 29.212 v8.2.0 at 17, 34, 57; 3GPP TS 29.203 v8.4.0 at 44.

           70.   By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’575 Accused

 Products, Harris has injured Huawei and is liable to Huawei for directly infringing one or more

 claims of the ’575 Patent, including without limitation claim 1, pursuant to 35 U.S.C. § 271(a).

           71.   Harris also infringes the ’575 Patent under 35 U.S.C. § 271(b) & (c).

           72.   Harris knowingly encourages and intends to induce infringement of the ’575

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’575 Accused Products,

 with knowledge and specific intention that such products will be used by Harris or its customers

 in a network that infringes the ’575 Patent. For example, Harris expressly advertises that its




                                                  -22-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 142
                                                           23 ofof31
                                                                   312 PageID
                                                                     PageID #: #:39749



 products can be used for LTE communications, and are “ideal” for various infringing uses. See,

 e.g., https://www.harris.com/solution-grouping/tactical-4g-lte-radios. On information and belief,

 Harris also trains its customers in the use of the ’575 Accused Products.

        73.     Harris also contributes to the infringement of the ’575 Patent. Harris makes, uses,

 sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’575 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’575 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

    74. Harris knew of Huawei’s patent portfolio before the filing of this action and was alerted

 by Huawei’s December 5, 2012 email that Huawei’s portfolio included a set of patents essential

 to the LTE standard. Moreover, on January 15, 2015, Huawei asserted the ’575 patent in Huawei

 Technologies Co., Ltd. v. T-Mobile US, Inc., Case No. 2:16-CV-00055, in the Eastern District of

 Texas. Upon information and belief, Harris knew of the ’575 Patent or was willfully blind to the

 ’575 Patent. Also, Harris has had knowledge of the ’575 Patent at least by virtue of the filing of

 this Complaint.

        75.     Harris’s infringement of the ’575 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

        76.     As a result of Harris’s infringement of the ’575 Patent, Huawei has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Harris’s

 infringement, but in no event less than a reasonable royalty with interest and costs.




                                                 -23-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 143
                                                           24 ofof31
                                                                   312 PageID
                                                                     PageID #: #:40750



                                 FOURTH CAUSE OF ACTION
                           (Infringement of U.S. Patent No. 9,838,851)

        77.     Huawei realleges and incorporates by reference the allegations set forth in the

 foregoing paragraphs of its Complaint.

        78.     Harris makes, uses, sells, and/or offers to sell in the United States, and/or imports

 into the United States products that directly infringe the ’851 Patent, including but not limited to

 Harris’s Tactical 4G LTE Radios and any other Harris base station/eNB products practicing the

 LTE standard (the “’851 Accused Products”). Harris’s ’851 Accused Products infringe one or

 more claims of the ’851 Patent, including without limitation, claim 1 of the ’851 Patent.

        79.     As an example, the ’851 Accused Products include an eNB capable of

 determining that at least two consecutive Multimedia Broadcast Multicast Service (MBMS) data

 packets to be scheduled in a Dynamic Schedule Period (DSP) have not been received. For

 example, the ’851 Accused Products employ an “MBMS synchronization protocol,” which may

 “carry additional information that enable eNBs to identify the timing for radio frame

 transmission and detecting packet loss.” See, e.g., 3GPP TS 25.446 V9.2.1 at 6; 3GPP TS 36.300

 V9.10.0 at 87. The ’851 Accused Products further determine “if two or more consecutive SYNC

 service data units (“SDU”) within a SYNC bearer are not received by the eNB.” See, e.g., 3GPP

 TS 36.300 V9.10.0 at 90. The ’851 Accused Products further use a Multicast Channel (“MCH”)

 Scheduling Period (“MSP”) where all SYNC packets in one synchronization sequence of an

 MBMS service have the same timestamp value, and the “MSP length is one or multiple times of

 the synchronisation sequence length for the MBMS services in the MCH.” See, e.g., 3GPP TS

 36.300 V9.10.0 at 91.

        80.     The eNB of the ’851 Accused Products further sets a first subframe to null if the

 eNB cannot determine the transmission position of the at least two consecutive MBMS data



                                                 -24-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 144
                                                           25 ofof31
                                                                   312 PageID
                                                                     PageID #: #:41751



 packets in the DSP. For example, the ’851 Accused Products do not transmit in the subframe

 corresponding to the MSI of the MSP for which two or more consecutive SYNC SDUs within a

 SYNC bearer are not received by the eNB when the ’851 Accused Products cannot determine the

 transmission positions of at least two consecutive SYNC SDUs. See, e.g., 3GPP TS 36.300

 V9.10.0 at 90.

        81.       In the ’851 Accused Products, the first subframe is used to transmit Dynamic

 Schedule Information (DSI) corresponding to the DSP, and the DSP includes at least the first

 subframe and subframes to be used to transmit the at least two consecutive MBMS data packets

 that have not been received. For example, the ’851 Accused Products send a first subframe that

 includes MSI “to indicate which subframes are used by each MTCH during the MSP,” which is

 “generated by the eNB and provided once at the beginning of the MSP.” See, e.g., 3GPP TS

 36.300 V9.10.0 at 89-90.

        82.       By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’851 Accused

 Products, Harris has injured Huawei and is liable to Huawei for directly infringing one or more

 claims of the ’851 Patent, including without limitation claim 1, pursuant to 35 U.S.C. § 271(a).

        83.       Harris also infringes the ’851 Patent under 35 U.S.C. § 271(b) & (c).

        84.       Harris knowingly encourages and intends to induce infringement of the ’851

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’851 Accused Products,

 with knowledge and specific intention that such products will be used by Harris or its customers

 in a network that infringes the ’851 patent. For example, Harris expressly advertises that its

 products can be used for LTE communications, and are “ideal” for various uses. See, e.g.,




                                                  -25-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 145
                                                           26 ofof31
                                                                   312 PageID
                                                                     PageID #: #:42752



 https://www.harris.com/solution-grouping/tactical-4g-lte-radios. On information and belief,

 Harris also trains its customers in the use of the ’851 Accused Products.

        85.     Harris also contributes to the infringement of the ’851 Patent. Harris makes, uses,

 sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’851 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’851 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

        86.     Harris knew of Huawei’s patent portfolio before the filing of this action and was

 alerted by Huawei’s December 5, 2018 email that Huawei’s portfolio included a set of patents

 essential to the LTE standard and Huawei’s December 21, 2018 email identifying the ’851 patent

 explicitly. Upon information and belief, Harris knew of the ’851 patent or was willfully blind to

 the ’851 patent. Also, Harris has had knowledge of the ’851 Patent at least by virtue of the filing

 of this Complaint.

        87.     Harris’s infringement of the ’851 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

        88.     As a result of Harris’s infringement of the ’851 Patent, Huawei has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Harris’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                  FIFTH CAUSE OF ACTION
                          (Infringement of U.S. Patent No. 10,117,226)

        89.     Huawei realleges and incorporates by reference the allegations set forth in the

 foregoing paragraphs of its Complaint.



                                                 -26-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 146
                                                           27 ofof31
                                                                   312 PageID
                                                                     PageID #: #:43753



        90.     Harris makes, uses, sells, and/or offers to sell in the United States, and/or imports

 into the United States products that directly infringe the ’226 Patent, including but not limited to

 Harris’s Tactical 4G LTE Radios and any other Harris base station/eNB products practicing the

 LTE standard (the “’226 Accused Products”). Harris’s ’226 Accused Products infringe one or

 more claims of the ’226 Patent, including without limitation, claim 1 of the ’226 Patent.

        91.     As an example, the ’226 Accused Products transmit multimedia broadcast

 multicast service data. In addition, the ’226 Accused Products receive, from a multi-

 cell/multicast coordination entity (MCE), indication information including a multicast control

 channel modification period when a multicast control channel is updated. For example, MBMS

 scheduling information is received in a message from the MCE to obtain MCCH related

 information. See, e.g., 3GPP TS 36.443 v.10.3.0 at 31. The message includes indication

 information, including an “MCCH Update Time,” which may be an absolute value from which

 the MCCH update should be applied. Id. at 31, 46.

        92.     The ’226 Accused Products further send multimedia broadcast multicast service

 data in a scheduling period determined according to the indication information. For example, the

 eNB resumes transmission of MBMS data from the beginning of the Modification Period

 indicated by the MCCH Update Time. See, e.g., 3GPP TS 36.300 v.10.5.0 at 106.

        93.     In the ’226 Accused Products, the scheduling period is a same scheduling period

 in which another base station resumes sending the multimedia broadcast multicast service data in

 a same multimedia broadcast multicast service single frequency network (MBSFN) area. For

 example, within an MBSFN synchronization area, “all eNodeBs can be synchronized and

 perform MBSFN transmissions” that are “co-ordinated to achieve an MBSFN Transmission.”

 3GPP TS 36.300 v.10.5.0 at 84.




                                                 -27-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 147
                                                           28 ofof31
                                                                   312 PageID
                                                                     PageID #: #:44754



        94.     By making, using, offering for sale, and/or selling products in the United States,

 and/or importing them into the United States, including but not limited to the ’226 Accused

 Products, Harris has injured Huawei and is liable to Huawei for directly infringing one or more

 claims of the ’226 Patent, including without limitation claim 1, pursuant to 35 U.S.C. § 271(a).

        95.     Harris also infringes the ’226 Patent under 35 U.S.C. § 271(b) & (c).

        96.     Harris knowingly encourages and intends to induce infringement of the ’226

 Patent by making, using, offering for sale, and/or selling products in the United States, and/or

 importing them into the United States, including but not limited to the ’226 Accused Products,

 with knowledge and specific intention that such products will be used by Harris or its customers

 in a network that infringes the ’226 patent. For example, Harris expressly advertises that its

 products can be used for LTE communications, and are “ideal” for various infringing uses. See,

 e.g., https://www.harris.com/solution-grouping/tactical-4g-lte-radios.

        97.     Harris also contributes to the infringement of the ’226 Patent. Harris makes, uses,

 sells, and/or offers to sell products in the United States, and/or imports them into the United

 States, including but not limited to the ’226 Accused Products, knowing that those products

 constitute a material part of the claimed invention, that they are especially made or adapted for

 use in infringing the ’226 Patent, and that they are not staple articles or commodities of

 commerce capable of substantial non-infringing use.

        98.     Harris knew of Huawei’s patent portfolio before the filing of this action and was

 alerted by Huawei’s December 5, 2018 email that Huawei’s portfolio included a set of patents

 essential to the LTE standard. Upon information and belief, Harris knew of the ’226 patent or

 was willfully blind to the ’226 patent. Also, Harris has had knowledge of the ’226 Patent at least

 by virtue of the filing of this Complaint.




                                                 -28-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 148
                                                           29 ofof31
                                                                   312 PageID
                                                                     PageID #: #:45755



        99.     Harris’s infringement of the ’226 Patent has been and continues to be deliberate

 and willful, and, this is therefore an exceptional case warranting an award of enhanced damages

 and attorneys’ fees pursuant to 35 U.S.C. §§ 284-285.

        100.    As a result of Harris’s infringement of the ’226 Patent, Huawei has suffered

 monetary damages, and seeks recovery in an amount adequate to compensate for Harris’s

 infringement, but in no event less than a reasonable royalty with interest and costs.

                                  DEMAND FOR JURY TRIAL

        Huawei hereby demands a trial by jury of all issues so triable in this action.

                                     PRAYER FOR RELIEF

        Huawei respectfully requests this Court grant relief as follows:

        A.      Judgment that Harris has infringed one or more claims of each of the Huawei

 Asserted Patents in this litigation pursuant to 35 U.S.C. §§ 271(a), 271(b), 271(c) and/or 271(g)

 and that Harris is liable for damages caused by such infringement;

        B.      A judicial determination of the conditions for future infringement such as an

 ongoing royalty;

        C.      Judgment requiring Harris to make an accounting of damages resulting from

 Harris’s infringement of the Huawei Asserted Patents;

        D.      Judgment awarding Huawei its damages resulting from Harris’s infringement of

 the Huawei Asserted Patents, and increasing such damages pursuant to 35 U.S.C. § 284 because

 of the willful and deliberate nature of Harris’s conduct;

        E.      Judgment requiring Harris to pay Huawei’s costs and expenses, along with pre-

 judgment and post-judgment interest, for Harris’s infringement of each of the Huawei Asserted

 Patents;




                                                 -29-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 149
                                                           30 ofof31
                                                                   312 PageID
                                                                     PageID #: #:46756



        F.     An order that this case is “exceptional” pursuant to 35 U.S.C. § 285, entitling

 Huawei to an award of its reasonable and necessary attorneys’ fees, expenses, and costs, and pre-

 judgment interest thereon;

        G.     Grant to Huawei such other and further relief as the Court deems just and proper.



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                                               -30-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-34 Filed
                           Document    Filed 09/03/19
                                             06/21/19 Page
                                                      Page 150
                                                           31 ofof31
                                                                   312 PageID
                                                                     PageID #: #:47757



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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on June 21, 2019.



                                                 /s/ Melissa R. Smith
                                                 Melissa R. Smith




                                               -31-
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page151 of 27
                                                             1 of 312PageID
                                                                      PageID#:#:48
                                                                                 758




                           EXHIBIT 1
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page152 of 27
                                                             2 of 312PageID
                                                                      PageID#:#:49
                                                                                 759

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  (19) United States
  (12) Reissued Patent                                                       (10) Patent Number:                            US RE44,325 E
         Vergnaud et al.                                                     (45) Date of Reissued Patent:                            Jun. 25, 2013
  (54) METHOD OF PROVIDING AREMOTE                                                      5,121.482 A         6/1992 Patton ............................. T10, 16
          POWER FEED TO A TERMINAL IN A LOCAL                                           3.8% A : 38.                                                 3:33
          AREA NETWORK, AND CORRESPONDING                                                   E. A.             E. Eoi.                            ... 379/413
          REMOTE POWER FEED UNIT,                                                       5.991,885    A * 1 1/1999 Chang et al. ...                   T13,300
          CONCENTRATOR, REPEATOR, AND                                                   6,175,556    B1* 1/2001 Allen et al. ........                370,293
          TERMINAL                                                                      6.218.930    B1 * 4/2001 Katzenberg et al. ..........        370/200
                                                                                        6,643,566    B1 * 1 1/2003 Lehr et al. .......... ...        700,286
  (75) Inventors: Gerard Vergnaud, Fraconville (FR):                                    6,681,013 B1* 1/2004 Miyamoto .................... 379,413
                  Luc Attimont, Saint Germain en Laye
                  (FR); Jannick Bodin, Garches (FR):                                           FOREIGN PATENT DOCUMENTS
                        Raymond Gass, Bolsenheim (FR);                           EP             O981 227 A2 : 2, 2000
                        Jean-Claude Laville, Nanterre (FR)                       WO           WO 96/23377     8, 1996
  (73) Assignee: Alcatel Lucent, Paris (FR)                                                           OTHER PUBLICATIONS
  (21) Appl. No.: 11/391,669                                                     Bearfield, J.M.. “Control the power interface of USB's Voltage Bus'.
                                                                                 Electronic Design, US, Penton Publishing, Cleveland, OH, vol. 45,
  (22) Filed:     Mar. 29, 2006                                                  No. 15, Jul 27, 1997, pp. 80, 82,84, 86. XP00078289 ISSN: 0013
                    Related U.S. Patent Documents
                                                                                 48728.*
  Reissue of:                                                                    Richard Glaser etal, IEEE 802.3 DTE Power via MDI Detection and
  (64) Patent No.:            6,715,087                                          Signature Protocol, Lucent Technologies Apr. 18, 2000.
          Issued:             Mar. 30, 2004                                      Robert Leonowich et al, IEEE 802.3af DTE Power via MDI Detec
          Appl. No.:          09/703,654                                         tion and Signature Tutorial, Alcatel Lucent, Jul. 10, 2000.
          Filed:              Nov. 2, 2000
  (30)               Foreign Application Priority Data                           * cited by examiner
                                                                                 Primary Examiner — Dennis M. Butler
     Nov. 4, 1999         (FR) ...................................... 99 13834   (74) Attorney, Agent, or Firm — Sughrue Mion, PLLC
    Apr. 14, 2000         (FR) ...................................... OOO4834
      Jul. 3, 2000        (FR) ...................................... OO 08592   (57)                        ABSTRACT
  (51) Int. Cl.                                                                  A method for sending a remote power feed to a terminal in a
          G06F L/26                    (2006.01)                                 local area network. A repeater of the local area network pro
  (52) U.S. Cl.                                                                  duces a detection test signal in a line to which a remote
          USPC ........................................... 713/300; 713/340      terminal is connected, and the signal has an energy level that
  (58) Field of Classification Search                                            will not damage the terminal. The presence of a remote ter
          USPC .......................................... 713/300,330, 340       minal adapted to receive a remote power feed via the repeater
          See application file for complete search history.                      is detected by detecting the presence of a predetermined
                                                                                 impedance in the terminal, and power is Supplied to the ter
  (56)                     References Cited                                      minal via the repeater in response to detection of the presence
                                                                                 of the terminal.
                     U.S. PATENT DOCUMENTS
         4.389,694. A *     6, 1983 Cornwell, Jr. .................. 361/48                         63 Claims, 13 Drawing Sheets
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page153 of 27
                                                             3 of 312PageID
                                                                      PageID#:#:50
                                                                                 760


  U.S. Patent              Jun. 25, 2013           Sheet 1 of 13                   US RE44,325 E




                                          FIG-1
                                                                    LAN        1
                                                                   Server



                                                                                         2



                                               L            concentrator-3
                                      l               3
               RP            -1            1             / ------- O
                                                                   terminals
                     repeaters                                                       5
                                                       51                                N


           2

                     terminals

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Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page154 of 27
                                                             4 of 312PageID
                                                                      PageID#:#:51
                                                                                 761


  U.S. Patent          Jun. 25, 2013    Sheet 2 of 13           US RE44,325 E
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page155 of 27
                                                             5 of 312PageID
                                                                      PageID#:#:52
                                                                                 762


  U.S. Patent          Jun. 25, 2013    Sheet 3 of 13           US RE44,325 E
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page156 of 27
                                                             6 of 312PageID
                                                                      PageID#:#:53
                                                                                 763


  U.S. Patent          Jun. 25, 2013    Sheet 4 of 13           US RE44,325 E
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page157 of 27
                                                             7 of 312PageID
                                                                      PageID#:#:54
                                                                                 764


  U.S. Patent          Jun. 25, 2013    Sheet 5 of 13           US RE44,325 E
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page158 of 27
                                                             8 of 312PageID
                                                                      PageID#:#:55
                                                                                 765


  U.S. Patent          Jun. 25, 2013      Sheet 6 of 13            US RE44,325 E




                                       FIG6



                            AC MOCUUS                     AC MOdulus
                            < 50                          > 50




                   DC Modulus           DC Modulus
                   < 50                 > 50


                  DC DisCOnnect         Remote
                  Test                  POWer Feed


                   DC Modulus           AC MOdulus        DC Modulus
                   > 50                 > 50              < 50


                                                          Stop Remote
                                                          POWer Feed
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-1Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page159 of 27
                                                             9 of 312PageID
                                                                      PageID#:#:56
                                                                                 766


  U.S. Patent           Jun. 25, 2013       Sheet 7 of 13        US RE44,325 E



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Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page160
                                                             10 of
                                                                of 312 PageID#:#: 57
                                                                   27 PageID      767


  U.S. Patent           Jun. 25, 2013    Sheet 8 of 13           US RE44,325 E
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page161
                                                             11 of
                                                                of 312 PageID#:#: 58
                                                                   27 PageID      768


  U.S. Patent              Jun. 25, 2013         Sheet 9 of 13                   US RE44,325 E




                                            FIG 9



                     AC Modulus                             AC Modulus
                     < 50                                   > 50




              DC Modulus       DC Modulus           No Return           Return
              < 50             > 50                 DC Voltage          DC Voltage
                                                 112                              113
                                                                        Pairs Remote
                                                    Remote Power

              S3                      Slb

             DC Disconnect            Phantom Circuit
             Test                     Power Feed
                                                                     108

              DC Modulus               AC Modulus        DC Modulus
              > 5O                     > 5O              < 5O


                                                          Stop Remote
                                                          Power Feed

                                                           Wait 3O
                                                           Seconds
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page162
                                                             12 of
                                                                of 312 PageID#:#: 59
                                                                   27 PageID      769


  U.S. Patent           Jun. 25, 2013    Sheet 10 of 13          US RE44,325 E
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page163
                                                             13 of
                                                                of 312 PageID#:#: 60
                                                                   27 PageID      770


  U.S. Patent           Jun. 25, 2013             Sheet 11 of 13                 US RE44,325 E




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 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page164
                                                             14 of
                                                                of 312 PageID#:#: 61
                                                                   27 PageID      771


  U.S. Patent           Jun. 25, 2013    Sheet 12 of 13          US RE44,325 E




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Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page165
                                                             15 of
                                                                of 312 PageID#:#: 62
                                                                   27 PageID      772


  U.S. Patent           Jun. 25, 2013    Sheet 13 of 13          US RE44,325 E


                                                                       B2
                                        FIG 13                         B1
                                                                       A2
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Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page166
                                                             16 of
                                                                of 312 PageID#:#: 63
                                                                   27 PageID      773


                                                         US RE44,325 E
                                 1.                                                                      2
        METHOD OF PROVIDING AREMOTE                                        data. Another method, referred to as a phantom circuit, con
      POWER FEED TO A TERMINAL IN A LOCAL                                  nects the two terminals of a power Supply generator in the
       AREA NETWORK, AND CORRESPONDING                                     remote power feed unit to respective center-taps of a winding
            REMOTE POWER FEED UNIT,                                        of a transformer connected to the pair for receiving data and
         CONCENTRATOR, REPEATOR, AND                                       a winding of another transformer connected to the pair for
                           TERMINAL                                        sending data. At the terminal, the Supply Voltage is obtained
                                                                           between respective center-taps of a winding of a transformer
                                                                           connected to the pair for receiving data and a winding of
  Matter enclosed in heavy brackets              appears in the            another transformer connected to the pair for sending data.
  original patent but forms no part of this reissue specifica         10      In both cases, providing a remote power feed to the termi
  tion; matter printed in italics indicates the additions                  nal via the data processing local area network has the disad
  made by reissue.                                                         Vantage that the remote power feed unit Supplies power to a
                                                                           terminal “blind'. The RJ45 connector at the end of the line L
              CROSS REFERENCE TO RELATED                                   could be plugged into a terminal other than a telephone (for
                     APPLICATIONS                                     15   example a personal computer, a printer, etc.). There is a risk of
                                                                           damaging the electrical circuits of that terminal. The RJ45
    The present application is a reissue of U.S. Pat. No. 6,715,           connector of a terminal is generally used in the following
  087 which is based on application Ser: No. 09/703,654, filed               al
  Nov. 2, 2000.                                                              Four of the eight wires are separated into two pairs for
     The present invention relates generally to a data processing              respectively sending and receiving data. The terminal
  local area network, for example an Ethernet network. To be                   includes a transformer having one winding connected to
  more precise, the invention relates to a method of providing a               the receive pair and a transformer having one winding
  remote power feed to a terminalina data processing local area                connected to the send pair, each of these windings hav
  network and also to a remote power feed unit, a concentrator,                ing a center-tap which can be connected to a reference
  a repeater (also known as a hub), and a terminal adapted to         25       potential via a low-resistance resistor.
  implement the method.                                                      Four other wires are not used and are grounded, often via a
                                                                               combination of resistors and capacitors, to eliminate any
             BACKGROUND OF THE INVENTION                                       crosstalk induced by the data signals in the first four
                                                                               wires and to reduce unwanted electromagnetic emis
    FIG. 1 is a diagram showing, by way of illustrative and           30       sion. If a relatively high remote power feed voltage, for
  non-limiting example only, an Ethernet data processing local                 example 48 volts, is applied to that combination of resis
  area network which includes a local area network server 1, a                 tors and capacitors, or to the resistors connected to the
  switch 2, a repeater concentrator 3 and N terminals 4 to                     center-taps of the transformers, the resistors can be
  4 4-1 to 4-N which include telephones operating in Voice                     destroyed by the current flowing in them.
  over IP (VoIP) mode. The server 1 is connected to the Internet      35
  0 and receives packets complying with the Internet protocol                         OBJECTS AND SUMMARY OF THE
  (TCP/IP). The packets of a given call are routed via the switch                              INVENTION
  2 and the repeater concentrator 3 to a terminal such as the
  telephone 4, 4-1 which is connected to the repeater by a                   The invention therefore aims to solve this problem by
  8-wire line L terminated with RJ45 connectors.                      40   proposing a method of providing a remote power feed to a
    The terminals connected to a data processing local area                terminal in a data processing local area network and systems
  network (for example personal computers, printers, etc.) are             for implementing the method which prevent all risk of dam
  conventionally connected locally to the mains electrical                 age ifa terminal is plugged in which is not one of the terminals
  power supply. 110 V or 220 V power cords independent of the              adapted to receive a remote power feed via the network.
  data connections are therefore used to Supply power to the          45     The invention firstly provides a method of providing a
  terminals. This solution makes installation of the local area            remote power feed to a terminal in a local area network, the
  network more difficult:                                                  method entailing:
    Using two cables causes problems of congestion which can                 producing at least one detection test signal on at least two
      additionally impede the free movement of persons.                         conductors of a line for connecting the local area net
    It creates electrical hazards.                                    50        work to a remote terminal, that signal having an energy
     In the case of a telephone, a local connection to the mains                Such that the terminal cannot be damaged under any
  electrical power supply has the additional drawback that the                  circumstances,
  telephone is out of service in the event of a mains power                  detecting the presence of a remote terminal adapted to
  outage, in particular in the event of a fire or natural disaster.            receive a remote power feed by detecting the presence of
  This is why conventional telephones receive a remote power          55       predetermined impedance in the remote terminal on the
  feed from their local exchange, which includes emergency                     basis of a current created by the test signal in that line,
  batteries.                                                                    and
     It is therefore desirable for some of the terminals connected           sending a power Supply current in that line when the pres
  to a data processing local area network to be provided with a                ence of a terminal adapted to receive a remote power
  remote power feed via the same connection as is used to send        60        feed is detected.
  and receive data. It is also desirable to be able to install the           The above method prevents all risk to the terminals because
  remote power feed unit anywhere on the line L (either inside             the remote power feed current is sent only if the terminal has
  or outside a repeater 3), to enable easy addition to an existing         been identified as one which is adapted to receive a remote
  network.                                                                 power feed. The intensity and duration of the detection test
    One way of transmitting a remote power feed current is to         65   signal are chosen so that the operation of detecting the termi
  use two of the eight wires of the line L: four other wires form          nal cannot cause any damage if the terminal is not one which
  two pairs of wires respectively used to transmit and to receive          is adapted to receive a remote power feed.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page167
                                                             17 of
                                                                of 312 PageID#:#: 64
                                                                   27 PageID      774


                                                           US RE44,325 E
                                 3                                                                           4
     In one particular embodiment of the invention, to detect a                If it detects that the terminal is not one which is adapted to
  predetermined impedance in the remote terminal, the pres                        receive a remote power feed via the available conductors
  ence of a capacitor in the remote terminal is detected.                         in an Ethernet line, but is adapted to receive a remote
     The resulting method is particularly simple to implement.                    power feed via a phantom circuit using the pairs for
  The capacitance of the capacitor is chosen so that it is signifi                sending and receiving data, this means that the terminal
  cantly different from that of the line. Measuring a capacitive                  has a low power consumption, in which case it is pos
  impedance then indicates a terminal adapted to receive a                        sible and sufficient to send a remote power feed current
  remote power feed. The capacitor can shunt two conductors                       via the phantom circuit.
  used for the remote power feed without affecting transmis                    If it detects that the terminal is adapted to receive a remote
  sion of the remote power feed current, which is a direct              10
                                                                                  power feed via the available conductors in an Ethernet
  Current.
     In another particular embodiment of the invention, to                        line and is also adapted to receive a remote power feed
  detect a predetermined impedance in the remote terminal, the                    via a phantom circuit using the pairs for sending and
  presence of a short-circuit in the remote terminal is detected.                 receiving data, this means that the terminal has a high
     The resulting method is particularly simple to implement,          15        power consumption, in which case it is possible and
  and therefore advantageous, when the short-circuit can be                       necessary to send a remote power feed current via the
  applied between two conductors of the line which are chosen                     phantom circuit and a remote power feed current via the
  so that the short-circuit does not impede either the remote                     available conductors.
  power feed or sending and receiving data.                                    The invention secondly proposes a terminal adapted to
     In a preferred embodiment of the invention, to detect the               implement the above remote power feed method, the terminal
  presence of a capacitor in the remote terminal:                            including at least one predetermined impedance connected to
     an alternating current test signal is applied to the line and it        at least two conductors of the line and which identifies the
       is verified that the remote terminal does not behave like             terminals adapted to receive a remote power feed.
        an open circuit for that signal,                                       The predetermined impedance preferably includes a very
     a direct current test signal is applied to the line and it is      25   much higher capacitance than that of terminations routinely
        verified that the remote terminal behaves like an open               connected to the ends of the line in terminals that are not
        circuit for that signal, and                                         adapted to receive a remote power feed but are adapted to be
     the method concludes that a terminal adapted to receive a               connected to the local area network concerned.
        remote power feed is present if the results of both tests              The invention thirdly proposes a remote power feed unit for
        are positive.                                                   30
                                                                             implementing the method and which includes:
     In one particular implementation of the invention a remote                means for producing at least one detection test signal on
  power feed method is suited to a line including two pairs for                    at least two conductors of a line for connecting the local
  sending/receiving data and each enabling the transmission of                     area network to a remote terminal, that signal having an
  a remote power feed current in common mode and other                             energy Such that the terminal cannot be damaged under
  conductors which can also be used for a remote power feed. In         35
  the method, detecting a remote terminal adapted to receive a                     any circumstance,
  remote power feed entails:                                                    means for detecting the presence of a remote terminal
     performing a first test to detect if the terminal is adapted to               adapted to receive a remote power feed by detecting the
        receive a remote power feed via the two pairs for send                     presence of a predetermined impedance in the remote
        ing/receiving data,                                             40         terminal on the basis of a current created by the test
     performing a second test to detect if the terminal is adapted                 signal in that connection, and
        to receive a remote power feed via the other conductors                 means for sending a power Supply current in the line when
        that can also be used for a remote power feed,                             the presence of a terminal adapted to receive a remote
     sending a remote power feed current in the two pairs for                      power feed is detected.
        sending/receiving data only if the first test shows that the    45      One particular advantage of the above remote power feed
        terminal is adapted to receive a remote power feed via               unit is that it can be installed anywhere on the line (inside or
        those two pairs, and                                                 outside a repeater), because it can operate entirely indepen
     sending a remote power feed current in the other conduc                 dently of the units of a repeater.
        tors that can also be used for a remote power feed only if              Another object of the present invention is to propose a
        the second test shows that the terminal is adapted to           50   repeater and a concentrator which can be inserted (separately
        receive a remote power feed via those other conductors.              or together) between a remote power feed unit and a terminal
     In one particular embodiment of the invention the first test            (or another equipment unit adapted to receive a remote power
  consists of detecting the presence of a first predetermined                feed, such as a repeater or a concentrator) without interfering
  impedance in the terminal on the basis of a current created by             with discrimination or the remote power feed.
  a first test signal in the two pairs for sending/receiving data       55      The present invention fourthly proposes a repeater adapted
  and the second test consists of detecting the presence of a                to receive a remote power feed and adapted to be included
  second predetermined impedance in the terminal on the basis                between a network equipment unit including a remote power
  of a current created by a second test signal in the other con              feed unit and another network equipment unit in a local area
  ductors.                                                                   network,
     One of the two predetermined impedances is preferably a            60     the repeater including a power Supply unit powered by a
  short-circuit and the other predetermined impedances is pref                   remote power feed and whose input is connected in
  erably a capacitance.                                                          parallel with the power supply input of the other network
     The resulting method enables the remote power feed cur                      equipment unit to the conductors of the line that provide
  rent to be increased, because it enables up to eight conductors                the remote power feed, and
  of an Ethernet line to be used and can discriminate between           65     the power Supply unit having an input impedance whose
  several types of terminal adapted to receive a remote power                    modulus is very much higher than the modulus of the
  feed that have different power consumptions. For example:                      input impedance of the power Supply unit which is char
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page168
                                                             18 of
                                                                of 312 PageID#:#: 65
                                                                   27 PageID      775


                                                          US RE44,325 E
                                 5                                                                   6
        acteristic of equipment units adapted to receive a remote            FIG. 1, already commented on, is a diagram showing the
        power feed likely to be connected downstream of that               architecture of an Ethernet local area network in which the
        repeater.                                                          method of the invention can be used.
     The resulting repeater does not interfere with discriminat               FIG. 2 is a block diagram of a first embodiment of a remote
  ing between an equipment unit that is adapted to receive a               power feed unit located in a concentrator and of a first
  remote power feed and an equipment unit that is not adapted              embodiment of a terminal receiving a remote power feed,
  to receive a remote power feed, because the power Supply                 where the remote power feed is provided via a common mode
  input impedance detected by an upstream remote power feed                phantom circuit on the pairs for sending and receiving data.
  unit remains approximately the same when the power Supply                   FIG.3 shows the principle of detecting a terminal adapted
  input impedance of the repeater is connected in parallel with       10   to receive a remote power feed.
  that of another network equipment unit. Also, the other net                 FIG. 4 is a block diagram of a variant of the terminal
  work equipment unit and the repeater both receive a remote               receiving a remote power feed, that variant enabling use of a
  power feed from the upstream remote power feed unit,                     local power Supply under normal circumstances and a remote
  because their respective power Supply inputs are connected in            power feed in the event of failure of the local power supply, in
  parallel to the conductors of the line that provide the remote      15   particular in the event of a mains power outage.
  power feed.                                                                 FIG.5 is a more detailed block diagram of the first embodi
     The present patent application fifthly proposes a concen              ment of the remote power feed unit shown in FIG. 2.
  trator adapted to be inserted into a line between a network                 FIG. 6 is a diagram showing changes of state occurring in
  equipment unit including a remote power feed unit and at                 the embodiment shown in FIG. 5.
  least one other network equipment unit in a local area net                 FIG. 7 is a block diagram of a second embodiment of a
  work,                                                                    remote power feed unit located in a concentrator and a second
    the concentrator including, for each of its ports adapted to           embodiment of a terminal receiving a remote power feed,
      be connected to another network equipment unit, a                    where the remote power feed is provided via a common mode
      remote power feed unit which includes:                               phantom circuit on the pairs for sending and receiving data
        means for producing at least one detection test signal        25   and simultaneously via at least one other available pair.
            on at least two conductors of a line for connecting the          FIG. 8 is a more detailed block diagram of the second
            concentrator to another network equipment unit, that           embodiment of the remote power feed unit shown in FIG. 7.
            signal having an energy Such that the other network              FIG. 9 is a diagram showing changes of state occurring in
            equipment unit cannot be damaged under any circum              the embodiment shown in FIG. 8.
            Stances,                                                  30     FIG.10 is a block diagram of one embodiment of a repeater
       means for detecting the presence of another equipment               in accordance with the invention and shows its use in a line in
          unit adapted to receive a remote power feed by detect            which the remote power feed is provided only by a phantom
          ing the presence of a predetermined impedance in that            circuit.
          other equipment unit on the basis of a current created              FIG. 11 is a block diagram of the same embodiment of a
          by the test signal in the line, and                         35   repeater according to the invention but this time used in a line
       means for sending a power Supply current in the line                in which the remote power feed is provided via a phantom
          when the presence of another equipment unit adapted              circuit plus two available pairs.
          to receive a remote power feed is detected.                         FIG. 12 is a block diagram of one embodiment of a con
     The resulting concentrator provides a remote power feed to            centrator according to the invention adapted to receive a
  downstream equipment units that are adapted to receive a            40   remote power feed and shows its use in a line where the
  remote power feed and does not provide a remote power feed               remote power feed is provided by a phantom circuit plus two
  to equipment units that are not adapted to receive a remote              available pairs, fed with power by a remote power feed unit
  power feed because it includes an additional remote power                located in an Ethernet switch.
  feed unit specific to each of its ports, that additional remote            FIGS. 13 to 16 show preferred embodiments of parts of the
  power feed unit operating in a similar manner to but indepen        45   embodiment shown in FIG. 8.
  dently of the upstream remote power feed unit in a network
  equipment unit Such as an Ethernet Switch or another concen                          MORE DETAILED DESCRIPTION
  trator.
     In a preferred embodiment of the invention, the concentra                FIG. 2 is a block diagram of a first embodiment of a remote
  tor is itself adapted to receive a remote power feed and            50   power feed unit located in a concentrator 3 and a first embodi
  includes at least one predetermined impedance connected to               ment of a terminal 5 adapted to receive a remote power feed,
  at least two conductors of the line connected to the upstream            where the remote power feed is provided via a common mode
  network equipment unit and which is characteristic of the                phantom circuit on pairs for sending and receiving data. The
  power Supply input of equipment units that are adapted to                line L3 includes four pairs:
  receive a remote power feed.                                        55      pairs A1, A2 are not used,
     The resulting concentrator can be inserted into a line with              pairs B1, B2 are not used,
  out compromising the advantages for that line of the remote                 pairs C1, C2 are used to send data to the network, in
  power feed, because it can itself be detected as adapted to                   differential mode, and
  receive a remote power feed and therefore receive a remote                 pairs D1, D2 are used to send data to the terminal, in
  power feed.                                                         60        differential mode.
                                                                             The pairs C1, C2 and D1, D2 are also used in common
            BRIEF DESCRIPTION OF THE DRAWINGS                              mode to provide a remote power feed to the terminal 5 via a
                                                                           phantom circuit.
     Other features and advantages of the present invention will             The concentrator 3 includes a remote power feed unit 31
  become more clearly apparent on reading the following               65   and a combiner 32. The unit 31 is adapted to detect the
  description, which is given with reference to the correspond             presence of a terminal adapted to receive a remote power
  ing accompanying drawings, in which:                                     feed. The combiner 32 includes two transformers 33 and 34
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page169
                                                             19 of
                                                                of 312 PageID#:#: 66
                                                                   27 PageID      776


                                                         US RE44,325 E
                                7                                                                        8
  respectively transmitting a signal TX to be sent to a terminal           150 ohms, for example, to determine whether a terminal
  and a signal RX received from a terminal. The transformers               adapted to receive a remote power feed is present at the end of
  each have a first winding and a second winding. The first                the line or not.
  windings are respectively connected to the pairs D1, D2 and                 In a variant, instead of providing a remote power feed via a
  C1, C2. They each have a center-tap connected to a respective            phantom circuit, and depending on the power required by the
  output of the remote power feed unit 31 adapted to detect the            terminal, a remote power feed can be provided:
  presence of a terminal adapted to receive a remote power                    via A1, A2 only, or
  feed. The second windings are connected to other units of the               via B1, B2 only, or
  concentrator 3, not shown.                                          10
                                                                              via A1, A2, B1 and B2 simultaneously, or
     The terminal 5 includes a splitter 20 and a power supply                 via A1, A2, B1, B2 and the phantom circuit simultaneously.
  unit 22. The splitter 20 includes two transformers 41 and 40               In a variant, the unit 31 and the combiner 32 can be in a
  respectively for transmitting a signal TX to be sent to the              separate module and completely independent of the repeater
  concentrator 3 and for transmitting a signal RX' received by             3, that module being simply inserted into the line L.
  the terminal 5. They each have a first winding and a second         15      FIG. 4 shows the block diagram of a variant 5 of a terminal
  winding. The first windings are respectively connected to the            according to the invention using a local power Supply under
  pairs D1, D2 and C1, C2. They each have a center-tap con                 normal circumstances and a remote power feed in the event of
  nected to a respective input of the power Supply unit 22.                failure of the local power supply, in particular in the event of
     An impedance 21 shunts the power Supply input 22. The                 a mains power outage. The remote power feed circuit uses the
  impedance 21 makes it possible to recognize the terminal as              available pair A1, A2, for example, but operation is exactly
  one that is adapted to receive a remote power feed. The                  the same if it uses a phantom circuit Supported by the pairs for
  impedance 21 and the frequency of the detection test signal              sending and receiving data.
  are chosen so that the modulus of the impedance 21 is very                  Components that are identical to those of the terminal 5
  much less than 75 ohms. The impedance 21 is chosen so that               are identified by the same reference numbers. The terminal 5.
  it does not short-circuit the DC voltage applied to the power       25   further includes a conventional mains power Supply unit 24
  Supply 22 and is easy to distinguish from terminations rou               providing a DC voltage of 50 volts, for example, if the remote
  tinely connected to the available conductors of the RJ45 con             power feed voltage is 48 volts. The positive pole of the mains
  nectors of terminals. The impedance 21 is preferably a                   power Supply unit 24 is connected to a positive input of the
  capacitor with a capacitance of not less than 1 microfarad, for          power supply unit 22 via a diode D1. The positive pole of the
  example 50 microfarads. If the power supply unit 22 is a            30   remote power feed circuit is connected to the positive input of
  DC-DC converter which reduces the voltage, the capacitor 21              the power Supply unit 22 via a diode D2. In normal operation,
  can be the filter capacitor provided as standard at the input of         the diode D1 conducts and the diode D2 does not conduct,
  a DC-DC converter, because the power supply unit 22 shunts               because of the difference between the two supply voltages. In
  the impedance 21. In this case, there is no need to add a                the event of a mains power outage, the Voltage provided by the
  component to constitute the impedance 21, which simplifies          35   mains power Supply unit 24 disappears, the diode D2 con
  the production of the terminal.                                          ducts and the diode D1 does not conduct. The power supply
      IEEE Standard 802.3 requires the pairs for sending and               unit 22 can therefore continue to operate from the remote
  receiving data to be able to withstand a common mode Volt                power feed.
  age of 25 V at a frequency up to 500 kHz, which means that a                A capacitor 23 shunts the diode D2 to pass an alternating
  sinusoidal test signal at a Voltage of a few volts and at a         40   current signal for detecting the terminal type. Its capacitance
  frequency of the order of 10 kHz does not interfere with the             is chosen so that it offers a negligible impedance to the detec
  transmission of payload data.                                            tion test signal, for example 1 microfarad. A terminal with a
      FIG.3 shows the principle of discriminating terminals that           local power Supply backed up by a remote power feed can
  are adapted to receive a remote power feed and terminals that            therefore be detected as a terminal with a permanent remote
  are not. For example, a terminal 5 that is adapted to receive       45   power feed.
  a remote power feed includes a capacitor 21 having a capaci                 The remote power feed current can be reserved for essen
  tance of 50 microfarads. That capacitance must be distin                 tial functions of the terminal during mains power outages and
  guished from an Ethernet line termination, for example on a              not for other, non-essential functions which consume large
  personal computer PC. That termination typically includes,               quantities of energy.
  for each pair P1, P2 of the line, two resistors 37 and 38, each     50      FIG.5 is a more detailed block diagram of the first embodi
  having a resistance of 75 ohms and each having one terminal              ment of the remote power feed unit 31 shown in FIG. 2. The
  connected to one conductor of the pairin question and another            first embodiment includes:
  terminal connected to a reference potential via a capacitor 39             a Switch 44 having three inputs and one output, which
  whose capacitance is less than or equal to 100 nanofarads. In                output is connected to the center-tap of the transformer
  a variant (not shown), both ends of the line are connected to a     55       33 via a resistor R2 shunted by a capacitor C1,
  short-circuit connected to the reference potential via a 75                an AC test Voltage generator 45 providing a sinusoidal
  ohms resistor in series with a capacitor having a capacitance                signal at a Voltage of a few volts and at a frequency of 10
  less than or equal to 100 nanofarads.                                        kHZ, for example, having one terminal connected to the
      Each conductor of the pair P1, P2 has a resistance of the                center-tap of the transformer 34 and another terminal
  order of 20 ohms. For a sinusoidal signal at 10 kHz, for            60        connected to a first terminal of a resistor R1; the second
  example, the modulus of the impedance Z measured at the                       terminal of the resistor R1 is connected to a first input of
  end of the line is therefore always significantly greater than                the Switch 44,
  150 ohms when a conventional termination is connected to                   a DC voltage generator 46 providing a voltage of 48V, for
  the pair. On the other hand, it is always significantly less than            example, for remote power feeding a terminal, having a
  150 ohms when a capacitance of 1 microfarad or more is              65       negative terminal connected to the center-tap of the
  connected to the pair. It is therefore sufficient to determine if            transformer 34 and a positive terminal connected to a
  the modulus of the impedance Zfer is less then or greater than                first terminal of a resistor R3 via an inductor 49; the
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page170
                                                             20 of
                                                                of 312 PageID#:#: 67
                                                                   27 PageID      777


                                                           US RE44,325 E
                                  9                                                                        10
       second terminal of the resistor R3 is connected to a                       fore no conventional terminal connected to the end of the
      second input of the switch 44,                                              line; the terminal is one adapted to receive a remote
    a DC test Voltage generator 47 producing a Voltage of 5                       power feed or a terminal with a local power Supply
      Volts, for example, having a positive terminal connected                    backed up by a remote power feed. The circuit 43 goes to
      to the center-tap of the transformer 34 and a negative                      a state S4 to remote power feed the terminal and contin
      terminal connected to a third input of the switch 44, and                   ues the alternating current test to detect disconnection of
    a logic circuit 43 having a first input connected to the                      the terminal which has been detected.
      second terminal of the resistor R1, two further inputs                   Event 104: the modulus is less than 50 ohms, and there is
      respectively connected to the terminals of the resistor R2                  therefore a short-circuit for the direct current in the
      and the capacitor C1, and an output which controls the            10        terminal or on the line; there is therefore either a con
       Switch 44.                                                                 ventional terminal (having a termination including a
    In the above example:                                                         short-circuit) connected to the line, or an accidental
    R1=75 ohms,                                                                   short-circuit, in which case the remote power feed cur
    R2=1 ohm,                                                                     rent must not be sent; the circuit 43 goes to state S3 to
    R3=10 ohms,                                                         15        detect disappearance of the short-circuit.
    C1=1 microfarad.                                                           In state S3, the circuit 43 performs a low DC voltage test of
     The inductor 49 in series with the generator 46 has an                  short duration to detect the disconnection of a conventional
  inductance Such that, if the generators 45 and 46 are con                  terminal, for example at periods of one second. The unit 31
  nected to the remote terminal simultaneously, the attenuation              provides a direct current of sufficiently low amplitude and
  of the AC test signal caused by the generator 46 is negligible.            sufficiently short duration to test for the presence of a con
  In other embodiments this function can be implemented by an                ventional terminal with no risk of damaging it. The circuit 43
  active circuit.                                                            operates the Switch 44 to connect only its second input to its
     The resistance of R2 is chosen to define the maximum                    output, for a period of only 150 milliseconds. At the end of
  remote power feed current in the line and the capacitance of               100 milliseconds (required to enable any capacitor to charge),
  C1 is chosen to transmit the AC detection test signal with            25   the circuit 43 measures the voltage across R2. If the voltage is
  negligible attenuation. The voltage of the AC generator 45                 Zero, the circuit is an open circuit for the direct current. The
  and the resistance of the resistor R1 are chosen to pass a test            remote power feed Voltage is not applied to the line L during
  current that is not hazardous for any terminal that might be               this test. The test voltage applied is 5 volts in this example.
  connected to the end of the line, in particular if it is a terminal        This does not represent any danger to the terminal. The logic
  not adapted to receive a remote power feed. The DC test               30   circuit 43 compares the DC voltage measured across the
  voltage provided by the generator 47 is very much lower than               resistor R2 with a single threshold Voltage, corresponding to
  the remote power feed voltage and is therefore not hazardous               a resistance of 50 ohms, for example.
  to terminals which are not adapted to receive a remote power                  The test is repeated until the modulus of the impedance
  feed. Also, it is insufficient to start up the power Supply of a           exceeds 50 ohms (Event 106): the circuit 41 then reverts to
  terminal adapted to receive a remote power feed, which is             35   state S1 so that it can detect the connection of a terminal
  therefore seen as an open circuit during the direct current test.          adapted to receive a remote power feed.
     FIG. 6 is a diagram showing changes of state that occur in                 In state S4 the unit 31 supplies a remote power feed current
  the embodiment of the unit 31 shown in FIG.S. When the unit                to the terminal adapted to receive a remote feed that it has
  31 is started up, it is in a state S1 and performs an alternating          detected, and detects the occurrence of two events:
  current test to detect the presence of a terminal adapted to          40     disconnection of the terminal adapted to receive a remote
  receive a remote power feed: the logic circuit 43 operates the                  power feed which has been detected, or
  switch 44 to connect only its first input to its output. The                 failure of the line or the terminal, producing a short-circuit
  remote power feed Voltage is not applied to the line L, and                     for direct current.
  there is therefore no risk to a conventional terminal. The                    The circuit 43 operates the switch 44 to connect its first and
  Switch 44 transmits an alternating current. The logic circuit         45   third inputs simultaneously to its output. A remote power feed
  43 compares the AC voltage at the second terminal of the                   current is therefore supplied to the line L. The generator 45
  resistor R1 with a threshold Voltage corresponding to a modu               provides a permanent alternating current Superimposed on
  lus of the impedance Z equal to 50 ohms, for example.                      the remote power feed direct current to monitor the presence
  There are two possible outcomes:                                           of the terminal adapted to receive a remote power feed that
     Event 102: the modulus is greater than 50 ohms, this is an         50   has been detected. A direct current flows in the resistor R2 for
       open circuit for the alternating current, there is therefore          as long as the terminal adapted to receive a remote power feed
       no terminal connected to the end of the line and the                  that has been detected is connected to the line L. The circuit
       circuit 43 remains in state S1 to continue the alternating            43 monitors the voltage drop across the resistor R2. It com
       Current test.                                                         pares the AC voltage at the second terminal of the resistor R1
     Event 101: the modulus is less than 50 ohms, there is a            55   with a threshold Voltage corresponding to a modulus of the
       short-circuit for alternating current at least, and there             impedance Z equal to 50 ohms. It also compares the DC
       fore there may be a terminal adapted to receive a remote              Voltage across R2 with a threshold Voltage corresponding to a
       power feed connected to the end of the line, or a short               resistance of 50 ohms.
       circuit between two conductors of the line; the circuit 43              Two events can occur in state S4:
      goes to the state S2 for discriminating between these two         60     Event 107: the modulus of the alternating current imped
      possibilities, by means of a low Voltage direct current                    ance rises above 50 ohms, the circuit is an open circuit
      test of short duration. During this test the power supply                  for the alternating current, and the terminal adapted to
      unit 22 has a high resistance because the input Voltage it                 receive a remote power feed has therefore been discon
      receives is too low to start it up.                                         nected; the circuit 43 reverts to state S1. Because the
    The test conducted in state S2 has two possible outcomes:           65        remote power feed Voltage is no longer applied to the
    Event 105: the resistance is greater than 50 ohms, which is                   line, any other terminal can be connected in complete
      an open circuit for the direct current, and there is there                  safety.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page171
                                                             21 of
                                                                of 312 PageID#:#: 68
                                                                   27 PageID      778


                                                          US RE44,325 E
                                 11                                                                     12
     Event 108: the DC resistance is less than 50 ohms and there              FIG. 8 is a more detailed block diagram of the second
       is therefore a short-circuit either on the line or in the            embodiment of the remote power feed unit shown in FIG. 7.
        terminal. The circuit 43 goes to a state S5 in which it             The remote power feed unit 31' for detecting terminals
        stops the remote power feed for 30 seconds, for example,            adapted to receive a remote power feed includes, in addition
        to prevent the remote power feed current from causing               to the components constituting the unit 31 previously
        any damage. It then reverts to state S1 in which the tests          described:
        previously conducted are repeated.                                    a resistor R4 connected at one end to the common point of
     FIG. 7 is a block diagram of a second embodiment of the                     the resistor R3 and the inductor 49, and
  remote power feed unit 31' located in a concentrator 3' and a               a second Switch 48 having one input, one output and one
  second embodiment of a terminal 5 adapted to receive a               10        control input.
  remote power feed. This second embodiment is used to power                  The logic circuit 43 is replaced by a logic circuit 43' which
  terminals requiring a current that is too high to be provided             controls the switches 44 and 48. The input of the switch 48 is
  only by the phantom circuit using the pairs for sending and               connected to a second end of the resistor R4. R4 has the same
  receiving data or only by the available two pairs. The remote             resistance as R3; R3 and R4 divide the remote power feed
  power feed current can be divided equally between the four           15   current equally between the phantom circuit and the circuit
  pairs of the line, i.e. the phantom circuit plus the available two        via the pairs A1, A2, B1, B2. The output of the switch 48 is
  pairs. This enables the remote power feed current to be                   connected to the conductors A2 and B2 of the line L. The
  doubled. However, it is then necessary to verify that the                 conductors A1 and B1 are connected to the common point of
  terminal is adapted to receive a remote power feed current on             the generator 45, the generator 47, the generator 46 and the
  all the pairs. If the remote power feed unit were to test only the        center-tap of the transformer 34.
  phantom circuit and were then to apply the remote power feed                 FIG. 9 is a diagram showing changes of state occurring in
  Voltage to all the pairs, it could destroy terminations at the            the embodiment shown in FIG.8. On start-up, and until the
  ends of the available pairs in terminals adapted to receive a             terminal has been identified as adapted to receive a remote
  remote power feed only via the phantom circuit.                           power feed via the phantom circuit and via the available pairs,
     The remote power feed unit 31' for detecting a terminal           25   the input of the switch 48 is not connected to its output. The
  adapted to receive a remote power feed shown in FIGS. 7 and               generator 46 therefore does not apply any Voltage to the
  8 verifies that the terminal is adapted to receive a remote               terminal. The states are the same as for the unit 31, except that
  power feed via the phantom circuit and that the terminal is               event 105, which detects an open circuit for direct current
  further adapted to receive a remote power feed via the avail              which indicates that the terminal is a terminal adapted to
  able two pairs. It can therefore distinguish between terminals       30   receive a remote power feed via the phantom circuit (or has a
  of three types:                                                           local power supply backed up by the remote power feed), is
     a terminal which is not adapted to receive a remote power              not followed immediately by state S4 in which the terminal
        feed,                                                               receives the remote power feed.
    a terminal that is adapted to receive a remote power feed                  The unit 31' goes to a state S4a in which the circuit 43'
       only via the phantom circuit, and                               35   carries out a short duration low DC voltage test to test also the
    a terminal that is adapted to receive a remote power feed via           available pairs A1, A2, B1, B2. It operates the switch 44 to
       the phantom circuit and via the two available pairs.                 connect only its second input to its output for only 150 mil
    The skilled person knows how to adapt the unit 31' to                   liseconds. The logic circuit 43' verifies that there is a DC
  permutate the test on the available pairs and the test on the             Voltage on the conductors A2, B2.
  phantom circuit to distinguish between terminals of three            40      Event 111: The circuit 43" has detected a return DC voltage
  types:                                                                         on the conductors A2, B2 because the phantom circuit
    a terminal that is not adapted to receive a remote power                     (at the center-tap of the transformer 40) is connected to
        feed,                                                                    those conductors in the terminal by the short-circuit 52.
    a terminal that is adapted to receive a remote power feed                    This means that the terminal is also adapted to receive a
        only via the available pairs, and                              45        remote power feed via the available pairs. The circuit 43'
    a terminal that is adapted to receive a remote power feed via                operates the Switch 48 so that it connects its input and its
       the phantom circuit and via the two available pairs.                      output. The generator 46 therefore applies a remote
     In this example the unit 31' has four ports. Two ports are                  power feed voltage to the available pairs. The circuit 43'
  connected to the center-taps of respective transformers 33 and                 then goes to a state S4b analogous to the state S4 previ
  34. The common modephantom circuit uses the two pairs C1,            50        ously described, in which it provides a remote power
  C2 and D1, D2 for sending and receiving data. A third port is                  feed to the terminal via the phantom circuit in addition to
  connected to the available conductors A1 and B1. A fourth                      the remote power feed via the available pairs.
  port is connected to the available conductors A2 and B2.                     Event 110: The circuit 43' has not detected a DC voltage on
     In the terminal 5, the ends of the conductors A1 and B1 are                 the conductors A2, B2 because the phantom circuit is not
  connected together to a first port of the power Supply 22 and        55        connected to those conductors in the terminal. This
  are connected via a short circuit 51 to the center-tap of the                   means that the terminal is not adapted to receive a
  transformer 41, i.e. to one terminal of the phantom circuit.                    remote power feed via the available pairs. The circuit 43'
  The ends of the conductors A2 and B2 are connected together                     leaves the switch 48 open. The generator 46 therefore
  to a second port of the power Supply unit 22 and are connected                  applies no remote power feed voltage to the available
  via a short circuit 52 to the center-tap of the transformer 40,      60         pairs and there is no risk of damaging the terminal. The
  i.e. to the other terminal of the phantom circuit. As previously,               circuit 43' then goes to a state S4b identical to the state
  a capacitor 21 shunts the two ports of the power Supply unit                    S4 previously described, in which it provides a remote
  22.                                                                             power feed to the terminal via the phantom circuit only.
    The unit 31' sends half the remote power feed current via                  FIG.10 is a block diagram of one embodiment of a repeater
  the phantom circuit and the other half via the pairs A1, A2, B1,     65   RP1 according to the invention, and shows its use in a line in
  B2. The AC test signal is superimposed on the remote power                which the remote power feed is provided only via a phantom
  feed current.                                                             circuit. In a repeater 3, each port includes a remote power feed
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page172
                                                             22 of
                                                                of 312 PageID#:#: 69
                                                                   27 PageID      779


                                                        US RE44,325 E
                               13                                                                       14
  unit 31 as previously described and providing the remote               remote power feed is connected. The repeater is therefore
  power feed and detection functions. The port considered in             transparent vis-a-vis the remote power feed unit 31.
  this example is connected to a terminal 4 via the repeater                 FIG. 11 is a block diagram of the same embodiment of a
  RP1, which is necessary because of the length of the line. The         repeater according to the invention, but showing its use in a
  concentrator 3 is connected to the repeater RP1 by a line              line where the remote power feed is provided by a phantom
  section L1. The terminal 4 is connected to the repeater RP1            circuit plus two available pairs A1, A2 and B1, B2. The two
  by a line section L2 and includes: a splitter consisting of two        available pairs are used only in the line section L1 because
  transformers 40 and 41, a power Supply unit 22 and a capaci            they provide the Surplus energy corresponding to the require
  tor 21 shunting the input terminals of the power Supply unit           ments of the circuits of the repeater RP1. The two conductors
  22, as previously described.                                      10   A1 and A2 together connect the center-tap of the transformer
     The repeater RP1 includes:                                          33 to the center-tap of the transformer 140. The two conduc
     a splitter 139 and a combiner 132,                                  tors B1 and B2 together connect the center-tap of the trans
     a power Supply unit 122, and                                        former 34 to the center-tap of the transformer 141.
     two regenerators 35 and 36.                                             FIG. 12 is a block diagram of one embodiment of a con
    The combiner 132 includes two transformers 133 and 134
                                                                    15   centrator 3' according to the invention. In an Ethernet switch
                                                                         2", a remote power feed unit 231 and a combiner consisting of
  respectively transmitting a signal to be sent to the terminal 4        two transformers 201 and 202 analogous to those previously
  and a signal received from the terminal 4. Each has a first            described for a concentrator 3 provide the remote power feed
  winding and a second winding. The first windings are con               and detection functions for the port in question of the switch
  nected to respective data transmission pairs of the line L.            2". The concentrator 3' is connected to that port. It has N ports
  Each has a center-tap. The second winding of the transformer           connected to N respective terminals 5,..., 5 by individual
  133 is connected to differential outputs of the regenerator 35. lines L.
  The second winding of the transformer 134 is connected to              The concentrator 3' is adapted to receive a remote power
  differential inputs of the regenerator 36.                          feed, and it receives its remote power feed via a phantom
     The splitter 139 includes two transformers 140 and 141 25 circuit on two pairs D1, D2, C1, C2 plus two available pairs
  respectively transmitting the signal to be sent to the concen B1, B2, A1, A2 of the line to the switch 2' powered by the
  trator 3 and the signal received from the concentrator 3. Each remote power feed unit 231 in the switch 2.
  has a first winding and a second winding. The first windings           In the concentrator 3", each port includes a respective
  are connected to respective data transmission pairs of the line remote power feed unit 231,..., 231 analogous to the unit
  L. The center-tap of the first winding of the transformer 140 30 31 previously described and a respective combiner 232,...,
  is connected to a first input of the power Supply unit 122 and 232 analogous to the combiner 32 previously described:
  to the center-tap of the transformer 133. The center-tap of the they provide the remote power feed and detection functions.
  first winding of the transformer 141 is connected to a second The concentrator 3' further includes:
  input of the power supply unit 122 and to the center-tap of the        a splitter 240,
  transformer 134. The second winding of the transformer 141 35 a power Supply unit 222,
  is connected to differential outputs of the regenerator circuit        a capacitor 221 shunting the input of the power Supply unit
  36. The second winding of the transformer 140 is connected                222, and
  to differential outputs of the regenerator circuit 35.                 a conventional concentrator 200.
     The connections between the center-taps of the transform            For example, the combiner 232 includes two transformers
  ers 140, 141, 133, 134 enable the phantom circuit of the 40 233 and 234 respectively transmitting a signal to be sent to a
  section L1 to be connected directly to the phantom circuit of terminal 6 and a signal received from the terminal 6. They
  the section L2 to carry the remote power feed direct current each have a first winding and a second winding. The first
  and test signals (direct current and alternating current). There windings are connected to respective data transmission pairs
  is no capacitor connected to the input of the power Supply unit of the line L to the terminal 6. Each has a center-tap. The
  122 of the repeater. The power supply unit is designed to have 45 second winding of the transformer 233 is connected to dif
  an input impedance whose modulus is very much higher than ferential outputs of the concentrator circuit 200. The second
  50 ohms during the alternating current test. The repeater RP1 winding of the transformer 234 is connected to differential
  must receive a remote power feed from the remote power feed inputs of the concentrator circuits 200.
  unit 31 only when a terminal 4 adapted to receive a remote             The splitter 239 includes two transformers 240 and 241
  power feed is actually connected to the repeater RP1. The 50 respectively transmitting the signal received from the concen
  repeater RP1 on its own must therefore not be detected as a trator 2 and the signal to be sent to the concentrator 2'. They
  terminal adapted to receive a remote power feed. The skilled each have a first winding and a second winding. The first
  person knows how to design a power Supply unit 122 having windings are connected to respective data transmission pairs
  an input impedance very much higher than 50 ohms for the D1, D2, C1, C2. The center-tap of the first winding of the
  alternating current test signal. For example, the input stage of 55 transformer 240 is connected to a first input of the power
  the power Supply unit can include an inductor or an active supply unit 222, a first input of each remote power feed unit
  circuit equivalent to an inductor.                                  231, ..., 231 and the available wires A1, B1. The center
     During the alternating current test (state S1, FIG. 6), the tap of the first winding of the transformer 241 is connected to
  remote power feed unit 31 detects a closed circuit for alter a second input of the power Supply unit 222, a second input of
  nating current if and only if a terminal 4 adapted to receive a 60 each remote power feed unit 231,..., 231 and the available
  remote power feed is connected, by means of the capacitor 21 wires A2, B2. The second winding of the transformer 141 is
  in the terminal 4. Thereafter, during the direct current test connected to differential outputs of the concentrator 200. The
  (state S2), the power supply unit 122 and the power supply second winding of the transformer 240 is connected to dif
  unit 22 each have a high resistance because they receive an ferential inputs of the concentrator 200.
  input voltage which is too low to start them. If the remote 65 The concentrator 3' requires a remote power feed regard
  power feed unit 31 finds that there is no direct current short less of the terminals to which it is connected. Even if none of
  circuit, it concludes that a terminal adapted to receive a those terminals is adapted to receive a remote power feed,
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page173
                                                             23 of
                                                                of 312 PageID#:#: 70
                                                                   27 PageID      780


                                                           US RE44,325 E
                                15                                                                       16
  they require the concentrator 3' in order to be able to operate.            a port 73 which is connected to the resistor R3, respectively
  The concentrator 3' is detected by the remote power feed unit                  R4,
  231 as being a terminal adapted to receive a remote power                   an MOS transistor T4 whose drain is connected to the port
  feed, because of the capacitor 121 (whose capacitance is at                   71 and whose source is connected to the port 73 via a
  least equal to one microfarad). This capacitor can be the filter               resistor R11,
  capacitor conventionally included at the input of a power                   an NPN bipolar transistor T3 whose collector is connected
  Supply unit.                                                                  to the gate of the transistor T4, whose emitter is con
     FIG. 13 shows part of the block diagram of a variant of the                nected to a supply voltage -V via a resistor R9, and
  embodiment shown in FIG.8. Of the three switches 44, the                      whose base is connected to the control port 72,
  one which is connected to the resistor R3, on the one hand,          10
                                                                              an NPN bipolar transistor T5 whose collector is connected
  and to the resistor R2, on the other hand, preferably consists                to the gate of the transistor T4, whose emitter is con
  of an electronic circuit 44' shown in FIG. 16. The switch 48
  which is connected to the resistor R4, on the one hand, and to                nected to the port 73, and whose base is connected to the
  the conductors A2 and B2, on the other hand, preferably                        drain of the transistor T4, and
  consists of an electronic circuit 48' identical to the switch 44'.   15     a resistor R10 connecting the gate of the transistorT4 to the
  The inductor 49 is preferably replaced with an electronic                      port 73.
  circuit 49' for blocking an alternating current, namely the                 A binary control signal is applied to the port 72. When it
  respective circuits 49'a and 49'b shown in FIGS. 14 and 15.               turns off the transistor T3, the transistor T4 is turned off and
     FIG. 14 is the block diagram of a preferred first embodi               the remote power feed is cut off. When it saturates the tran
  ment 49'a of the electronic circuit 49' for blocking an alter             sistor T3, the transistor T4 conducts and the remote power
  nating current. This example includes three silicon diodes D5.            feed is applied. The voltage drop in the resistor R11 caused by
  D6, D7. The alternating current test signal generator applies             the remote power feed current turns on the transistor T5 when
  to the terminals of the circuit 49'a an AC voltage which in this          it reaches a threshold voltage. The transistor T5 then reduces
  example is equal to 1.2 volts. The current/voltage character              the conductance of the transistor T4. This current regulation
  istic of any silicon diode is non-linear and has a threshold of      25   limits the remote power feed current to a maximum current
  approximately 0.6 volt. Beyond that threshold, the dynamic                essentially determined by the resistance of the resistor R11,
  resistance is negligible. The diodes D5, D6, D7 have a com                the ratio of the resistances of the resistors R9 and R10, and the
  bined threshold of approximately 1.8 volts. They therefore                voltage -V. To complete the protection of the generator 46
  have a negligible conductance for the alternating current test            against short-circuits, a fuse can be inserted as close as pos
  signal when the remote power feed current is not flowing             30
                                                                            sible to the positive terminal of the generator 46.
  through them.                                                               In a variant, the circuit 44' 48 further includes means for
     That signal is therefore not absorbed by the DC voltage                controlling the active component so that it has a negligible
  generator 46 if no terminal adapted to receive a remote power             conductance for the test alternating current. For example, a
  feed is connected to the line. If a terminal adapted to receive           capacitor C5 can be connected between the gate of the tran
  a remote power feed is connected to the line, the alternating        35
  current test signal is absorbed but this is of no importance              sistor T4 and the port 73. The transistor T4 then behaves as a
  because at this time the test signal does not need to be used to          direct current generator, presenting a high impedance to the
  detect the disconnection of a terminal. The skilled person                alternating current test signal generator, in particular when
  knows how to adapt the number of semiconductor diodes to                  the transistor T5 is not turned on. The time constant of the
  Suit the Voltage of the alternating current test signal.             40   circuit as a whole is chosen so that the transistor T4 has a
     FIG. 15 is the block diagram of a preferred second embodi              negligible conductance vis-a-vis the alternating current test
  ment 49"b of the electronic circuit 49' for blocking an alter             signal. There is then no longer any need for the blocking
  nating current, which includes at least one transistor behaving           device 49 or 49".
  as a direct current generator. The electronic circuit 49"b
  includes a bipolar transistor T1 whose collector and emitter         45     What is claimed is:
  constitute respective terminals of the circuit 49"b. The base is             1. A method of providing a remote power feed to a terminal
  connected to a bridge made up of two resistors R6 and R7                  in a local area network, the method comprising:
  connected between these two terminals. A capacitor C4 is                    producing at least one detection an alternating current
  connected between the base and the emitter. The time con                       test signal on at least two conductors of a line for con
  stant of the circuit 49"b as a whole is made very much greater       50        necting the local area network to a remote terminal,
  than the period of the alternating current test signal. It can be               that the test signal having an energy such that the
  shown by calculation that the circuit then has a negligible                   terminal cannot be damaged under any circumstances,
  conductance for the alternating current signal.                             detecting the presence of a remote terminal adapted to
     FIG. 16 is the block diagram of a preferred embodiment of                  receive a remote power feed by detecting the presence of
  the electronic switching circuits 44' and 48. Each includes, in      55       predetermined impedance in the remote terminal on the
  addition to at least one active component:                                    basis of a current created by the test signal in that said
     means for turning it on and off to activate or deactivate the              line, and
        remote power feed current, and                                        sending a power supply current in that said line when the
     means for controlling it in Such manner as to limit the                     presence of a terminal adapted to receive a remote power
        remote power feed current to a predetermined current           60        feed is detected.
        that is not hazardous to the line or the generator 46.                 2. A remote power feed method according to claim 1,
     To be more precise, in this example, the circuit 44 or 48              wherein, to detect a predetermined impedance in the remote
  includes:                                                                 terminal, the method detects the presence of a capacitor in the
    a port 71 which is coupled to the conductors D1 and D2                  remote terminal.
       (FIG. 8), respectively A2 and B2.                               65     3. A remote power feed method according to claim 2,
    a control port 72 connected to the control circuit 43" (FIG.            wherein, to detect the presence of a capacitor in the remote
       8),                                                                  terminal:
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page174
                                                             24 of
                                                                of 312 PageID#:#: 71
                                                                   27 PageID      781


                                                          US RE44,325 E
                                 17                                                                       18
     ansaid alternating current test signal is applied to the line          ance in the remote terminal include means for detecting the
       and it is verified that the remote terminal does not behave          presence of a direct current short-circuit in the remote termi
       like an open circuit for that the alternating current test           nal.
       signal,                                                                11. A system remote power feed unit according to claim
    a direct current test signal is applied to the line and it is      5    9, wherein the means for detecting the presence of a capacitor
       verified that the remote terminal behaves like an open               in the remote terminal include:
       circuit for that the direct current test signal, and                   means for applying an said alternating current test signal
     the method concludes that a terminal adapted to receive a                     to the line and verifying that the remote terminal does
        remote power feed is present if the results of both tests                  not behave like an open circuit for that the alternating
        are positive.                                                  10       current test signal,
     4. A remote power feed method according to claim 1,                      means for applying a direct current test signal to the line
  wherein, to detect a predetermined impedance in the remote                    and verifying that the remote terminal behaves like an
  terminal, the method detects the presence of a short-circuit in                  open circuit for that the direct current test signal, and
  the remote terminal.                                                        logic means for concluding that a terminal adapted to
     5. A remote power feed method according to claim 1, Suited        15        receive a remote power feed is present if the results of
  to a line including two pairs for sending/receiving data and                  both tests are positive.
  each enabling the transmission of a remote power feed current               12. A system remote power feed unit according to claim
  in common mode and other conductors which can also be                     10, wherein the means for detecting the presence of a short
  used for a remote power feed, wherein detecting a remote                  circuit in the remote terminal include:
  terminal adapted to receive a remote power feed comprises:                  means for applying a direct current test signal to the line,
    performing a first test to detect if the terminal is adapted to                and
        receive a remote power feed via the two pairs for send                means for detecting if the remote terminal behaves like a
        ing/receiving data,                                                        short-circuit for that the direct current test signal and
    performing a second test to detect if the terminal is adapted                  concluding that a terminal adapted to receive a remote
        to receive a remote power feed via the other conductors        25          power feed is present if the result of the test is positive.
        that can also be used for a remote power feed,                        13. A system remote power feed unit according to claim
     sending a remote power feed current in the two pairs for               8, further including:
        sending/receiving data only if the first test shows that the           means for detecting disconnection of the terminal adapted
        terminal is adapted to receive a remote power feed via                   to receive a remote power feed, and
        those two pairs, and                                           30      means for interrupting the remote power feed current in
     sending a remote power feed current in the other conduc                      response to detection of disconnection of the terminal.
        tors that can also be used for a remote power feed only if           14. A system remote power feed unit according to claim
        the second test shows that the terminal is adapted to               8 13, wherein means for detecting disconnection of a ter
        receive a remote power feed via those other conductors.             minal adapted to receive a remote power feed include:
     6. A remote power feed method according to claim 5,               35     means for applying an alternating current test signal to the
  wherein the first test comprises of detecting the presence of                    line, and
  a first predetermined impedance in the terminal on the basis of             means for verifying if the terminal behaves like an open
  a current created by a first test signal in the two pairs for                 circuit for that the alternating current test signal.
  sending/receiving data and the second test comprises of                     15. A system remote power feed unit according to claim
  detecting the presence of a second predetermined impedance           40   8, further including:
  in the terminal on the basis of a current created by a second               means for detecting a short-circuit for the remote power
  test signal in the other conductors.                                            feed direct supply current on the line after sending the
     7. A remote power feed method according to claim 6,                          remote power feed supply current, and
  wherein one of the two predetermined impedances is a short                  means for interrupting the sending of the remote power
  circuit and the other predetermined impedance is a capaci            45         feed supply current for a predetermined time and then
  tance.                                                                         sending a remote power feed supply current again if
    8. A remote power feed unit for implementing the method                     a short-circuit is detected for the power supply direct
  according to claim 1, wherein the unit includes:                              Current.
    means for producing at least one detection said alternat                  16. A system remote power feed unit according to claim
       ing current test signal on at least two conductors of a line    50   8, further including:
       for connecting the local area network to a remote termi                 means for concluding that a terminal that is not adapted to
       nal, that the test signal having an energy such that the                   receive a remote power feed or a direct current short
      terminal cannot be damaged under any circumstance,                          circuit is present if the remote terminal does not behave
    means for detecting the presence of a remote terminal                         like an open circuit for the alternating current test signal
      adapted to receive a remote power feed by detecting the          55          and does not behave like an open circuit forthea direct
      presence of a predetermined impedance in the remote                       current test signal,
      terminal on the basis of a current created by the test                  means for then applying a further direct current test signal
      signal in that connection said line, and                                  to the line to verify that the remote terminal or the
    means for sending a power supply current in the said line                      short-circuit is still connected, and
       when the presence of a terminal adapted to receive a            60     means for concluding that the terminal that is not adapted
       remote power feed is detected.                                           to receive a remote power feed or the short-circuit has
    9. A system remote power feed unit according to claim8,                        been disconnected and if the result of the direct current
  wherein the means for detecting a predetermined impedance                        test is negative, then the means for concluding:
  in the remote terminal include means for detecting the pres                      applies an a further alternating current test signal to the
  ence of a capacitor in the remote terminal.                          65            line and verifies that the remote terminal does not
    10. A system remote power feed unit according to claim                           behave like an open circuit for that the fiurther alter
  8, wherein the means for detecting a predetermined imped                           nating current test signal,
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page175
                                                             25 of
                                                                of 312 PageID#:#: 72
                                                                   27 PageID      782


                                                         US RE44,325 E
                                19                                                                       20
       applies a further direct current test signal to the line and          means for turning it on and off to active activate or
         verifies that the remote terminal behaves like an open                deactivate the remote power feed current, and
          circuit for that the further direct current test signal,           means for controlling it so as to limit the remote power feed
          and                                                                   Current.
       concludes that a terminal adapted to receive a remote          5        25. A remote power feed unit according to claim 24, further
         power feed is present if the results of both tests are            including means for controlling the active component so that
         positive.                                                         it has a negligible conductance for the test alternating current.
    17. A system remote power feed unit according to claim                     26. A terminal adapted to be connected to a local area
  8, Suitable for a line including two pairs for sending/receiving         network and to receive a remote power feed via a line,
  data each enabling the common mode transmission of a                10   wherein the terminal includes at least one predetermined
  remote power feed current, and other conductors that can also            impedance connected to at least two conductors of the line
  be used for a remote power feed, wherein the means for                   and which identifies terminals adapted to receive a remote
                                                                           power feed, wherein the predetermined impedance is a very
  detecting a remote terminal adapted to receive a remote power            much higher capacitance than that of terminations routinely
  feed include:                                                       15   connected to the ends of the lines in terminals that are not
    means for performing a first test to detect if the terminal is         adapted to receive a remote power feed but are adapted to be
      adapted to receive a remote power feed via the two pairs             connected to the local area network.
      for sending/receiving data,                                             27. A repeater adapted to receive a remote power feed and
    means for performing a second test to detect if the terminal           adapted to be included in a line between a network equipment
      is adapted to receive a remote power feed via the other              unit including a remote power feed unit and another network
      conductors that can also be used for a remote power feed,            equipment unit in a local area network,
    means for sending a remote power feed current in the two                 the repeater including a power Supply unit powered by a
      pairs for sending/receiving data only if the first test                    remote power feed and whose input is connected in
      shows that the terminal is adapted to receive a remote                     parallel with the power supply input of the other network
      power feed via those two pairs, and                             25         equipment unit to the conductors of the line that provide
    means for sending a remote power feed current in the other                   the remote power feed, and
      conductors that can also be used for a remote power feed               the power Supply unit having an input impedance whose
      only if the second test shows that the terminal is adapted                 modulus is very much higher than the modulus of the
      to receive a remote power feed via those other conduc                      input impedance of the power Supply unit which is char
       tOrS.                                                          30         acteristic of equipment units adapted to receive a remote
    18. A system remote power feed unit according to claim                       power feed likely to be connected downstream of that
  17, wherein:                                                                  repeater.
    the means for performing the first test include means for                28. A concentrator adapted to be inserted into a line
       detecting the presence of a first predetermined imped               between a network equipment unit including a remote power
       ance in the terminal on the basis of a current created by      35   feed unit and at least one other network equipment unit in a
       a test signal in the two pairs for sending/receiving data,          local area network,
       and                                                                   the concentrator including, for each of its ports adapted to
    the means for performing the second test including means                   be connected to another network equipment unit, a
      for detecting the presence of a second predetermined                     remote power feed unit which includes:
      impedance in the terminal on the basis of a current             40        means for producing at least one detection an alternat
      created by a test signal in the other conductors.                            ing current test signal on at least two conductors of a
    19. A system remote power feed unit according to claim                         line for connecting the concentrator to another net
  18, wherein one of the two predetermined impedances is a                         work equipment unit, that the test signal having an
  short-circuit and the other predetermined impedance is a                         energy Such that the other network equipment unit
  capacitance.                                                        45           cannot be damaged under any circumstances,
    20. A system remote power feed unit according to claim                       means for detecting the presence of another equipment
  10, wherein the means for detecting the presence of a direct                     unit adapted to receive a remote power feed by detect
  current short-circuit in the remote terminal include means for                   ing the presence of a predetermined impedance in that
  limiting the duration of the test signal so that the energy                      other equipment unit on the basis of a current created
  dissipated in the terminal cannot damage it the terminal            50           by the test signal in the line, and
  under any circumstances.                                                       means for sending a power Supply current in the line
    21. A remote power feed unit according to claim 8, wherein                     when the presence of another equipment unit adapted
  the means for sending a power Supply current in the line                         to receive a remote power feed is detected.
  include a direct current Supply in series with a circuit for                29. A concentrator according to claim 28, adapted to
  blocking an alternating current.                                    55   receive a remote power feed, the concentrator including at
    22. A remote power feed unit according to claim 21,                    least one predetermined impedance which is connected to at
  wherein the circuit for blocking an alternating current                  least two conductors of the line and is characteristic of net
  includes at least one semiconductor diode which is conduct               work equipment units adapted to receive a remote power feed.
  ing in the direction of the remote power feed direct current.              30. A method of providing a remote power feed to a termi
    23. A remote power feed unit according to claim 21,               60   nal in a local area network, the method comprising:
  wherein the circuit for blocking an alternating current                    producing at least first and second test signals on at least
  includes at least one transistor behaving like a direct current               two conductors of a line for connecting the local area
  generator.                                                                    network to a remote terminal, the test signals having an
     24. A remote power feed unit according to claim 8, wherein                 energy such that the terminal cannot be damaged under
  the means for sending a power Supply current in the line            65        any circumstances,
  include a DC voltage Supply in series with at least one elec               detecting the presence of a remote terminal adapted to
  tronic Switching circuit including an active component and:                  receive a remote power feed by detecting the presence of
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page176
                                                             26 of
                                                                of 312 PageID#:#: 73
                                                                   27 PageID      783


                                                          US RE44,325 E
                                21                                                                       22
      predetermined impedance in the remote terminal in                       detecting the presence of a remote terminal adapted to
       compliance with a predetermined impedance threshold,                     receive a remote power feed by detecting the presence of
       On the basis of a current created by at least one of the test            predetermined impedance in the remote terminal on the
       signals in said line, and                                                 basis of a current created by the test signal in said line,
    sending a power supply current in said line when the pres- 5                 and
       ence of a terminal adapted to receive a remote power                    sending a power supply current in said line when the pres
       feed is detected.                                                          ence of a terminal adapted to receive a remote power
    31. A remote power feed method according to claim 30,                         feed is detected
  wherein the first and second test signals are different electri              said method filrther comprising the step of subsequently
  cal signals.                                                         10        producing a disconnect test signal superimposed on the
     32. A remote power feed method according to claim 31,                       power supply current provided over said line to detect
  wherein one of said first and second test signals is an AC                      the removal of said remote terminal adapted to receive a
  Signal.
     33. A remote power feed method according to claim 31,                        remote power feed.
  wherein one of said first and second test signals is a DC 15                 46. A method of providing a remote power feed according
  Signal.                                                                   to claim 45, wherein the disconnect test signal is an AC signal
     34. A remote power feed method according to claim 32,                  and the said step of detecting the removal of said remote
  wherein the other of said first and second test signals is a DC           terminal includes detecting an impedance in response to the
  Signal.                                                                   AC disconnect signal.
     35. A remote power feed method according to claim 30, 20                  47. A method of providing a remote power feed according
  wherein said step of detecting the presence of a remote ter               to claim 45, wherein said step of producing at least one test
  minal adapted to receive a remote power feed further com                  signal comprises producing first and second test signals on
  prises detecting the presence of predetermined impedances in              said at least two conductors, and said step of detecting the
  the remote terminal on the basis of currents created by each of           presence of a remote terminal adapted to receive a remote
  said first and second test signals.                                  25   power feed comprises detecting the presence of first and
     36. A remote power feed method according to claim 35,                  second impedances in response to said first and second test
  wherein the first and second predetermined impedances are                 Signals.
  different types of impedance.                                                48. A method of providing a remote power feed to a termi
     37. A remote power feed method according to claim 35,                  nal in a local area network, the method comprising:
  wherein said predetermined impedances comprise a low                 30      producing at least one test signal on at least two conduc
  impedance to one of said first and second test signals and a                    tors of a line for connecting the local area network to a
  higher impedance to the other of said first and second test                     remote terminal, the test signal having an energy such
  Signals.
     38. A remote power feed method according to claim 37,                        that the terminal cannot be damaged under any circum
  wherein said one of said first and second test signals is an AC      35        Staf2CeS,
  test signal and the other of said first and second test signals is          detecting the presence of a remote terminal adapted to
  a DC test signal.                                                             receive a remote power feed by detecting the presence of
     39. A remote power feed method according to claim 35,                      predetermined impedance in the remote terminal on the
  wherein said predetermined impedances comprise an imped                        basis of a current created by the test signal in said line,
  ance in a first range detected on the basis of a current created     40        and
  by said first test signal and an impedance in a second range          sending a power supply current in said line when the pres
  detected on the basis of a current created by said second test           ence of a terminal adapted to receive a remote power
  Signal.                                                                  feed is detected
     40. A remote power feed method according to claim 39,              wherein the step of detecting the presence of predetermined
  wherein said first and second ranges of impedances comprise     45       impedance includes detecting predetermined capacitive
  impedances below and above respective impedance level                    impedance.
  thresholds.                                                           49. A method of providing a remote power feed according
     41. A remote power feed method according to claim 40,           to claim 48, wherein said step of detecting the presence of
  wherein said impedance level thresholds are different from predetermined impedance filrther includes detecting prede
  One another:                                                    50
                                                                     termined resistive impedance.
     42. A remote power feed method according to claim 36,
  wherein one of the first and second predetermined imped nal50.in Aa method   local
                                                                                       of providing a remote power feed to a termi
                                                                                     area network, the method comprising:
  ances is capacitive impedance and the other is a resistive           producing at least first and second test signals on at least
  impedance.
     43. A remote power feed method according to claim 35, 55              two conductors of a line for connecting the local area
  wherein each of said predetermined impedances is a resis                 network to a remote terminal, the test signals having an
  tance.                                                                   energy such that the terminal cannot be damaged under
     44. A remote power feed method according to claim 43,                 any circumstances,
  wherein said first test signal is an AC test signal and said          detecting the presence of a remote terminal adapted to
  second test signal is a DC test signal.                         60       receive a remote power feed by detecting the presence of
     45. A method of providing a remote power feed to a termi             first predetermined impedance and second predeter
  nal in a local area network, the method comprising:                      mined impedance in the remote terminal on the basis of
    producing at least one test signal on at least two conduc              a current created by at least one of the test signals in said
        tors of a line for connecting the local area network to a          line, and
        remote terminal, the test signal having an energy such 65 sending a power supply current in said line when the pres
        that the terminal cannot be damaged under any circum               ence of a terminal adapted to receive a remote power
        Staf2CeS,                                                          feed is detected.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-1 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page177
                                                             27 of
                                                                of 312 PageID#:#: 74
                                                                   27 PageID      784


                                                        US RE44,325 E
                                 23                                                                       24
     51. A method of providing a remote power feed according               detecting the presence of a remote terminal adapted to
  to claim 50, wherein one of said first predetermined imped                  receive a remote power feed by (i) detecting the presence
  ance and second predetermined impedance is a capacitive                     of first predetermined impedance in the remote terminal
  impedance.                                                                  On the basis of a current created by the test signal in said
     52. A method of providing a remote power feed according                  line, and (ii) detecting the presence of a second prede
  to claim 50, wherein one of said first predetermined imped                  termined impedance, and
  ance and second predetermined impedance is a resistive                   sending a power supply current in said line when the pres
  impedance.                                                                  ence of a terminal adapted to receive a remote power
     53. A method of providing a remote power feed according                  feed is detected.
  to claim 51, wherein the other of said first predetermined        10     58. A remote power feed method according to claim 57,
  impedance and second predetermined impedance is a resis                wherein One of said first and second predetermined imped
  tive impedance.                                                        ances is a resistive impedance.
     54. A method of providing a remote power feed according               59. A remote power feed method according to claim 58,
  to claim 50, wherein one of said first and second test signals         wherein the other of said first and second predetermined
  is a DC signal.                                                   15   impedances is a capacitive impedance.
     55. A method of providing a remote power feed according               60. A remote power feed method according to claim 58,
  to claim 54, wherein the other of said first and second test           wherein said resistive impedance is a resistance in a range of
  Signals is an AC signal.                                               resistance values.
     56. A method of providing a remote power feed according               61. A remote power feed method according to claim 60,
  to claim 53, wherein One of said first and second test signals         wherein said range of resistance values is resistance values
  is a DC signal.                                                        below a threshold resistance value.
     57. A method of providing a remote power feed to a termi              62. A remote power feed method according to claim 59,
  nal in a local area network, the method comprising:                    wherein said capacitive impedance reflects a capacitance in a
     producing at least one test signal on at least two conduc           range of capacitance values.
        tors of a line for connecting the local area network to a   25     63. A remote power feed method according to claim 62,
        remote terminal, the test signal having an energy such           wherein said range of capacitance values is capacitance val
        that the terminal cannot be damaged under any circum             ues above a threshold capacitance value.
       StanceS,                                                                                 ck   ck   ck   ck   ck
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page178 of 12
                                                             1 of 312PageID
                                                                      PageID#:#:75
                                                                                 785




                           EXHIBIT 2
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page179 of 12
                                                             2 of 312PageID
                                                                      PageID#:#:76
                                                                                 786

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  (75) Inventor: Oskar Mauritz, Stockholm (SE)                                2005, 0103168 A1         5.2005 Wei
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  (73) Assignee: Huawei Technologies Co., Ltd.,                               2010.0074372 A1          3/2010 Mauritz
                 Shenzhen (CN)                                                              FOREIGN PATENT DOCUMENTS
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                       U.S.C. 154(b) by 0 days.                                                  OTHER PUBLICATIONS

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  (30)          Foreign Application Priority Data
     Apr. 30, 2007       (CN) .......................... 2007 1 OO74200     Primary Examiner — Daniel Washburn
                                                                            Assistant Examiner — Qutbuddin Ghulamali
  (51) Int. Cl.
          HO3D L/00                 (2006.01)                               (57)                        ABSTRACT
  (52) U.S. Cl.
          USPC ............ 375/343; 375/146; 375/147; 375/267              Method and apparatus are provided for transmitting a random
  (58) Field of Classification Search .................. 375/314,           access preamble in a mobile communication system. The
                                      375/246, 253,240.247                  preamble is selected from a set of random access preambles
       See application file for complete search history.                    provided with Zero Correlation Zones of length Nis-1,
                                                                            where N is a cyclic shift increment selected from a set of
  (56)                    References Cited                                  cyclic shift increments {0, 13, 15, 18, 22, 26, 32,38, 46, 59,
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                                                          Module for selecting a set of
                                                             cycle shift increments
                                                                                          422

                                                          Module for obtaining a set of
                                                                 ZCZ lengths
                                                                Set Selection Unit
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page180 of 12
                                                             3 of 312PageID
                                                                      PageID#:#:77
                                                                                 787


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                                                                       Page 2

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                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page181 of 12
                                                             4 of 312PageID
                                                                      PageID#:#:78
                                                                                 788


  U.S. Patent           Apr. 9, 2013      Sheet 1 of 3             US 8.416,892 B2




                                                                         S101

                    The length of the root sequence is determined


        A set of ZCZ lengths is selected so that, for any cell radius, the
        maximum number of preambles obtained from a ZCZ length which is
        selected from the selected set of ZCZ lengths, and is applicable to the
        cell and capable of determining a maximum number of preambles, is
        closest to the maximum number of preambles obtained from a ZCZ
        length which is selected from the set of all integers, and is applicable
        to the cell and capable of determining a maximum preamble number,
        wherein the maximum number of preambles is determined from the
        length of a root sequence and a ZCZ length selected.

                                         Fig. 1
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page182 of 12
                                                             5 of 312PageID
                                                                      PageID#:#:79
                                                                                 789


  U.S. Patent                    Apr. 9, 2013                     Sheet 2 of 3                US 8.416,892 B2


                   70

                   6O
                                        A: No limit to Ncs
                   50 - :
                                                 B: A limited set of Ns values
                   4OH                       A
               s                                  Relative Range Difference
             Zao                                     (A-B)/A (proportionally)
                         Range               :
                         Difference ....
                   20 - A-B

                   10                    A       D                ..

                         Li-                             -
                                                         y
                                                                        'it':
                     1           invak               rt) rk) 10       2O 3O 40                     1OO
                                                     Cell Radius (km)
                                                             Fig. 2

                   O.25                                                                        k




                   O.O5                                      --         N(k) -real integer value
                                                         -e- D          D N(k)-real number Value
                         O          :                             |       |               l        CK
                             O      2                4            6       8      1O      12        14
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page183 of 12
                                                             6 of 312PageID
                                                                      PageID#:#:80
                                                                                 790


  U.S. Patent             Apr. 9, 2013      Sheet 3 of 3             US 8.416,892 B2




                                                           41 O

                                Length Determination Unit


                                                               421
                                                           -
                               Module for selecting a set of
                                  cycle shift increments

                               Module for obtaining a set of
                                      ZCZ lengths
                                    Set Selection Unit

                                          Fig. 4



                  400                                                           500
                        A ZCZ length in a set of ZCZ lengths
                                   is specified
       Base Station                                                  Mobile
                                                                     Terminal
                         A preamble is generated according to
                        the specified ZCZ length and an uplink
                                  Signal is transmitted

                                         Fig. 5
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page184 of 12
                                                             7 of 312PageID
                                                                      PageID#:#:81
                                                                                 791


                                                         US 8,416,892 B2
                                 1.                                                                       2
               METHOD AND APPARATUS OF                                     increments Nos. Specifically, X(k) may be generated
             TRANSMITTINGA RANDOMACCESS                                    according to the equation below:
                      PREAMBLE

              CROSS-REFERENCE TO RELATED                                   where V is an integer, and N2, is the length of the ZC sequence
                     APPLICATIONS

    This application is a continuation of U.S. patent applica                The number of preambles that may be generated from a
  tion Ser. No. 12/605,616, filed on Oct. 26, 2009, which is a             single root sequence is N.LN/Ns), wherendenotes the
  continuation of International Patent Application No. PCT/           10   largest integer not greater than n. If N-64, then several
  CN2008/070768, filed on Apr. 22, 2008, which claims prior                preamble Subsets generated from different root sequences are
  ity to Chinese Patent Application No. 2007.10074200.1, filed             required to obtain 64 preambles in a cell. The cross-correla
  on Apr. 30, 2007, all of which are incorporated by reference             tion between different root sequences is small but still larger
  herein in their entireties.                                              than the cross-correlation between sequences generated by a
                                                                      15   single root sequence. Thus it is beneficial for the detection
                       TECHNICAL FIELD                                     performance to have N-64 if N could not be set greater.
                                                                             The number of ZC sequences contained in each set of ZC
     The disclosure relates to the technology of mobile commu              sequences with length of N2 is N2-1. If the number of root
  nication, and more particularly, to a method, an apparatus and           sequences for obtaining the 64 preambles of a cell is N.,
  a mobile communication system of selecting and transmitting              N-64/N), where n denotes the minimal integer not
  a Random Access Preamble (RAP).                                          Smaller than n, then the number of disjoint sets is N, (N2
                                                                           1/N. Different cells in a network should make use of pre
                         BACKGROUND                                        ambles obtained from disjoint sets of root sequences, so that
                                                                           the base station knows whether a transmitted preamble is
     In a mobile communication system, a Random Access                25   intended for a certain cellor not. The larger the number of root
  Preamble is normally transmitted to a base station by a mobile           sequences N, that is needed for obtaining 64 preambles in a
  terminal to initiate the random access procedure and to enable           cell, the smaller is the number of disjoint sets of RAPs N.
  synchronization of the mobile terminal with the base station.            Thus, from a network planning perspective, it is desirable to
     There are 64 preambles in each cell in the document                   have N-64, and if that is not possible, to have as high value
  entitled "3GPP TS 36.211 v1.0.0 Physical Channels and               30   as possible of N.
  Modulation” which was published in March 2007. When                         A Subset of preambles generated with equation (1) is a set
  initiating a random access procedure, a mobile terminal trans            of so-called Zero-Correlation Zone (ZCZ) sequences. The
  mits one of the 64 preambles. A message is transmitted to a              definition for a set of ZCZ sequences is as follows: a set of M
  base station by the mobile terminal selecting a particular               sequences {d(k), v=0, 1,..., M-1, k=0, 1,...,N-1, of
  preamble.                                                           35   length N, is said to be a set of ZCZ sequences, if all the
     Before transmitting the preamble, a mobile terminal must              sequences in the set satisfy the following autocorrelation and
  synchronize to the carrier frequency and the frame timing of             cross-correlation properties:
  a base station to become downlink synchronized. Although                   The periodic autocorrelation functionX, ''d(k)d.*((k+
  the mobile terminal is downlink synchronized, there is uncer             p)modN) is Zero for all p such that 0<lpsT, and the periodic
  tainty when a signal transmitted by the mobile terminal             40   cross-correlation function X, Y'd(k)d *(k+p)mod N) is
  arrives at the base station. This is because a mobile terminal           Zero for all p such that IpsT (including p=0), where T is the
  far away from the base station will receive downlink signals             length of the ZCZ.
  with a larger delay than a mobile terminal close to the base               A ZC sequence has ideal periodic autocorrelation when,
  station, and the transmitted signals in the uplink will take a           for example, X, ''x,(k)X,*(k+p)mod N) is zero for all
  longer time to propagate to the base station for a mobile           45   nonzero p. Thus the set of preambles defined as cyclic shifts
  terminal which is far away from the base station compared to             of the root sequence according to equation (1) is a set of ZCZ
  the signals from a mobile terminal close to the base station.            sequences, where the ZCZ length is T-N-1.
  The uncertainty in round trip time causes interference                      Based on N.LNZ/Ns), NCs should be as Small as pos
  between uplink signals transmitted by different mobile ter               sible in order to make N be as great as possible. But the
  minals unless uplink synchronization is performed before            50   value of Ns should not be too small. In a base station a bank
  data transmission in uplink.                                             of correlators are used when receiving RAPs, so that there is
     The transmission of any of the RAPs allows a base station             one correlator for each preamble. Each correlator outputs
  to estimate the time of arrival of an uplink signal. The base            time of arrival from 0 to TxT-(N-1)xT, where T is the
  station can then, based on the time of arrival estimate, trans           symbol period of the sequence. The ZCZ property of the set of
  mit a time advance command to a mobile terminal to ensure           55   preambles implies that the correlator for any preamble will
  uplink synchronization. Hence, once a preamble is transmit               give a Zero output if any other preamble is transmitted as long
  ted by a mobile terminal, the base station may detect which              as the sum of the round trip time and delay spread in the cell
  preamble has been transmitted and estimate the time of                   is less than or equal to the product of the length of ZCZ and T.
  arrival.                                                                 (i.e., TxT). The maximum round trip time Tina cell is given
     To obtain good detection properties of the preambles, or to      60   by the cell radius R: T-2R/c, where c is the speed of light.
  accurately estimate the time of arrival of the uplink signal, the        Thus, the minimum value of the length of ZCZ and the mini
  set of preambles should be designed to have good autocorre               mum value of N's length for a certain cell increase with the
  lation and cross-correlation properties.                                 cell radius. Therefore, the value of the selected Ns should be
     The set of RAPs in Evolved UTRA (E-UTRA) is defined                   large enough to ensure that the conditions mentioned above
  from one or several root sequences. A Subset of the preambles       65   are satisfied.
  X(k) is generated from the u' order root Zadoff-Chu (ZC)                   Since the cell radius to be supported in E-UTRA is from 1
  sequence X,(k) by cyclic shifts of a plurality of the shift              km to 100 km, and since Ns should be as Small as possible
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page185 of 12
                                                             8 of 312PageID
                                                                      PageID#:#:82
                                                                                 792


                                                        US 8,416,892 B2
                                  3                                                                      4
  for any given cell, there is a need for multiple values of Ns.            FIG. 2 is a diagram illustrating the relationship between the
  The value of an Nina cell is broadcast to a mobile terminal             maximum number of preambles and the cell radius according
  by a base station. Of course, the base station may broadcast            to an embodiment of the disclosure;
  the length of ZCZ to the mobile terminal, so that the mobile               FIG. 3 is a diagram illustrating the value of maximum
  terminal knows how to generate preambles. It is desirable to            relative difference in the cell radius intervalk according to an
  have as Small amount of signaling as possible on the broad              embodiment of the disclosure;
  cast channel to save overload. Therefore, to achieve low sig              FIG. 4 is a block diagram of the base station according to an
  naling overload, there should be a limited predefined set of            embodiment of the disclosure; and
  values of Ns, or a set of lengths of ZCZ.                                 FIG. 5 is a diagram illustrating the mobile communication
     It is proposed in the 3GPP Taoc “R1-071661–On con               10   system according to an embodiment of the disclosure.
  struction and signaling of RACH preambles' disclosed in
  March 2007 that, the cyclic shift increment value Ns in the                             DETAILED DESCRIPTION
  cell was proposed to be signalled to the UE but there was no
  restriction on the values of the cyclic shift increment, which
  would then give rise to a Substantial amount of signalling. An            The general solution of an embodiment of the disclosure is
  alternative proposal is given in the 3GPP Taoc"R1-071471–          15   described first, incorporating FIG.1. As illustrated in FIG. 1,
  Outstanding issues in random access preamble design for                 the embodiment includes:
  E-UTRA disclosed in March 2007, which is to have 11                        Step 101: The length of the root sequence is determined;
  values of Ns without specification how to select the values.               Step 102: A set of ZCZ lengths is selected so that, for any
  However, it is not described in these documents how to select           cell radius, the maximum number of preambles determined
  the lengths of ZCZ. Currently there is no feasible scheme for           from a ZCZ length is selected from the selected set of ZCZ
  selecting an appropriate limited set of ZCZ lengths, in order           lengths, is applicable to the cell and capable of determining a
  to ensure a small and limited signaling overload.                       maximum number of preambles, is closest to the maximum
                                                                          number of preambles obtained from a ZCZ length which is
                           SUMMARY                                        selected from the set of all integers, and is applicable to the
                                                                     25   cell and capable of determining a maximum number of pre
     In one aspect, an embodiment of the disclosure provides a            ambles, wherein the maximum number of preambles is deter
  method of selecting and transmitting a random access pre                mined from the length of the root sequence and a ZCZ length
  amble in a mobile communication system. A random access                 selected.
  preamble is selected from a set of random access preambles                In an embodiment of the disclosure, it should be ensured
  and transmitted, wherein the set of random access preambles        30   that the product of a ZCZ length and the symbol period of the
  is provided with Zero Correlation Zones of lengthNs-1, the              sequence is greater than the Sum of the round trip time and the
  Ns is a cyclic shift increment selected from a set of cyclic
  shift increments {0, 13, 15, 18, 22, 26, 32,38, 46, 59,76, 93,          delay spread of a cell, i.e., TxT>T+T in which, T is the
  119, 167,279,419).                                                      length of ZCZ, T is the symbol period, T is the round trip
     In another aspect, an embodiment of the disclosure pro               time, and T is the delay spread.
  vides an apparatus that includes a processor configured to         35      Since the maximum round trip time T, in a cell is deter
  select a random access preamble from a set of random access             mined by the cell radius R, i.e., T. 2R/c, where c is the speed
  preambles and transmit the selected random access preamble,             of light, TXT-T+T may be rewritten as TXT-2R/c+T.
  wherein the set of random access preambles is provided with                Furthermore, since T-Ns-1, TXT-2R/c+T may be
  Zero Correlation Zones of length Nis-1, the Nes is a cyclic             rewritten as (N-1)xT>2R/c+T. Therefore, N>1+(2R/
  shift increment selected from a set of cyclic shift increments     40   c+T)/T.
  {0,     15, 18, 22, 26, 32, 38, 46, 59, 76, 93, 119, 167, 279,            Additionally, since N.LNZ/NCs), N.LN2/(1+(2R/
  419.
     In another aspect, an embodiment of the disclosure pro               c+T)/T). Thus, N. may be a function of the cell radius R.
                                                                          Of course, the cell radius may also be varying; and the value
  vides a method of receiving a random access preamble in a               of N decreases as the value of Ncs increases.
  mobile communication system. The method provides for               45     In an embodiment of the disclosure, a limited set of Ns
  receipt of an uplink signal that includes a random access               values is constructed, i.e., for a certain cell radius, the N.
  preamble, estimating a time of arrival of the uplink signal, and        corresponding to the minimum N's value which is selected
  transmitting a time advance based on the time of arrival,               from the limited set and is applicable to the cell, is closest to
  wherein the random access preamble is selected from a set of
  random access preambles provided with Zero Correlation                  the N corresponding to the minimum Nos value which is
  Zones of lengthNs-1, where Nes is a cyclic shift increment         50   selected from the set of all integers and is applicable to the
  selected from a set of cyclic shift increments {0, 13, 15, 18,          cell. Furthermore, a maximum relative difference may be
  22, 26, 32,38, 46, 59,76, 93, 119, 167,279,419.                         constructed from N. This maximum relative difference is
     In another aspect, an embodiment of the disclosure pro               between the N.(R), which is determined from the minimum
  vides an apparatus that includes a processor configured to              Ns value selected from the set of integers and is applicable to
  receive an uplink signal having a random access preamble,          55   the cell, and the N.(R), which is determined from the mini
  estimate a time of arrival of the uplink signal and transmit a          mum Ns value selected from the limited set and is applicable
  time advance based on the time of arrival. The random access            to the cell. If the finally determined or selected limited set is
  preamble is selected from a set of random access preambles              such a set that the maximum relative difference between the
  provided with Zero Correlation Zones of length N-1,                     N.(R), which is determined from the minimum NCs value
  wherein Nes is a cyclic shift increment selected from a set of     60   selected from the set of integers and is applicable to the cell,
  cyclic shift increments {0, 13, 15, 18, 22, 26, 32,38, 46, 59,          and the N.(R), which is determined from the minimum Nis
  76, 93,119, 167,279,419.                                                value selected from the limited set and is applicable to the
                                                                          cell, is minimized in a cell of any radius.
         BRIEF DESCRIPTION OF THE DRAWINGS                                   As illustrated in FIG. 2, curve A indicates that for any one
                                                                     65   cell radius, an integer from the set of all integers may be
    FIG. 1 is a flow chart illustrating an method embodiment of           selected as Ns of the cell, wherein a maximum number of
  the disclosure;                                                         preamble sequences may be generated based on the integer
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-2Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page186 of 12
                                                             9 of 312PageID
                                                                      PageID#:#:83
                                                                                 793


                                                        US 8,416,892 B2
                                  5                                                                            6
  selected, and the generated preamble sequences are appli                  If D and N.(k-1) are given, N.(k) may be obtained by
  cable to the cell. Curve B indicates a set of Ns including a            rearranging the above equation, i.e.:
  limited number of Ns. When the limited number of Ns is
  applied in cells of all radii, within a certain interval of cell               pre          pre   (k-1)-1)
  radii, a same Ns will be used for all cell radii. Thus, the Ns            The maximum relative difference D              for all cell radii
  should be determined according to the maximum cell radius               may be given by D. max{D} .
  in the interval of cell radii. Compared with A, the preamble
  number generated according to B decreases.                                For N.(k), we will first allow N.(k) to be a real number,
    Under these conditions, if the selected limited set ensures           and then round the result to the nearest integer. Additionally,
  that the maximum relative difference between the N.(R)             10   N(0) and N.(K) are fixed.
  determined from a Nos value selected from any integer and                 Then D, is minimized if all Dare equal, i.e. D. D. k=1,
  the N.(R) determined from a Nos value selected from the                 2,..., K, as will be proved in the following.
  limited set is minimized, and it is assumed that the N.(R)                A set of values, {N.'(k)} , is constructed with the
  determined from a Nos value selected from any integer is                constraint that N.'(k)-N.(k) for k=0 and k=K, so that
  A(R) and the N.(R) determined from a Nos value selected            15   D.'=D, k=1,2,..., K. For this set, D, D.
  from the limited set is B(R), then A(R) and B(R) are respec               Next, another set of values, {N’(k)}
                                                                                                           pre   , is constructed
  tively illustrated in FIG. 2.                                           with the constraint that N.(k)-N (k) for k=0 and k=K,
    As seen from FIG. 2, there is a small deviation between
  A(R) and B(R). For a certain cell radius R, the deviation of
                                                                          so that D    -Die, D3D.) k-1,2,...K.
  B(R) from A(R) for some cell radius R may increase the
                                                                           When k=1, since D.<D. and N.(0)=N.(0)=
  number of required root sequences for that cell radius R. The           N.(1)>N.(1) is obtained according to N.(k)=(1-D)
  increase of the number of root sequences becomes very                   (N(k-1)-1).                                    (2)       (1)
  important for large cell radii where N is small. For                      When k=2, since D''<D,' and N.'(1)>N.''',
  example, if A(R)=3 and B(R)=2, the number of root                       N. (2)>N.'(2) is obtained according to N(k)=(1-D)
  sequences increases significantly, from 64/3–22 to 64/             25   (N(k-1)-1).
  2–32. An appropriate measure of the deviation of B from A                 Similarly, for all k, since N.(K)-N'(K)=N.(K),
  should therefore weigh the difference A-B with higher weight            N.(k)>N.'(k) is impossible.
  for small N, e.g., by considering the maximum relative                    Thus, it is impossible to construct a set of values N.(k)
  difference between A(R) and B(R), i.e., A(R)-B(R)/A(R).                 such that D-D, which proves that D is minimized if all
  We will adopt the maximum relative difference between A(R)         30   Dare equal, i.e. D. D. k=1,2,..., K.
  and B(R) over all cell radii as the measurement of the devia              In this way, the set of values {N(k)} of which mini
  tion of B(R) from A(R), and find a set of N values that                 mizes D      may be found.
  minimizes this measurement. This set may consist of one                   Replacing D. by D in N.(k)=(1-D)(N.(k-1)-1) and
  N-O and K+1 non-zero Nis values. The total number of                    rearranging the equation, a linear difference equation is
  Ns values in the set is K+2.                                       35   obtained as follows:
     For example, in a relatively small cell, it would be possible
  to generate 64 ZCZ preambles from a single root sequence if                   N(k)-aN(k-1)=-a,
                                                                                 pre   pre       wherein a-(1-D).
  Ns-LN/64. This value is the smallest value in the set                     By recursion, it is obtained from the above equation:
  Nos(k).
    The maximum value, N(K), is the one that allows for              40
  having 2 ZCZ sequences from a set single root sequence, so it
  is NZ/2.                                                                      N.(k) = No.(0)a' + 1 -C (a - 1)                           (3)

      For the largest cells there is only one RAP generated from
  each root sequence. Therefore, N(K+1)=0.
     The maximum relative difference between A(R) and B(R),          45      From the above equation and the boundary conditions N.
  i.e., A(R)-B(R)/A(R), is non-increasing with radius R                   (0) and N.(K), a may be determined numerically.
  within the interval of (r(k-1), r(k) and the interval being k,             For example, the maximum number of preambles gener
  as illustrated in FIG. 2. In FIG. 2, r(k) denotes the kth cell          ated from one root sequence is 64, i.e., N.(0)=64. The
  radius arranged orderly from Small ones to large ones. The              minimum number of preamble obtained by cyclic shift is 2,
  reason is that B(R) is constant in the interval, whereas A is      50   for example, N.(14)–2. Thus, a 0.856 may be obtained
  inversely proportional to the Smallest possible Nes for given           from these two parameters, and all N.(k), k=1,2,... may
                                                                                                                       e

  R. This value of Ns increases with the round trip time and              further be obtained.
  hence with R.                                                             The maximum relative difference is minimized through an
    If it is assumed that the maximum number of preamble                  approximate minimization by a Sub-optimal algorithm, i.e.,
  sequences of the set A(R) is N.(k-1)-1 in the cell radius          55   by minimizing the maximum relative difference for fictive
  interval of (r(k-1), r(k), the maximum number of preamble               real-valued maximum number of ZCZ RAPs, and the maxi
  sequences of the set B(R) generated in this interval associate          mum number of the ZCZ RAPs is thereafter quantized. The
  with the cell radius r(k), i.e., the maximum number of pre              method is specified below.
  amble sequences is N.(k). The maximum relative difference                 By first rounding the fictive real-valued N(k) in
  D in the interval k may be obtained from the following             60
  equation:
                                                                                                          -(a' - 1),

        D = -r, were nei                                             65   the following equation is obtained:
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-2 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page187
                                                             10 of
                                                                of 312 PageID#:#: 84
                                                                   12 PageID      794


                                                         US 8,416,892 B2
                                  7                                                                          8
  where X denotes the maximum integer not greater than X,                   which is selected from the selected set of ZCZ lengths, and is
  N2, is the length of the root sequence, N(0) denotes the                  applicable to the cell and capable of determining a maximum
  maximum number of preambles generated from the root                       number of preambles, is closest to the maximum number of
  Sequence.                                                                 preambles determined from a ZCZ length which is selected
    Still taking the above as an example, if N(0)=64 and               5    from the set of all integers, and is applicable to the cell and
  N.(14)=2, a 0.856 is obtained based on equation (3). Next,                capable of determining a maximum number of preambles,
  when N2=839, N(k), k=0,1,2,..., 14 obtained based on                      wherein the maximum number of preambles is determined by
  equation (4) is illustrated in table 1:                                   the length of the root sequence and a ZCZ length selected.
                                                                               The set selection unit 420 may include: a module 421
                             TABLE 1.                                  10   adapted for the selection of a set of cyclic shift increments,
                                                                            wherein, the module 421 is configured to select such a set of
                     k                     NCs(k)                           cyclic shift increments that, for any cell radius, the maximum
                                              13
                                                                            number of preambles determined from a cyclic shift incre
                                              15                            ment which is selected from the selected set of cyclic shift
                                              18                       15   increments, and is applicable to the cell, is closest to the
                                              22
                                              26
                                                                            maximum number of preambles determined from a cyclic
                                              32
                                                                            shift increment which is selected from the set of all integers
                                              38                            and is applicable to the cell, wherein the maximum number of
                                              46                            preambles is determined by the root sequence length and a
                                              59
                                              76
                                                                            cyclic shift increment selected; and a module 422 adapted to
                     1                        93
                                                                            obtain a set of ZCZ lengths, wherein the module is configured
                                             119                            to obtain the set of ZCZ lengths according to the selected set
                                             167                            of cyclic shift increments.
                                             279
                                             419
                                                                               In the above apparatus embodiment, the cyclic shift incre
                                                                       25   ment selected from the selected set of cyclic shift increments
                                                                            is the minimum cyclic shift increment in the selected set of
     If only one preamble sequence is obtained for a very large             cyclic shift increments; and the cyclic shift increment
  cell, which is the sequence itself, then N-0. Adding this                 selected from the set of all integers is the minimum cyclic
  value into the above table, table 2 is obtained:                          shift increment in the set of all integers.
                                                                       30      The disclosure provides an embodiment of a base station,
                             TABLE 2                                        as illustrated in FIG. 4, which includes: a length determina
                                                                            tion unit 410, configured to determine a length of a root
                     k                     NCs(k)                           sequence; and a set selection unit 420, configured to select
                                              13                            Such a set of ZCZ lengths that, for any cell radius, the maxi
                                              15                       35   mum number of preambles determined from a ZCZ length
                                              18                            which is selected from the selected set of ZCZ lengths, is
                                              22
                                              26
                                                                            applicable to the cell and capable of determining a maximum
                                              32                            number of preambles, is closest to the maximum number of
                                              38                            preambles determined from a ZCZ length which is selected
                                              46                       40   from the set of all integers, and is applicable to the cell and
                                              59
                                              76
                                                                            capable of determining a maximum number of preambles,
                     1                        93                            wherein the maximum number of preambles is determined
                                             119                            from the length of the root sequence and a ZCZ length
                                             167                            selected.
                                             279
                                             419
                                                                       45      The disclosure further provides an embodiment of a mobile
                                               O                            communication system, as illustrated in FIG. 5. The system
                                                                            comprises a base station 400 and a mobile terminal 500. The
                                                                            base station 400 is configured to interact with the mobile
    Finally, the true integer value of N.(k) is obtained from               terminal 500, and to specify a ZCZ length from a set of ZCZ
  N(k)-LNZ-Ns(k) that for some values of k N2/Ncs(k)                   50   lengths for the mobile terminal 500; the mobile terminal 500
                                                                            is configured to generate a preamble according to the ZCZ
  are greater than the rounded values N.(k). As illustrated in
  FIG. 3, when K=14, the value of D obtained from the real                  length specified by the base station 400, and to transmit an
  number value of N.(k) is D=0.144. It can be seen from FIG.                uplink signal to the base station 400 using the preamble; the
  3 that the true integer values of N.(k) will cause D, to                  set of ZCZ lengths is such a set of ZCZ lengths that, for any
  deviate from D. But the deviation is still very small for all        55   cell radius, the maximum number of preambles determined
  cells except the two largest cells. Thus, the selected limited set        from a ZCZ length which is selected from the selected set of
  of values of Nes is applicable.                                           ZCZ lengths, and is applicable to the cell and capable of
     It should be noted that if the limited set of values of Nsis           determining a maximum number of preambles, is closest to
  determined, the limited set of lengths of ZCZ may also be                 the maximum number of preambles determined from a ZCZ
  determined, for instance, according to TNs-1.                        60   length which is selected from the set of all integers, and is
     Correspondingly, the disclosure provides an embodiment                 applicable to the cell and capable of determining a maximum
  of an apparatus of determining a set of ZCZ lengths. As                   number of preambles, wherein the maximum number of pre
  illustrated in FIG. 4, the apparatus includes: a length deter             ambles is determined from the length of the root sequence and
  mination unit 410, configured to determine a length of a root             a ZCZ length selected.
  sequence; and a set selection unit 420, configured to select         65     In the above embodiment of the mobile communication
  Such a set of ZCZ lengths that, for any cell radius, the maxi             system, the cyclic shift increment selected from the selected
  mum number of preambles determined from a ZCZ length                      set of cyclic shift increments is the minimum cyclic shift
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-2 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page188
                                                             11 of
                                                                of 312 PageID#:#: 85
                                                                   12 PageID      795


                                                         US 8,416,892 B2
                                                                                                        10
  increment applicable to the cell in the selected set of cyclic              8. The method according to claim 1, wherein non-zero
  shift increments, the cyclic shift increment selected from the           cyclic shift increments Nes (k) in the set of cyclic shift incre
  set of all integers is the minimum cyclic shift increment                ments are generated from the following formula:
  applicable to the cell in the set of all integers.
     In general, in embodiments of the disclosure, the selected 5
  limited set of N's values should be such a set that, in a
  plurality of intervals of cell radii, the maximum relative dif             wherein X denotes the maximum integer not greater than
  ference between the maximum number of the ZCZ RAPs
  determined from the minimum N's value of the limited set,                     x, (x) denotes rounding x, a 0.856, N(0)=64 and
  which is applicable to the plurality of cells, and the maximum      10         N=839.
  number of the ZCZ RAPs determined from a plurality of Ns                    9. The method according to claim 8, wherein the value
  values of a set of integers which are applicable to the plurality        a -0.856 is obtained from the following formula:
  of cells is minimized. Furthermore, a limited set of ZCZ
  lengths may be selected. Of course, in a plurality of intervals
  of cell radii, the maximum relative difference between the          15         Np (k) = No.(0)a' + 1     (a - 1), k = 1, 2 ...
  maximum number of the ZCZ RAPs determined from the
                                                                                 where
  minimum ZCZ length of the limited set of ZCZ lengths,
  which is applicable to the plurality of cells, and the maximum                 N(14) = 2.
  number of the ZCZ RAPs determined from a plurality of ZCZ
  lengths of the set of all integers which are applicable to the
  plurality of cells, is minimized.                                          10. An apparatus operable to communicate in a wireless
     What are described above are only preferred embodiments               communications system, the apparatus comprising:
  of the disclosure. It should be noted that, for a person skilled           a processor; and
  in the art, variations and improvements may be made without                a non-transitory computer readable storage medium stor
  deviating from the principle of the disclosure. Those varia         25        ing programming for execution by the processor, the
  tions and improvements are all regarded to be within the                      programming including instructions that direct the pro
  Scope of the disclosure.                                                      CeSSOr to:

    The invention claimed is:                                                select a random access preamble from a set of random
    1. A method of facilitating communication in a mobile                       access preambles; and
                                                                      30
  communication system, the method comprising:                               transmit the selected random access preamble, wherein the
    Selecting, by a user equipment (UE), a random access                        set of random access preambles is provided with Zero
       preamble from a set of random access preambles; and                      Correlation Zones of length Nis-1, where N is a
    transmitting, by the UE, the selected random access pre                     cyclic shift increment selected from a pre-defined set of
       amble, wherein the set of random access preambles is           35
                                                                                cyclic shift increments, the pre-defined set including all
       provided with Zero Correlation Zones of length Nis-1,                    of the following cyclic shift increments of 0, 13, 15, 18,
       where N is a cyclic shift increment selected from a                      22, 26, 32,38, 46, 59, 76, 93, 119, 167,279,419.
       pre-defined set of cyclic shift increments, the pre-de                11. The apparatus according to claim 10, wherein the set of
       fined set including all of the following cyclic shift incre         random access preambles is generated from one or more than
       ments of 0, 13, 15, 18, 22, 26, 32,38, 46, 59, 76, 93,119,     40   one root sequences.
       167,279,419.                                                          12. The apparatus according to claim 11, wherein the root
    2. The method according to claim 1, wherein the set of                 sequence is a Zadoff-Chu sequence.
  random access preambles is generated from one or more than                 13. The apparatus according to claim 12, wherein the num
  one root sequences.                                                      ber of preambles generated from a single root sequence is
     3. The method according to claim 2, wherein the root 45 N. N2/Ns), where in denotes the largest integer not
  sequence is a Zadoff-Chu sequence.                          greater than n, and N2, is the length of the Zadoff-Chu
     4. The method according to claim3, wherein the number of Sequence.
  preambles generated from a single root sequence is             14. The apparatus according to claim 10, wherein a Subset
  N-N-Ns), where in denotes the largest integer not random access preambles X(k) of the set of random access
  greater than n, and N2, is the length of the Zadoff-Chu so preambles is generated from the u' order root Zadoff-Chuse
  Sequence.
     5. The method according to claim 1, wherein a subset of quence   X,(k), where V is an integer.
                                                                 15. The apparatus according to claim 14, wherein the
  random access preambles X,(k) of the set of random access                sequence X,(k) is generated according to
  preambles is generated from the u' order root Zadoff-Chu
  sequence X(k), where V is an integer.                               55
    6. The method according to claim 5, wherein the sequence
  X,(k) are generated according to                                           where V is an integer, and N2, is the length of the Zadoff
                                                                               Chu sequence X(k) defined by:
  where v is an integer, and N2, is the length of the Zadoff-Chu 60
  sequence X(k) defined by:                                                                    , k = 0, 1, ... ,

        x(t)=Wik(k+1)/2, k=0,1,...,N-1, W-e J2 NZC. =
            W-1.
    7. The method according to claim 1, wherein the number of 65 16. The apparatus according to claim 10, wherein the num
  random access preambles in the set of random access pre ber of random access preambles in the set of random access
  ambles is 64.                                                 preambles is 64.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-2 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page189
                                                             12 of
                                                                of 312 PageID#:#: 86
                                                                   12 PageID      796


                                                        US 8,416,892 B2
                               11                                                                      12
     17. The apparatus according to claim 10, wherein non-zero            transmitting, by the apparatus, a time advance based on the
  cyclic shift increments Nes (k) in the set of cyclic shift incre           time of arrival, wherein the random access preamble is
  ments are generated from the following formula:                            Selected from a set of random access preambles pro
                                                                             vided with Zero Correlation Zones of length Nis-1,
                                                                             where Nes is a cyclic shift increment selected from a
                                                                             pre-defined set of cyclic shift increments, the pre-de
    wherein X denotes the maximum integer not greater than                   fined set including all of the following cyclic shift incre
       x, (x) denotes rounding x, a 0.856, N(0)=64 and                      ments of 0, 13, 15, 18, 22, 26, 32,38, 46, 59,76, 93,119,
      N=839.                                                                167,279,419.
    18. The apparatus according to claim 17, wherein the value       10   20. An apparatus comprising:
  a=0.856 is obtained from the following formula:                         a processor; and
                                                                          a non-transitory computer readable storage medium stor
                                                                             ing programming having instructions which, upon
        N(k) = N (0)a + 1 - (a - 1), k = 1, 2 ...                            execution by the processor, causes the processor to:
                                                                     15   estimate a time of arrival of an uplink signal comprising a
        where                                                                random access preamble; and
        N(14) = 2.                                                        transmit a time advance based on the uplink signal time of
                                                                             arrival, wherein the random access preamble is selected
                                                                             from a set of random access preambles provided with
    19. A method of facilitating communication in a mobile                   Zero Correlation Zones of lengthNs-1, where Nes is a
  communication system, the method comprising:                               cyclic shift increment selected from a pre-defined set of
    receiving, by an apparatus of the mobile communication                   cyclic shift increments, the pre-defined set including all
       system, an uplink signal comprising a random access                   of the following cyclic shift increments of 0, 13, 15, 18,
       preamble:                                                            22, 26, 32,38, 46, 59, 76, 93, 119, 167,279,419.
    estimating, by the apparatus, a time of arrival of the uplink    25
       signal; and                                                                             k   k   k   k   k
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page190 of 14
                                                             1 of 312PageID
                                                                      PageID#:#:87
                                                                                 797




                           EXHIBIT 3
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page191 of 14
                                                             2 of 312PageID
                                                                      PageID#:#:88
                                                                                 798

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  (12) United States Patent                                                              (10) Patent No.:     US 8,798,575 B2
         Duan et al.                                                                     (45) Date of Patent:      Aug. 5, 2014
  (54) METHOD FOR IMPROVING SERVICE DATA                                            (58) Field of Classification Search
         FLOW BASED CHARGING AND SYSTEM                                                       USPC ................ 455/405, 432.1, 416: 370/392,394
         THEREOF                                                                              See application file for complete search history.
  (75) Inventors: Xiaoqin Duan, Shenzhen (CN); Yajuan                               (56)                         References Cited
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  (73) Assignee: Huawei Technologies Co., Ltd.,                                              5,781,431 A          7/1998 Duret et al.
                  Shenzhen (CN)                                                       2007/0274522 A1* 11/2007 Boman et al. ................. 380.247
  (*) Notice: Subject to any disclaimer, the term of this                                           FOREIGN PATENT DOCUMENTS
                  patent is extended or adjusted under 35
                  U.S.C. 154(b) by 1610 days.                                       CN                       1411305 A      4/2003
                                                                                    CN                       1429.005 A     T 2003
  (21) Appl. No.: 11/558,774                                                                                        (Continued)
  (22) Filed:        Nov. 10, 2006                                                                           OTHER PUBLICATIONS

  (65)                  Prior Publication Data                                      3GPP; 3rd Generation Partnership Project; Technical Specification
                                                                                    Group Services and Systems Aspects; Overall High Level Function
         US 2007/O12416O A1            May 31, 2007                                 ality and Architecture Impacts of Flow Based Charging, Release 6
                                                                                    3GPP TS 23.15 V.6.O.O.
                  Related U.S. Application Data
  (63) Continuation            of           application               No.                                   (Continued)
       PCT/CN2005/000665, filed on May 12, 2005.                                    Primary Examiner — Manpreet Matharu
  (30)        Foreign Application Priority Data                                     (74) Attorney, Agent, or Firm — Staas & Halsey LLP
                                                                                    (57)                           ABSTRACT
    May 12, 2004       (CN) .......................... 2004 10044.433               A method for improving service data flow based charging and
  (51) Int. Cl.                                                                     a system thereof are disclosed. A CRF may determine,
         H04M II/00                 (2006.01)                                       according to input information provided by an AF or TPF, that
         H04L 2/4                   (2006.01)                                       the charging method for the current data flow service is an
         G06O40/02                  (2012.01)                                       online or offline charging method, and provide the TPF with
         H04M I5/00                 (2006.01)                                       the charging rules with the corresponding mechanism. More
         HO4W 4/24                  (2009.01)                                       over, the CRF may provide the TPF with the address infor
  (52) U.S. Cl.                                                                     mation of an OCS or OFCS corresponding to the UE, to
         CPC ............ H04L 12/14 (2013.01); H04L 12/1467                        enable the TPF to address the corresponding OCS according
                      (2013.01); H04W 4/24 (2013.01); H04M                          to the address information of the OCS and trigger the follow
                         2215/0.108 (2013.01); H04M 2215/22                         ing credit request procedure for the UE, or enable the TPF to
                   (2013.01); H04L 12/1485 (2013.01); H04M                          address the corresponding OFCS according to address infor
                2215/0188 (2013.01); G06O40/025 (2013.01);                          mation of the OFCS and send collected charging data infor
                      H04M 15/58 (2013.01); H04M 2215/204                           mation of the UE to the OFCS. Therefore the charging pro
                          (2013.01); H04M 15/745 (2013.01);                         cedure based on the FBC mechanism is more complete and
                                                                                    more reasonable.
                                       H04M 15/66 (2013.01)
         USPC ......................... 455/405:455/432.1; 455/416                                      20 Claims, 4 Drawing Sheets

                                                                                                       GGSN         PDN

                                      iO.Activate PDP Context Request
                                            02.Security Functions
                                                                            03.Create PDP Context Request
                                                                          104.Create PDP Context Response
                                       05. Activate PDP Context. Accept
                                                                    06.Packet Flow Traffic
                                      107Deactivate PDP ContextRequest
                                            08.Security Functions
                                      ----------------
                                                                            O9.elete PDP Context Request
                                                                          10...Delete PDP Context Response
                                                                          Kwarm-rrrrrr
                                       11.Deactivate PDP Context Accept
                                       ------------------
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page192 of 14
                                                             3 of 312PageID
                                                                      PageID#:#:89
                                                                                 799


                                                        US 8,798,575 B2
                                                                 Page 2

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                                                                      html-info/23125.html> retrieved on Mar. 28, 2007.
                                                                      3rd Generation Partnership Project; Technical Specification Group
              FOREIGN PATENT DOCUMENTS                                Services and System Aspects; Overall High Level Functionality and
                                                                      Architecture Impacts of Flow Based Charging; Stage 2(Release 6).
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  WO         WOO3,0923.17 A1       11, 2003
                                                                      000665, dated Sep. 15, 2005.
                                                                      Chinese office action for Chinese patent application No.
                   OTHER PUBLICATIONS                                 200410044433.3, dated Sep. 22, 2006.
                                                                      European office action for European patent application No.
  ETSI Standards, European Telecommunications Standards Institute,    05745.147.8, dated Jun. 26, 2007.
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  Technical Specification Group Services and System Aspects (TS
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  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page193 of 14
                                                             4 of 312PageID
                                                                      PageID#:#:90
                                                                                 800


  U.S. Patent                Aug. 5, 2014               Sheet 1 of 4                 US 8,798,575 B2




            101. Activate PDP Context Reques
                   102.Security Functions
                                                   103.Create PDP Context Request
                                                  104.Create PDP Context Response
             05. Activate PDP Context Accept
                                            06. Packet Flow Traffic
             07.Deactivate PDP Context Request
                  108.Security Functions
                                                  109.Delete PDP Context Request
                                                  110.Delete PDP Context Response
             11...Deactivate PDP Context Accept




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Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page194 of 14
                                                             5 of 312PageID
                                                                      PageID#:#:91
                                                                                 801


  U.S. Patent             Aug. 5, 2014             Sheet 2 of 4                   US 8,798,575 B2




               30A.Establish bearer
                  Service Request
                                          302A Request Charging Rules
                                                           303A.Identify Charging
                                                               Rules to Install
                                          304A.ProvisionCharging Rules

                             305A.Perform Charging
                                    Rules Action
                                                        306A.Credit Request
                                                       307A.Credit Response
                308A Establish bearer
                   Service Accept

                                          FIG 3A
                                        TPF                          CRF              OCS
                301B.Modify bearer
                  Service Request
                                           302B.Request Charging Rules,
                                                           303B.Edentifiy Charging
                                                                Rules to Apply
                                          304B Provision Charging Rules

                             305B.Perform Charging
                                    Rules Action
                                                        306B.Credit Request
                                                       307B.Credit Response
                 308BModify bearer
                   Service Accept

                                          FIG. 3B
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page195 of 14
                                                             6 of 312PageID
                                                                      PageID#:#:92
                                                                                 802


  U.S. Patent             Aug. 5, 2014               Sheet 3 of 4                US 8,798,575 B2




                 30 C.Remove bearer
                   Service Request
                                                 302C.Indication of
                                                 bearer Termination

                                                            303C.Identifiy Charging
                                                                 Rules to Apply
                                            304C ProvisionCharging Rules

                             305C.Perform Charging
                                     Rules Action
                                             306C.Final Remaining CreditReport Request
                                                    307C.CreditReport Response
                 308C.Remove bearer
                    Service Accept

                                            FIG 3C



                             40..nternal or External
                                     Trigger Event
                                            402 Identify charging
                                             Rules to Apply
                       403. Provision Charging Rules

          404.Perform Charging Rules
                   Action
                                 405.Final Remaining Credit Report Request
                                          ---
                                        406.Credit Report Response

                                             FIG 4
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page196 of 14
                                                             7 of 312PageID
                                                                      PageID#:#:93
                                                                                 803


  U.S. Patent               Aug. 5, 2014             Sheet 4 of 4                     US 8,798,575 B2



           UE                                                           CRF               OCS
                501.Establish bearer
                   Service Request
                                            502.Request Charging Rules
                                                               503.Identifiy Charging
                                                                   Rules to Install
                                            504.Provision Charging Rules
                                                   (OCS Address)
                            505.Perform Charging Rules
                                        Action
                                                            506.Credit Request
                                                           507.Credit Response
                 508 Establish bearer
                   Service Accept

                                            FIG 5


                    TPF                                                                   OCF
                              601.Internal or External
                                    Trigger Event
                                           602. Identify Charging
                                                 Rules to instal
                        603. ProvisionCharging Rules
                               (OCF Address)
         604.Perform Charging Rules
                   Action
                                         605.Chargeing Data Information


                                            FIG 6
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page197 of 14
                                                             8 of 312PageID
                                                                      PageID#:#:94
                                                                                 804


                                                       US 8,798,575 B2
                                1.                                                                      2
      METHOD FOR IMPROVING SERVICE DATA                                     Step 104: upon receiving the Create PDP Context Request,
       FLOW BASED CHARGING AND SYSTEM                                    the GGSN determines the external PDN according to the
                  THEREOF                                                APN, assigns the Charging ID, initiates the charging proce
                                                                         dure and negotiates the QoS parameter. If the GGSN is able to
    This application is a continuation of International Patent           satisfy the service quality requirement defined by the QoS
  Application No. PCT/CN2005/000665, filed May 12, 2005,                 parameter, it returns to the SGSN a Create PDP Context
  which claims priority to Chinese Patent Application No.                Response which carries the TEID, the PDP address, the Back
  200410044433.3, filed May 12, 2004, all of which are hereby            bone Bearer protocol, the QoS parameter, the Charging ID
  incorporated by reference.                                             and etc. If the GGSN is unable to satisfy the service quality
                                                                    10   requirement defined by the QoS parameter, it rejects the Cre
                 FIELD OF THE INVENTION                                  ate PDP Context Request initiated by the SGSN and the
                                                                         SGSN then rejects the Activate PDP Context Request initi
     The present invention relates to charging techniques, and           ated by the UE.
  particularly to a method for improving service data flow                  Step 105: upon receiving the Create PDP Context
  based charging and a system thereof.
                                                                    15   Response, the SGSN inserts the NSAPI and the GGSN
                                                                         address information into the PDP Context to identify the PDP
           BACKGROUND OF THE INVENTION                                   Context. Selects the radio priority according to the QoS
                                                                         parameter, and then returns to the UE an Activate PDP Con
     Along with the wide applications of packet data services,           text Accept which carries the information of the PDP type, the
                                                                         PDP address, the TI, the QoS parameter, the radio priority, the
  an accurate and appropriate charging method for packet data            PDP configuration options and etc.; and the SGSN initiates the
  services is concerned by the operators.                                charging. Upon receiving the Activate PDP Context Accept,
     FIG. 1 is a flowchart illustrating activation, data transmis        the UE establishes a route to the GGSN and thus a transmis
  sion and deactivation of Packet Data Protocol Context (PDP             sion tunnel to the PDN, by which the data can be transmitted.
  Context).                                                         25     Step 106: the UE transmits the data via the SGSN and the
     Step 101: a User Equipment (UE) sends an Activate PDP               GGSN to the PDN.
  Context Request to a Serving GPRS Support Node (SGSN).                   Step 107: after completing the data transmission, the UE
  The Activate PDP Context Request carries the information of            sends to the SGSN a Deactivate PDP Context Request which
  a Network Layer Service Access Point Identifier (NSAPI), a             carries the TI.
  PDP type, an Access Point Name (APN), a required Quality          30     Step 108: upon receiving the Deactivate PDP Context
  of Service (QoS) parameter, a Transaction Identifier (TI) and          Request, the SGSN performs the security examination and
  etc. The NSAPI serves as a part of a Tunnel Identifier (TEID)          encryption with the UE. This step is optional.
  between the SGSN and a Gateway GPRS Support Node                         Step 109-Step 111: the SGSN sends to the GGSN a Delete
  (GGSN), for identifying the PDP Context. The PDP type                  PDP Context Request which carries the TEID. Upon receiv
  includes a Peer-Peer Protocol (PPP) type, an Internet Protocol    35   ing the Delete PDP Context Request, the GGSN terminates
  (IP) type and etc. The APN is provided by the UE for the               the charging for the UE, deletes the PDP Context correspond
  SGSN, the SGSN addresses the corresponding GGSN                        ing to the TEID, and sends to the SGSN a Delete PDP Context
  according to the APN, the corresponding GGSN determines                Response which carries the TEID. Upon receiving the Delete
  an external network which the UE shall access according to             PDP Context Response, the SGSN terminates the charging
  the APN; also, the UE may not provide the SGSN with the           40   for the UE, deletes the PDP Context corresponding to the
  APN, in this case, the SGSN chooses a default APN according            TEID, and sends to the UE a Deactivate PDP Context
  to the subscription information of the UE. The QoS parameter           Response which carries the TI. Upon receiving the Deactivate
  is the desired quality requirement of the packet data service          PDP Context Response, the UE deletes the PDP Context
  designated by the UE. The TI is used for the UE to identify            corresponding to the TI.
  one PDP Context.                                                  45     As can be seen from the procedure illustrated in FIG. 1, in
    Step 102: The SGSN receives the Activate PDP Context                 the prior GPRS charging system, the charging is set to be
  Request, performs a security check and encryption with the             started when the PDP Context is activated and be terminated
  UE. This step is optional.                                             when the PDP Context is deleted. Thus, the charging can be
    Step 103: the SGSN resolves the address information of the           implemented based on the data flow transmitted through the
  GGSN according to the APN. If the SGSN is able to resolve         50   PDP Context or on the duration of activated State of the PDP
  the address information of the GGSN, a TEID is created for             Context. However, in practical applications, after a transmis
  the PDP Context. The TEID is a combination of the Interna              sion tunnel is established between the UE and the PDN, the
  tional Mobile Subscriber Identity (IMSI) and the NSAPI, to             UE may obtain multiple services based on one activated PDP
  identify the unique PDP Context between the SGSN and the               Context, such as the Email sending-receiving service, the
  GGSN. The SGSN sends a Create PDP Context Request to              55   browsing service based on Wireless Application Protocol
  the GGSN, the Create PDP Context Request carries a PDP                 (WAP), the file transmission service based on File Transfer
  type, a PDP address, an APN, a QoS parameter, a TEID, a                Protocol (FTP) and etc. That is, when the PDN can provide
  select mode, etc., wherein the PDP address is the IP address of        multiple services, after a transmission tunnel is established
  the UE, which is an optional parameter. When the PDP                   between the UE and the PDN, the multiple services provided
  address is not carried in the Create PDP Context Request, the     60   by the PDN may be borne by one activated PDP Context.
  IP address may be assigned to the UE by the GGSN or by the             However, the operators may apply different charging policies
  Packet Data Network (PDN) which establishes a connection               to different services. For example, an Email sending-receiv
  with the UE finally. The select mode is that for the APN,              ing service may be charged according to the times of the
  indicating that the APN is selected by the UE or by the SGSN.          triggered receiving and sending events, a WAP browsing Ser
  If the SGSN is unable to resolve the address information of       65   Vice may be charged according to the data flow, and a file
  the GGSN according to the APN, it rejects the Create PDP               transmission service may also be charged according to the
  Context Request initiated by the UE.                                   data flow, while with a charging rate different from that of the
Case 1:19-cv-01306-MN
  Case                 Document
       2:19-cv-00222-JRG        16-3
                         Document  4-3Filed 09/03/19
                                        Filed 06/21/19Page
                                                       Page198 of 14
                                                             9 of 312PageID
                                                                      PageID#:#:95
                                                                                 805


                                                         US 8,798,575 B2
                               3                                                                           4
  WAP surfing service. Therefore, the prior GPRS charging                   be renegotiated, which may lead to different charging rules
  system is unable to apply different charging policies to dif              for the same UE service according to different QoS param
  ferent services using the same PDP Context as the bearer.                 eters, such as lower charging rate corresponding to lower QoS
     In view of the above, the3" Generation Partnership Project             parameter. In this case, when the bearer is modified, the TPF
  (3GPP) is now discussing how to implement Flow Based                      205 may resend a Charging Rules Request to the CRF 203 for
  Charging (FBC). As for a packet data service which is being               new charging rules; the CRF 203 selects appropriate charging
  used by the UE, all the IP flows or IP packets sent and received          rules according to the input information provided by the TPF
  by the UE are generally called Service Data Flow. The Ser                 205 described above, and returns to the TPF 205 the selected
  vice Data Flow is the aggregation of a plurality of IP flows,             charging rules including the charging mechanism, charging
  therefore, the FBC is able to reflect the resource occupation of     10
                                                                            type, charging keys, IP flow filter, charging rule priority and
  a certain service data flow.
     FBC can be regarded to be implemented by filtering the IP              etc. The charging mechanism may be online charging or
  flows for different services borne in the same PDP context                offline charging; the charging type may be duration based
  through different sieve-like “filters” and then charging for              charging or flow based charging, the charging key is a param
  different services according to the corresponding “filters’.         15   eter related to the charging rate, whereby the CRF 203 may
  Therefore, the “pore size of the charging “filter based on IP             provide the TPF 205 with the charging rate related parameter
  flows is much less than that based on one PDP Context. The                instead of the charging rate directly; the IP flow filter is used
  "pore size' of the charging “filter can be regarded as to                 for indicating the IP flows that need to be filtered for the TPF
  indicate the size of a sieve hole. If the charging is based on one        205, and the TPF 205 charges for the filtered IP flows accord
  PDP Context, one PDP Context corresponds to one sieve                     ing to the charging rules. The IP flow filter may include IP5
  hole; while if the charging is based on IP flows, one IP flow             vector which may include the information of the source/
  corresponds to one sieve hole and thus one PDP Context                    destination IP address, the source? destination Port Number,
  corresponds to multiple sieve holes in the FBC mode. There                the Protocol ID and etc. For example, the CRF 203 may
  fore, compared with the charging based on one PDP Context,                instruct the TPF 205 to filter the IP flow with the Source
  the FBC provides more abundant charging means for opera              25   address of 10.0.0.1, the destination address of 10.0.0.2, the
  tors or service providers.                                                source/destination Port Number of 20 and the protocol type of
     The systematic configuration, function requirements and                the Transmission Control Protocol (TCP), and then charge for
  information interacting procedure of FBC are all descried in              the filtered IP flows according to the charging rules. Finally,
  the standard of 3GPP Referring to FIG. 2, the systematic                  when the bearer is removed, the TPF 205 may also send a
  configuration of FBC for the online charging includes an             30   Charging Rules Request to the CRF 203 for new charging
  Online Charging System (OCS) 206, a Service Data Flow                     rules, in this case, the CRF 203 may instruct the TPF 205 to
  Based Charging Rule Function (CRF) 203, an Application                    delete the charging rules established previously.
  Function (AF) 204, and a Traffic Plane Function (TPF) 205.                   The CRF 203 determines the charging rules not only
  The OCS 206 includes a Customized Application for Mobile                  according to the input information from the TPF 205, but also
  Network Enhanced Logic (CAMEL) based Service Control                 35   according to that from the AF 204 or the OCS 206. For
  Point (SCP) 201 and a Service Data Flow Based Credit Con                  example, the AF 204 may notify the CRF 203 of the service
  trol Function (CCF) 202. The CCF 202 is connected through                 type that the UE currently uses, and the CRF 203 may deter
  an Ry interface to the CRF 203, the CRF 203 is connected                  mine the corresponding charging rules according to the Ser
  through an RX interface to the AF 204 and through a GX                    Vice type.
  interface to the TPF 205; the CCF 202 is connected through a         40     The OCS 206 includes the SCP 201 and the CCF 202. The
  Gy interface to the TPF 205.                                              CCF 202 is used for credit control and used in the OCS, whose
     Referring to FIG. 2B, the systematic configuration of FBC              function can be implemented by adding new function entity to
  for the offline charging includes a CRF 203, an AF 204, a TPF             the prior OCS 206. During the online charging procedure, the
  205, a Charging Gateway Function (CGF) 207 and a Charg                    CCF 202 manages and controls the UE credit and provides the
  ing Collection Function (CCF) 208. The CRF 203 is con                45   related information used to determine the charging rules
  nected through an RX interface to the AF 204 and through a                through the Ry interface for the CRF 203. The user of the UE
  Gx interface to the TPF 205, the TPF 205 is connected                     may set several credit pools for different packet data services.
  through a GZ interface to the CGF 207 and to the CCF 208,                 When the UE uses a certain packet data service, the CCF 202
  respectively. Generally, the functions of the CGF 207 and the             may authenticate the credit in the credit pool corresponding to
  CCF 208 are implemented by one network entity, which                 50   the packet data service and provides the TPF 205 with the
  therefore provides the charging gateway functions and the                 available UE credit. The user of the UE may also set one
  charging collection functions for offline charging and is                 shared credit pool for different packet data services. When the
  referred to as an Offline Charging System (OFCS) hereinaf                 UE uses a packet data service, the CCF 202 may authenticate
  ter.                                                                      the credit in the credit pool corresponding to the packet data
    According to the definition in 3GPP of the FBC functions,          55   service and provides the TPF 205 with the available UE
  the TPF 205 bears IP flow, and sends a Charging Rules                     credit.
  Request to the CRF 203 through the GX interface when an IP                  In a GPRS network, the TPF 205 is in the GGSN, the AF is
  flow bearer is established. The Charging Rules Request car                a service gateway or service server in the PDN and the CRF
  ries the UE-related information, the bearer characteristics and           203 is an added logic entity. The TPF 205 is the implemen
  the network-related information, wherein the UE-related              60   tation point of the charging rules and the CRF 203 is the
  information may be the Mobile Station International Inte                  control point of charging rules.
  grated Services Digital Network (ISDN) Number                                As shown in FIG. 3A, the implementation procedure of
  (MSISDN), the International Mobile Subscriber Identifier                  issuing the charging rules when a bearer is established
  (IMSI) and etc.; and the network-related information may be               includes the following steps:
  the Mobile Network Code (MNC), the Mobile Country Code               65      Step 301A: the UE sends an Establish Bearer Service
  (MCC) and etc. The bearer may be modified during the trans                Request to the TPF, while in a GPRS network, the GGSN
  mission of the IP flow, for example, the QoS parameter may                receives a Create PDP Context Request.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-3 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page199
                                                             10 of
                                                                of 312 PageID#:#: 96
                                                                   14 PageID      806


                                                       US 8,798,575 B2
                                  5                                                                   6
     Step 302A: upon receiving the Establish Bearer Service              As  shown    in FIG.  3C, the implementation procedure of
  Request, the TPF sends to the CRF a Charging Rules Request issuing the charging rules when a bearer is removed includes
  which carries the input information for the CRF to determine the following steps:
  the charging rules.                                                    Step 301C: the UE sends a Remove Bearer Service Request
     Step 303 A-Step 304A: upon receiving the Charging Rules 5 to the TPF, while in a GPRS network, the GGSN receives a
  Request, the CRF determines the appropriate charging rules Delete PDP Context Request:
  according to the input information carried in the Charging             Step 302C: upon receiving the Remove Bearer Service
  Rules Request or the related input information provided by Request, the TPF sends to the CRF a Charging Rules Request
  the AF, and returns to the TPF a Provision Charging Rules 10 which carries the input information for the CRF to determine
  message which carries the determined charging rules and the the charging rules.
  operation instructions for the charging rules.                         Step 303C-Step 304C: upon receiving the Charging Rules
     Step 305A; upon receiving the Provision Charging Rules Request, the CRF determines the appropriate charging rules
  message, the TPF performs the corresponding operations according to the input information carried in the Charging
  according to the charging rules operation instructions and the 15 Rules Request or the related input information provided by
  charging rules determined by the CRF.                               the AF, and returns to the TPF a Provision Charging Rules
     Step 306A-Step 307A: in the case of an online charging message which carries the determined charging rules and the
  process, the TPF sends a Credit Request to the OCS for the operation instructions for the charging rules.
  UE credit information. Upon receiving the Credit Request,              Step 305C: upon receiving the Provision Charging Rules
  the OCS determines the UE credit and returns to the TPF a 20 message, the TPF performs the corresponding operations
  Credit Response, which carries the UE credit if the OCS according to the charging rules operation instructions and the
  succeeds in determining the UE credit or carries the value charging rules determined by the CRF.
  indicating the reason of error if the OCS fails to determine the       Step 306C-Step 307C: in the case of an online charging
  UE credit.                                                          process, the TPF sends a Final Remaining Credit Report to
     Step 308A: upon receiving the Credit Response, the TPF 25 the OCS to notify the OCS that the bearer established for the
  returns an Establish Bearer Service Accept to the UE. If the UE has been terminated. The Final Remaining Credit Report
  Credit Response carries the UE credit, the TPF accepts the carries the usage information of the UE credit, such as the
  Establish Bearer Service Request initiated by the UE and duration or the data flow of the packet data service used by the
  continues with the following procedure for bearer establish UE. Upon receiving the Final Remaining Credit Report, the
  ment; otherwise, the TPF rejects the Establish Bearer Service 30 OCS returns a Credit Report Response to the TPF,
  Request initiated by the UE.                                           Step 308C: upon receiving the CreditReport Response, the
     As shown in FIG. 3B, the implementation procedure of TPF returns a Remove Bearer Service Accept to the UE,
  issuing the charging rules when a bearer is modified includes accepts the Remove Bearer Service Request initiated by the
  the following steps:                                                UE, and continues with the following bearer removing pro
     Step 301B: the UE sends a Modify Bearer Service Request 35 cedure.
  to the TPF, while in a GPRS network, the GGSN receives an              As shown in FIG.4, the implementation procedure of CRF
  Update PDP Context Request:                                         initiating to deliver the charging rules to the TPF includes the
     Step 302B: upon receiving the Modify Bearer Service following steps:
  Request, the TPF sends to the CRF a Charging Rules Request             Step 401: the CRF receives an Internal or External Trigger
  which carries the input information for the CRF to determine 40 Event and related information, such as an event in which the
  the charging rules.                                                 AF sends the input information to the CRF to determine the
     Step 303B-Step 304B: upon receiving the Charging Rules charging rules.
  Request, the CRF determines the appropriate charging rules             Step 402: the CRF determines the appropriate charging
  according to the input information carried in the Charging rules according to the input information obtained. The input
  Rules Request or the related input information provided by 45 information may be the charging-related input information
  the AF, and returns to the TPF a Provision Charging Rules provided by the AF. For example, when a service is provided
  message which carries the determined charging rules and the by the AF for the UE and the service is of special charging
  operation instructions for the charging rules.                      requirement, such as a charging rate different from that of
     Step 305B: upon receiving the Provision Charging Rules other services, the AF provides the CRF with the charging
  message, the TPF performs the corresponding operations 50 input information related to the service. Besides, the input
  according to the charging rules operation instructions and the information may also be the charging-related input informa
  charging rules determined by the CRF.                               tion provided by the TPF,
     Step 306B-Step 307B: in the case of an online charging              Step 403: if the charging rules are modified, the CRF sends
  process, the TPF sends a Credit Request to the OCS for the to the TPF a Provision Charging Rules message which may
  UE credit information. Upon receiving the Credit Request, 55 carry the determined charging rules and the operation instruc
  the OCS determines the UE credit and returns to the TPF a           tions for the charging rules.
  Credit Response, which carries the UE credit if the OCS                Step 404: upon receiving the Provision Charging Rules
  succeeds in determining the UE credit or carries the value message, the TPF performs the corresponding operations
  indicating the reason of error if the OCS fails to determine the according to the charging rules operation instructions and the
  UE credit.                                                       60 charging rules determined by the CRF.
     Step 308B: upon receiving the Credit Response, the TPF              Step 405-Step 406: in the case of an online charging pro
  returns a Modify Bearer Service Accept to the UE. If the cess, the TPF sends a Credit Request to the OCS for the UE
  Credit Response carries the UE credit, the TPF accepts the credit information. Upon receiving the Credit Request, the
  Modify Bearer Service Request initiated by the UE and con OCS determines the UE credit and returns to the TPF a Credit
  tinues with the following procedure for bearer modification; 65 Response, which carries the UE credit if the OCS succeeds in
  otherwise, the TPF rejects the Modify Bearer Service Request determining the UE credit or carries the value indicating the
  initiated by the UE.                                                reason of error if the OCS fails to determine the UE credit.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-3 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page200
                                                             11 of
                                                                of 312 PageID#:#: 97
                                                                   14 PageID      807


                                                      US 8,798,575 B2
                             7                                                                      8
    As can be seen from the above description, in the imple             to the OFCS. Therefore the charging implementation proce
  mentation procedure of the online charging described in               dure based on the FBC mechanism may be more complete
  3GPP standard, when the bearer is established or modified,            and more reasonable.
  the TPF requests the UE credit from the OCS and the OCS
  returns the UE credit to the TPF according to the Credit                     BRIEF DESCRIPTION OF THE DRAWINGS
  Request from the TPF. However, neither the triggering
  mechanism for the online charging nor the means by which                FIG. 1 is a flowchart illustrating the activation, data trans
  the TPF may address the correct OCS of the UE is described            mission and deactivation of a PDP Context;
  in 3GPP Standard.                                                        FIG. 2A is a schematic diagram illustrating the FBC sys
                                                                   10   tematic configuration for the online charging;
              SUMMARY OF THE INVENTION                                     FIG. 2B is a schematic illustrating the FBC systematic
                                                                        configuration for the offline charging;
     A method for improving service data flow based charging               FIG.3A is a flowchart illustrating the issuance of the charg
  is provided, which includes the step of a CRF providing a             ing rules when a bearer is established;
  TPF with the address information of a charging system.
                                                                   15      FIG.3B is a flowchart illustrating the issuance of the charg
     The charging system may be an OCS or an OFCS.                      ing rules when a bearer is modified;
     The CRF may provide the TPF with the address informa                  FIG.3C is a flowchart illustrating the issuance of the charg
  tion of a plurality of OCSs and selection priorities corre            ing rules when a bearer is removed;
  sponding to the OCSs: the TPF may first request the credit               FIG. 4 is a flowchart illustrating that the CRF initiates to
                                                                        deliver the charging rules to the TPF:
  information from the OCS with a highest selection priority, if           FIG. 5 is a flowchart illustrating the online charging pro
  not succeed, request the credit information from the next OCS         cedure according to an embodiment of the present invention
  in the descending order of the selection priority levels until        when a bearer is established;
  Succeeds.                                                               FIG. 6 is a flowchart illustrating the offline charging pro
     The CRF may provide the TPF with the address informa          25   cedure according to an embodiment of the present invention
  tion of a plurality of OFCSs and the selection priorities cor         when the CRF initiates to deliver the charging rules to the
  responding to the OFCSs; the TPF may first send the collected         TPF,
  charging data information of the UE to the OFCS with a
  highest selection priority, if not succeed, send the collected                 EMBODIMENTS OF THE INVENTION
                                                                   30
  charging data information of the UE to the next OFCS in the
  descending order of the selection priority levels until Suc             In order to further clarify the technical schemes and the
  ceeds.                                                                advantages of the present invention, the present invention are
                                                                        hereinafter described in details with reference to the embodi
     Also, a system for improving service data flow based               ments and the accompanying drawings.
  charging is provided, which includes: a CRF, a TPF and a         35      In the implementation course of charging according to an
  charging system, wherein the CRF provides the TPF with the            embodiment of the present invention, the CRF provides the
  address information of the charging system.                           TPF with the OCS or OFCS address information correspond
     The charging system may be an OCS or an OFCS.                      ing to the UE, according to which the TPF addresses the
     The CRF may provide the TPF with the address informa               corresponding OCS or OFCS, then the TPF requests the UE
  tion of a plurality of OCSs and selection priorities corre       40   credit from the corresponding OCS or sends the collected
  sponding to the OCSs: the TPF may first request the credit            charging data information of the UE to the corresponding
  information from the OCS with a highest selection priority, if        OFCS.
  not succeed, request the credit information from the next OCS            After determining that the charging method for a certain
  in the descending order of the selection priority levels until        data flow service is online charging, the CRF provides the
  Succeeds.                                                        45   TPF with the charging rules, the online charging indication to
     The CRF may provide the TPF with the address informa               notify the TPF that the current charging method for the data
  tion of a plurality of OFCSs and the selection priorities cor         flow service is online charging, and the OCS address infor
  responding to the OFCSs; the TPF may first send the collected         mation for the TPF to be able to address the OCS correspond
  charging data information of the UE to the OFCS with a                ing to the UE when the TPF requests the UE credit from the
  highest selection priority, if not succeed, send the collected   50   OCS. The OCS address information may be carried in the
  charging data information of the UE to the next OFCS in the           online charging indication.
  descending order of the selection priority levels until Suc              Likewise, after determining that the charging method for a
  ceeds.                                                                certain data flow service is offline charging, the CRF provides
    According to the present invention, in the charging imple           the TPF with the charging rules, the offline charging indica
  mentation procedure, the CRF may determine whether the           55   tion to notify the TPF that the current charging method for the
  charging method of the current packet data service is online          data flow service is offline charging, and the OFCS address
  charging method or offline charging method, according to the          information for the TPF to be able to address the OFCS
  input information provided by the AF or the TPF, and then             corresponding to the UE when the TPF sends the collected
  provide the TPF with the charging rules with the mechanism            charging data information of the UE to the OFCS. The OFCS
  of “online charging” or “offline charging. Moreover, the         60   address information may be carried in the offline charging
  CRF may provide the TPF with the address information of an            indication.
  OCS or OFCS corresponding to the UE, so that the TPF may                 The OCS address information may be the address informa
  address the corresponding OCS according to the address                tion of the Function that is able to implement the UE credit
  information of the OCS and trigger the following credit               control in the OCS. For example, the CCF is a function that
  request procedure for the UE, or enable the TPF to address the   65   manages and controls the UE credit in an OCS, therefore the
  corresponding OFCS according to address information of the            OCS address information may be the address information of
  OFCS and send collected charging data information of the UE           the CCF in the OCS.
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-3 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page201
                                                             12 of
                                                                of 312 PageID#:#: 98
                                                                   14 PageID      808


                                                       US 8,798,575 B2
                                 9                                                                      10
     The CRF may determine whether the charging method of                established. As shown in FIG. 5, the online charging imple
  the current data flow service is online charging or offline            mentation procedure when a bearer is established includes the
  charging according to the input information provided by the            following steps:
  AF. For example, the CRF may determine the charging                       Step 501: the UE sends an Establish Bearer Service
  method according to the service identifier in the charging             Request to the TPF, while in a GPRS network, the GGSN
  rules input information provided by the AF. The CRF may                receives a Create PDP Context Request.
  also determine whether the charging method of the current                 Step 502: upon receiving the Establish Bearer Service
  data flow service is online charging or offline charging               Request, the TPF sends to the CRF a Charging Rules Request
  according to the UE information. For example, the CRF may         10
                                                                         that carries the input information for the CRF to determine the
  determine that the user of the UE is provided with the prepaid         charging rules.
  service according to the UE identifier in the charging rules              Step 503-Step 504; upon receiving the Charging Rules
  input information provided by the TPF and therefore deter              Request, the CRF firstly determines that the charging method
  mine that the charging method of the current packet data               of the current packet data service is online charging according
  service is online charging; For another example, the CRF may      15   to the input information carried in the Charging Rules
  determine that the user of the UE is provided with the post            Request or the related input information provided by the AF:
  paid service according to the UE identifier in the charging            and secondly determines the appropriate charging rules and
  rules input information provided by the TPF and therefore              the corresponding OCS address information according to the
  determine that the charging method of the current data flow            UE information; and thirdly returns to the TPF the Provision
  service is offline charging.                                           Charging Rules message which carries the determined charg
     The CRF may store the OCS or OFCS address information               ing rules and the operation instructions for the charging rules,
  corresponding to the UE, or obtain the OCS or OSF address              and may further carry the online charging indication and the
  information by interacting with other entities in the network.         OCS address information.
  For example, the CRF may interact with the Home Location                  Step 505: upon receiving the Provision Charging Rules
  Register (HLR)/Home Subscriber Server (HSS) to obtain the         25   message, the TPF performs the corresponding operations
  OCS or OFCS address information corresponding to the UE.               according to the charging rules operation instructions and the
     Besides, there may be multiple OCSs in a network to share           charging rules determined by the CRF.
  the working loads, and a UE may correspond to multiple                    Step 506-Step 507: the TPF determines according to the
  OCSs. Therefore, a selection priority may be set for each of           online charging indication that it needs to request the UE
  the multiple OCSs, such as the primarily selected OCS or the      30   credit from the OCS, and then sends a Credit Request to the
  secondly selected OCS. The CRF may provide the TPF with                corresponding OCS according to the OCS address informa
  multiple OCS addresses corresponding to the UE including               tion. The Credit Request carries the related input information
  the primary OCS address of the primarily selected OCS and              for the OCS to determine the UE credit. Upon receiving the
  the secondary OCS address of the secondly selected OCS.                Credit Request, the OCS determines the UE credit according
                                                                    35   to the input information provided by the TPF and returns to
  When the TPF fails to establish a credit request session with          the TPF a Credit Response, which carries the UE credit if the
  the primarily selected OCS, it may initiate a credit request to        OCS succeeds in determining the UE credit corresponding to
  the secondly selected OCS to establish a credit request ses            the charging rules or carries the value indicating the reason of
  sion with the secondly selected OCS, according to the OCS              error if the OCS fails to determine the UE credit.
  selection priorities.                                             40      Step 508: upon receiving the Credit Response, the TPF
     Operators may also pre-configure an OCS address in the              returns an Establish Bearer Service Accept to the UE. If the
  TPF for all the UEs. Therefore, when the CRF does not                  Credit Response carries the UE credit, the TPF accepts the
  provide the TPF with an OCS address, in other words, when              Establish Bearer Service Request initiated by the UE and
  the OSaddress provided by the CRF for the TPF is empty, the            continues with the following bearer establishment procedure:
  TPF sends a Credit Request to the pre-configured OCS to           45   otherwise, the TPF rejects the Establish Bearer Service
  establish a credit request session with the set OCS.                   Request initiated by the UE.
     Likewise, there may be multiple OFCSs in a network to                  The present invention is described above according to
  share the working loads, and a UE may correspond to mul                example of the online charging implementation procedure
  tiple OFCSs. Therefore, a selection priority may be set for            when a bearer is established, while the online charging imple
  each of the multiple OFCSs, such as the primarily selected        50   mentation procedure when a bearer is modified or removed is
  OFCS or the secondly selected OFCS. The CRF may provide                almost the same as the procedure whena bearer is established,
  the TPF with multiple OFCS addresses corresponding to the              except for the different messages sent. Therefore, the online
  UE, including the primary OFCS address of the primarily                charging procedures will not be further described herein.
  selected OFCS and the secondary OFCS address of the sec                   Besides, the offline charging implementation procedure
  ondly selected OFCS. When the TPF fails to transmit the           55   when a bearer is established, modified or removed is quite
  charging data information of the UE to the primarily selected          similar to the corresponding online charging implementation
  OFCS, it may send the charging data information of the UE to           procedure, with such differences as the determination result
  the secondly selected OFCS, according to the OFCS selection            by the CRF on the charging method of the current packet data
  priorities.                                                            service being the offline charging method, the address infor
     Operators may also pre-configure an OFCS address in the        60   mation carried in the sent messages being the OFCS address
  TPF for all the UEs. Therefore, when the CRF does not                  information, and the omission of the following credit inter
  provide the TPF with an OFCS address, in other words, when             acting procedure for the online charging. Therefore, the
  the OFCS address provided by the CRF for the TPF is empty,             offline charging procedures will not be further described
  the TPF sends the charging data information of the UE to the           herein.
  pre-configured OFCS.                                              65      FIG. 6 is a flowchart illustrating the offline charging pro
     FIG. 5 is a flowchart illustrating the online charging pro          cedure according to the present invention when the CRF
  cedure according to the present invention when a bearer is             initiates to deliver the charging rules to the TPF. As shown in
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-3 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page202
                                                             13 of
                                                                of 312 PageID#:#: 99
                                                                   14 PageID      809


                                                        US 8,798,575 B2
                                11                                                                       12
  FIG. 6, the offline charging implementation procedure when              responding to the OFCSs; the TPF may first send the collected
  the CRF initiates to deliver the charging rules to the TPF              charging data information of the UE to the OFCS with a
  includes the following steps:                                           highest selection priority, if not succeed, send the collected
     Step 601: the CRF receives an Internal or External Trigger           charging data information of the UE to the next OFCS in the
  Event and related information, such as an event in which the            descending order of the selection priority levels until Suc
  AF sends the input information to the CRF to determine the              ceeds.
  charging rules.                                                           The description above is the preferred embodiments rather
     Step 602: the CRF determines the charging method of the              than limitation of the present invention, any changes and
  current packet data service as the online charging method and           modifications can be made by those skilled in the art without
  determines the appropriate charging rules, according to the        10   departing from the spirit and scope of the present invention
  input information obtained, and determines the correspond               and therefore will be protected by the scope as the set by the
  ing OCS address information according to the UE informa                 appended claims.
  tion. The input information described above may be the
  charging-related input information provided by the AF. Such               What is claimed is:
  as the corresponding service identifier provided by the AF for     15     1. A method for improving service data flow based charg
  the CRF when the UE is provided with a certain packet data              ing in a communications network, comprising:
  service by the AF; also, the input information may be the                 a Charging Rules Function (CRF) determining a charging
  charging-related input information provided by the TPF, such                 method and charging rules in response to a service
  as the UE identifier in the Charging Rules Request provided                  request or other trigger event, and
  by the TPF for the CRF.                                                   the CRF providing a Traffic Plane Function (TPF) with the
     Step 603: if the CRF determines according to the received                 charging rules and address information of a charging
  input information that the charging rules are modified, for                  system.
  example, when the CRF determines according to the service                 2. The method according to claim 1, wherein the charging
  identifier provided by the AF that the charging method of the           system is an Online Charging System (OCS).
  current packet data service is online charging method and the      25     3. The method according to claim 2, after the CRF provid
  UE's fee for using the current packet data service needs to be          ing the TPF with the address information, further comprising:
  deducted in real time, or when the CRF determines according               the TPF requesting the credit information from the OCS
  to the UE identifier provided by the TPF that the user of the                according to the address information; and the OCS pro
  UE is a post-pay user and all the current packet data services               viding the TPF with the credit information.
  used by the UE could be charged after the use of the services,     30     4. The method according to claim 2, wherein
  the CRF determines the new charging rules and send to the                 the CRF provides the TPF with the address information of
  TPF a Provision Charging Rules message which carries the                     a plurality of OCSs and selection priorities correspond
  determined charging rules and the operation instructions for                 ing to the OCSs:
  the charging rules, and may further carry the offline charging            the TPF first requests the credit information from the OCS
  indication and the OFCS address information.                       35        with a highest selection priority, if not succeed, requests
     Step 604: upon receiving the Provision Charging Rules                     the credit information from the next OCS in the descend
  message, the TPF performs the corresponding operations                       ing order of the selection priority levels until Succeeds.
  according to the charging rules operation instructions and the            5. The method according to claim 3, wherein the address
  charging rules determined by the CRF.                                   information is empty, the TPF requests the credit information
     Step 605: the TPF makes the collection for the charging         40   from an OCS according to pre-configured OCS address infor
  data information of the UE according to the offline charging            mation.
  indication and the filter information in the charging rules, and           6. The method according to claim 2, wherein the address
  then sends the collected charging data information of the UE            information of the OCS is configured in the CRF.
  to the corresponding OFCS according to the OFCS address                    7. The method according to claim 2, further comprising:
  information.                                                       45   the CRF obtaining the address information of the OCS by the
     A system for improving service data flow based charging is           interacting with other network entity before the CRF provid
  also provided, which includes: a CRF, a TPF and a charging              ing the TPF with the address information.
  system, wherein the CRF provides the TPF with the address                  8. The method according to claim 1, wherein the charging
  information of the charging system.                                     system is an Offline Charging System (OFCS).
     The charging system may be an OCS or an OFCS.                   50      9. The method according to claim 8, further comprising:
     After the CRF provides the TPF with the address informa              the TPF sending collected charging data information of the
  tion, the TPF may request the credit information from the               UE to the OFCS according to the address information.
  OCS according to the address information, and the OCS may                  10. The method according to claim 8, wherein
  provide the TPF with the credit information.                              the CRF provides the TPF with the address information of
     The CRF may provide the TPF with the address informa            55         a plurality of OFCSs and the selection priorities corre
  tion of a plurality of OCSs and selection priorities corre                    sponding to the OFCSs:
  sponding to the OCSs: the TPF may first request the credit                the TPF first sends the collected charging data information
  information from the OCS with a highest selection priority, if                of the UE to the OFCS with a highest selection priority,
  not succeed, request the credit information from the next OCS                 if not succeed, sends the collected charging data infor
  in the descending order of the selection priority levels until     60         mation of the UE to the next OFCS in the descending
  Succeeds.                                                                     order of the selection priority levels until succeeds.
     After the CRF provides the TPF with the address informa                 11. The method according to claim 8, wherein the address
  tion, the TPF may send the collected charging data informa              information of the OFCS is empty, the TPF sends the col
  tion of the UE to the OFCS according to the address infor               lected charging data information of the UE to an OFCS
  mation.                                                            65   according to pre-configured OFCS address information.
     The CRF may provide the TPF with the address informa                    12. The method according to claim 8, wherein the address
  tion of a plurality of OFCSs and the selection priorities cor           information of the OFCS is configured in the CRF.
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-3 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page203 of 14
                                                            14 of 312PageID
                                                                      PageID#:#:100
                                                                                 810


                                                    US 8,798,575 B2
                                13                                                                  14
     13. The method according to claim 8, further comprising:           the CRF provides the TPF with the address information of
  the CRF obtaining the address information of the OFCS by                 a plurality of OCSs and selection priorities correspond
  the interacting with other network entity before the CRF                 ing to the OCSs; the TPF first requests the credit infor
  providing the TPF with the address information.                          mation from the OCS with a highest selection priority, if
     14. The method according to claim 7, wherein the network    5         not succeed, requests the credit information from the
  entity is a Home Location Register (HLR) or Home Sub                     next OCS in the descending order of the selection prior
  scriber Server (HSS).                                                    ity levels until succeeds.
     15. The method according to claim 13, wherein the net
  work entity is an HLR or HSS.                                         19. The system according to claim 16, wherein the charg
     16. A system for improving service data flow based charg    10
                                                                      ing system is an Offline Charging System (OFCS);
  ing in a communications network, comprising:                          after the CRF provides the TPF with the address informa
     a Charging Rules Function (CRF), a Traffic Plane Function             tion, the TPF sends the collected charging data informa
        (TPF) and a charging system;                                       tion of the UE to the OFCS according to the address
     wherein the CRF is configured to determine a charging                 information.
        method and charging rules in response to a service       15     20. The system according to claim 16, wherein the charg
        request or other trigger event and to provide the TPF         ing system is an OFCS:
        with the charging rules and address information of the          the CRF provides the TPF with the address information of
        charging System.                                                   a plurality of OFCSs and the selection priorities corre
     17. The system according to claim 16, wherein the charg               sponding to the OFCSs; the TPF first sends the collected
  ing system is an Online Charging System (OCS);                           charging data information of the UE to the OFCS with a
     after the CRF provides the TPF with the address informa               highest selection priority, if not succeed, sends the col
        tion, the TPF requests the credit information from the             lected charging data information of the UE to the next
        OCS according to the address information, and the OCS              OFCS in the descending order of the selection priority
        provides the TPF with the credit information.                      levels until Succeeds.
     18. The system according to claim 16, wherein the charg
  ing system is an OCS:                                                                      k      k   k   k   k
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page204
                                                             1 ofof14
                                                                    312 PageID
                                                                      PageID #: #:101
                                                                                   811




                           EXHIBIT 4
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page205
                                                             2 ofof14
                                                                    312 PageID
                                                                      PageID
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                                                                             #: #:102
                                                                                   812

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  (12) United States Patent                                                                     ( 10 ) Patent No.:                 US 9 ,838,851 B2
          Huang et al.                                                                          (45) Date of Patent:                          * Dec. 5 , 2017
  (54 ) SUBFRAME PROCESSING METHOD AND                                                  (58) Field of Classification Search
          DEVICE                                                                                  CPC .. H04W 72 /004 ; HO4W 4 /06 ; H04W 72/ 1289
                                                                                              See application file for complete search history.
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  (72 ) Inventors : Qufang Huang, Shanghai ( CN ); Wenji                                              U .S . PATENT DOCUMENTS
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  (73 ) Assignee: HUAWEI TECHNOLOGIES CO .,
                        LTD ., Shenzhen (CN )                                                           FOREIGN PATENT DOCUMENTS
  ( * ) Notice :        Subject to any disclaimer , the term of this                       CN                101247544 A
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                        patent is extended or adjusted under 35                         CN
                        U .S . C . 154 (b ) by 202 days.                                                                   (Continued )
                        This patent is subject to a terminal dis                                              OTHER PUBLICATIONS
                        claimer .
                                                                                        ETSI TS 136 300 V8 .9 .0 ; LTE ; Evolved Universal Terrestrial Radio
  (21) Appl. No.: 14 /321,550                                                              Access(E -UTRA ) and Evolved Universal Terrestrial Radio Access
  (22) Filed :          Jul. 1, 2014                                                    Network ( E -UTRAN ) ; Overall description ; Stage 2 ; (3GPP TS
                                                                                           36 .300 version 8. 9.0 Release 8); Jul. 2009 ; total 164 pages.
  (65 )                   Prior Publication Data                                                                       (Continued )
          US 2014 /0313968 A1           Oct. 23 , 2014                                  Primary Examiner - Luat Phung
                                                                                        (74 ) Attorney, Agent, or Firm — Huawei Technologies
                 Related U .S . Application Data                                        Co., Ltd .
  (63 ) Continuation of application No. 13 /433,876 , filed on                          (57 )                  ABSTRACT
         Mar. 29 , 2012 , which is a continuation of application
          No . PCT/CN2010 /077371, filed on Sep . 27 , 2010 .                           A subframe processing method and device are disclosed .
                                                                                        The subframe processing method includes: if data packets
  (30)             Foreign Application Priority Data                                    that are not received by an evolved NodeB ( NB ) include at
                                                                                        least two consecutive Multimedia Broadcast Multicast Ser
     Sep . 29 , 2009 (CN ) .......................... 2009 1 0110717                    vice (MBMS) data packets to be scheduled in a Dynamic
                                                                                        Schedule Period (DSP ) by the eNB , setting a subframe of the
  (51) Int. CI.                                                                         eNB that is used to transmit Dynamic Schedule Information
       H04W 72 /12                  ( 2009.01)                                          (DSI) corresponding to the DSP to null. When the eNB finds
          H04W 4 / 06               ( 2009. 01)                                         that consecutive MBMS data packets are lost and / or that a
        H04W 72 /00               (2009.01)                                             type 0 Protocol Data Unit (PDU ) group is lost, a subframe
  (52 ) U .S . Cl.                                                                      used to transmit the DSI may be set to null, thereby
        CPC ........... H04W 4 /06 (2013.01); H04W 72 /005                              preventing the eNB from transmitting incorrect DSI which
                         ( 2013 .01); H04W 72 / 1289 (2013 .01)                                                (Continued )

                                                                                                                   310
                                                   The BM -SC transmits MBMS data packets and
                                                  the corresponding type 0 PDU group to the eNB .

                                                    The eNB receives the th MBMS data packets | 320
                                                     and determines whether the following case
                                                   occurs: all the content of the type 0 PDU group
                                                                          is lost .
                                                            Yes                       No
                                                                                                             340


                                                     The eNB sets a                   The eNB generates
                                                  subframe that is used               and transmits DSI
                                                     to transmit DSI                  corresponding to the
                                                  corresponding to the                          DSP
                                                      DSP to null
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page206
                                                             3 ofof14
                                                                    312 PageID
                                                                      PageID #: #:103
                                                                                   813


                                                         US 9,838 , 851 B2
                                                                  Page 2

  may interfere with other eNBs and cause incorrect data               Shanghai Bell, Alcatel-Lucent, CATT, Huawei, New Postcom ,
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 Case1:19-cv-01306-MN
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                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page207
                                                             4 ofof14
                                                                    312 PageID
                                                                      PageID #: #:104
                                                                                   814


   U . S . Patent              Dec . 5 , 2017               Sheet 1 of 3                US 9 ,838 ,851 B2




                                                                                          110
                       The BM -SC transmits MBMS data packets to
                                                  the eNB


                      The eNB receives the MBMS data packets that
                      are transmitted by the BM -SC , and determines                     120
                     whether the following case occurs : At least two
                     consecutive MBMS data packets to be scheduled
                                              in a DSP are lost
                              Yes                           No

                        The eNB sets a                       The eNB generates
                     subframe that is used                    and transmits the
                       to transmit DSI                      DSI corresponding
                     corresponding to the                            to the DSP .
                         DSP to null

                                                       FIG . 1
                                  .       .




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                     Header of an MBMS data packet, in which the number
                     indicates the total number of octets ( in octets)
                     MBMS data packet, in which the number indicates the
                     length of the data packet (in octets )
                                                       FIG . 2
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page208
                                                             5 ofof14
                                                                    312 PageID
                                                                      PageID #: #:105
                                                                                   815


   U . S . Patent                            Dec . 5 , 2017                     Sheet 2 of 3             US 9 ,838,851 B2




                         The BM - SC transmits MBMS data packets and
                                                                                                               310
                       the corresponding type 0 PDU group to the eNB .

                             The eNB receives the th MBMS data packets                                         320
                              and determines whether the following case
                         occurs: all the content of the type 0 PDU group
                                                                     is lost .
                                               Yes                                No
                                                                          330                            340


                         The eNB sets a                                            The eNB generates
                      subframe that is used                                        and transmits DSI
                         to transmit DSI                                          corresponding to the
                       corresponding to the                                               DSP
                                      DSP to null

                                                                               FIG . 3
                                                                                                         H
                            sy     **
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                                       Hotel
                                  fortalen            1000re
                                                          ***
                                                                      6   er




                Synchronization sequence including at least one MBMS data packet
         C


                Synchronization sequence including an empty MBMS data packet
         ZNNZ Type O PDU
             *>
             **
              *<
               *>
                <><
                )




                                                                               FIG . 4
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 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page209
                                                             6 ofof14
                                                                    312 PageID
                                                                      PageID #: #:106
                                                                                   816


   U . S . Patent          Dec . 5 , 2017      Sheet 3 of 3     US 9 ,838,851 B2




               First device

                    First receiving            First sending
                         unit                          unit


                                             FIG . 5
               Second device
                                       610
                       Second                | Second sending
                    receiving unit                     unit


                                             FIG . 6
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page210
                                                             7 ofof14
                                                                    312 PageID
                                                                      PageID #: #:107
                                                                                   817


                                                      US 9, 838, 851 B2
       SUBFRAME PROCESSING METHOD AND                                    If the eNBs in theMBSFN area have buffered all MBMS
                             DEVICE                                   data packets to be transmitted in a Dynamic Schedule Period
                                                                      (DSP ) before the DSP, the eNBs can generate the same
             CROSS -REFERENCE TO RELATED                             Dynamic Schedule Information (DSI) to implement the
                         APPLICATIONS                              5 same dynamic scheduling for the same MBMS data packets .
                                                                     For example , the eNBs have buffered all the MBMS data
     This application is a continuation of U . S . application Ser. packets to be transmitted in the DSP before the DSP. The
                                                                    eNBs determine the time for transmitting the MBMS data
  No. 13 /433,876 , filed on Mar. 29, 2012, which is a continu packets
  ation of International Application No. PCT/CN2010                         , and then generate DSI corresponding to the DSP to
                                                         plica / 10 indicate scheduling of the DSP, for example, the start
  077371, filed on Sep . 27 , 2010 . The International Applica
  tion claims priority to Chinese Patent Application No . positions of data packets of different services in the DSP . In
                                                                      a first MBSFN subframe on a multicast channel (MCH ) , the
  200910110717 .0 , filed on Sep . 29, 2009. All of the afore         eNBs transmit the DSI of the corresponding transmission
  mentioned patent applications are hereby incorporated by            channel in the DSP and transmit the data packets according
  reference in their entireties .                                  15 to the scheduling result. A UE at the receiving end receives
                 FIELD OF THE INVENTION                               the DSI, knows eNB scheduling according to the DSI, and
                                                                      thus selects the time when the eNBs transmit data that is
                                                                      interesting to the UE to receive data .
    The present invention relates to the field of mobile                  In evolved MBMS, air interface resources of the MBSFN
  communications technologies, and in particular, 10to aa sub
                                                          sub -- 2020 service
                                                                       servis   are reserved in advance in a manner of semi
  frame processing method and device .                                persistent scheduling . A reserved subframe that is used to
          BACKGROUND OF THE INVENTION                                 transmit MBSN data is called an MBSFN subframe. To meet
                                                                      different quality of service (QoS ) requirements of different
                                                            MBSFN services , the evolved MBMS maps the MBSFN
     In a long term evolution (LTE ) system , Multimedia 25 services to different MCHs, and the different MCHs adopt
  Broadcast Multicast Service (MBMS) data may be trans -              different Modulation Coding Schemes (MCSs) to achieve
  mitted in MBMS Single Frequency Network (MBSFN )                    different QoS . Different MCHs do not share a reserved
  mode. That is , multiple evolved NodeBs (eNBs ) transmit            MBSFN subframe. To reduce scheduling overheads, the
  radio signals carrying the same MBMS data with the same eNBs perform air -interface transmission scheduling for
  frequency at the same time from multiple cells . An area 30 MBMS data in each DSP. The eNBs only schedule MB SFN
  covered by the multiple eNBs that transmit the MBMS data            data of which time stamp is earlier than the start time of the
  in MBSFN mode is called an MBSFN area .User equipments              corresponding DSP . Generally, the eNBs schedule the cor
  (UEs) in the MBSFN area may consider that only one                  responding MBSFN data in one DSP that is later than a time
  transmitter is transmitting radio signals and receive the stamp.
  MBMS data .                                              35 In the prior art, transmission between a BS -SC and an
     Data transmitted by the eNBs in the MBSFN area is the    NB is based on the Internet Protocol ( IP ) , which may cause
  same, and the physical resources used are the same. That is,        loss ofMBMS data packets or a type 0 PDU . If an eNB in
  information of each eNB is synchronous. For example , a             an MBSFN area cannot normally receive at least two
  synchronization (SYNC ) entity is set on the broadcast              consecutive MBMS data packets in a synchronization
  multicast-service center (BM -SC ) side on the core network 40 sequence or all type 0 PDUs that indicate transmission
  (CN ) and an SYNC entity is set on the eNB side. The SYNC           completion of a synchronization sequence, the eNB gener
  entity on the BS -SC side sets a time stamp for various             ates incorrect DSI, which may interfere with other eNBs and
  MBMS data packets and provides the time stamp for all               cause incorrect data receiving of the UE .
  eNBs in the MBSFN area . Specifically, the BM - SC may
  includemultiple MBMS data packets in a synchronization 45                       SUMMARY OF THE INVENTION
  sequence . The SYNC entity on the BM - SC side sets the
  same time stamp for MBMS data packets in a synchroniza -          Embodiments of the present invention provide a subframe
  tion sequence and transmits a type o control packet (namely, processing method and device .
  a type 0 Protocol Data Unit (PDU ), hereinafter referred to as     A subframe processing method is provided , where the
  a type 0 PDU ) after the BM - SC transmits the synchroniza - 50 method includes:
  tion sequence . The type 0 PDU is used to notify the eNBs of          if data packets that are not received by an eNB include at
  transmission completion of the current synchronization                   least two consecutive MBMS data packets to be sched
  sequence. To improve the reliability , the SYNC entity on the            uled by the eNB in a DSP, setting , by the eNB , a
  BM - SC side transmits a type 0 PDU group but not merely                 subframe that is used to transmit DSI corresponding to
  a type 0 PDU . The type 0 PDU group includes all type 0 55               the DSP to null.
  PDUs that include the same information and are transmitted             Another subframe processing method is provided , where
  repeatedly . For example , after a synchronization sequence is      the method includes :
  transmitted , a type 0 PDU is transmitted consecutive three            if an eNB does not receive a type o control packet group ,
  times . The three type 0 PDUs form one type 0 PDU group .                setting,by the eNB , a subframe that is used to transmit
     When receiving the MBMS data , eNB determines the 60                  DSI corresponding to a DSP to null, in which the DSP
  time when the BM -SC starts to transmit the synchronization              is used to transmit MBMS data packets corresponding
  sequence according to the time stamp obtained by the SYNC                to the type o control packet group .
  entity on the eNB side , and determines reception completion           A subframe processing device is provided , where the
  of the synchronization sequence according to the type o             device includes :
  PDU . The eNB transmits the received MBMS data packets 65             a first receiving unit, configured to determine whether
  according to the time stamp of the received MBMS data                    data packets that are not received meet a first condition :
  packets .                                                                the data packets that are not received include at least
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page211
                                                             8 ofof14
                                                                    312 PageID
                                                                      PageID #: #:108
                                                                                   818


                                                       US 9, 838, 851 B2
        two consecutive MBMS data packets to be scheduled              is located in an AN ; a BM -SC is located in a CN ; an SYNC
           by a first sending unit in a DSP ; and                      entity on the BM -SC side may be an independent entity that
     the first sending unit, configured to set a subframe that is      is located on the CN and is able to communicate with the
           used to transmit DSI corresponding to the DSP to null BM - SC , a part of the independent entity , or a unit inside a
           when the determination result of the first receiving unit 5 BM - SC device . The method includes the following steps.
           is yes .                                                      Step 110 : The BM -SC transmits MBMS data packets to
     Another subframe processing device is provided , where theForeNBexample
                                                                       .       , the BM - SC transmits a synchronization
  the device includes :
     a second receiving unit, configured to determine that a sequence , which includes multiple MBMS data packets, to
       type o control packet group is not received ; and    10 the eNB . Generally, MBMS data packets in one synchroni
     a second sending unit , configured to set a subframe that is     zation sequence belong to one MBMS service . Besides ,
        used to transmit DSI corresponding to a DSP to null           MBMS data packets in one synchronization sequence may
       when the determination result of the second receiving          belong to multiple MBMS services. The SYNC entity on the
        unit is yes, in which the DSP is used to transmit MBMS        BM - SC side sets the same time stamp for each MBMS data
        data packets corresponding to the type o control packet 15    packet in the synchronization sequence , and then transmits
           group .                                                     a type 0 PDU after the BM - SC transmits all MBMS data
     In embodiments of the present invention , when an access          packets in the synchronization sequence .
  network (AN ) device ( such as an eNB ) finds that consecu             Further, header information of the MBMS data packets
  tiveMBMS data packets are lost and/ or a type 0 PDU group may include a “ total number of octet” , which indicates the
  is lost, a subframe that is used to transmit DSI may be null 20 total amount of data transmitted by a data source in a certain
  to prevent the eNB from transmitting incorrect DSI which        period of time. Similar to the prior art, the value of the field
  may interfere with other eNBs and cause incorrect data               of “ total number of octet” monotonically increases in a
  receiving of a UE .                                                 certain time for data of a service. The header information of
                                                                       the MBMS data packets may further include a “ total number
            BRIEF DESCRIPTION OF THE DRAWINGS                       25 of packet", which indicates the total amount of packets
                                                                       transmitted by a data source in a certain period of time. The
     FIG . 1 is a schematic flow chart of a subframe processing        data source refers to the BM -SC in this embodiment.
  method according to an embodiment of the present inven                  As shown in FIG . 2 , assume that four consecutive MBMS
  tion ;                                                               data packets transmitted by the BM - SC to the eNB are A , B ,
     FIG . 2 is a schematic diagram of a synchronization 30 C , and D . Lengths of A , B , C , and D are 100 bytes , 50 bytes ,
  sequence transmitted by a BM - SC according to an embodi-            150 bytes , and 100 bytes respectively . The values of the
  ment of the present invention ;                                      " total number of octet information in the headers of the
    FIG . 3 is a schematic flow chart of another subframe              corresponding data packets are 100 bytes , 150 bytes , 300
  processing method according to an embodiment of the                 bytes, and 400 bytes respectively . For example, the value of
  present Invention
           invention .;                                        35 the " total number of octet ” in the header of D indicates the
     FIG . 4 is a schematic diagram of another synchronization    total number of octets of D and the previous MBMS data
  sequence transmitted by a BM -SC according to an embodi        packets, namely, 400 ( 100 + 50 + 150 + 100 = 400 ) bytes. Header
  ment of the present invention ;                                information of A , B , C , and D further include total number
     FIG . 5 is a schematic diagram of a subframe processing of packet information ( not shown in FIG . 2 ), of which values
  device according to an embodiment of the present invention; 40 are 1, 2 , 3, and 4 respectively. For example , the value of the
  and                                                            total number of packet in the header of D indicates the total
     FIG . 6 is a schematic diagram of another subframe number of packets, which include D and the previous
  processing device according to an embodiment of the pres            MBMS data packets, that are transmitted by the BM -SC ,
  ent invention .                                                     namely , 4 .
                                                                    45 Step 120 : The eNB receives the MBMS data packets that
                DETAILED DESCRIPTION OF THE                            are transmitted by the BM - SC , and determines whether the
                           EMBODIMENTS                                 following case occurs: at least two consecutive MBMS data
                                                                      packets to be scheduled in a DSP are lost. If at least two
      The technical solution of the present invention will be         consecutive MBMS data packets to be scheduled in a DSP
  clearly and completely described in the following with 50 are lost, the process proceeds to step 130 ; and if not at least
  reference to the accompanying drawings . It is obvious that          two consecutive MBMS data packets to be scheduled in a
  the embodiments to be described below are only a part rather         DSP are lost, the process proceeds to step 140 .
  than all the embodiments of the present invention . All other           The preceding case determined by the eNB whether
  embodiments obtained by persons or ordinary skill in the art occurs may also be described as follows. At least two
  based on the embodiments of the present invention without 55 consecutive MBMS data packets to be scheduled in a DSP
  any creative effort shall fall within the protection scope of        do not reach the eNB , that is, at least two consecutive
  the present invention .                                          MBMS data packets to be scheduled in a DSP are not
     An embodiment of the present invention provides a             received by the eNB .
  subframe processing method . According to the method , if           For example , according to SYNC header information of
  data packets that are not received by an eNB include at least 60 the received MBMS data packets, the eNB determines
  two consecutive MBMS data packets to be scheduled by the         whether consecutive data packets are lost and whether the
  eNB in a DSP , the eNB sets a subframe that is used to           consecutively lost data packets are supposed to be scheduled
  transmit DSI corresponding to the DSP to null to prevent the         in the same DSP . The eNB may implement the operation
  eNB from transmitting incorrect DSI which may interfere              according to the prior art.
  with other eNBs and cause incorrect data receiving of a UE . 65 As shown in FIG . 2 , assume that two consecutive DSPs in
     Another embodiment of the present invention provides a which the eNB schedules MBMS data packets are DSP1 and
  subframe processing method, as shown in FIG . 1. An eNB DSP2 respectively . The start time of DSP1 is T1, and the
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-4 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page212
                                                             9 ofof14
                                                                    312 PageID
                                                                      PageID #: #:109
                                                                                   819


                                                       US 9, 838, 851 B2
  start time ofDSP2 that is later than DSP1 is T2 .MBMS data        subframe that is supposed to be used to transmit the DSI
  packets shown in FIG . 2 are included in a synchronization        corresponding to the DSP is the first subframe of the DSP,
  sequence , that is , the MBMS data packets have the same          the other subframes may be after the subframe that is
  time stamp. Assume that the time indicated in the time stamp     supposed to be used to transmit the DSI corresponding to the
  is TO . In step 120 , if the eNB determines that TO is between 5 DSP. If a subframe that is supposed to beused to transmit the
  T1 and T2 , that is, TO is later than T1 and earlier than T2 , DSI corresponding to the DSP is not the first subframe of the
  the eNB determines that it should schedule the MBMS data DSP, the other subframes may be before or after the sub
  packets A , B , C , and D in DSP2 .                              frame that is supposed to be used to transmit the DSI
     Further, assume that the eNB receives only A and D , the       corresponding to the DSP. Optionally , other MBMS data
  eNB can buffer A and D . According to the total number of 10 packets may include : MBMS data packets of which time of
  octets 100 in the header of A , total number of octets 400 in     transmission by the BM -SC is earlier than the time of
  the header of D , and data packet length 100 of D , the eNB       transmission of the determined lost consecutive MBMS data
  may determine that MBMS data of 200 (400 - 100 - 100 = 200 )      packets by the BM -SC , and which belong to the same
  bytes is the lost data that should have been received by the service as the determined lost consecutive MBMS data
  eNB but does not reach the eNB. According to the total 15 packets; and /or MBMS data packets of other services that
  number of packets 1 in the header of A and the total number  are supposed to be scheduled before the eNB schedules a
  of packets 4 in the header of D , the eNB may determine that service of the determined lost consecutive MBMS data
  two MBMS data packets with the total number of packets 2          packets. In the latter case , the other MBMS data packets
  and 3 in the headers exist between A and D . Through the          belong to a service different from that of the lost consecutive
  preceding process, the eNB may determine that two con - 20 MBMS data packets. The time of transmission of the other
  secutive MBMS data packets ( B and C ) are lost . It should be MBMS data packets by the BM - SC may not be earlier than
  noted that the eNB can only determine loss of data packets the time of transmission of the determined lost consecutive
  and the number of the lost data packets , and cannot deter- MBMS data packets by the BM - SC .
  mine the length of each lost data packet. Therefore , if the         As shown in FIG . 2 , the eNB has received A in step 120 .
  eNB predicts the length of each MBMS data packet and 25 According to header information of the received MBMS
  generates DSI according to the prior art , the DSI may be         data packets, the eNB can know that the time when the
  incorrect and may be different from DSI generated by other        BM - SC transmits A is earlier than the time when the BM -SC
  eNBs in other MBSFN areas . Consequently, the incorrect           transmits the lost consecutive data packets (B and C ). In
  DSI interferes with other eNBs , and a UE may incorrectly    addition , the eNB has also received D . The time when the
  receive data or even cannot receive data .                30 BM - SC transmits D is later than the timewhen the BM -SC
    In the preceding process , according to the SYNC header         transmits the lost consecutive data packets. Therefore , in the
  information of the received MBMS data packets , the eNB           DSP, the eNB can use a subframe after a null subframe that
  determines that consecutive data packets are lost and the         is supposed to be used to transmit the DSI to transmit A . The
  MBMS data packets that are not received are supposed to be        eNB can only determine the number and the total length of
  scheduled in a DSP. The process proceeds to step 130 .        35 the lost data packets , but cannot determine the length of each
    Step 130 : The eNB sets a subframe that is used to transmit    lost data packet ( B and C ) . Therefore , the eNB cannot
  DSI corresponding to the DSP to null.                             determine the transmission position of each lost data packet
     For example , the eNB keeps mute in a subframe, the            and cannot determine the transmission position of D that is
  subframe being supposed to be used to transmit the DSI            transmitted later than the lost data packets . As a result, the
  corresponding to the DSP. For another example , the eNB 40 NB cannot transmit D even when the eNB has received D .
  first determines whether to generate complete DSI corre             Assume that the eNB transmits A in a manner of dynamic
  sponding to the DSP , and if it is determined not to generate     scheduling according to the prior art. Accordingly, a UE can
  the complete DSI corresponding to the DSP , the eNB keeps         read all information in the DSP when the UE does not
  mute in a subframe, the subframebeing supposed to be used         receive the DSI corresponding to the DSP. The UE can read
  to transmit the DSI corresponding to the DSP.                 45 MBMS data packet A . Compared with the method in which
     This step in which the eNB sets a subframe that is used to    the eNB transmits no data packet or transmits incorrect DSI,
  transmit the DSI corresponding to the DSP to null may also     the method according to this embodiment enables the UE to
  be described as follows. The eNB does not transmit any         receive more data , and enables the eNB to transmit data
  information when the eNB should transmit a subframe that more efficiently.
  carries the DSI. The DSI that should be generated is used to 50 Optionally , assume that the DSP includes a subframe
  instruct the eNB how to dynamically schedule the MBMS             being supposed to be used to transmit the DSI, other
  data that is supposed to be transmitted in the DSP .              subframes that are used to transmit the other MBMS data
     It should be noted that a subframe that is supposed to be      packets , and remaining subframes, the eNB may keep mute
  used to transmit the DSI corresponding to a DSP in the            in the remaining subframes after transmitting the other
  embodiment of the present invention refers to a subframe X 55     MBMS data packets in the DSP . It should be noted that the
  in a DSP (for example , a first subframe in a DSP ). If the eNB   subframes that form the DSP are subframes of an MCH
  generates DSI, the eNB is to transmit the DSI in the              reserved by the eNB for transmitting the MBMS data
  subframe X . In the embodiment of the present invention, the      packets, and “ the eNB keeps mute in the remaining sub
   NB does not generate DSI when the eNB determines that            frames of the DSP ” means that the eNB does not transmit
  the data packets that are not received meet a given condition 60 any information on an MCH that is used to transmit MBMS
  ( for example , step 120) . Therefore , the eNB keeps mute in     data packets in the remaining subframes.
  the subframe X .                                                     It is understandable by persons of ordinary skill in the art
     In this step , the eNB may transmit the MBMS data that the eNB may transmit non -MBMS data packets in the
  packets in the DSP. In details, if other MBMS data packets    remaining subframes. These non -MBMS data packets
  thathave been received by the eNB and are to be scheduled 65 occupy non -MCHs. For example, the eNB may transmit
  in the DSP exist, the eNB may transmit the other MBMS unicast data packets at low power in the remaining sub
  data packets in other subframes in the DSP. Optionally , if a frames. These unicast data packets are carried on a dedicated
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-4 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page213 of 14
                                                            10 of 312PageID
                                                                      PageID#:#:110
                                                                                 820


                                                     US 9, 838, 851 B2
  traffic channel (DTCH ). The occupied transmission channel      the same as the time stamp of the MBMS data in synchro
  is a downlink shared channel (DL - SCH ).                        nization sequence E . Assume that the time stamp is Te.
     Step 140 : The eNB generates and transmits the DSI           MBMS data packets in synchronization sequence G are null ,
  corresponding to the DSP.                                      that is , G does not include MBMS data . A type 0 PDU in a
     In this step , the eNB can generate and transmit the DSI 5 type 0 PDU group corresponding to synchronization
  according to the prior art. After transmitting a subframe that sequence G may carry a time stamp, and the time stamp may
  carries the DSI, the eNB transmits the received MBMS data       be a value in the time range of synchronization sequence H .
  packets .                                                        Assume that the time stamp is Tg. In addition , assume that
    In this embodiment, the eNB may first determine whether        the time indicated by a time stamp of MBMS data packets
  data packets that are not received meet a given condition . 10 in synchronization sequence F and the time indicated by a
  For example , the eNB determines whether the data packets        time stamp of MBMS data packets in synchronization
  that are not received include at least two consecutive MBMS      sequence H are Tf and Th respectively . Header information
  data packets to be scheduled by the eNB in a DSP. If the         of each MBMS data packet is not illustrated in FIG . 4 .
  given condition is met, the eNB sets a subframe that is used      Further, the header information of the MBMS data pack
  to transmit DSI corresponding to the DSP to null to prevent 15 ets may further include the total number of octets and the
  the eNB from transmitting incorrect DSI which may inter -        total number of packets . The header information is similar to
  fere with other eNBs and cause incorrect data receiving of the header information in other embodiments of the present
  the UE .                                                        invention , and is not described here .
     Another embodiment of the present invention provides a          Step 320 : The eNB receives the synchronization sequence
  subframe processing method . In this method , if an eNB does 20 transmitted by the BM - SC and determines whether the
  not receive a type o control packet group , that is , data      following case occurs: one type 0 PDU group is lost. If one
  packets that are not received by the eNB include a type o       type 0 PDU group is lost, the process proceeds to step 330 ;
  control packet group , the eNB sets a subframe that is used      and if no one type 0 PDU group is lost, the process proceeds
  to transmit DSI corresponding to a DSP to null. The DSP is to step 340 .
  used to transmit MBMS data packets corresponding to the 25 The preceding case may also be described as follows. A
  type o control packet group . This method can prevent the        type 0 PDU group corresponding to a synchronization
  eNB from transmitting incorrect DSI which may interfere      sequence that is received or not received by the eNB does
  with other eNBs and cause incorrect data receiving of a UE. not reach the eNB , that is , all type 0 PDUs in the type o
     Another embodiment of the present invention provides a    group are not received by the eNB . A synchronization
  subframe processing method , as shown in FIG . 3 . An eNB 30 sequence may include multiple MBMS data packets . Time
  is located on an AN ; a BM -SC is located on a CN ; an SYNC  stamps of MBMS data packets in a synchronization
  entity on the BM - SC side may be an independent entity that     sequence are the same, that is, multiple MBMS data packets
  is located on the CN and can communicate with the BM -SC ,       in a synchronization sequence correspond to a type 0 PDU
  a part of the independent entity, or a unit inside a BM - SC     group , which means, each MBMS data packet has a unique
  device . The method includes the following steps.    35 type 0 PDU group . The preceding case the eNB determines
     Step 310 : The BM -SC transmits a synchronization    whether occurs may also be described as follows. A type o
  sequence formed of MBMS data packets and the corre -             PDU group corresponding to MBMS data packets that are
  sponding type 0 PDU group to the eNB .                           received or not received by the eNB does not reach the eNB ,
     As shown in FIG . 4 , the BM -SC transmits four synchro -     that is, all type 0 PDUs in the type o group are not received
  nization sequences E , F, G , and H to the eNB . Each 40 by the eNB .
  synchronization sequence includes several MBMS data                 It should be noted that the subframe processing method
  packets . The number of the MBMS data packets included in        provided by this embodiment is applicable to various sce
  each synchronization sequence may be the sameor different.       narios where an eNB may determine loss of a type 0 PDU
  This embodiment does not restrict that the MBMS data           group . In details , if a type 0 PDU group is lost, an eNB may
  packets in a synchronization sequence belong to one or more 45 determine the type 0 PDU group that should reach the eNB
  MBMS services . This embodiment does not restrict whether       but is not received by the eNB according to information
  the MBMS data packets in a synchronization sequence are          related to the received MBMS data packets such as a time
  empty . For example , MBMS data packets in G are empty, or       stamp, the total number of octets , or the total number of
  G does not contain any MBMS data .                               packets , regardless of whether all or part of synchronization
     In this step , the SYNC entity on the BM -SC side sets a 50 sequences corresponding to the type o PDU group are
  time stamp for each MBMS data packet in each synchroni -         received by the eNB , or synchronization sequences corre
  zation sequence . After transmitting all MBMS data packets sponding to the type 0 PDU group are empty . Therefore, the
   in a synchronization sequence , the BM -SC transmits a type subframe processing method provided by this embodiment
  0 PDU group corresponding to the synchronization is applicable to various scenarios .
  sequence. Each type 0 PDU group that corresponds to a 55 In this embodiment, assume that two consecutive DSPs in
  synchronization sequence may include multiple type o which the eNB schedules MBMS data packets are DSP3 and
  PDUs. The type 0 PDUsmay have the same information and       DSP4 respectively . The start time of DSP3 is T3 , and the
  may have the same time stamp as the MBMS data packets start time of DSP4 that is later than DSP3 is T4 .
  in the corresponding synchronization sequence . Type 0         As shown in FIG . 4 , in step 320 , if the eNB determines
  PDUs that are repeatedly transmitted by the BM -SC may 60 that Te , Tf, Tg, and Th are between T3 and T4, that is , Te ,
  form a type 0 PDU group .                                    Tf, Tg, and Th are later than T3 and earlier than T4 , the NB
      As shown in FIG . 4 , a type 0 PDU group corresponding determines that the eNB should schedule the MBMS data
  to each synchronization sequence includes three type o packets in E , F , and H in DSP4 .
  PDUs, which are marked as 1 , 2 , and 3 according to the       Further, the eNB may determine a range of time stamp in
  sequence in each type 0 PDU group . Optionally, a type ( 65 which each synchronization sequence is supposed to be
  PDU in a type 0 PDU group corresponding to synchroniza - received according to the pre - configuration . Therefore, if the
  tion sequence E may carry a time stamp. The time stamp is eNB does not receive any type 0 PDU and the time stamp is
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-4 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page214 of 14
                                                            11 of 312PageID
                                                                      PageID#:#:111
                                                                                 821


                                                      US 9, 838, 851 B2
  in a range of time stamp determined according to the                  OPDU group . Therefore , in the DSP, in subframes after the
  pre - configuration , it is determined that a type 0 PDU group        null subframe that is supposed to be used to transmit DSI,
  is lost. If information of at least one PDU group in the              the eNB may transmit the received MBMS data packets in
  preceding four type 0 PDU groups is lost, the process                  synchronization sequence E . If the eNB does not receive the
  proceeds to step 330 .                                           5 type 0 PDU group corresponding to synchronization
     As shown in FIG . 4 , the eNB does notreceive a first type          sequence F, but receives some MBMS data packets in
  O PDU , a second type 0 PDU , and a third type 0 PDU                   synchronization sequence F, the eNB may transmit the
  corresponding to F ; therefore , the eNB cannot determine the          received MBMS data packets in synchronization sequence F
  time of transmission completion of data packets in synchro             after transmitting MBMS data packets in E . The eNB cannot
  nization sequence F even when the eNB receives synchro - 10 determine whether transmission of F is completed , so the
  nization sequence F . If the eNB predicts the time of trans -          eNB cannot determine the transmission positions ofMBMS
  mission completion of data packets in the synchronization              data packets in G and H in the DSP even when the eNB
  sequence according to the prior art, the time is inaccurate . receives synchronization sequences G and H transmitted by
   Therefore, DSI generated by the eNB according to the the BM -SC . Therefore , the eNB does not transmit the
  prediction result is inaccurate , and is different from DSI 15 received MBMS data packets in G and H . Further, assume
  generated by other eNBs in other MBSFN areas. Conse - that the eNB transmits E in a manner of dynamic scheduling
  quently , the incorrect DSI interferes with other eNBs, and a  according to the prior art. Accordingly , a UE can read all
  UE may incorrectly receive data or even cannot receive data . information in the DSP when the UE does not receive the
  In this embodiment, after the eNB determines that all DSI corresponding to the DSP. The UE can read MBMS data
  information in a type 0 PDU group corresponding to F is 20 packets in E . Compared with the method in which the eNB
  lost, the process proceeds to step 330 .                       transmits no data packet or transmits incorrect DSI, the
     If at least one type 0 PDU in each type 0 PDU group in method provided by this embodiment enables the UE to
  the preceding four type 0 PDU groups is received by the receive more data , and enables the eNB to transmit data
  eNB , the eNB may determine the time of transmission           more efficiently .
  completion of each synchronization sequence . The process 25 Further, assume that the DSP includes a subframe that is
  proceeds to step 340 .                                         supposed to be used to transmit DSI, other subframes that
     Step 330 : The eNB sets a subframe that is used to transmit are used to transmit the other MBMS data packets, and
  DSI corresponding to a DSP to null. The DSP is used to remaining subframes, the eNB may keep mute in the remain
  transmit MBMS data packets corresponding to a type 0 PDU    ing subframes after transmitting the other MBMS data
  group or MBMS data packets in a synchronization sequence 30 packets in the DSP . It should be noted that the subframes that
  that are not received by the eNB .                                     form the DSP are subframes of an MCH reserved by the eNB
     For example, the eNB keeps mute in a subframe, the                  for transmitting MBMS data packets , and “ the eNB may
  subframe being supposed to be used to transmit DSI corre -            keep mute in the remaining subframes ” means that the eNB
  sponding to the DSP. Further, for example , the eNB first does not transmit any information on an MCH that is used
  determines whether to generate complete DSI corresponding 35 to transmit MBMS data packets corresponding to the lost
  to the DSP. If it is determined not to generate the complete type o control packet group in the remaining subframes .
  DSI corresponding to the DSP, the eNB keeps mute in a           It is understandable by persons of ordinary skill in the art
  subframe, the subframe being supposed to be used to trans    that the eNB may transmit non -MBMS data packets in the
  mit the DSI corresponding to the DSP.                        remaining subframes. The non -MBMS data packets occupy
     This step in which the eNB sets a subframe that is used to 40 non -MCHs. For example , the eNB may transmit unicastdata
  transmit DSI corresponding to the DSP to null may also be packets at low power in the remaining subframes. The
  described as follows. The eNB does not transmit any infor -  unicast data packets are carried on a DTCH . The occupied
  mation when the eNB should transmit a subframe that transmission channel is a DL -SCH .
  carries the DSI. The DSI that should be generated is used to   Step 340: The eNB generates and transmits the DSI
  instruct the eNB how to dynamically schedule MBMS data 45 corresponding to the DSP.
  that is supposed to be transmitted in the DSP .                 In this step , the eNB can generate and transmit the DSI
     In this step , the eNB may transmit MBMS data packets in  according to the prior art. After transmitting a subframe that
  the DSP . In details, if other MBMS data packets that have carries the DSI, the eNB transmits the received MBMS data
  been received by the eNB and are to be scheduled in the DSPpackets.
  exist, the eNB may transmit the other MBMS data packets 50 In this embodiment, the eNB may first determine whether
  in other subframes in the DSP. Optionally , the other MBMS             data packets that are not received meet a given condition .
  data packets may include MBMS data packets of which time               For example , the eNB determines whether data packets that
  of transmission by the CN device BM - SC is earlier than the are not received by the eNB include a type 0 PDU group
  end time of a synchronization sequence corresponding to a corresponding to one or more MBMS data packets. If the
  lost type 0 PDU group ; and /or MBMS data packets that are 55 given condition is met, the eNB sets a subframe that is used
  supposed to be scheduled by the eNB before the eNB to transmit the DSI corresponding to the DSP to null to
  schedules a service ofMBMS data packets corresponding to              prevent the eNB from transmitting incorrect DSI which may
  a lost type 0 PDU group , and which belong to a service               interfere with other eNBs and cause incorrect data receiving
  different from that of the MBMS data packets corresponding             of the UE .
  to the lost type 0 PDU group .                                   60      The two subframe processing methods provided by the
    As shown in FIG . 4 , the eNB has received synchroniza -             aforementioned embodiments of the present invention may
  tion sequence E in step 320 , and MBMS data packets inE               b e combined to form another embodiment of the present
  are to be scheduled in the DSP . In addition , according to            invention . In the embodiment of the present invention , an
  header information of the received MBMS data packets, the              eNB may first determine whether data packets that are not
  eNB can know that the time of transmission of E by the 65 received meet a given condition . That is , the eNB determines
  BM -SC is earlier than the time of transmission of the                whether data packets that are not received include two
  synchronization sequence (F ) corresponding to the lost type           consecutive MBMSdata packets to be scheduled by the eNB
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-4 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page215 of 14
                                                            12 of 312PageID
                                                                      PageID#:#:112
                                                                                 822


                                                      US 9, 838, 851 B2
                                11                                                                 12
  in a DSP and a type o PDU group corresponding to one or             mined lost consecutive MBMS data packets ; and MBMS
  more MBMS data packets . The one or more MBMS data                  data packets of other services that are to be scheduled before
  packets may be MBMS data packets that have been or have             the eNB schedules a service of the determined lost consecu
  not been received by the eNB . If the given condition is met, tive MBMS data packets. In the latter case , the otherMBMS
  the eNB sets a subframe that is used to transmit DSI 5 data packets belong to a service different from that of the lost
  corresponding to the DSP to null to prevent the eNB from            cond
                                                                      consecutive MBMS data packets . The time of transmission
  transmitting incorrect DSI which may interfere with other           of the other MBMS data packets by the BM - SC may not be
  eNBs and cause incorrect data receiving of a UE . In the            earlier than the time of transmission of the determined lost
  embodiment of the present invention , the method for the            consecutive MBMS data packets by the BM - SC .
  eNB to determining whether data packets that are not 10 Optionally , if a subframe that is supposed to be used to
  received meet the given condition is the same as the method transmit DSI corresponding to the DSP is a first subframe of
  described in the aforementioned embodiments of the present the DSP, the other subframes may be after the subframe that
  invention , and is not described here .                             is supposed to be used to transmit DSI corresponding to the
     In the subframe processing methods provided by the DSP. If the subframe that is supposed to be used to transmit
  aforementioned embodiments of the present invention , the 15 DSI corresponding to the DSP is not a first subframe of the
  eNB is an AN device, and the BM - SC is a CN device , but           DSP, the other subframes can be before or after the subframe
  the eNB device and the BM - SC device are not limited to an         that is supposed to be used to transmit DSI corresponding to
  AN device and a CN device in embodiments of the present             the DSP .
  invention . For example , the eNB in the aforementioned               Optionally, the first sending unit 520 in this embodiment
  embodiments of the present invention may be replaced by 20 is further configured to keep mute in remaining subframes
  other devices such as a home NodeB (HNB ) , a microcell    after transmitting the other MBMS data packets . The
  NodeB , or other devices on the AN in an LTE + system , and         remaining subframes include subframes that are after the
  the BM -SC may be replaced by other devices on the CN .             other subframes in the DSP and reserved for a transmission
    As shown in FIG . 5 , an embodiment of the present                channel that maps a service of the consecutive MBMS data
  invention further provides a subframe processing device , 25 packets by the first sending unit 520 .
  namely , a first device 50 , which is configured to implement   The device according to this embodiment may be a
  the subframeprocessing methods provided by the aforemen -           NodeB (such as eNB ) or other AN entities , such as an hNB )
  tioned embodiments of the present invention . The first             or microcellNodeB , or a unit that is inside a NodeB or other
  device 50 includes a first receiving unit 510 and a first           AN entities . The device may first determine whether data
  sending unit 520 . The first receiving unit 510 is configured 30 packets that are not received meet a given condition . For
  to determine whether data packets that are not received meet        example , the device determines whether data packets that
  a first condition : the data packets that are not received          are not received include at least two consecutive MBMS
  include at least two consecutive MBMS data packets to be            data packets to be scheduled by the eNB in a DSP. If the
  scheduled by the first sending unit 520 in a DSP . The first        given condition is met, the device sets a subframe that is
  sending unit 520 is configured to set a subframe that is used 35 used to transmit the DSI corresponding to the DSP to null to
  to transmit DSI corresponding to the DSP to null when the           prevent the device from transmitting incorrect DSI which
  determination result of the first receiving unit 510 is yes .       may interfere with other devices and cause incorrect data
     “ The first sending unit 520 is configured to set a subframe     receiving of a UE .
  that is used to transmit DSI corresponding to the DSP to           As shown in FIG . 6 , an embodiment of the present
  null” may refer to any one of the following cases : the first 40 invention further provides another subframe processing
  sending unit 520 keeps mute in a subframe that is supposed       device , namely , a second device 60 , which is configured to
  to be used to transmit DSI corresponding to the DSP ; or the        implement the subframe processing methods provided by
  first sending unit 520 determines whether to generate com -         the aforementioned embodiments of the present invention .
  plete DSI corresponding to the DSP , and if it is determined        The second device 60 includes a second receiving unit 610
  not to generate the complete DSI corresponding to the DSP , 45 and a second sending unit 620 . The second receiving unit
  the first sending unit 520 keeps mute in a subframe that is         610 is configured to determine whether a type o control
  supposed to be used to transmit DSI corresponding to the            packet group is not received , that is, the second receiving
  DSP.                                                                unit 610 determines whether data packets that are not
    In this embodiment, the first receiving unit 510 may be received meet a second condition that is the data packets that
  configured to receive MBMS data packets and determine 50 are not received include a type o control packet group . The
  whether data packets that are not received meet the first           second sending unit 620 is configured to set a subframe that
  condition according to the received MBMS data packets.              is used to transmit DSI corresponding to a DSP to null,
  For example ,header information of the MBSM data packets            where the DSP is used to transmit MBMS data packets
  received by the first receiving unit 510 includes the total         corresponding to the type o control packet group when the
  number of octets and the total number of packets . The first 55 determination result of the second receiving unit 610 is yes.
  receiving unit 510 determines whether data packets that are           “ The second sending unit 620 is configured to set a
  not received meet the first condition according to the total        subframe that is used to transmit DSI corresponding to the
  number of octets and the total number of packets .                  DSP to null” may refer to any one of the following cases : the
     Optionally, in this embodiment, if other MBMS data               second sending unit 620 keeps mute in a subframe, the
  packets that have been received by the first receiving unit 60 subframe being supposed to be used to transmit DSI corre
  510 and are to be scheduled by the first sending unit 520 in        sponding to the DSP ; or the second sending unit 620
  the DSP exist, optionally, the other MBMS data packets              determines whether to generate complete DSI corresponding
  include any one or more of the following MBMS data                  to the DSP, and if it is determined not to generate the
  packets : MBMS data packets of which time of transmission           complete DSI corresponding to the DSP, the second sending
  by the BM - SC is earlier than the time of transmission of the 65   unit 620 keeps mute in a subframe, the subframe being
  determined lost consecutive MBMS data packets by the                supposed to be used to transmit DSI corresponding to the
  BM -SC , and which belong to a same service as the deter -          DSP.
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-4 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page216 of 14
                                                            13 of 312PageID
                                                                      PageID#:#:113
                                                                                 823


                                                       US 9,838 ,851 B2
                                13                                                                14
      Optionally, in this embodiment, if other MBMS data               setting a first subframe to null, by the eNB , if the eNB
  packets that have been received by the second receiving unit            cannot determine the transmission position of the at
  610 and are to be scheduled by the second sending unit 620             least two consecutive MBMS data packets in the DSP,
   in the DSP exist, the second sending unit 620 is further              wherein the first subframe is to be used to transmit
  configured to transmit the other MBMS data packets in other 5          Dynamic Schedule Information (DSI) corresponding to
  subframes in the DSP. Optionally, the other MBMS data                  the DSP, wherein the DSP includes at least the first
  packets may include MBMS data packets of which time of                 subframe and subframes to be used to transmit the at
  transmission by the CN device BM - SC is earlier than the end          least two consecutive MBMS data packets that have not
  time of a synchronization sequence corresponding to a lost             been received .
  type 0 PDU group ; and / or MBMS data packets that are 10
  supposed to be scheduled before scheduling a service of the2.first   The method according to claim 1, wherein the setting
                                                                         subframe to null comprises keeping mute in the first
  MBMS data packets corresponding to the lost type 0 PDU
  group , and which belong to a service different from that of  subframe   .
  the MBMS data packets corresponding to the lost type o 15 comprisingmethod
                                                                  3 .  The
                                                                             :
                                                                                   according to claim 1, the method further
  PDU group .
     Optionally , if a subframe that is supposed to be used to    receiving other MBMS data packets that are to be sched
  transmit DSI corresponding to the DSP is a first subframe of        uled in the DSP by the eNB ; and
  the DSP, the other subframes may be after the subframe is       transmitting, by the eNB , the other MBMS data packets in
  supposed to be used to transmit DSI corresponding to the            other subframes in the DSP,
  DSP. If the subframe is supposed to be used to transmit DSI 20 wherein the other MBMS data packets comprise at least
  corresponding to the DSP is not a first subframe of the DSP ,          one of:
  the other subframes may be before or after the subframe is              first MBMS data packets, wherein a time of a trans
  supposed to be used to transmit DSI corresponding to the                  mission of the first MBMS data packets by a core
  DSP.                                                                      network (CN ) device is earlier than a time of a
    Optionally, the second sending unit 620 is further con - 25             transmission of consecutive MBMS data packets by
  figured to keep mute in remaining subframes after transmit                the CN device , and the first MBMS data packets
  ting the other MBMS data packets. The remaining sub                       belong to the sameservice as the consecutive MBMS
  frames include subframes that are after the other subframes               data packets ; and
  in the DSP and reserved for a transmission channel that                second MBMS data packets , wherein the second
  maps a service ofMBMS data packets corresponding to the 30                MBMS data packets are to be scheduled by the eNB
  type o control packet group by the eNB .                                  before the eNB schedules a service of the consecu
     In the embodiment of the present invention , the type o                tive MBMS data packets, and the second MBMS
  control packet group includes all type o control packets that             data packets belong to a service different from that of
  include the same information and are transmitted repeatedly .             the consecutive MBMS data packets.
     The device according to this embodiment may be a 35               4 . The method according to claim 3 , wherein , after the
  NodeB ( such as eNB ) or other AN entities , such as an hNB        NB transmits the other MBMS data packets , the method
  or microcell NodeB , or a unit that is inside a NodeB or other     further comprises :
  AN entities. The device may first determine whether data            keeping, by the eNB , mute in remaining subframes ,
  packets that are not received meet a given condition. For             wherein the remaining subframes comprise subframes
  example , the device determines whether data packets that 40          being after the other subframes in the DSP and reserved
  are not received include a type 0 PDU group corresponding             for a transmission channel that maps the service of the
  to one or more MBMS data packets . If the given condition             consecutive MBMS data packets by the eNB .
  is met, the device sets a subframe that is used to transmit DSI      5 . A device , comprising :
  corresponding to the DSP to null to prevent the device from          one or more processors ; and
  transmitting incorrect DSI which may interfere with other 45         a non -transitory computer -readable storage medium in
  devices and cause incorrect data receiving of a UE.                    communication with the one ormore processors, with
     Persons of ordinary skill in the artmay understand that all          the computer - readable storage medium including com
  or part of the steps of the methods according to the embodi            puter -executable instructions executed by the one or
  ments of the present invention may be implemented by a                 more processors to :
  program instructing relevant hardware . The program may be 50        determine at least two consecutive Multimedia Broadcast
  stored in a computer readable storage medium . The storage             Multicast Service (MBMS) data packets to be sched
  medium may be a Read - only Memory (ROM )/Random                       uled in a Dynamic Schedule Period (DSP ) have not
  access Memory (RAM ), a magnetic disk or an optical disk .             been received ; and
     The above descriptions are merely preferred embodi                set a first subframe to null if the transmission position of
  ments of the present invention . It should be noted that 55            the at least two consecutive MBMS data packets in the
  persons of ordinary skill in the art can make various                  DSP cannot be determined, wherein the first subframe
  improvements and variations without departing from the                 is to be used to transmit Dynamic Schedule Information
  principle of the invention . All such modifications and varia          (DSI) corresponding to the DSP, wherein the DSP
  tions fall within the scope of the present invention.                   includes at least the first subframe and subframes to be
    What is claimed is :                                        60       used to transmit the at least two consecutive MBMS
     1 . A subframe processing method , the method compris         data packets that have not been received .
  ing :                                                        6 . The device according to claim 5 , wherein the setting the
     determining, by an evolved NodeB ( NB ), that at least first subframe to null comprises keeping mute in the first
       two consecutive Multimedia Broadcast Multicast Ser - subframe.
       vice (MBMS) data packets to be scheduled in a 65 7 . The device according to claim 5 , wherein the one or
       Dynamic Schedule Period (DSP ) have not been more processors further execute the computer- executable
       received ; and                                       instructions to :
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 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
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                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page217 of 14
                                                            14 of 312PageID
                                                                      PageID#:#:114
                                                                                 824


                                                  US 9 ,838,851 B2
                               15
    receive other MBMS data packets that are to be scheduled
                                                                     16
       in the DSP ; and
    transmit the other MBMS data packets in other subframes
       in the DSP ,
    wherein the other MBMS data packets comprise at least 5
      one of:
      first MBMS data packets wherein a time of a transmis
         sion of the first MBMS data packets by a core
         network (CN ) device is earlier than a time of a
         transmission of consecutive MBMS data packets by 10
         the CN device and the first MBMS data packets
         belong to the same service as the consecutive MBMS
         data packets; and
      second MBMS data packets , wherein the second
        MBMS data packets are to be scheduled before the 15
         device schedules a service of the consecutive MBMS
          data packets and the second MBMS data packets
         belong to a service different from that of the con
         secutive MBMS data packets .
    8 . The device according to claim 7, wherein , after the 20
  transmitting the other MBMS data packets in other sub
  frames in the DSP , the one or more processors further
  execute the computer- executable instructions to :
    keep mute in remaining subframes , wherein the remaining
      subframes comprise subframes after the other sub - 25
      frames in the DSP and reserved for a transmission
      channel that maps the service of the consecutive
      MBMS data packets .
                           *   *    *   *
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 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-5 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page218
                                                             1 ofof26
                                                                    312 PageID
                                                                      PageID #: #:115
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                           EXHIBIT 5
Case
 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-5 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page219
                                                             2 ofof26
                                                                    312 PageID
                                                                      PageID #: #:116
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                                                                                                                                   US010117226B2

  (12) United States Patent                                                                             ( 10 ) Patent No.: US 10 ,117 ,226 B2
         Huang et al.                                                                                   (45 ) Date of Patent:                               Oct. 30 , 2018
  ( 54 ) METHOD , APPARATUS, AND SYSTEM FOR                                                     (58 ) Field of Classification Search
          TRANSMISSION CONTROL OF                                                                                USPC ....... 370 /229, 230 , 235 , 236 , 252 , 312 , 328 ,
         MULTIMEDIA BROADCAST MULTICAST                                                                                                                   370/390 , 395.4, 432
         SERVICE DATA                                                                                 See application file for complete search history .
  (71 ) Applicant: Huawei Technologies Co ., Ltd .,                                             (56 )               References Cited
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  (72 ) Inventors : Qufang Huang, Shanghai (CN );                                                             9 , 191,222 B2 * 11/2015 Sun                  ... .... H04W 72/ 005
                   Mingzeng Dai, Shanghai (CN )                                                               9 ,398 ,605 B2 * 7/ 2016 Huang ................... HO4W 4 /06
  (73 ) Assignee: Huawei Technologies Co., Ltd .,                                                                                       (Continued )
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                      patent is extended or adjusted under 35                                   CN                             101909244 A     12 /2010
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  ( 21) Appl. No.: 15 /200, 352                                                                                 OTHER PUBLICATIONS
  ( 22) Filed :       Jul. 1 , 2016                                                             “ SYNCProtocol for LTE ; Discussion and Decision ,” 3GPP TSG
                                                                                                RAN WG3 Meeting # 65 , R3-091749, Aug. 24 - 28 , 2009, 9 pages.
  (65)                  Prior Publication Data                                                                        (Continued )
         US 2016 /0316453 A1 Oct 27 , 2016                                                      Primary Examiner — Kwang B Yao
                                                                                                Assistant Examiner — Nguyen Ngo
                  Related U .S . Application Data                                               (74 ) Attorney, Agent, or Firm — Slater Matsil, LLP
  (63) Continuation of application No. 14 / 175 ,303 , filed on                                 (57 )                   ABSTRACT
       Feb . 7 , 2014 , now Pat. No. 9 ,398 ,605, which is a                                   Embodiments of the present invention disclose a method , an
                          ( Continued )                                                        apparatus, and a system for transmission control of multi
  (30)           Foreign Application Priority Data                                             media broadcast multicast data . The method includes:
                                                                                                according to a reference time, determining a scheduling
     Aug. 8 , 2011 (CN ) .          ........... 2011 1 0226133                                  period of suspending or resuming sending MBMS service
                                                                                                data ; and suspending or resuming sending the MBMS ser
  (51) Int. Ci.                                                                                 vice data in the determined scheduling period . According to
         H04H 20 / 71             ( 2008. 01)                                                   the embodiments of the present invention , transmission
         H04W 72 / 00             ( 2009.01 )                                                   control of the MBMS service data by a base station can be
                            (Continued )                                                        realized , which facilitates each base station in the same
                                                                                               MBSFA range synchronously suspending or resuming send
  (52 ) U .S . CI.                                                                             ing the MBMS service data of the same service , thereby
         CPC ........... H04W 72 /005 (2013 .01 ); H04W 4 / 06                                   facilitating reducing interferences in the service .
                           (2013 .01); H04W 72 / 121 ( 2013.01 );
                            (Continued )                                                                                       15 Claims, 14 Drawing Sheets

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                                                                                    42 : MBMS scheduling
                                                                                     information ( "MCCH
                                                                                     updatectperiod
                                                                                               modilication
                                                                                                    ")
                                                            43 : Update 20 VOCII message in an MCC
                                                             modification period coresponding to the
                                                          parameter "MCCH updated vodilication period "

                                                             44 : Start from a certain time in the MCU
                                                          modificulion period when the MCCH Message is
                                                           updated , determine a first scheduling period of
                                                          thc MC! that bears the MBMS service data as a
                                                          sclieduling period of suspending or rescuing the
                                                                        MBMS service data



                                                      45 : Suspend or resunie
                                                        sending ihe MBMS
                                                        Service data of the         MBMS survive data of the surviwe .
                                                          service in the
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 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-5 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page220
                                                             3 ofof26
                                                                    312 PageID
                                                                      PageID #: #:117
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                                                               US 10 ,Page
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          CPC ... H04W 72 / 1226 (2013.01); H04W 72/ 1263                       WO             2009078152     A1        6 /2009
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                                                        Page221
                                                             4 ofof26
                                                                    312 PageID
                                                                      PageID #: #:118
                                                                                   828


           atent          Oct. 30 , 2018         Sheet 1 of 14              US 10 ,117 ,226 B2




              According to a reference time, determine a scheduling period of
                   suspending or resuming sending MBMS service data


            Suspend or resume sending the MBMS service data in the determined
                                    scheduling period
                                               FIG . 1
                                                                                     - 21

           Generate indication information including a reference time


                                                                                     22
         Send the indication information to each base station in the same
          MBSFA range, so as to instruct the base station to determine,
              according to the reference time, a scheduling period of
               suspending or resuming sending MBMS service data
                                               FIG . 2
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 Case1:19-cv-01306-MN
       2:19-cv-00222-JRGDocument 16-3
                          Document 4-5 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page222
                                                             5 ofof26
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           atent           Oct. 30 , 2018                        Sheet 2 of 14                                        US 10 ,117 ,226 B2




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                                              06/21/19 Page
                                                        Page223
                                                             6 ofof26
                                                                    312 PageID
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           atent                    Oct. 30 , 2018                           Sheet 3 of 14                US 10 ,117 ,226 B2



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                                                        Page224
                                                             7 ofof26
                                                                    312 PageID
                                                                      PageID #: #:121
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           atent                                                         Oct. 30 , 2018                                            Sheet 4 of 14                        US 10 ,117 ,226 B2




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                                                                                                                                                    pr|MeCpeaHt eriod
                 eNBtoeAnMCEinsatrcuhts fmanMueprCsdaotgmHe 81MthenuCmbeHr   pmodeifrcatodn pmMoediCrfcaotHdn                 )
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                                              06/21/19 Page
                                                        Page225
                                                             8 ofof26
                                                                    312 PageID
                                                                      PageID #: #:122
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           atent                       Oct. 30 , 2018                                                      Sheet 5 of 14                         US 10 ,117 ,226 B2




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                                                                                                                                ENB2    2MBSFA
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             Data source                              Gateway                                                    .




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                                                                                                                                eNB21
             Data source                             Gateway                                                                    eNB12
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       2:19-cv-00222-JRGDocument 16-3
                          Document 4-5 Filed
                                        Filed09/03/19
                                              06/21/19 Page
                                                        Page226
                                                             9 ofof26
                                                                    312 PageID
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  U.S. Patentatent                           Oct. 30 , 2018                                                Sheet 6 of 14                                  US 10 ,117 ,226 B2



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                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page227 of 26
                                                            10 of 312PageID
                                                                      PageID#:#:124
                                                                                 834


          atent             Oct. 30 , 2018          Sheet 7 of 14                US 10 ,117 ,226 B2




             UE                           eNB                              MCE

                                                                    41: Determine to
                                                                   Suspend or resume a
                                                                        service A
                                                 42 : MBMS scheduling
                                                 information ("MCCH .
                                                  updated modification
                                                        period " )

                        43 : Update an MCCH message in an MCCH
                         modification period corresponding to the
                      parameter "MCCH updated modification period "

                          44 : Start froin a certain time in the MCCH
                      modification period when the MCCH message is
                        updated , determine a first scheduling period of
                       the MCH that bears the MBMS service data as a
                      scheduling period of suspending or resuming the
                                    MBMS service data



                  45 : Suspend or resume
                   sending theMBMS
                    service data of the          MBMS service data of the service A
                     service A in the
                    scheduling period
                  determined in step 44



                                                  FIG . 4
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 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page228 of 26
                                                            11 of 312PageID
                                                                      PageID#:#:125
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          atent                                     Oct. 30 , 2018                                          Sheet 8 of 14                  US 10 ,117 ,226 B2



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                                             06/21/19 Page
                                                       Page229 of 26
                                                            12 of 312PageID
                                                                      PageID#:#:126
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   U.S. Patent
          atent                                        Oct. 30 , 2018                                                Sheet 9 of 14                                US 10 ,117 ,226 B2


                                                          3
                                                          Time
                                                                                                                                      MCH 3




                                                                               ofMpScehCrduilHondg   )
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                                                                                                     2
                                                                                                                                      MCH 2 .

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                                     pr|MeCrpieoaHdt                                                                                  MCH 3

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                                             06/21/19 Page
                                                       Page230 of 26
                                                            13 of 312PageID
                                                                      PageID#:#:127
                                                                                 837


          atent                              Oct. 30 , 2018                                                Sheet 10 of 14             US 10 ,117 ,226 B2




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                                                                                                                   MCH 2

                                                                                                pofScehrdiulondg   MCH 1
                                                                                                             MCHIMCH
                                                                                                             of
                                                                                                             ) MCH 3
                                                                                                             time
                                                                                                             (
                                                                                                             1

                                                                                                                   MCH 2
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page231 of 26
                                                            14 of 312PageID
                                                                      PageID#:#:128
                                                                                 838


  U . S . Patent              Oct. 30, 2018        Sheet 11 of 14                                             US 10, 117,226 B2



            UE                           eNB                                                            MCE                                  GW

                                                                        81 : Determine to
                                                                       suspend or resuine a
                                                                             service A
                                                                  playboyyayyydydydydydydydydydydydyd         dydydydydydydydydydydydydydd


                                               82 : MBMS scheduling
                                                information ("MCCH
                                                updated modification
                                                      period" )
                        83 : Update an MCCH message in an MCCH
                         modification period corresponding to the
                      parameter "MCCH updatedmodification period "

                         84 : Start from a start time of an NhMCCH
                     modification period after the MCCH modification
            he           period when the MCCH message is updated ,
                       determine a first scheduling period of the MCH
                      that bears the MBMS service data as a scheduling
                        period of suspending or resuming the MBMS
                          service data , where N represents an MCCH
                        modification period deviation value and is an
             e                  integer greater than or equal to 1



             he   85 : Suspend or resume
                   sending the MBMS
                   service data of the         MBMS service data of the service A
                     service A in the                              + + + + + + . . . . .


                    scheduling period
                  deterinined in step 84


                                                FIG . 8
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page232 of 26
                                                            15 of 312PageID
                                                                      PageID#:#:129
                                                                                 839


          atent                                             Oct. 30 , 2018                                    Sheet 12 of 14                   US 10 ,117 ,226 B2


                                                                                                                                       MCH 3
                                                  period                        pScehrdiulondg
                                                                                             2
                                                                                             MCH
                                                                                             of
                                                                                                                                       MCH 2
                                                                                                                                       MCH 1
                                                                                                                                       MCH 3
                                                                                                                                                  sCom nchedulingperiod
                                        rMC H ep atperiod ofpScehrdiulondg                                      SpcofherduilondgMCH1
             MNCexHt   pmoedirfcaotdn                                    )
                                                                         time
                                                                         (
                                                                         3
                                                                         MCH                                                           MCH 2
                                                                                                                                       MCH 1
                                                                                                                                       MCH 3
                                                           period               ofpScehrduiloMCH2(time2kndg                            MCH 2
                                                                                                                                       MCH 1


                                        MC H rep atperiod                                                      Spcherduilondg
                                                                                                                           )
                                                                                                                           time
                                                                                                                           (
                                                                                                                           1
                                                                                                                           MCH
                                                                                                                           of
                                                                                                                                       MCH 3
                                                                                                                                       MCH 2
                                                                                                                                       MCHI
                                                                                                                                                              9
                                                                                                                                                              .
                                                                                                                                                              FIG


                                                               period
                                                                period
            wpmModeihCfrceatoinHdisumanMpeCdsategHd MC H repeatperiod
                                                               period
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 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
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                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page233 of 26
                                                            16 of 312PageID
                                                                      PageID#:#:130
                                                                                 840


  U . S . Patent                      Oct. 30, 2018                                                 Sheet 13 of 14                                  US 10, 117,226 B2




                                                               NB                                                                  MCE                                  GW
                                             ?????????????????????????????????????????????????
                                                                                                              ???????????????????????????????????????????????????????



                                                                                                                     101: Determine to
                                                                                                                    suspend or resume a
                                                                                                                         service A

                                                                                                 102 : MBMS scheduling
                                                                                                 information (" MCCH
                                                                                                 updated modification
                                                                                                       period" )

                                 103 : Update an MCCH message in an MCCH
                                   modification period corresponding to the
                                parameter "MCCH updated modification period "




             izsnervytkm
             s
                                   104 : Start from a start time indicated by a
                               network side device , determine a first scheduling
                               period of the MCH that bears theMBMS service
                                 data as a scheduling period of suspending or
                                       resuming the MBMS service data



                           105 : Suspend or resume
                             sending the MBMS
                              service data of the
                               service A in the
                              scheduling period
                                                                                                 MBMS service data of the service A




             várizsnm      determined in step 104


                                                                                                  FIG . 10
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page234 of 26
                                                            17 of 312PageID
                                                                      PageID#:#:131
                                                                                 841


          atent            Oct. 30 , 2018            Sheet 14 of 14            US 10 ,117 ,226 B2




                         pm 113


           Acquisition module               Scheduling period            Transmission control
                                        determining module                     module

                                                  FIG . 11

                                            1 1                               122


                       Generating inodule                    Sending module

                                                  FIG . 12
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page235 of 26
                                                            18 of 312PageID
                                                                      PageID#:#:132
                                                                                 842


                                                    US 10 ,117 ,226 B2
      METHOD , APPARATUS, AND SYSTEM FOR                            so as to achieve the purpose of saving the air interface
              TRANSMISSION CONTROL OF                               resource and reducing the power consumption of the eNB .
       MULTIMEDIA BROADCAST MULTICAST                               The service suspension is temporary ; and when the condi
                       SERVICE DATA                                 tions needed for implementing the communication control
                                                                 5 are not satisfied , the sending of the MBMS service data of
             CROSS -REFERENCE TO RELATED                            the suspended services needs to be resumed . The service
                         APPLICATIONS                                 suspension and the service resumption are performed in a
                                                                      range of a multimedia broadcast multicast service single
    This application is a continuation of U .S . application Ser. frequency network area (MBSFN Area , abbreviated as
  No. 14 / 175 ,303 filed on Feb . 7, 2014 , which is a continua - 10 MBSFA ), and generally , one service may be transmitted in
  tion of International Application No. PCT/CN2012 /079808,      multiple MBSFA ranges . Therefore , the data source gener
  filed on Aug. 8 , 2012 , which claims priority to Chinese       ally continues sending the MBMS service data of this
  Patent Application No. 201110226133 . 7 , filed on Aug . 8,    service for the usage of an MBSFA whose service is not
  2011 , both of which are hereby incorporated by reference in    suspended .
  their entireties .                                           15 The control signaling of the MBMS service data , that is,
                                                                  a multicast control channel (MCCH ) message , is sent cycli
                      TECHNICAL FIELD                            cally , and the MCE can only modify the MCCH message at
                                                                    some predefined time points , where a time interval between
     Embodiments of the present invention relate to commu-          two time points when the MCCH message may be modified
  nication technologies, and in particular, to a method , an 20 is referred to as an MCCH modification period , and each
  apparatus , and a system for transmission control of multi        eNB in the same MBSFA range uses the same MCCH
  media broadcast multicast service data .                         modification period number. When the MCE determines that
                                                                    a certain service needs to be suspended or resumed in a
                       BACKGROUND                                   certain MBSFA range , the MCE firstly informs all the eNBs
                                                                 25 in the MBSFA range , and updates the MCCH message from
     An MBMS mainly indicates that a network sidemay send           a certain MCCH modification period , thereby ensuring that
  multimedia service data with the same content at the same         all the eNBs in the same MBSFA range synchronously
  time to multiple terminals (also referred to as user equip -      update the MCCH message. However, the prior art does not
  ment, abbreviated as UE ), so that an air interface resource provide a corresponding solution for how the eNB in the
  can be effectively saved , and a utilization ratio of the 30 sameMBSFA range realizes suspension or resumption con
  resource can be improved. A process of a control plane needs      trol of the MBMS service data.
  to be performed before MBMS service data in a long term
  evolution (LTE ) communication system starts to be sent, so                       SUMMARY
  as to establish a bearer and allocate the air interface
  resource . In the process of the control plane, a data source 35 The embodiments of the present invention provide a
  triggers a control signaling along a gateway, a mobility method , an apparatus , and a system for transmission control
  management entity (MME ), a multi -cell/multicast coordina -      of multimedia broadcast multicast service data , so as to
  tion entity (MCE ), and a base station (E -UTRAN NodeB ,          realize transmission control of the multimedia broadcast
  abbreviated as eNB ). Specifically , the data source sequen - multicast service data .
  tially informs the gateway about information such as char - 40 In one aspect, an embodiment of the present invention
  acteristics of the service , requested resource , and expected provides a transmission control method for multimedia
  areas to be sent to ; the gateway assigns corresponding IP     broadcast multicast service data , including: according to a
  multicast addresses and transmits to theMME and the MCE ;         reference time, determining a scheduling period of suspend
  theMCE allocates an air interface transmission resource and       ing or resuming sending multimedia broadcast multicast
  informs each eNB ; and the eNB joins a corresponding IP 45 service data ; and suspending or resuming sending the mul
  multicast group according to the IP multicast addresses    timedia broadcast multicast service data in the determined
  assigned by the gateway, and according to the air interface       scheduling period .
  resource information allocated by the MCE , updates a              In another aspect, an embodiment of the present invention
  reserved sub - frame which is used for the MBMS transmis -      further provides another transmission control method for
  sion . After the process of the control plane ends, the MBMS 50 multimedia broadcast multicast service data , including : gen
  service data which is of a user plane and is sent out by the      erating indication information including a reference time;
  data source flows through the gateway , and arrives at each       and sending the indication information to each base station
  eNB in the IP multicast group in a manner of IP multicast,        in the same multimedia broadcast multicast service single
  and then is transmitted to the terminals by the eNB through    frequency network area range , so as to instruct the base
  the air interface .                                         55 station to determine, according to the reference time, a
     In the LTE , the sending of the MBMS service data follows      scheduling period of suspending or resuming sending the
  a transmission mode of multimedia broadcast multicast             multimedia broadcast multicast service data .
  service single frequency network (MBSFN ) , that is to say,         In another aspect, an embodiment of the present invention
  multiple eNBs in a certain area need to send the completely       provides a base station , including: a scheduling period
  sameMBMS service data in the same sub - frame, in this way, 60 determining module , configured to : according to a reference
  after the MBMS service data sent by the eNBs arrived at the       time, determine a scheduling period of suspending or resum
  terminals, the terminals cannot distinguish which eNB sends       ing sending multimedia broadcast multicast service data ;
  the signal, and the signals sent by the multiple eNBsmay be       and a transmission controlmodule , configured to suspend or
  superimposed and enhanced at the UE, thereby reducing a           resume sending the MBMS service data in the determined
  packet error ratio . The MCE suspends some services accord - 65 scheduling period .
  ing to actual control needs of communication , that is ,            In another aspect, an embodiment of the present invention
  interrupts sending the MBMS service data of these services,       further provides a network device , including : a generating
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page236 of 26
                                                            19 of 312PageID
                                                                      PageID#:#:133
                                                                                 843


                                                      US 10 , 117 ,226 B2
  module configured to generate indication information                    FIG . 6 is a second optional implementation manner
  including a reference time; and a sending module configured          example of determining a time of transmission control of
  to send the indication information to each base station in the       MBMS service data according to a third embodiment of the
  same multimedia broadcast multicast service single fre -             present invention ;
  quency network area range , so as to instruct the base station 5 FIG . 7 is a third optional implementation manner example
  to determine , according to the reference time, a scheduling of determining a time of transmission control of MBMS
  period of suspending or resuming sending the multimedia service data according to a third embodiment of the present
  broadcast multicast service data .                              invention;
     In another aspect, an embodiment of the present invention . FIG . 8 is a signaling interaction diagram of a transmission
  further provides a communication system , including the controlmethod for MBMS service data according to a fourth
  foregoing base station and the foregoing network device .            embodiment of the present invention ;
     In the method , the apparatus, and the system for trans -           FIG . 9 is an optional implementation manner example of
  mission control of multimedia broadcast multicast service            determining a time of transmission control of MBMS ser
  data provided in the embodiments of the present invention , 16 vice data according to a fourth embodiment of the present
  according to the pre -acquired reference time,the base station       invention ;
  determines the scheduling period of starting suspending or             FIG . 10 is a signaling interaction diagram of a transmis
  resuming sending the MBMS service data , and suspends or            sion control method for MBMS service data according to a
  resumes sending the MBMS service data in the determined fifth embodiment of the present invention ;
  scheduling period , so as to realize the transmission control 20 FIG . 11 is a schematic structural diagram of a base station
  of the MBMS service data by the base station . Through the           according to a sixth embodiment of the present invention ;
  embodiments of the present invention , it facilitates each           and
  base station in the same MBSFA range synchronously                      FIG . 12 is a schematic structural diagram of a network
  suspending or resuming sending the MBMS service data of device according to a seventh embodiment of the present
  the same service , thereby facilitating reducing interferences 25 invention .
  in the service .
                                                                             DETAILED DESCRIPTION OF ILLUSTRATIVE
        BRIEF DESCRIPTION OF THE DRAWINGS                                               EMBODIMENTS
     To illustrate the technical solutions in the embodiments of 30       To make the objectives , technical solutions, and advan
  the present invention or in the prior art more clearly, the          tages of embodiments of the present invention clearer , the
  accompanying drawings required for describing the embodi-            technical solutions in the embodiments of the present inven
  ments or the prior art are briefly introduced in the following.      tion are clearly and completely described in the following
  Apparently , the accompanying drawings in the following              with reference to the accompanying drawings in the embodi
  description are merely some embodiments of the present 35 ments of the present invention . Apparently , the embodiments
  invention , and persons of ordinary skill in the art can further in the following description are merely a part of rather than
  derive other drawings according to these drawings without            all the embodiments of the present invention . All other
  making creative efforts.                                             embodiments acquired by persons skilled in the art based on
     FIG . 1 is a flow chart of a transmission controlmethod for       the embodiments of the present invention without making
  MBMS service data according to a first embodiment of the 40 creative efforts shall fall within the protection scope of the
  present invention ;                                         present invention .
     FIG . 2 is a flow chartof a transmission controlmethod for           The sequence numbers of the following embodiments of
  MBMS service data according to a second embodiment of  the present invention are only for description , and do not
  the present invention ;                                represent the embodiments are good or bad .
     FIG . 3a is a schematic diagram of mapping MBMS 45 FIG . 1 is a flow chart of a transmission controlmethod for
  service data to MCH scheduling periods according to an MBMS service data according to a first embodiment of the
  embodiment of the present invention ;                  present invention . The implementation subject of this
     FIG . 3b is a schematic diagram of mapping MBMS                   embodiment may be a base station such as an eNB . As
  service data to MBSFN sub - frames in MCH scheduling         shown in FIG . 1 , the transmission control method for
  periods according to an embodiment of the present inven - 50 MBMS service data according to this embodiment includes :
  tion ;                                                         Step 11 : According to a reference time, determine a
    FIG . 3c is a schematic diagram of an MCCH modification            scheduling period of suspending or resuming sending the
  period when an MCCH message is updated according to an               MBMS service data .
  embodiment of the present invention;                                    The base station acquires the reference timebefore deter
     FIG . 3d is a scenario example of suspending sending 55 mining the scheduling period of suspending or resuming
  MBMS service data according to an embodiment of the                  sending the MBMS service data . The reference timemay be
  present invention ;                                                  directly indicated by a network side device such as an MCE .
     FIG . 3e is a scenario example ofbringing in interferences        Or, the reference time may be indirectly indicated by a
  in resuming sending MBMS service data according to an                network side device such as an MCE, for example , the MCE
  embodiment of the present invention ;                             60 instructs the base station to update an MCCH modification
     FIG . 4 is a signaling interaction diagram of a transmission      period of an MCCH message , and the base station deter
  control method for MBMS service data according to a third            mines the reference time based on the MCCH modification
  embodiment of the present invention;                                 period . After the base station acquires the reference time, the
     FIG . 5 is a first optional implementation manner example base station determines a certain scheduling period starting
  of determining a time of transmission control of MBMS 65 from the reference time and backwards along the time axis ,
  service data according to a third embodiment of the present and this scheduling period is taken as the scheduling period
  invention ;                                                  of suspending or resuming sending the MBMS service data .
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page237 of 26
                                                            20 of 312PageID
                                                                      PageID#:#:134
                                                                                 844


                                                      US 10 ,117 ,226 B2
     For example, the base station may start from the reference         For example, the reference time may be an MCCH
  time and search backwards for an Mth scheduling period of          modification period deviation value N , and N is an integer
  a multicast channel (MCH ) that bears the MBMS service              greater than or equal to 1, and then , each base station in the
  data , where M is an integer greater than or equal to 1 ; and      same MBSFA range may determine , the Mth scheduling
  determine the found scheduling period as the scheduling 5 period of the multicast channel that bears the multimedia
  period of suspending or resuming the MBMS service data .  broadcast multicast service data after a start time of an Nth
  M may be a certain predetermined value , for example, a            multicast control channelmodification period after the mul
  communication protocol predetermines M = 1 ; or, M may be          ticast control channel modification period of updating the
  a certain preconfigured value , for example , a network man -      multicast control channel message , as the scheduling period
  agement system configures the same M value for each base 10 of suspending or resuming sending themultimedia broadcast
  station in the samemultimedia broadcast multicast service          multicast service data , where M is an integer greater than or
  single frequency network area (MBSFA ) in advance , for            equal to 1 .
  example , configures M to 1 .                                In the transmission control method for MBMS service
     Step 12 : Suspend or resume sending the MBMS service    data according to this embodiment, the network device
  data in the determined scheduling period.               15 indicates the reference time for determining the scheduling
     In the transmission controlmethod for the MBMS service          period of suspending or resuming sending the MBMS ser
  data according to the embodiment, the base station deter           vice data of a certain service for each base station in the
  mines, according to the pre -acquired reference time, the same MBSFA , and therefore, each base station in the same
  scheduling period of suspending or resuming sending the MBSFA may determine , according to the reference time, the
  MBMS service data , and suspends or resumes sending the 20 same scheduling period of suspending or resuming sending
  MBMS service data in the determined scheduling period , so  the MBMS service data of this service , and synchronously
  as to realize transmission control of the MBMS service data suspending or resuming sending the MBMS service data of
  by the base station . Since each base station in the same the same service by these base stations is realized , thereby
  MBSFA may adopt the same method provided in the             facilitating reducing interferences in the service .
  embodiment of the present invention to determine the same 25 In the following, a transmission principle of the MBMS
  scheduling period of suspending or resuming sending the            service data is described in detail with reference to FIG . 3a
  MBMS service data of a certain service , synchronously             to FIG . 3e , possible reasons of generating interferences in
  suspending or resuming sending the MBMS service data of            the service in a LTE system are analyzed , and the technical
  the same service by these base stations can be realized ,       essence of reducing the interferences in the service by using
  thereby facilitating reducing interferences in the service . 30 the technical solutions provided in the embodiments of the
    FIG . 2 is a flow chart of a transmission control method for     present invention is described .
  MBMS service data according to a second embodiment of                FIG . 3a is a schematic diagram of mapping MBMS
  the present invention . The implementation subject of this         service data to MCH scheduling periods according to an
  embodimentmay be a network side device relative to a base          embodiment of the present invention . In order to achieve the
  station , such as an MCE . As shown in FIG . 2 , the transmis - 35 purpose of sending by an MBSFN , MCHs of the service
  sion control method for MBMS service data according to             bearers may be predetermined , and each scheduling period
  this embodiment includes:                                       of each MCH includes one or more sub- frames that can be
     Step 21 : Generate indication information including a used for transmitting the MBMS service data , and this type
  reference time.                                                 of sub - frame is referred to as an MBSFN sub - frame. In FIG .
     The reference time is used for the base station to deter- 40 3a , three sub - frames are in each wireless frame and are used
  mine a scheduling period of suspending or resuming the             for MBSFN transmission , and are numbers 3 , 6 and 8
  MBMS service data , which may include , but is not limited         sub - frames, that is, the numbers 3 , 6 and 8 sub - frames are
  to : a start time designated by the network side device ; or, an MBSFN frames . It is assumed that the MCH shown in the
  MCCH modification period deviation value N , and N is an           FIG . 3a bears the MBMS service data of services A , B and
  integer greater than or equal to 1 .                            45 C . The scheduling periods of the MCH are numbered
      Step 22 : Send the indication information to each base         starting from a certain predetermined time according to the
  station in the same MBSFA range , so as to instruct the base       time order. The eNB maps each MBMS service data packet
  station to determine, according to the reference time, the to a corresponding scheduling period of the MCH according
  scheduling period of suspending or resuming sending the to a time stamp carried by each MBMS service data packet.
  MBMS service data .                                             50 For example , in FIG . 3a , number 360 and number 361
     Each base station in the sameMBSFA range receives the           MBMS service data packets of the service A and number 0
  indication information sent by the network side device such        and number 1 MBMS service data packets of the service B
  as the MCE , acquires the reference time included in the           are mapped to an Mth scheduling period of the MCH ;
  indication information , and according to the reference time,      number 2 and number 3 MBMS service data packets of the
  determines the scheduling period of suspending or resuming 55 service B and number 0 and number 1 MBMS service data
  sending the MBMS service data .                               packets of the service C are mapped to an ( M + 1 )th sched
     For example , the reference time may be the start time          uling period of the MCH , where M represents the number of
  designated by the network side device , for example , the start    the scheduling period of the MCH , and is an integer greater
  time designated by the MCE or an OAM (Operations, than or equal to 1 .
  Administration and Maintenance ), and then , each base sta - 60 FIG . 3b is a schematic diagram of mapping MBMS
  tion in the sameMBSFA rangemay determine, according to             service data to MBSFN sub- frames in MCH scheduling
  the start time indicated by the network side device, an Mth        periods according to an embodiment of the present inven
  scheduling period of the MCH that bears the MBMS service           tion . In one scheduling period of the MCH , the MBMS
  data after the start time indicated by the network side device ,    service data of each service is sequentially arranged into
  as the scheduling period of suspending or resuming sending 65 each MBSFN sub - frame, firstly arranged according to the
  the MBMS service data, and M is an integer greater than or         service , and this service sequence may be determined by the
  equal to 1.                                                        MCE and indicated to the eNB ; the MBMS service data of
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page238 of 26
                                                            21 of 312PageID
                                                                      PageID#:#:135
                                                                                 845


                                                     US 10 ,117 ,226 B2
  the same service is arranged sequentially. If the service uses the sameMCCH modification period number. When the
  sequence is A , B and C , the specific transmission in the MCE determines that a certain service needs to be sus
  foregoing example is shown in FIG . 3b . Specifically, the pended or resumed in a certain MBSFA , the MCE firstly
  number 360 MBMS service data packet of the service A is instructs all the eNBs in the MBSFA to update the MCCH
  mapped to the number 3 sub - frame; if the number 3 sub - 5 message from a certain MCCH modification period. All the
  frame still has a remaining resource , the number 361 MBMS eNBs in the sameMBSFA range update the MCCH message
  service data packet is continuously mapped to the number 3        in the sameMCCH modification period , so as to ensure that
  sub - frame; and the remaining content after the number 361      the service information indicated in the MCCH message is
  MBMS service data packet being mapped to the number 3             consistent with the MBMS data that is actually transmitted
  sub- frame is mapped to the number 6 sub - frame, and so on . 10 by the air interface .
  If the MBSFN sub - frame resource included in the current           Although each eNB in the same MBSFA synchronously
  scheduling period of the MCH are exhausted , but the trans       updates the MCCH message in the same MCCH modifica
  mission of the MBMS service data packet of a certain
  number is still not completed , the eNB discards the service tion period, the prior art does not have a unified method used
                                                                   for determining the time of transmission control for the
  data that is not transmitted in the current scheduling period 15 lor
  which  is of the MCH   and  is the MBMS   service data packet.   corresponding MBMS service data , so that the eNB usually
     In the MBMS system , the MCE may suspend certain              randomly determines the time of transmission control for the
  services according to actual needs of communication , so as      corresponding MBMS service data, and as a result, inter
  to achieve the purpose of saving an air interface resource and    ferences in the service may be caused . The details are
  reducing the power consumption of the eNB . For example , 20 described with examples as follows:
  the MCE instructs each eNB to make statistics of the               FIG . 3d is a scenario example of suspending sending
  quantity of receivers of the MBMS service data of a certain MBMS service data according to an application scenario
  service ; if the quantity of the receivers is very few , the MCE according to an embodiment of the present invention . It is
  may suspend the service. For example , when transmitting     assumed that the MCE determines to suspend a service A in
  the MBMS service data of a service with a higher priority 25 the MBSFA 2 range , and then the MCE indicates all the
  starts, if theMCE finds that the current air interface resource   eNBs, such as eNB 21 and eNB 22, in the MBSFA 2 range.
  is insufficient, in this case , the MCE may suspend some          Specifically, as shown in FIG . 3d , the MCE instructs all the
  services with low priorities .                                    eNBs, such as eNB 21 and eNB 22 , in the MBSFA 2 range
    The service suspension is usually temporary , and the to start updating the MCCH message at the start time of the
  suspended services need to be resumed after a period of 30 number 81 MCCH modification period: delete correspond
  time. For example , after suspending a certain service for a ing control information of the service A from the original
  period of time, the MCE may instruct the eNB to make              MCCH message . The eNB 21 and eNB 22 synchronously
  statistics of the quantity of receivers of the MBMS service       update the MCCH message , but may start suspending send
  data of this service again , and if the quantity of the receivers ing data packets of the service A in different scheduling
  rises, the MCE may determine to allow the eNB to resume 35 periods.
  sending the MBMS service data of this service through the           FIG . 3e is a scenario example of bringing in interferences
  air interface. For example, when transmitting the MBMS            by resuming sending MBMS service data according to an
  service data of one or more other services, except the            application scenario of an embodiment of the present inven
  suspended services, ends, and a part of the air interface         tion. If the MCE determines to resume the service A in the
  resource is empty , the MCE may instruct the eNB to resume 40 MBSFA 2 range , the MCE instructs all the eNBs , such as the
  sending the MBMS service data of the service .                eNB 21 and eNB 22 , in the MBSFA 2 range to start updating
     Since a terminal determines, according to a control sig    the MCCH message at the start time of the MCCH modi
  naling of the MBMS service , that is , an MCCH message , to fication period with the same number. The eNB 21 and NB
  receive the MBMS service data , the service information   22 synchronously update the MCCH message, but may start
  indicated by the MCCH message should correspond to the 45 resuming sending the MBMS service data of the service in
  MBMS service data that is actually sent. When the MCE             different scheduling periods. For example, if the eNB 21
  determines to suspend or resume sending the MBMS service          randomly determines to resume sending the data packet of
  data of a certain service , based on the current updating the service A in an Mth scheduling period of the MCH , the
  mechanism of the MCCH message , it is ensured that each      MBMS service data sent by the eNB 21 in the Mth sched
  eNB synchronously updates the MCCH messages . Specifi- 50 uling period of the MCH is that: the number 360 and number
  cally , the MCCH message is sent cyclically, the MCE can     361 data packets of the service A , and the number 0 and
  only update the MCCH message at some predefined time number 1 data packets of the service B ; if the eNB 22
  points , and a time interval between two timepoints when the randomly determines to resume sending the MBMS data of
  MCCH message is possibly updated is referred to as an        the service in an (M + 1 )th scheduling period of the MCH , the
  MCCH modification period . Each MCCH modification 55 MBMS data sent by the eNB 22 in the (M + 1 ) th scheduling
  period may include multiple MCCH repeat periods, as               period of the MCH is that: the number 0 and number 1 data
  shown in FIG . 3c , each MCCH modification period may             packets of the service B . It can be seen that, in the Mth
  include four MCCH repeat periods. The eNB sends an                scheduling period of the MCH , the data packets sent by the
  MCCH message in each of the four MCCH repeat periods ,     NB 21 and the eNB 22 through the air interface are
  and the contents of the MCCH messages sent in the four 60 different. Since the MBSFN transmission mode must ensure
  MCCH repeat periods are the same; the eNB can merely              that all the eNB in the sameMBSFA range transmit the same
  modify the content of the MCCH message , that is , update the     content, and the eNB 21 and the eNB 22 send different
  MCCH message , at a start time of a next MCCH modifica -          MBMS service data on the air interface , interferences in the
  tion period . Each MCCH modification period in the LTE is         services are caused . Similarly , when the MBMS service is
  numbered , and each eNB in the MBSFN numbers the 65 suspended , when different eNBs in the same MBSFA range
  MCCH modification period all at the same start point, so that     start suspending sending the MBMS service data of the
  at the same moment, each eNB in the same MBSFA range              service in different scheduling periods, each eNB is caused
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page239 of 26
                                                            22 of 312PageID
                                                                      PageID#:#:136
                                                                                 846


                                                      US 10 ,117 , 226 B2
                                                                                                10
  to send different contents on the air interface in the same       starting suspending or resuming the corresponding MBMS
  scheduling period , and interferences in the service may also     service data are described in detail. For the ease of descrip
  be caused .                                                       tion , merely three MCHs, that is , an MCH 1, an MCH 2 , and
     In the transmission control method for the MBMS data           an MCH 3 , are used as examples in FIG . 5 to FIG . 7 for
  provided in this embodiment, according to the pre -acquired 5 description; and the examples should not be construed as a
  reference time, the eNB determines the time of the trans limitation to the essence of the technical solutions of the
  mission control for the MBMS service data . Each eNB in the present invention .
  same MBSFA range uses the same method , and the deter            Implementation manner 1: From a start time of the
  mined time of the transmission control for the MBMS MCCH modification period when the MCCH message is
  service data is the same, so that each eNB in the same 10
  MBSFA range can synchronously suspend or resume send updated          , search backwards for a first scheduling period of
   ing the same MBMS service data , thereby reducing inter the found that
                                                                the MCH        bears the MBMS service data ; and determine
                                                                           scheduling period as the scheduling period of
  ferences in the service.                                          suspending or resuming the MBMS service data ; and the
     FIG . 4 is a signaling interaction diagram of a transmission
  controlmethod for MBMS service data according to a third 15 details
                                                              de are shown in FIG . 5 .
  embodiment of the present invention . A reference time in      If the MCH that bears the MBMS service data of the
  this embodiment is : a certain time of an MCCH modification service A is predetermined to be the MCH 1 , the eNB, from
  period when an MCCH message is updated . As shown in              a start time of the MCCH modification period when the
  FIG . 4 , the method according to this embodiment includes : MCCH message is updated , searches backwards for a first
     Step 41: An MCE determines to suspend or resume the 20 scheduling period of the MCH 1, that is , corresponding to a
  service A , and generates MBMS scheduling information .           time 1 shown in FIG . 5 ; and determines the found first
     If the MCE determines to suspend a service A , the MCE  scheduling period of the MCH 1 as the scheduling period of
  deletes a control signaling of the service A from the MCCH suspending or resuming sending the MBMS service data of
  message , so as to update the MCCH message ; if the MCE    the service A .
  determines to resume the suspended service A , a control 25 If the MCH that bears the MBMS service data of the
  signaling of the service A is added into the MCCH message, service A is predetermined to be the MCH 2 , the eNB , from
  so as to update the MCCH message .                         a start time of the MCCH modification period when the
      The MCCH scheduling information includes : a parameter MCCH message is updated , searches backwards for a first
  " an MCCH updated modification period ” , used to indicate scheduling period of the MCH 2 , that is, corresponding to a
  theMCCH modification period when the MCCH message is 30 time 2 shown in FIG . 5 ; and determines the found first
  updated ; and the MCCH message includes a control signal-  scheduling period of theMCH 2 as the scheduling period of
  ing corresponding to the MBMS service data , such as              suspending or resuming sending the MBMS service data of
  information of suspending or resuming the MBMS service .          the service A .
    Step 42: The MCE sends the MBMS scheduling infor -                 If the MCH that bears the MBMS service data of the
  mation to an eNB , where the MBMS scheduling information 35 service A is predetermined to be the MCH 3 , the eNB , from
  includes the parameter “MCCH updated modification           a start time of the MCCH modification period when the
  period ” .                                                  MCCH message is updated , searches backwards for a first
     Step 43 : The eNB receives the MBMS scheduling infor- scheduling period of the MCH 3 , that is , corresponding to a
  mation , and updates the MCCH message in the MCCH           time 3 shown in FIG . 5 ; and determines the found first
  modification period corresponding to the parameter “MCCH 40 scheduling period of theMCH 3 as the scheduling period of
   updated modification period ” that is included in the MBMS suspending or resuming sending the MBMS service data of
   scheduling information .                                   the service A .
      The eNB receives an MCCH message in the MCCH             I mplementation manner 2: From a start time of transmit
  modification period corresponding to the parameter “ MCCH ting the MCCH message for the first time in the MCCH
  updated modification period ” , and compares the newly 45 modification period when the MCCH message is updated ,
  received MCCH message with an MCCH message stored by              search backwards for the first scheduling period of the MCH
  the eNB (referred to as: original MCCH message ). If the          thatbears the MBMS service data ; and determine the found
  newly received MCCH message is in lack of the control             scheduling period as the scheduling period of suspending or
  signaling of the service A relative to the original MCCH          resuming the MBMS service data .
  message , the eNB learns that the MCE suspends the service 50       Each MCCH modification period may include four
  A ; and if the newly received MCCH message is added with          MCCH repeat periods, and the contents of the MCCH
  the control signaling of the service A relative to the original   messages transmitted in different MCCH repeat periods are
  MCCH message , the eNB learns that the MCE resumes the            the same. TheMCCH messagemay be sent in the first or not
  service A .                                                       the first MBSFN sub - frame of each MCCH repeat period .
     Step 44 : The eNB determines , from a certain time of the 55 Each MCCH repeat period may include four common peri
  MCCH modification period when the MCCH message is                 ods, and each common period includes a resource block of
  updated , a first scheduling period of the MCH that bears the     the MCH 1 , the MCH 2 , and the MCH 3 .
  MBMS service data , as a scheduling period of suspending or         If the MCH that bears the MBMS service data of the
  resuming the MBMS service data .                              service A is predetermined to be the MCH 1 , the eNB , from
    In the LTE system , a corresponding relationship between 60 a time of transmitting the MCCH message in a first repeat
  the service and the MCH is determined in advance, a certain       period of the MCCH modification period when the MCCH
  service such as the MBMS data of the service A can merely message is updated , searches backwards for a first schedul
  be transmitted on the MCH corresponding to the service A . ing period of the MCH 1 , that is , corresponding to a time 1
  In the following, with reference to FIG . 5 to FIG . 8 , from shown in FIG . 6 ; and determines the found first scheduling
  different times of the MCCH modification period when the 65 period of the MCH 1 as the scheduling period of suspending
  MCCH message is updated optional, implementation man -        or resuming sending the MBMS service data of the service
  ners of the eNB for determining the scheduling period of          A.
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page240 of 26
                                                            23 of 312PageID
                                                                      PageID#:#:137
                                                                                 847


                                                     US 10 ,117 ,226 B2
                               11                                                                  12
       If the MCH that bears the MBMS service data of the             the corresponding IP multicast group again when the MCE
  service A is predetermined to be the MCH 2 , the eNB , from    instructs resuming the service A . In this way , the eNB does
  a time of transmitting the MCCH message in a first repeat not receive the data packets of the MBMS service in the
  period of the MCCH modification period when the MCCH           suspended period of this MBMS service . Or, the eNB may
  message is updated , searches backwards for a first schedul- 5 not exit the IP multicast group, in this way, the eNB does not
  ing period of the MCH 2 , that is, corresponding to a time 2 need to join the IP multicast group again when the MCE
  shown in FIG . 6 ; and determines the found first scheduling        instructs resuming the service A . If this method is adopted ,
  period of the MCH 2 as the scheduling period of suspending          the eNB continues receiving the MBMS data of the service
  or resuming sending the MBMS service data of the service            A in the suspended period of the service A , and eNB merely
  A.                                                               10 needs to discard the received MBMS data of the service A .
       If the MCH that bears the MBMS service data of the                In this embodiment, each eNB in the same MBSFA
  service A is predetermined to be theMCH 3 , the eNB , from         determines , according to the certain same time of theMCCH
  a time of transmitting the MCCH message in a first repeat          modification period when the MCCH message is updated ,
  period of the MCCH modification period when the MCCH                the same scheduling period of starting the transmission
  message is updated , searches backwards for a first schedul- 15 control of theMBMS service data , and suspends or resumes
  ing period of the MCH 3 , that is , corresponding to a time 3       sending the MBMS service data of the same service in the
  in FIG . 6 ; and determines the found first scheduling period       determined scheduling period , and therefore , it is realized
  of the MCH 3 as the scheduling period of suspending or              that the eNB synchronously suspends or resumes sending
  resuming sending the MBMS service data of the service A .           the MBMS service data of the same service , thereby reduc
    Implementation manner 3 : From a start time of a second 20 ing interferences in the service .
  MCCH repeat period in the MCCH modification period             FIG . 8 is a signaling interaction diagram of a transmission
  when the MCCH message is updated , search backwards for             controlmethod for MBMS service data according to a fourth
  a first scheduling period of the MCH that bears the MBMS    embodiment of the present invention . A reference time in
  service data ; and determine the found scheduling period as this embodiment is : a start time of an Nth MCCH modifi
  the scheduling period of suspending or resuming the MBMS 25 cation period after an MCCH modification period when an
  service data .                                                      MCCH message is updated , where N represents an MCCH
     Each MCCH modification period may include four                  modification period deviation value and is an integer greater
  MCCH repeat periods, and the contents of the MCCH                  than or equal to 1 . As shown in FIG . 8 , themethod according
  messages transmitted in differentMCCH repeat periods are           to this embodiment includes:
  the same.                                                        30 Step 81 : An MCE determines to suspend or resume the
       If the MCH that supports and bears the MBMS service            service A , and generates MBMS scheduling information .
  data of the service A is predetermined to be the MCH 1 , the          Step 82 : The MCE sends the MBMS scheduling infor
  eNB , from a start time of the second repeat period in the          mation to an eNB , where the MBMS scheduling information
  MCCH modification period when the MCCH message is                   includes a parameter “MCCH updated modification period” .
  updated , searches backwards for a first scheduling period of 35      Step 83 : The eNB receives theMBMS scheduling infor
  the MCH 1 , that is , corresponding to a time 1 shown in FIG .     mation , and updates the MCCH message in the MCCH
  7 ; and determines the found first scheduling period of the        modification period corresponding to the parameter “ MCCH
  MCH 1 as the scheduling period of suspending or resuming            updated modification period ” that is included in the MBMS
  sending the MBMS service data of the service A .                    scheduling information .
       If the MCH that bears the MBMS service data of the 40            Step 84 : The eNB , from a start time of an Nth MCCH
  service A is predetermined to be the MCH 2 , the eNB , from        modification after the MCCH modification period when the
  a start time of the second repeat period in the MCCH MCCH message is updated , determines , a first scheduling
  modification period when the MCCH message is updated , period of the MCH that bears the MBMS service data , as a
  searches backwards for a first scheduling period of the MCH       scheduling period of suspending or resuming the MBMS
  2 , that is , corresponding to a time 2 shown in FIG . 7 ; and 45 service data , where N represents the MCCH modification
  determines the found first scheduling period of the MCH 2 period deviation value and is an integer greater than or equal
  as the scheduling period of suspending or resuming sending        to 1 .
  the MBMS service data of the service A .                             The eNB pre -acquires the MCCH modification period
      If the MCH that bears the MBMS service data of the deviation value N when determining the scheduling period
  service A is predetermined to be the MCH 3 , the eNB , from 50 of starting suspending or resuming the MBMS service data .
  a start time of the second repeat period in the MCCH           The scheduling period deviation value N configured by each
  modification period when the MCCH message is updated , eNB in the same MBSFA range is the same.
  searches backwards for a first scheduling period of the MCH      Optionally, the MCCH modification period deviation
  3 , that is , corresponding to a time 3 shown in FIG . 7 ; and value N may be preconfigured on the eNB. Or, the MCCH
  determines the found first scheduling period of the MCH 3 55 modification period deviation value N may be indicated to
  as the scheduling period of suspending or resuming sending          the eNB by a network side device such as the MCE, and the
  the MBMS service data of the service A .                            specific manner of the network side device such as the MCE
     Step 45 : The eNB suspends or resumes sending the                indicating the MCCH modification period deviation value N
  MBMS service data of the service A in the scheduling period         to the eNB is not limited , for example , the MCCH modifi
  that is determined in step 44.                                   60 ?ation period deviation value N may be carried in the
     No matter whether the eNB suspends or resumes sending MBMS scheduling information described in the foregoing
  the MBMS service data of the service A to the UE in the         step 82 and is indicated to the eNB ; or, the MCCH modi
  scheduling period that is determined in step 44 , a data source fication period deviation value N may be carried in other M2
  continues to deliver the MBMS service data of the service       interface messages between the MCE and the eNB , except
  through a gateway (GW ). When the eNB suspends sending 65 the MBMS scheduling information , such as an initial con
  the MBMS service data of a certain service such as the          figuration message and an MBMS service start / end /update
  service A , the eNB may exit an IP multicast group , and join message .
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page241 of 26
                                                            24 of 312PageID
                                                                      PageID#:#:138
                                                                                 848


                                                      US 10 , 117 ,226 B2
                               13                                                                 14
     N = 1 is taken as an example for description :                  eNB may receive indication information including the ref
     If the MCH that bears the MBMS service data of the              erence time, where the reference timemay include the start
  service A is predetermined to be the MCH 1 , the eNB , from        time indicated by the network side device , such as the start
  a start time of a first MCCH modification period after the         time indicated by the MCE . According to the start time
  MCCH modification period when the MCCH message is 5 indicated by the network side device , such as the start time
  updated , searches backwards for a first scheduling period of indicated by the MCE , the eNB determines the scheduling
  theMCH 1 , that is , corresponding to a time 1 shown in FIG .      period of suspending or resuming the MBMS service data .
  9 ; and determines the found first scheduling period of the        The start timewhich is indicated by the network side device ,
  MCH 1 as the scheduling period of suspending or resuming           such as the MCE , and is acquired by each eNB in the same
  the MBMS service data of the service A .                      10   MBSFA range is the same.
     If the MCH that bears the MBMS service data of the                 The start time indicated by the network side device, such
  service A is predetermined to be the MCH 2 , the eNB , from        as the MCE , may be carried in the MBMS scheduling
  a start time of the first MCCH modification period after the       information described in the foregoing step 102 and is
  MCCH modification period when the MCCH message is                  indicated to the eNB ; or, the start time indicated by the
  updated , searches backwards for a first scheduling period of 15 network side device , such as the MCE , may be carried in
  the MCH 2 , that is , corresponding to a time 2 shown in FIG .   Other M2 interface messages between the MCE and the eNB ,
  9 ; and determines the found first scheduling period of the        except the MBMS scheduling information , such as an initial
  MCH 2 as the scheduling period of suspending or resuming configuration message and an MBMS service start/ end /
  the MBMS service data of the service A .                     update message .
     If the MCH that bears the MBMS service data of the 20 Step 105 : The eNB suspends or resumes sending the
  service A is predetermined to be the MCH 3 , the eNB , from MBMS service data of the service A in the scheduling period
  a start time of the first MCCH modification period after the that is determined in step 104 .
  MCCH modification period when the MCCH message is               In this embodiment, each eNB in the same MBSFA ,
  updated , searches backwards for a first scheduling period of according to the start time indicated by the network side
  the MCH 3 , that is , corresponding to a time 3 shown in FIG . 25 device , determines the same scheduling period of starting
  9 ; and determines the found first scheduling period of the the transmission control of the MBMS service data , and
  MCH 3 as the scheduling period of suspending or resuming          suspends or resumes sending the MBMS service data of the
  the MBMS service data of the service A .                          same service in the determined scheduling period , so that it
      The implementation manner when the MCCH modifica -            can be realized that the eNB synchronously suspends or
  tion period deviation value N is an integer greater than or 30 resumes sending the MBMS service data of the same
  equal to 2 is similar to the foregoing technical solutions         service , thereby reducing interferences in the service .
  when N = 1 , which is not repeatedly described here again .          FIG . 11 is a schematic structural diagram of a base station
    Step 85 : The eNB suspends or resumes sending the                according to a sixth embodiment of the present invention .
  MBMS service data of the service A in the scheduling period         The base station shown in FIG . 11 includes: a scheduling
  that is determined in step 84.                                 35 period determining module in and a transmission control
     In this embodiment, each eNB in the same MBSFA uses             module 112.
  the same reference time to determine the same scheduling              The scheduling period determining module 111 may be
  period of starting the transmission control of the MBMS            configured to : according to a reference time, determine a
  service data, and suspends or resumes sending the MBMS             scheduling period of suspending or resuming sending
  service data of the same service in the determined schedul- 40 MBMS service data .
  ing period , so that it can be realized that the eNB synchro          The transmission control module 112 may be configured
  nously suspends or resumes sending the MBMS service data           to suspend or resume sending the MBMS service data in the
  of the same service , thereby reducing interferences in the        determined scheduling period .
  service .                                                            Based on the foregoing technical solutions, optionally , the
    FIG . 10 is a signaling interaction diagram of a transmis - 45 scheduling period determining module 111 may be further
  sion controlmethod for MBMS service data according to a configured to : according to the reference time, determine , an
  fifth embodiment of the present invention . A reference time       Mth scheduling period of a multicast channel that bears the
  in this embodiment is : a start time indicated by a network        multimedia broadcast multicast service data after the refer
  side device . As shown in FIG . 10 , the method according to      ence time, as the scheduling period of suspending or resum
  this embodiment includes :                                     50 ing sending themultimedia broadcast multicast service data ;
     Step 101 : An MCE determines to suspend or resume a             and M is an integer greater than or equal to 1 .
  service A , and generates MBMS scheduling information .              Optionally, the reference time may include : a start time of
     Step 102: The MCE sends the MBMS scheduling infor-              the MCCH modification period when the MCCH message is
  mation to an eNB , where the MBMS scheduling information           updated . In this case , the scheduling period determining
  includes a parameter " MCCH updated modification period ” . 55 module 111 may be further configured to determine, from
     Step 103: The eNB receives the MBMS scheduling infor            the start time of the MCCH modification period when the
  mation , and updates an MCCH message in an MCCH                    MCCH message is updated , the Mth scheduling period of
  modification period corresponding to the parameter “ MCCH          the MCH that bears the MBMS service data , as the sched
  updated modification period” that is included in the MBMS          uling period of suspending or resuming the MBMS service
  scheduling information .                                  60       data . The MCCH message includes a control signaling
     Step 104 : The eNB determines, from the start time corresponding to the MBMS service data .
  indicated by the network side device, a first scheduling        Optionally, the reference time may include: a start timeof
  period of the MCH that bears the MBMS service data , as a transmitting the MCCH message for the first time in the
  scheduling period of suspending or resuming the MBMS MCCH modification period when the MCCH message is
  service data .                                             65 updated . In this case , the scheduling period determining
     Optionally, before determining the scheduling period of module 111 may be further configured to determine, from
  starting suspending or resuming the MBMS service data , the the start timeof transmitting the MCCH message for the first
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page242 of 26
                                                            25 of 312PageID
                                                                      PageID#:#:139
                                                                                 849


                                                     US 10 ,117,226 B2
                                 15                                                                16
  time in the MCCH modification period when the MCCH invention . The network shown in FIG . 12 includes: a gen
  message is updated, the Mth scheduling period of the MCH erating module 121 and a sending module 122 .
  that bears the MBMS service data , as the scheduling period           The generating module 121 may be configured to generate
  of suspending or resuming the MBMS service data .                 indication information including a reference time. The ref
     Optionally , the reference time may include: a start time of 5 erence time is used for the base station to determine the
  a second MCCH repeat period in the MCCH modification scheduling period of suspending or resuming the MBMS
  period when the MCCH message is updated . In this case, the service data , which may include, but is not limited to , a start
  scheduling period determining module 111 may be further station   time designated by a network side device , for the base
  configured to determine, from the start time of the second 10 the network to determine , according to the start time indicated by
  MCCH repeat period in the MCCH modification period ing or resuming               side device, the scheduling period of suspend
  when the MCCH message is updated , the Mth scheduling                                  sending multimedia broadcast multicast
  period of the MCH that bears the MBMS service data , as the service        data ; or, an MCCH modification period deviation
  scheduling period of suspending or resuming the MBMS value               N , for the base station to determine , according to a
                                                                    start time of an Nth multicast control channel modification
  service data .
     Optionally, the reference timemay include: a start timeof 15 when
                                                                    period after an multicast control channelmodification period
                                                                           a multicast control channel message is updated , the
  an Nth MCCH modification period after the MCCH modi scheduling period of suspending or resuming sending the
  fication period when the MCCH message is updated , where multimedia broadcast multicast service data , where N is an
  N represents an MCCH modification period deviation value integer greater than or equal to 1 . The sending module 122
  and is an integer greater than or equal to 1. In this case , the 20 may be configured to send the indication information to each
  scheduling period determining module 111 may be further            base station in the same multimedia broadcast multicast
  configured to determine, from the start time of the Nth            service single frequency network area range , so as to instruct
  MCCH modification period after the MCCH modification               the base station to determine, according to the reference
  period when the MCCH message is updated , the Mth             time, the scheduling period of suspending or resuming
  scheduling period of the MCH that bears the MBMS service 25 sending the multimedia broadcast multicast service data .
  data , as the scheduling period of suspending or resuming the    The network device provided in this embodiment indi
  MBMS service data . Further , the base station may also            cates the reference time for determining the scheduling
  include : an acquisition module 113 . The acquisition module       period of suspending or resuming sending the MBMS ser
  113 may be configured to preconfigure the MCCH modifi-             vice data of a certain service to each base station in the same
  cation period deviation value; or, to acquire the MCCH 30 MBSFA , so that each base station in the same MBSFA can
  modification period deviation value according to received determine, according to the reference time, the same sched
  indication information including the MCCH modification uling period of suspending or resuming sending the MBMS
  period deviation value .                                       service data of the service ; which realizes that these base
     Optionally, the reference timemay include: a start time stations synchronously suspend or resume sending the
  indicated by the network side device , such as a start time 35 MBMS service data of the same service , thereby facilitating
  indicated by the MCE. In this case , the base station may reducing interferences in the service . The network device
  further include: an acquisition module 113 . The acquisition      provided in this embodimentmay be, but is not limited to the
  module is configured to receive indication information            MCE , and as for its working principle , reference can be
  including the reference time; and the reference time includes made to the corresponding records of the corresponding
  the start time indicated by the network side device . The 40 embodiments in FIG . 2 and FIG . 4 to FIG . 10 , which is not
  scheduling period determining module 111 may be further repeatedly described here again .
  configured to determine, from the start time indicated by the   Further, an embodiment of the present invention further
  network side device , such as the MCE , the Mth scheduling         provides a communication system , and the communication
  period of the MCH that bears the MBMS service data , as the        system at least includes the base station as shown in FIG . 11
  scheduling period of suspending or resuming the MBMS 45 and the network device as shown in FIG . 12 , where the base
  service data ; and M is an integer greater than or equal to 1 .    station and the network device are in communication con
     According to the pre - acquired reference time, the base        nection . As for the working principle of the base station ,
  station provided in this embodiment may determine the              reference can be made to the corresponding records of the
  scheduling period of suspending or resuming sending the     corresponding embodiments in FIG . 1 and FIG . 4 to FIG . 10 ;
  MBMS service data , and suspends or resumes sending the 50 and as for the working principle of the network device ,
  MBMS service data in the determined scheduling period , so  reference can be made to the corresponding records of the
  as to realize transmission control of the MBMS service data corresponding embodiments in FIG . 2 and FIG . 4 to FIG . 10 ,
  by the base station . Since each base station in the same          which is not repeatedly described here again .
  MBSFA may use the samemethod provided in the embodi-                  It should be understood by persons of ordinary skill in the
  ment of the present invention to determine the same sched - 55 art that the accompanying drawings are merely schematic
  uling period of starting suspending or resuming sending the        diagramsof an embodiment, and modules or processes in the
  MBMS service data of a certain service , so that it can be         accompanying drawings are not necessarily required for
  realized that these base stations synchronously suspend or         implementing the present invention .
  resumesending the MBMS service data of the sameservice ,             Those of ordinary skill in the art should understand that
  thereby facilitating reducing interferences in the service. As 60 the modules in the apparatuses in the embodiments may be
  for the working principle of the base station provided in this     distributed in the apparatuses of the embodiments according
  embodiment, reference can be made to the corresponding             to the description of the embodiments, and may also be
  records of the corresponding embodiments in FIG . 1 and            allocated in one or multiple apparatuses which are different
   FIG . 4 to FIG . 10 , which is not repeatedly described here    from those described in the embodiments after correspond
  again .                                                       65 ing changes are performed . The modules in the foregoing
      FIG . 12 is a schematic structural diagram of a network      embodiments may be combined into one module , and may
  device according to a seventh embodiment of the present            also be further split into multiple submodules.
Case
 Case1:19-cv-01306-MN
      2:19-cv-00222-JRGDocument
                        Document16-3
                                  4-5 Filed
                                       Filed09/03/19
                                             06/21/19 Page
                                                       Page243 of 26
                                                            26 of 312PageID
                                                                      PageID#:#:140
                                                                                 850


                                                      US 10 ,117 ,226 B2
                               17                                                                 18
     Finally it should be noted that the foregoing embodiments            multimedia broadcast multicast service single fre
  are merely intended for describing the technical solutions of            quency network (MBSFN ) area .
  the present invention other than limiting the present inven          7 . The base station according to claim 6 , wherein the
  tion . Although the present invention is described in detail scheduling period is an Mth scheduling period of a multicast
  with reference to the foregoing embodiments, persons of 5 channel that bears the multimedia broadcast multicast ser
  ordinary skill in the art should understand that they can still   vice data from a start time of the multicast control channel
  makemodifications to the technical solutions recorded in the      modification period when the multicast control channel is
  foregoing embodiments or make equivalent replacements to      updated, wherein M is an integer greater than or equal to 1 .
  some technical features in the technical solutions, and these    8 . The base station according to claim 7, wherein M is
  modifications or replacements do not make the essence of 1010 preconfigured
                                                                P 9 . The basebystation
                                                                                   a network management system .
                                                                                         according to claim 6 , wherein the
  the corresponding technical solutions depart from the spirit      scheduling period is a scheduling period within themulticast
  and scope of the technical solutions of the embodiments of        control channel modification period when the multicast
  the present invention .                                           control channel is updated .
    What is claimed is :                                               10 . The base station according to claim 6 ,
     1. A method for transmitting multimedia broadcast mul            wherein the receiver is further configured to receive from
  ticast service data , the method comprising:                           the MCE , an instruction instructing the base station to
     receiving, by a base station, from a multi- cell/multicast          determine a quantity of user equipment devices receiv
       coordination entity (MCE) , indication information                ing the multimedia broadcast multicast service data ,
       indicating a multicast control channel modification               wherein the quantity of user equipment devices is used
       period when a multicast control channel is updated ; and           for the MCE to determine the base station to resume
    sending , by the base station , multimedia broadcast mul             sending the multimedia broadcast multicast service
       ticast service data in a scheduling period determined             data ; and
       according to the indication information ,                      wherein the programming instructions is further config
    wherein the scheduling period is a same scheduling period             ured to notify to the MCE, the quantity of the user
       in which another base station resumes sending the                   equipment devices.
      multimedia broadcast multicast service data in a same            11 . A multi -cell/multicast coordination entity (MCE )
      multimedia broadcast multicast service single fre             comprising:
         quency network (MBSFN ) area .                                a processor ;
     2 . The method according to claim 1 , wherein the sched           a memory storing program instructions to be executed in
  uling period is an Mth scheduling period of a multicast »              the processor, the instructions configured to cause the
  channel that bears the multimedia broadcast multicast ser              processor to generate indication information indicating
  vice data from a start time of the multicast control channel            a multicast control channel modification period when a
  modification period when the multicast control channel is              multicast control channel is updated ; and
  updated ,wherein M is an integer greater than or equal to 1.         a transmitter configured to send the indication information
     3 . The method according to claim 2 , wherein M is                   to a base station in a multimedia broadcast multicast
  preconfigured by a network management system .                          service single frequency network (MBSFN ) area ,
     4 . The method according to claim 1, wherein the sched               wherein the indication information is used for the base
  uling period is a scheduling period within the multicast               station to determine a scheduling period of sending
  control channel modification period when the multicast 40              multimedia broadcast multicast service data ;
  control channel is updated .                                         wherein the scheduling period is a same scheduling period
    5 . The method according to claim 1 , further comprising:             in which another base station resumes sending the
    receiving , by the base station from the MCE , an instruc            multimedia broadcast multicast service data in the same
       tion instructing the base station to determine a quantity         MBSFN area .
                                                                12 . The MCE according to claim 11, wherein the sched
       of user equipment devices receiving the multimedia 45 uling
       broadcast multicast service data , wherein the quantity       period is an Mth scheduling period of a multicast
       of user equipment devices is used for the MCE to             channel that bears the multimedia broadcast multicast ser
       determine the base station to send the multimedia modificationvice data from a start time of the multicast control channel
      broadcast multicast service data ; and                                       period when the multicast control channel is
    notifying , by the base station to the MCE , the quantity of- 50 updated , wherein M is an integer greater than or equal to 1 .
                                                                        13 . The MCE according to claim 12 , wherein M is
      the user equipment devices .
    6 . A base station , comprising: a receiver, a processor and    preconfigured by a network management system .
  a memory ;                                                           14 . The MCE according to claim 11 , wherein the sched
    wherein the receiver is configured to receive from a uling period is a scheduling period within the multicast
      multi- cell/multicast coordination entity (MCE) indica control channel modification period when the multicast
      tion information indicating a multicast control channel155 control channel is updated .
                                                                   15 . The MCE according to claim 11 ,
      modification period when a multicast control channel is      wherein the transmitter is further configured to send an
       updated ;
    wherein thememory comprises programming instructions                  instruction instructing the base station to determine a
       to be executed in the processor, the programming 60so             quantity of user equipment devices receiving the mul
       instructions configured to :                                      timedia broadcast multicast service data ; and
       send multimedia broadcast multicast service data in a           wherein the instructions are further configured to cause
         scheduling period determined according to the indi              the processor to determine the base station to send the
         cation information;                                             multimedia broadcast multicast service data according
    wherein the scheduling period is a same scheduling period            to the quantity of user equipment devices received from
      in which another base station resumes sending the                  the base station .
      multimedia broadcast multicast service data in a same
Case 1:19-cv-01306-MN Document 16-3 Filed 09/03/19 Page 244 of 312 PageID #: 851




                  EXHIBIT 20
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 245
                                                           1 of of
                                                                68312 PageID
                                                                   PageID    #: 852
                                                                          #: 141




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


     HUAWEI DEVICE USA, INC., HUAWEI                )
     DEVICE CO., LTD., HUAWEI                       )
     TECHNOLOGIES USA INC., HUAWEI                  )   CIVIL ACTION NO. 2:19-cv-00222-JRG
     TECHNOLOGIES CO. LTD., AND                     )
     HUAWEI DEVICE (SHENZHEN) CO.,                  )   JURY TRIAL DEMANDED
     LTD.,                                          )
                                                    )
                     Plaintiffs,                    )
                                                    )
             v.                                     )
                                                    )
     HARRIS CORPORATION                             )
                                                    )
                      Defendant.                    )


           HARRIS CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES, AND
                   COUNTERCLAIMS TO HUAWEI’S COMPLAINT1


           Harris Corporation (“Harris”) hereby responds to Huawei Device USA, Inc. (“Huawei

 USA”), Huawei Device Co. Ltd. (“Huawei Device”), Huawei Technologies USA Inc. (“HTUS”),

 Huawei Technologies Co. Ltd. (“Huawei Technologies”), and Huawei Device (Shenzhen) Co.

 Ltd.’s (“Huawei Shenzhen”) (collectively, “Huawei”) Complaint (Dkt. 4) as follows:

                                          NATURE OF ACTION

                   To the extent a response to paragraph 1 is required, Harris admits that Huawei’s

     claims purport to seek the stated relief.




 1 Huawei’s Complaint here was originally filed as counterclaims numbered 15-19 in Case No.
 2:18-cv-00439-JRG, and was severed by the Court pursuant to Harris’s motion. See Dkt. Nos. 1-
 3. For simplicity, Harris will be referred to as Defendant and Huawei as Plaintiff here.
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 246
                                                           2 of of
                                                                68312 PageID
                                                                   PageID    #: 853
                                                                          #: 142



                                             PARTIES

                Harris, on information and belief, admits the allegations in paragraph 2.

                Harris is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in paragraph 3 and therefore denies the same.

                Harris is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in paragraph 4 and therefore denies the same.

                Harris is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in paragraph 5 and therefore denies the same.

                In response to paragraph 6, Harris admits that, on information and belief, Huawei

  Technologies is a member of ETSI and 3GPP. Harris is without knowledge or information

  sufficient to form a belief as to the truth of the remaining allegations in paragraph 6 and

  therefore denies the same.

                Harris is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in paragraph 7 and therefore denies the same.

                Admitted.

                                  JURISDICTION AND VENUE

                In response to paragraph 9, Harris admits that Huawei alleges claims that purport

  to invoke this Court’s subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338(a), 2201, and

  2202. Harris denies that Huawei is entitled to any relief. Except as expressly admitted, Harris

  denies the remaining allegations of paragraph 9.

                In response to paragraph 10, Harris responds that it will not challenge personal

  jurisdiction for purposes of this action only. Except as expressly admitted, Harris denies the

  remaining allegations of paragraph 10.



                                                  -2-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 247
                                                           3 of of
                                                                68312 PageID
                                                                   PageID    #: 854
                                                                          #: 143



                In response to paragraph 11, Harris responds that it will not challenge venue for

  purposes of this action only. Except as expressly admitted, Harris denies the remaining

  allegations of paragraph 11.

                                        HUAWEI PATENTS

                In response to paragraph 12, Harris admits that Exhibit 1 filed at Dkt. 4-1 purports

  to be a true and correct copy of United States Reissue Patent No. RE44,325 (“the ’325 Patent”),

  titled “Method of Providing a Remote Power Feed to a Terminal in a Local Area Network, and

  Corresponding Remote Power Feed Unit, Concentrator, Repeator, and Terminal.” Harris

  admits that the copy of the ’325 Patent attached as Exhibit 1 states on its face that it was issued

  by the USPTO on June 25, 2013. Harris is without knowledge or information sufficient to form

  a belief as to the truth of the remaining allegations of paragraph 12, and therefore denies the

  same.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent an answer is required, Harris denies the allegations of paragraph 13.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’325 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 14.

                In response to paragraph 15, Harris admits that Exhibit 2, filed at Dkt. 4-2,

  purports to be a true and correct copy of United States Patent No. 8,416,892 (“the ’892 Patent”),

  titled “Method and apparatus of transmitting a random access preamble.” Harris admits that the

  copy of the ’892 Patent attached as Exhibit 2 states on its face that it was issued by the USPTO



                                                  -3-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 248
                                                           4 of of
                                                                68312 PageID
                                                                   PageID    #: 855
                                                                          #: 144



  on April 9, 2013 and that Huawei Technologies was the original Assignee. Harris is without

  knowledge or information sufficient to form a belief as to the truth of the remaining allegations

  of paragraph 15, and therefore denies the same.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent an answer is required, Harris denies the allegations of paragraph 16.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’892 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 17.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’892 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 18.

                In response to paragraph 19, Harris admits that Exhibit 3, filed at Dkt. 4-3,

  purports to be a true and correct copy of United States Patent No. 8,798,575 (“the ’575 Patent”),

  titled “Method for improving service data flow based charging and system thereof.” Harris

  admits that the ’575 Patent attached as Exhibit 3 states on its face that it was issued by the

  USPTO on August 5, 2014 and that Huawei Technologies was the original assignee. Harris is

  without knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations of paragraph 19, and therefore denies the same.




                                                  -4-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 249
                                                           5 of of
                                                                68312 PageID
                                                                   PageID    #: 856
                                                                          #: 145



                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent an answer is required, Harris denies the allegations of paragraph 20.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’575 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 21.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’575 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 22.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’575 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 23.

                In response to paragraph 24, Harris responds that Exhibit 4, filed as Dkt. 4-4,

  purports to be a true and correct copy of United States Patent No. 9,838,851 (“the ’851 Patent”),

  titled “Subframe Processing Method and Device.” Harris admits that the ’851 Patent attached as

  Exhibit 4 states on its face that it was issued by the USPTO on December 5, 2017 and that

  Huawei Technologies was the original assignee. Harris is without knowledge or information




                                                  -5-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 250
                                                           6 of of
                                                                68312 PageID
                                                                   PageID    #: 857
                                                                          #: 146



  sufficient to form a belief as to the truth of the remaining allegations of paragraph 24, and

  therefore denies the same.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent an answer is required, Harris denies the allegations of paragraph 25.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’851 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 26.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’851 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 27.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’851 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 28.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’851 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do




                                                  -6-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 251
                                                           7 of of
                                                                68312 PageID
                                                                   PageID    #: 858
                                                                          #: 147



  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 29.

                In response to paragraph 30, Harris responds that Exhibit 5, filed at Dkt. 4-5,

  purports to be a true and correct copy of United States Patent No. 10,117,226 (“the ’226

  Patent”), titled “Method, Apparatus, and System for Transmission Control of Multimedia

  Broadcast Multicast Service Data.” Harris admits that the ’226 patent as attached at Exhibit

  5states on its face that it was issued by the USPTO on Oct. 30, 2018 and that the original

  assignee was Huawei Technologies. Harris is without knowledge or information sufficient to

  form a belief as to the truth of the remaining allegations of paragraph 24, and therefore denies

  the same.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent an answer is required, Harris denies the allegations of paragraph 31.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’226 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 32.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’226 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 33.




                                                  -7-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 252
                                                           8 of of
                                                                68312 PageID
                                                                   PageID    #: 859
                                                                          #: 148



                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’226 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 34.

                The allegations in this paragraph contain legal conclusions that require no answer.

  To the extent the allegations in this paragraph quote from the ’226 Patent, Harris responds that

  the patent is the best source of the full content and denies the allegations to the extent they do

  not accurately represent the patent’s full content and context. To the extent any further answer

  is required, Harris denies the allegations of paragraph 35.

                Harris denies that Huawei has offered a license to the Huawei Asserted Patents on

  fair, reasonable, and non-discriminatory terms. Harris admits that on December 5, 2018 and

  December 21, 2018, Huawei sent Harris’s licensing representative a presentation stating that

  Huawei had unidentified patents relating to LTE and Power over Ethernet and including no

  information about offered license terms. Harris admits that on December 21, 2018, Huawei

  identified certain Huawei patents to Harris’s licensing representative, including only one of the

  Huawei Asserted Patents. Harris admits that on March 31, 2019, Huawei sent a letter to Harris

  stating that a worldwide FRAND license would be available but included no information about

  offered license terms. Harris responded to the March 31, 2019 letter on April 3, 2019 in

  conjunction with communication about Harris’s patents and further stated a willingness to

  include discussion of Huawei’s patents in ongoing discussions. Harris further arranged a phone

  call with Huawei representatives and further responded on April 12, 2019 that Harris would

  provide more details concerning Huawei’s March 31, 2019 letter. On April 22, 2019, Harris



                                                  -8-
Case 1:19-cv-01306-MN
  Case                  Document
        2:19-cv-00222-JRG        16-35 Filed
                           Document    Filed 09/03/19
                                             06/25/19 Page
                                                      Page 253
                                                           9 of of
                                                                68312 PageID
                                                                   PageID    #: 860
                                                                          #: 149



  emailed Huawei to ask if they could set up a call that week. Huawei did not respond. Instead,

  Huawei asserted its counterclaims for infringement on April 26, 2019 despite Harris’s good

  faith responses and without having communicated specific offered license terms. To the extent

  not expressly admitted, Harris denies the allegations of paragraph 36.

          HARRIS’S ALLEGEDLY INFRINGING PRODUCTS AND ACTIVITIES

                Harris admits that it has produced for certain worldwide markets the Harris RF-

  7800W-IU200 Network Interface Unit, the Harris RF-7800W-PS104 Rugged Power Supply,

  and the Harris Falcon III RF-7850A-TM001 Roll-on/Roll-off Airborne System. Harris further

  responds that this paragraph contains legal conclusions that require no answer and/or language

  that is vague, ambiguous, undefined and/or susceptible to multiple different interpretations, and

  as a result, Harris is without knowledge or information sufficient to form a belief as to the truth

  of the remaining allegations in paragraph 37 and therefore denies the same.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains language that is vague, ambiguous,

  undefined and/or susceptible to multiple different interpretations, and as a result, Harris is

  without knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations in paragraph 38 and therefore denies the same.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains language that is vague, ambiguous,



                                                  -9-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 10
                                                         254ofof68312 PageID
                                                                   PageID #: #:
                                                                             150861




  undefined and/or susceptible to multiple different interpretations, and as a result, Harris is

  without knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations in paragraph 39 and therefore denies the same.

                 Harris is without knowledge or information sufficient to form a belief as to the

  truth of certain allegations in paragraph 40 and therefore denies the same. Harris further

  responds that this paragraph contains legal conclusions that require no answer and/or language

  that is vague, ambiguous, undefined and/or susceptible to multiple different interpretations, and

  as a result, Harris is without knowledge or information sufficient to form a belief as to the truth

  of the remaining allegations in paragraph 40 and therefore denies the same.

                Harris admits that it has produced for certain worldwide markets certain products

  that may, in certain configurations, communicate with an LTE communications network. Harris

  further responds that this paragraph contains legal conclusions that require no answer and/or

  language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 41 and therefore denies the same.

                Harris admits that it has produced for certain worldwide markets certain products

  that may, in certain configurations, communicate with an LTE communications network. Harris

  further responds that to the extent the allegations in this paragraph quote from or characterize

  the referenced documents, Harris responds that the documents are the best source of the full

  content and denies the allegations to the extent they do not accurately represent the documents’

  full content and context. This paragraph further contains legal conclusions that require no

  answer and/or language that is vague, ambiguous, undefined and/or susceptible to multiple

  different interpretations, and as a result, Harris is without knowledge or information sufficient



                                                 -10-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 11
                                                         255ofof68312 PageID
                                                                   PageID #: #:
                                                                             151862




  to form a belief as to the truth of the remaining allegations in paragraph 42 and therefore denies

  the same.

                         FIRST CAUSE OF ACTION
         (ALLEGED INFRINGEMENT OF U.S. REISSUE PATENT NO. RE44,325)

                Harris realleges and incorporates by reference the responses in the foregoing

  paragraphs.

                Harris admits that it has produced for certain worldwide markets the Harris RF-

  7800W-IU200 Network Interface Unit, the Harris RF-7800W-PS104 Rugged Power Supply,

  and the Harris Falcon III RF-7850A-TM001 Roll-on/Roll-off Airborne System. Harris further

  responds that this paragraph contains legal conclusions that require no answer and/or language

  that is vague, ambiguous, undefined and/or susceptible to multiple different interpretations, and

  as a result, Harris is without knowledge or information sufficient to form a belief as to the truth

  of the remaining allegations in paragraph 114 and therefore denies the same. To the extent an

  answer is required, Harris denies the remaining allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 115 and therefore denies the

  same. To the extent an answer is required, Harris denies the remaining allegations of this

  paragraph.




                                                 -11-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 12
                                                         256ofof68312 PageID
                                                                   PageID #: #:
                                                                             152863




                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 116 and therefore denies the

  same. To the extent an answer is required, Harris denies the remaining allegations of this

  paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 117 and therefore denies the

  same. To the extent an answer is required, Harris denies the remaining allegations of this

  paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different



                                                -12-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 13
                                                         257ofof68312 PageID
                                                                   PageID #: #:
                                                                             153864




  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 118 and therefore denies the

  same. To the extent an answer is required, Harris denies the remaining allegations of this

  paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                Harris admits that on December 5, 2018, Huawei sent Harris’s licensing

  representative a presentation stating that Huawei had unidentified patents relating to Power over

  Ethernet. This paragraph contains legal conclusions that require no answer. To the extent an

  answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                Harris admits that Huawei purports to seek recovery of monetary damages

  through this action. Otherwise Harris denies the allegations in paragraph 125.

                            SECOND CAUSE OF ACTION
                (ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,416,892)

                Harris realleges and incorporates by reference the responses in the foregoing

  paragraphs.


                                                -13-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 14
                                                         258ofof68312 PageID
                                                                   PageID #: #:
                                                                             154865




                Harris admits that it has produced for certain worldwide markets products

  designated XL-185M, XL-185P, RF3590, and XL-200P. Harris further responds that this

  paragraph contains legal conclusions that require no answer and/or language that is vague,

  ambiguous, undefined and/or susceptible to multiple different interpretations, and as a result,

  Harris is without knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations in paragraph 127 and therefore denies the same. To the extent an answer

  is required, Harris denies the remaining allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 128 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 129 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.



                                                 -14-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 15
                                                         259ofof68312 PageID
                                                                   PageID #: #:
                                                                             155866




                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 132 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                Harris admits that on December 5, 2018, Huawei sent Harris’s licensing

  representative a presentation stating that Huawei had unidentified patents relating to LTE. This

  paragraph contains legal conclusions that require no answer and/or allegations for which Harris

  is without knowledge or information sufficient to form a belief as to truth and therefore denies

  the allegations. To the extent an answer is required, Harris denies the allegations of this

  paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.




                                                 -15-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 16
                                                         260ofof68312 PageID
                                                                   PageID #: #:
                                                                             156867




                Harris admits that Huawei purports to seek recovery of monetary damages

  through this action. Otherwise Harris denies the allegations in paragraph 136.

                             THIRD CAUSE OF ACTION
                (ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,798,575)

                Harris realleges and incorporates by reference the responses in the foregoing

  paragraphs.

                Harris denies that it produces or sells products designated as “Evolved Packet

  Cores.” Harris is without knowledge or information sufficient to form a belief as to whether

  Cisco Packet Data Network (PDN) Gateway (P-GW) products or other third-party products

  practice and comply with the LTE standard. Harris further responds that this paragraph

  contains legal conclusions that require no answer and/or language that is vague, ambiguous,

  undefined and/or susceptible to multiple different interpretations, and as a result, Harris is

  without knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations in paragraph 138 and therefore denies the same. To the extent an answer is required,

  Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 139 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.




                                                 -16-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 17
                                                         261ofof68312 PageID
                                                                   PageID #: #:
                                                                             157868




                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 142 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                Harris denies that Huawei sent it an email on December 5, 2012. Harris admits

  that on December 5, 2018, Huawei sent Harris’s licensing representative a presentation stating

  that Huawei had unidentified patents relating to LTE. This paragraph contains legal

  conclusions that require no answer and/or allegations for which Harris is without knowledge or

  information sufficient to form a belief as to truth and therefore denies the allegations. To the

  extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.




                                                 -17-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 18
                                                         262ofof68312 PageID
                                                                   PageID #: #:
                                                                             158869




                Harris admits that Huawei purports to seek recovery of monetary damages

  through this action. Otherwise Harris denies the allegations in paragraph 146.

                            FOURTH CAUSE OF ACTION
                (ALLEGED INFRINGEMENT OF U.S. PATENT NO. 9,838,851)

                Harris realleges and incorporates by reference the responses in the foregoing

  paragraphs.

                Harris admits that it has produced for certain worldwide markets certain products

  referred to as Tactical 4G LTE Radios. Harris further responds that this paragraph contains

  legal conclusions that require no answer and/or language that is vague, ambiguous, undefined

  and/or susceptible to multiple different interpretations, and as a result, Harris is without

  knowledge or information sufficient to form a belief as to the truth of the remaining allegations

  in paragraph 148 and therefore denies the same.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 149 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer


                                                  -18-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 19
                                                         263ofof68312 PageID
                                                                   PageID #: #:
                                                                             159870




  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 150 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 151 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a




                                                -19-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 20
                                                         264ofof68312 PageID
                                                                   PageID #: #:
                                                                             160871




  belief as to the truth of the remaining allegations in paragraph 154 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                 This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                 Harris admits that on December 5, 2018, Huawei sent Harris’s licensing

  representative a presentation stating that Huawei had unidentified patents relating to LTE.

  Harris further admits that on December 21, 2018, Huawei sent Harris’s licensing representative

  a list of patents which included a listing of the ’851 patent. This paragraph contains legal

  conclusions that require no answer and/or allegations for which Harris is without knowledge or

  information sufficient to form a belief as to truth and therefore denies the allegations. To the

  extent an answer is required, Harris denies the allegations of this paragraph.

                 This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                 Harris admits that Huawei purports to seek recovery of monetary damages

  through this action. Otherwise Harris denies the allegations in paragraph 158.

                             FIFTH CAUSE OF ACTION
                (ALLEGED INFRINGEMENT OF U.S. PATENT NO. 10,117,226)

                 Harris realleges and incorporates by reference the responses in the foregoing

  paragraphs.

                 Harris admits that it has produced for certain worldwide markets certain products

  referred to as Tactical 4G LTE Radios. Harris further responds that this paragraph contains

  legal conclusions that require no answer and/or language that is vague, ambiguous, undefined

  and/or susceptible to multiple different interpretations, and as a result, Harris is without




                                                  -20-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 21
                                                         265ofof68312 PageID
                                                                   PageID #: #:
                                                                             161872




  knowledge or information sufficient to form a belief as to the truth of the remaining allegations

  in paragraph 160 and therefore denies the same.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 161 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 162 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different



                                                -21-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 22
                                                         266ofof68312 PageID
                                                                   PageID #: #:
                                                                             162873




  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 163 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                To the extent the allegations in this paragraph quote from or characterize the

  referenced documents, Harris responds that the documents are the best source of the full content

  and denies the allegations to the extent they do not accurately represent the documents’ full

  content and context. This paragraph further contains legal conclusions that require no answer

  and/or language that is vague, ambiguous, undefined and/or susceptible to multiple different

  interpretations, and as a result, Harris is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 166 and therefore denies the

  same. To the extent an answer is required, Harris denies the allegations of this paragraph.

                This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                Harris admits that on December 5, 2018, Huawei sent Harris’s licensing

  representative a presentation stating that Huawei had unidentified patents relating to LTE. This

  paragraph contains legal conclusions that require no answer and/or allegations for which Harris

  is without knowledge or information sufficient to form a belief as to truth and therefore denies

  the allegations. To the extent an answer is required, Harris denies the allegations of this

  paragraph.



                                                 -22-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 23
                                                         267ofof68312 PageID
                                                                   PageID #: #:
                                                                             163874




                 This paragraph contains legal conclusions that require no answer. To the extent

  an answer is required, Harris responds as follows: Denied.

                 Harris admits that Huawei purports to seek recovery of monetary damages

  through this action. Otherwise Harris denies the allegations in paragraph 170.

                  RESPONSE TO HUAWEI’S DEMAND FOR JURY TRIAL

         Huawei’s demands for a trial by jury does not state any allegation that requires a response

 by Harris.

                      RESPONSE TO HUAWEI’S PRAYER FOR RELIEF

         In response to Huawei’s prayer for relief, Harris denies that Huawei is entitled to any

 relief sought in its claims.

                                   AFFIRMATIVE DEFENSES

                 Pursuant to Federal Rule of Civil Procedure 8(c), Harris alleges and asserts the

  following defenses in response to the allegations in Huawei’s Complaint, undertaking the

  burden of proof only as to those defenses required by law, regardless of how such defenses are

  denominated herein. To the extent each of its defenses relate to specific Harris counterclaims

  on the same or similar issues, Harris repeats and incorporates by reference the allegations

  contained in those counterclaims as if fully set forth with respect to those defenses. Harris

  reserves the right to assert any other defenses and counterclaims as discovery progresses.

                                FIRST AFFIRMATIVE DEFENSE
                                (FAILURE TO STATE A CLAIM)

                 Huawei’s Complaint fails to state a claim upon which relief can be granted.

                                SECOND AFFIRMATIVE DEFENSE
                                        (STANDING)

                 Huawei entities lack standing to bring suit for alleged patent infringement.


                                                 -23-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 24
                                                         268ofof68312 PageID
                                                                   PageID #: #:
                                                                             164875




                               THIRD AFFIRMATIVE DEFENSE
                                      (INVALIDITY)

                U.S. Patent Nos. RE44,325 (“the ’325 Patent), 8,416,892 (“the ’892 Patent),

  8,798,575 (“the ’575 Patent), 9,838,851 (“the ’851 Patent) and 10,117,226 (“the ’226 Patent)

  (collectively, “the Huawei Asserted Patents”) are invalid, void and/or unenforceable for failure

  to comply with one or more of the conditions for patentability set forth in Title 35 of the United

  States Code, including without limitation, for example, Sections 101, 102, 103, 112, 116, and/or

  132.

                              FOURTH AFFIRMATIVE DEFENSE
                                  (NON-INFRINGEMENT)

                Harris does not infringe and has not infringed, induced infringement of, or

  contributed to infringement of any valid and enforceable claim of Huawei’s Asserted Patents,

  literally or under the doctrine of equivalents, willfully or otherwise.

                                SIXTH AFFIRMATIVE DEFENSE
                             (PROSECUTION HISTORY ESTOPPEL)

                Huawei is estopped, based on statements, representations, and admissions made

  during prosecution of the applications that led to the Huawei Asserted Patents, from asserting

  any interpretation of the claims of those patents that would be broad enough to cover any

  accused equipment or methods alleged to infringe those patents, either literally or under the

  doctrine of equivalents.

                              SEVENTH AFFIRMATIVE DEFENSE
                                  (EQUITABLE DEFENSES)

                Huawei’s claims are barred, either whole or in part, by the doctrine of laches,

  waiver, estoppel, patent misuse, and/or unclean hands.




                                                  -24-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 25
                                                         269ofof68312 PageID
                                                                   PageID #: #:
                                                                             165876




                              EIGHTH AFFIRMATIVE DEFENSE
                          (STATUTORY LIMITATION ON DAMAGES)

                  Any claim by Huawei for damages is limited by 35 U.S.C. §§ 252, 286, 287, or

  307. Huawei is barred by 35 U.S.C. § 288 from recovering costs associated with this action.

                                NINTH AFFIRMATIVE DEFENSE
                                (NO WILLFUL INFRINGEMENT)

                  Huawei is not entitled to enhanced damages under 35 U.S.C. § 284 because

  Huawei has failed to meet, and cannot meet as a matter of law, the requirements for willful

  infringement.

                                TENTH AFFIRMATIVE DEFENSE
                                  (STATUTORY LIMITATION)

                  To the extent certain equipment or software accused of infringing the Huawei

  Asserted Patents are used by and/or manufactured for the United States Government, Huawei’s

  claims involving Harris equipment or software supplied to the Government and for authorized

  Foreign Military Sales may not be pursued in this Court and are subject to other limitations

  pursuant to 28 U.S.C. § 1498.

                   ELEVENTH AFFIRMATIVE DEFENSE
       (NON-COMPLIANCE WITH SSO UNDERTAKINGS AND OBLIGATIONS)

                  Huawei’s claims for relief are limited and/or barred, in whole or in part, by its

  undertakings and obligations to standards-setting organizations.

                         TWELFTH AFFIRMATIVE DEFENSE
                  (CONTRACTUAL LIMITATION ON DAMAGES – FRAND)

                  Huawei’s claims for monetary relief are limited by its obligation to license the

  Huawei Asserted Patents on fair, reasonable, and non-discriminatory terms.




                                                  -25-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 26
                                                         270ofof68312 PageID
                                                                   PageID #: #:
                                                                             166877




                          THIRTEENTH AFFIRMATIVE DEFENSE
                          (PATENT EXHAUSTION AND LICENSE)

                Upon information and belief, Huawei’s claims for relief are barred, in whole or in

  part, as a result of patent exhaustion and/or a license to the Huawei Asserted Patents. To the

  extent Harris’s vendors have entered into patent license agreements with Huawei, Harris’s use

  of network equipment or software from those vendors during the terms of those agreements is

  authorized under those agreements.

                       FOURTEENTH AFFIRMATIVE DEFENSE
                 (NON-COMPLIANCE WITH LICENSING OBLIGATION)

                Huawei’s claims for relief are barred, in whole or in part, by its failure to comply

  with its obligation to offer to license the Huawei Asserted Patents on FRAND terms, including

  its refusal to offer licensing terms for each of the Huawei Asserted Patents.

                            FIFTEENTH AFFIRMATIVE DEFENSE
                                  (UNENFORCEABILITY)

                One or more of Huawei’s Asserted Patents are unenforceable against Harris under

  the equitable doctrines of estoppel, waiver, implied waiver, patent misuse, unclean hands, or

  other equitable doctrines.

                Upon information and belief, Huawei’s actions, including but not limited to those

  set forth herein regarding Huawei’s breach of what—according to Huawei’s own admissions—

  are its FRAND commitments, equitably estop Huawei from asserting, and/or constitute waiver

  or implied waiver of, any rights to enforce any allegedly standard-essential patents against any

  entity allegedly practicing the standard, including Harris.

                Huawei’s actions, including but not limited to those set forth herein regarding

  Huawei’s breach of what—according to Huawei’s own assertions—are its FRAND

  commitments, render Huawei’s allegedly standard-essential patents unenforceable on grounds


                                                 -26-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 27
                                                         271ofof68312 PageID
                                                                   PageID #: #:
                                                                             167878




  of unclean hands (or other equitable doctrines) against any entity allegedly practicing the

  standard, including Harris.

                Huawei is a member of, and an active participant in, standards setting

  organizations such as 3GPP, ETSI, and IEEE. Huawei Complaint at ¶ 6. Huawei admits that it

  is obligated to license the Huawei Asserted Patents on FRAND terms. Case No. 2:18-cv-

  00439-JRG, Dkt. 68 at 1 (“. . . Huawei readily acknowledges that its patents are subject to

  FRAND obligations . . .”). Harris was and remains a willing licensee, to the extent the Huawei

  Asserted Patents are valid, enforceable, and infringed standard-essential patents. Harris

  responded to Huawei’s March 31, 2019 letter on April 3, 2019, stating a willingness to include

  discussion of Huawei’s patents in ongoing discussions. Harris further arranged a phone call

  with Huawei representatives and further responded on April 12, 2019 that Harris would provide

  more details concerning Huawei’s March 31, 2019 letter. On April 22, 2019, Harris emailed

  Huawei to ask if they could set up a call that week. Huawei did not respond. Instead, Huawei

  asserted its counterclaims for infringement on April 26, 2019 despite Harris’s good faith

  responses and without having communicated specific offered license terms. Filing

  counterclaims for infringement against a willing licensee without having communicated terms

  of a FRAND offer breached Huawei’s obligations and constituted standard-setting misconduct.

  Further facts detailing Huawei’s standard-setting misconduct are given below with respect to

  Harris’s counterclaims.

                The described actions and conduct by Huawei constitute standard-setting

  misconduct, threatening continued harm to Harris and relevant third-parties, rendering the

  patents unenforceable.




                                                -27-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 28
                                                         272ofof68312 PageID
                                                                   PageID #: #:
                                                                             168879




                             SIXTEENTH AFFIRMATIVE DEFENSE
                                  (NO INJUNCTIVE RELIEF)

                 Huawei’s remedies at law are adequate, and its alleged injury is not immediate or

  irreparable, such that equitable relief would be inappropriate for any determined infringement of

  Huawei’s Asserted Patents. Further, according to Huawei’s admissions, it has made binding

  commitments to license Huawei’s Asserted Patents on FRAND terms and conditions, thereby

  knowingly surrendering its right to injunctive or other exclusionary relief. By virtue of not

  having offered Harris, a willing licensee, a license on FRAND terms and condition, Huawei has

  no legal right to injunctive relief.

                        HARRIS CORPORATION’S COUNTERCLAIMS

         Defendant and Counterclaimant Harris Corporation (“Harris”) hereby asserts the

 following counterclaims in response to the Complaint filed by Huawei Device USA, Inc.

 (“Huawei USA”), Huawei Device Co. Ltd. (“Huawei Device”), Huawei Technologies USA Inc.

 (“HTUS”), Huawei Technologies Co. Ltd. (“Huawei Technologies”), and Huawei Device

 (Shenzhen) Co. Ltd. (“Huawei Shenzhen”) (collectively, “Huawei”) (Dkt. 4) as follows:

                                             PARTIES

                 In its Complaint, Huawei avers that Huawei USA is a Texas corporation with a

  place of business in Plano, Texas; Huawei Device is a Chinese company with a place of

  business in Dongguan, People’s Republic of China; HTUS is a Texas corporation with a place

  of business in Plano, Texas; Huawei Technologies is a Chinese company with a place of

  business in Shenzhen, People’s Republic of China; Huawei Shenzhen is a Chinese company

  with a place of business in Shenzhen, People’s Republic of China.




                                                -28-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 29
                                                         273ofof68312 PageID
                                                                   PageID #: #:
                                                                             169880




                Harris Corporation is a Delaware corporation duly organized and existing under

  the laws of the state of Delaware with its principal place of business at 1025 West NASA

  Boulevard, Melbourne, Florida.

                                  JURISDICTION AND VENUE

                This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

  1331, 1338(a), 1338(b), 1367 as Harris counterclaims against Huawei pursuant to the patent

  laws of the United States, Title 35, United States Code, and the Declaratory Judgment Act, 28

  U.S.C. §§ 2201 and 2202. An actual, substantial and continuing justiciable controversy exists

  between Harris and Huawei based on Huawei having filed its Complaint alleging infringement

  of the Huawei Asserted Patents.

                Huawei has submitted to personal jurisdiction of this Court through the filing of

  its Complaint against Harris, and is additionally subject to personal jurisdiction of this Court for

  the reasons given in Harris’s Amended Complaint, Case No. 2:18-cv-00439-JRG, Dkt. 13 at ¶

  8.

                Venue is proper in this judicial district pursuant to 28 U.S.C. §§1391(b), (c), (d)

  and 1400(b) because Huawei USA and HTUS are Texas corporations located in this judicial

  district, and additionally for the reasons given in Harris’s Amended Complaint, Case No. 2:18-

  cv-00439-JRG, Dkt. 13 at ¶ 9.

                          STANDARDS SETTING ORGANIZATIONS

                Standard development organizations and/or Standards Setting Organizations

  (“SSOs”) are any organizations (e.g., Institute of Electrical and Electronics Engineers or IEEE,

  Third Generation Partnership Project or 3GPP, or European Telecommunications Standards

  Institute or ETSI) which are active in the development of standards. Standards play an



                                                 -29-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 30
                                                         274ofof68312 PageID
                                                                   PageID #: #:
                                                                             170881




  important role in the development of wireless data and telecommunications. Standards facilitate

  the development, improvement, and advancement of technology and products that interoperate

  with one another.

                 Industry standards are typically drafted by members of a standard’s organization

  as a matter of consensus.

                 Because standardization promotes a market-wide use of SEPs, patent owners are

  incentivized to propose technologies covered by their patent rights such that every implementer

  who wishes to utilize interoperability must take a license to their patents to avoid infringement

  liabilities.

                 Once a standard has been adopted, patents that are essential to the adopted

  standard, i.e., those that claim technologies selected by the participants in the standards

  development process for inclusion in a standard, gain undue significance that they would not

  have had but for the adoption of the standard.

                 The inclusion of patented technology into a standard enables the holders of the

  patented technology essential to the standard, if not otherwise constrained, to extract monopoly

  rents from implementers of a standard and/or prevent others from implementing the standard by

  refusing to license the patents on terms that would enable its implementation.

                 In order to reduce the likelihood that implementers of standards will be subject to

  abusive practices by patent holders, SSOs have adopted rules, policies, and procedures that

  control the disclosure and licensing of patents that implementers may require in order to

  practice the standard under consideration. These rules, policies, and/or procedures are set out in

  the intellectual property rights policies (“IPR policies”) of the SSOs. IPR policies generally

  require patent owners of essential patents to commit to license those patents on fair, reasonable,



                                                   -30-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 31
                                                         275ofof68312 PageID
                                                                   PageID #: #:
                                                                             171882




  and non-discriminatory terms (“FRAND”). These FRAND terms are intended to prevent patent

  owners of essential patents from acquiring too much of the market power that would otherwise

  be inherent in owning an essential patent.

                It is important for SSOs to consider whether an entity that claims rights over a

  proposed technology has committed to make that technology available on FRAND terms and

  conditions.

                IPR policies facilitate an informed comparison of the members of the SSOs and

  their technologies.

                        IEEE STANDARDS BODY AND IPR POLICY

                The Institute of Electrical and Electronics Engineers Standards Association

  (“IEEE-SA”) is the standard setting arm of the Institute of Electrical and Electronics Engineers

  (“IEEE”), the IEEE-SA promulgates technical standards in a variety of fields, including

  telecommunications. Under the IEEE-SA’s IPR policy, when individuals participating in IEEE

  standards development come to believe that a company, university, or other patent holder owns

  patents or patent applications that might be essential to implement IEEE standard under

  development, IEEE-SA requests Letters of Assurance (“LOA”) from those entities.

                The letters of assurance sought by IEEE provide either a general disclaimer that

  the patentee would not enforce the patent(s), or a promise by the patentee that it would license

  the patent(s) to an unrestricted number of applicants at either no cost or under reasonable terms

  and conditions that are demonstrably free of any unfair discrimination (i.e., on FRAND terms).

  Moreover, letters of assurances, once provided, are irrevocable and shall be in force at least

  until the standard’s withdrawal. Moreover, any subsequence assignee and transferee of the

  patent(s) must agree to abide by any assurances in place.



                                                 -31-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 32
                                                         276ofof68312 PageID
                                                                   PageID #: #:
                                                                             172883




                Further, according to IEEE’s IPR policy, if the letters of assurance have not been

  provided for essential patents, the IEEE working group either will revise the standard so that

  compliance can be achieved without infringing the patent(s), or would discontinue work on the

  standard altogether.

                ETSI AND 3GPP STANDARDS BODIES AND IPR POLICIES

                ETSI is an independent, non-profit SSO that produces globally-accepted standards

  for the telecommunications industry. ETSI has more than 700 members from more than 60

  countries across five continents. In addition to its own activities, ETSI is also one of the SSOs

  that are organizational partners of the 3rd Generation Partnership Project (“3GPP”), which

  exists to unite the SSOs in the development of worldwide standards for the telecommunications

  industry. Together, ETSI and its members have developed common technical standards that

  often become mandatory as, in some cases, national or international regulatory bodies require

  adherence to particular ETSI standards. 3GPP produces and maintains the world’s most widely

  adopted cellular standards such as the Long Term Evolution (“LTE”) standard.

                3GPP develops these standards through an open voluntary consensus-based

  process.

                Mobile standards, such as for third-generation (“3G”) technologies and fourth

  generation (“4G”) technologies, consist of voluminous sets of requirements and protocols that

  must be followed for mobile devices to connect to the mobile network.

                On information and belief, Huawei employees participate in 3GPP

  standardization, at least in part, through Huawei’s membership in ETSI.




                                                -32-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 33
                                                         277ofof68312 PageID
                                                                   PageID #: #:
                                                                             173884




                ETSI recognizes that standards rely on technical contributions from various

  sources that may contain patented technologies and other protected rights which are commonly

  known as Intellectual Property Rights (“IPRs”).

                3GPP produces technical specifications that are adopted as standards by

  Organizational Partners, such as ETSI. 3GPP was created to oversee work on global 3G cellular

  specifications and has subsequently worked on creating 4G specifications. The 3GPP

  Organizational Partners agreed that members of a particular Organizational Partner would be

  bound by the IPR policy of that Organizational Partner when participating at 3GPP.

                ETSI has adopted an Intellectual Property Rights (“IPR”) Policy, incorporated as

  Annex 6 of the ETSI Rules of Procedure. The ETSI IPR Policy is governed by the laws of

  France, and provides that “[a]ny right granted to, and any obligation imposed on, a MEMBER

  which derives from French law and which are not already contained in the national or

  supranational law applicable to that MEMBER is to be understood as being of solely a

  contractual nature.”

                Among other requirements, the ETSI IPR Policy imposes on members an

  obligation to disclose patents and patent applications to ETSI and its members that a member

  believes are or may become essential to an ETSI standard. Once such a disclosure is made, the

  member is requested to submit an irrevocable undertaking confirming its willingness to license

  the IPRs it has disclosed on FRAND terms and conditions.

                Specifically, Clause 4.1 of the ETSI IPR Policy provides as follows regarding the

  disclosure obligation at ETSI:

                 Subject to Clause 4.2 below, each MEMBER shall use its
                 reasonable endeavors, in particular during the development of
                 a STANDARD or TECHNICAL SPECIFICATION where it
                 participates, to inform ETSI of ESSENTIAL IPRs in a timely


                                               -33-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 34
                                                         278ofof68312 PageID
                                                                   PageID #: #:
                                                                             174885




                 fashion. In particular, a MEMBER submitting a technical
                 proposal for a STANDARD or TECHNICAL
                 SPECIFICATION shall, on a bona fide basis, draw the
                 attention of ETSI to any of that MEMBER’s IPR which might
                 be ESSENTIAL if that proposal is adopted.


                In its second sentence, Clause 4.1 imposes a “particular” requirement on members

  submitting a technical proposal to disclose the existence of any potentially essential IPR before

  the proposal is adopted.

                The disclosure requirement under Clause 4.1 of the ETSI IPR Policy is intended to

  ensure that when ETSI members (or participants at 3GPP) are deciding upon the functionality to

  include in a standard specification, they have an understanding of the existence of IPR that may

  potentially be implicated by the standard. This knowledge allows members to make choices

  about the standard with a better understanding of the consequences of their choices for

  implementation of the standard. ETSI and its members rely on the safeguards of the disclosure

  and FRAND licensing obligation to ensure the viability and commercial potential of the

  standards adopted by ETSI.

                The ETSI IPR Policy further requests that SEP owners submit an irrevocable

  written undertaking that they are prepared to grant irrevocable licenses on “fair, reasonable, and

  non-discriminatory” or FRAND terms and conditions. Clause 6.1 states:

         When an ESSENTIAL IPR relating to a particular STANDARD or
         TECHNICAL SPECIFICATION is brought to the attention of ETSI, the
         Director-General of ETSI shall immediately request the owner to give
         within three months an irrevocable undertaking in writing that it is
         prepared to grant irrevocable licenses on fair, reasonable and non-
         discriminatory (“FRAND”) terms and conditions under such IPR to at
         least the following extent:

         ● MANUFACTURE, including the right to make or have made
         customized components and sub-systems to the licensee's own design for
         use in MANUFACTURE;


                                                -34-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 35
                                                         279ofof68312 PageID
                                                                   PageID #: #:
                                                                             175886




         ● sell, lease, or otherwise dispose of EQUIPMENT
         so MANUFACTURED;
         ● repair, use, or operate EQUIPMENT; and
         ● use METHODS.


         The above undertaking may be made subject to the condition that those
         who seek licences agree to reciprocate.

                ETSI’s IPR Policy was designed to benefit all ETSI members, as well as all other

  parties that implement an ETSI standard. In particular, the Policy described in Clause 3.1 that it

  has the objective to “reduce the risk” to those implementing the standards or other technical

  specifications “that investment in the preparation, adoption and application of the

  STANDARDS could be wasted as a result of an ESSENTIAL IPR for a STANDARD or

  TECHNICAL SPECIFICATION being unavailable.”

                Through disclosure of potentially essential IPRs and obtaining FRAND

  commitments for them, ETSI is able to include technology in its standards that may be covered

  by IPRs with confidence that hold-up tactics by owners of declared SEPs will not undermine the

  subsequent widespread adoption of the standards. If a FRAND undertaking is not made, the

  IPR Policy provides ETSI an opportunity, during the development of the standard, to ensure that

  the standard avoids the patent or patent application in question.

                        ALCATEL LUCENT DISCLOSURES TO IEEE

                On May 19, 2008, Barbara Landmann, acting on behalf of the corporation known

  as Alcatel Lucent, submitted a Letter of Assurance (“LOA”) to the IEEE-SA, publicly available

  at https://standards.ieee.org/content/dam/ieee-

  standards/standards/web/governance/patcom/loas/loa-802_3at-alcatel-19May2008.pdf. The

  letter of assurance was specifically limited to the 802.3at standard for “Local & Metropolitan




                                                 -35-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 36
                                                         280ofof68312 PageID
                                                                   PageID #: #:
                                                                             176887




  Area Networks – Specific Requirements Part 3: - CSMA/CD Access Method & Phy Layer Spec

  Amendment: DTE Power via the MDI Enhancements.”

                 Pursuant to the letter of assurance, Alcatel Lucent declared that it “may own,

  control, or have the ability to license Patent Claims that might be or become Essential Patent

  Claims,” and whereby it agreed to “grant a license under reasonable rates to an unrestricted

  number of applicants . . . with reasonable terms and conditions that are demonstrably free of

  unfair discrimination.”

                The Alcatel Lucent LOA is a “Blanket Letter of Assurance. As such, all Essential

  Patent Claims that the Submitter may currently or in the future have the ability to license shall

  be available under the terms as indicated in part D.1” At the time Alcatel Lucent submitted this

  LOA, Alcatel-Lucent was the owner of U.S. Patent No. 6,715,087 which later reissued as the

  asserted ’325 patent.

                The Alcatel Lucent LOA further agreed:

                The Submitter agrees (a) to provide notice of a Letter of Assurance either through

                a Statement of Encumbrance or by binding any assignee or transferee to the terms

                of such Letter of Assurance; and (b) to require its assignee or transferee to (i)

                agree to similarly provide such notice and (ii) to bind its assignees or transferees

                to agree to provide such notice as described in (a) and (b).



                According to assignment records from the USPTO public database, Huawei

  acquired the rights to the ’325 Patent on December 31, 2015.

                In this litigation, Huawei has taken the position that the ’325 patent is essential to

  the IEEE 802.3at standard. In this litigation, Huawei has also admitted that it is obligated to



                                                 -36-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 37
                                                         281ofof68312 PageID
                                                                   PageID #: #:
                                                                             177888




  license the Huawei Asserted Patents on FRAND terms. Case No. 2:18-cv-00439-JRG, Dkt. 68

  at 1 (“. . . Huawei readily acknowledges that its patents are subject to FRAND obligations . . .”).

  Accordingly, Huawei has a contractual obligation to license the ’325 patent on FRAND terms in

  accordance with Alcatel-Lucent’s LOA and the IEEE-SA policy.

                              HUAWEI DISCLOSURES TO 3GPP

                Harris is informed and believes that Huawei is a member of, and an active

  participant in, standards setting organizations such as 3GPP and ETSI. Huawei Complaint at ¶

  6. Huawei admits that it is obligated to license the Huawei Asserted Patents on FRAND terms.

  Case No. 2:18-cv-00439-JRG, Dkt. 68 at 1 (“. . . Huawei readily acknowledges that its patents

  are subject to FRAND obligations . . .”).

                Huawei violated its obligation as a member of ETSI to timely disclose the Huawei

  Asserted Patents (or patents or patent applications within the same families) in accordance with

  the requirements of the ETSI IPR Policy.

                As early as 1994, Clause 4.1 of the Policy required that “[e]ach MEMBER shall

  use its reasonable endeavours to timely inform ETSI of ESSENTIAL IPRs it becomes aware of.

  In particular, a MEMBER submitting a technical proposal for a STANDARD shall, on a bona

  fide basis, draw the attention of ETSI to any of that MEMBER’s IPR which might be

  ESSENTIAL if that proposal is adopted.”

                Huawei was bound by the ETSI IPR Policy during its participation at ETSI and

  also at the 3rd Generation Partnership Project (3GPP), of which ETSI is an organizational

  member. ETSI and its members rely on the disclosure requirements to safeguard the standard-

  setting process and ensure that decisions regarding what technology to standardize are made




                                                 -37-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 38
                                                         282ofof68312 PageID
                                                                   PageID #: #:
                                                                             178889




  with an understanding of the potential implications for those decisions on licensing patents that

  may be claimed essential to those technologies.

                Huawei failed to disclose the existence of its Huawei Asserted Patents or family

  members of its Huawei Asserted Patents during the standardization of cellular standards at ETSI

  and 3GPP, while participating in the development of technologies that it apparently believed

  were covered by patents now asserted against Harris.

                Huawei’s failure to timely disclose IPRs constitutes at least a waiver of its rights

  to enforce any claimed-essential patents against any entity practicing the standard and renders

  the patents unenforceable. Alternatively, this conduct estops Huawei from asserting the patents

  and/or bars Huawei’s infringement claims through the doctrine of unclean hands.

                                           ’892 PATENT

                On, November 8, 2011 Huawei filed U.S. patent application 13/291,727, which

  issued on April 9, 2013 as U.S. Patent No. 8,416,892. The ’892 patent claims priority to

  Chinese Patent Application No. 200710074200 filed on April 30, 2007 and PCT Application

  No. PCT/CN2008/070768 filed on April 22, 2008. The ’892 patent lists Oskar Mauritz as the

  named inventor.

                Huawei has alleged that the ’892 patent is essential to practicing 3GPP technical

  specification 3GPP TS 36.211 version 8.1.0 and later, which was developed by 3GPP working

  group RAN 1. Huawei participated in working group RAN 1 and the development of 3GPP TS

  36.211, including participation in various discussions related to Zadoff-Chu sequences. For

  example, on information and belief, Huawei submitted R1-071408 at the RAN WG1 meeting

  #48bis, from Mar. 26-30, 2007. At RAN Working Group 1, Meeting #49, from May 7-11,

  2007, Huawei submitted R1-072325 and submitted R1-072324 with Panasonic. Huawei



                                                -38-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 39
                                                         283ofof68312 PageID
                                                                   PageID #: #:
                                                                             179890




  submitted proposal R1-072899 at RAN Working Group 1 Meeting #49bis, from June 25-29,

  2007. Huawei further participated in email discussions through at least Oct. 8-12, 2007 as noted

  in R1-074026. Huawei further participated in TSG RAN1#50bis meeting in Shanghai, China

  between Oct. 8-12, 2007, where discussions continued regarding changes to version 8.0.0 of the

  standard.

                At the opening of the TSG RAN1#50bis meeting, the Chairman drew attention to

  Members’ obligations under the 3GPP Partner Organizations’ IPR policies. Noting that every

  Individual Member organization is obliged to declare to the Partner Organization or

  Organizations of which it is a member any IPR owned by the Individual Member or any other

  organization which is or is likely to become essential to the work of 3GPP.

                On information and belief, the named inventor of the ’892 patent, Oskar Mauritz,

  was present at the TSG RAN1#50bis meeting. See R1-07504 attendee list.

                On November 21, 2007, Change Request 0002 to version 8.0.0 of the 36.211

  standard was submitted by Ericsson to reflect decisions taken at RAN1#50bis, including

  changes to sections 5.7.2. This change request was adopted and became part of the 36.211

  version 8.1.0 which was uploaded on Dec. 20, 2007.

                Despite the inventor’s presence and participation at the RAN1#50bis meeting,

  Huawei did not submit any IPR declaration related to the ’892 patent family until March 4,

  2009, more than a year after the RAN1#50bis meeting and nearly two years after Huawei filed

  its Chinese application. ISLD-200904-001.

                                          ’575 PATENT

                On November 10, 2006, Huawei filed U.S. patent application 11/558,774, which

  issued on August 5, 2014 as U.S. Patent No. 8,798,575. The ’575 patent claims priority to



                                               -39-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 40
                                                         284ofof68312 PageID
                                                                   PageID #: #:
                                                                             180891




  Chinese Patent Application No. 200410044433 filed on May 12, 2004 and PCT Application No.

  PCT/CN2005/000665 filed on May 12, 2005. The ’575 patent lists Xiaoqin Duan and Yajuan

  Wu as the named inventors.

               In its infringement contentions in this case, Huawei has alleged that the ’575

  patent is essential to practicing 3GPP technical specification 3GPP TS 23.203 versions 8.4.0

  and later. Huawei has only submitted IPR declarations that claim the ’575 patent is or may be

  essential to 3GPP TS 23.125, which is a parent specification to the 3GPP TS 23.203 and was

  developed by 3GPP working group SA2. Huawei and the named inventors of the ’575 patent

  participated in working group SA2 and the development of 3GPP TS 23.125. Minutes of the

  SA2 #40 meeting, Draft 01, 3GPP TSG-SA2 #40, May 17-21, 2004 (June 4, 2004); Minutes of

  the SA2 #40 meeting, Draft 04, 3GPP TSG-SA2 #40, May 17-21, 2004 (Aug. 25, 2004);

  Minutes of the SA2 #41 meeting, Draft 01, 3GPP TSG-SA2 #41, August 16-20, 2004 (Aug. 26,

  2004); Minutes of the SA2 #41 meeting, 3GPP TSG-SA2 #41, August 16-20, 2004 (Oct. 25,

  2004); List of Registered Attendees at 3GPP TSG-SA2 #40; List of Registered Attendees at

  3GPP TSG-SA2 #41; List of tdocs from 3GPP TSG-SA2 #40; List of tdocs from 3GPP TSG-

  SA2 #41; Tdoc S2-041930, 3GPP TSG-SA2 #40, May 17-21, 2004; Tdoc S2-042781, 3GPP

  TSG-SA2 #41, August 16-20, 2004. 3GPP froze TS 23.125 on December 16, 2004.

               At least one of the named inventors on the ’575 patent, Yajuan Wu, attended

  3GPP TSG-SA2 #40 meeting in Sophia Antipolis, France between May 17-21, 2004, where

  Huawei proposals were made, and where the chair drew the attention of 3GPP Individual

  Members (IMs) organizations to their obligations under the 3GPP Partner Organizations’ IPR

  policies. Every IM is obliged to declare to the 3GPP Partner Organization or Organizations of




                                               -40-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 41
                                                         285ofof68312 PageID
                                                                   PageID #: #:
                                                                             181892




  which it is a member, any IPR owned by the respective IM or by any other organization which

  is or is likely to become essential to the work of 3GPP.

                Both named inventors on the ’575 patent, Yajuan Wu and Xiaoqin Duan, attended

  3GPP TSG-SA2 #41 meeting in Montreal between August 16-20, 2004, where Huawei

  proposals were made, and the Chairman reminded Individual Members and the persons making

  the technical proposals about their obligations under their respective Organizational Partners

  IPR Policy.

                Huawei did not disclose the ’575 patent or any member of the ’575 patent’s

  family to ETSI or 3GPP prior to the freeze date for TS 23.125. In fact, Huawei failed to

  disclose that any member of the ’575 patent family was believed to be essential to TS 23.125

  until August 29, 2005, (ISLD 200509-005) over a year after Huawei inventors attended 3GPP

  TSG-SA2 meeting #41, over eight months after the freeze date of TS 23.125 and over 15

  months after Huawei filed its Chinese application.

                                          ’851 PATENT

                On July 1, 2014, Huawei filed U.S. patent application 14/321,550, which issued

  on Dec. 5, 2017 as U.S. Patent No. 9,838,851. The ’851 patent claims priority to Chinese

  Patent Application No. 20091110717 filed on Sept. 29, 2009 and PCT Application No.

  PCT/CN2010/077371 filed on Sept. 27, 2010. The ’851 patent lists Qufang Huang, Wenji Liu,

  and Qinghai Zeng as the named inventors.

                Huawei has alleged that the ’851 patent is essential to practicing 3GPP technical

  specification 3GPP TS 36.300, versions 9.3.0 and later, which was developed by 3GPP RAN

  Working Group 2. Huawei and the named inventors of the ’851 patent participated in the RAN

  WG2 and the development of 3GPP TS 36.300.



                                                -41-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 42
                                                         286ofof68312 PageID
                                                                   PageID #: #:
                                                                             182893




                 On November 9, 2009, Huawei submitted a Change Request 0160, R2-096534 to

  the 3GPP TSG-RAN WG2 Meeting #68, proposing changes to clause 15.3.3 of the 3GPP TS

  36.300 specification version 9.1.0. After discussion at the meeting, on November 11, 2009,

  Huawei and LG Electronics Inc. submitted a Change Request R2-097264 to the 3GPP TSG-

  RAN WG2 Meeting #68, proposing changes to clause 15.3.3, among others, of the 3GPP TS

  36.300 specification version 9.1.0.

                 During the 3GPP TSG-RAN WG2 Meeting #68, the TSG RAN WG2 chairman

  made the following call for IPRs and reminded the delegates of their obligations with respect to

  IPRs:

          The attention of the delegates of this Working Group is drawn to the fact that 3GPP
          Individual Members have the obligation under the IPR Policies of their respective
          Organizational Partners to inform their respective Organizational Partners of
          Essential IPRs they become aware of.
          The delegates were asked to take note that they were hereby invited:
          •       to investigate whether their organization or any other organization owns
          IPRs which were, or were likely to become Essential in respect of the work of the
          work of 3GPP.
          •       to notify their respective Organizational Partners of all potential IPRs, e.g.,
          for ETSI, by means of the IPR Statement and the Licensing declaration forms
          (http://webapp.etsi.org/Ipr/).


                 Eleven Huawei delegates, including one of the named inventors, Dr. Qinghai

  (Steven) Zeng, attended the 3GPP TSG-RAN WG2 Meeting #68 where the above proposals

  from Huawei were discussed and approved and where the chairman made the call for IPRs. See

  R2-100826 Participants list.

                 On January 20, 2010, Huawei, Nokia Corporation, Nokia Siemens Networks and

  ZTE submitted CR 0185 to 36.300 ver. 9.2.0, requesting “correction” to 15.3.3.




                                                   -42-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 43
                                                         287ofof68312 PageID
                                                                   PageID #: #:
                                                                             183894




                Huawei did not submit an IPR declaring the ‘851 or its patent family as allegedly

  essential until July 13, 2010, (see ISLD-201007-004) nearly 10 months after Huawei filed its

  Chinese application.

                                           ’226 PATENT

                On July 1, 2016, Huawei filed U.S. patent application 15/200,352, which issued

  on Oct.30, 2018 as U.S. Patent No. 10, 117, 226. The application claims to be a continuation of

  U.S. application Ser. No. 14/175,303 filed on Feb. 7, 2014, which is a continuation of

  International Application No. PCT/CN2012/079808, filed on Aug. 8, 2012, which claims

  priority to Chinese Patent Application No. 201110226133.7, filed on Aug. 8, 2011. The ’226

  patent lists Qufang Huang and Mingzeng Dai as named inventors.

                The 3GPP technical specification TS 36.300 version 10.4.0 was released at least

  by June 24, 2011 and is prior art to the ’226 patent.

                In August 22, 2011, Huawei and Samsung submitted a change request (CR 0403)

  at the 3GPP TSG-RAN WG2 #5 meeting in Athens, Greece. See R2-114827. This proposed

  modification was a "correction" to section 15.3.7 of the TS 36.300 version 10.4.0 standard. See

  R2-114827. The proposed correction was approved at the TSG RAN WG2 meeting #53 in

  Fukuoka, Japan. See RP-111287, RP-111723. At the TSG RAN WG2 meeting #53, the RAN

  chairman made a call for IPRs and reminded the delegates of their obligations with respect to

  IPRs. See RP-111723 Report at 14. At least four representatives from Huawei were at the TSG

  RAN WG2 meeting #53 where R2-114827 was approved. See RP-111723 Report Participant

  List.

                Although the “correction” in CR 0403 was incorporated into the TS 36.300

  version 10.5.0 standard, the 3GPP technical specification TS 36.300 version 10.4.0 is the



                                                 -43-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 44
                                                         288ofof68312 PageID
                                                                   PageID #: #:
                                                                             184895




  current version for release 10. Thus, the “correction” incorporated by CR 0403 is not part of the

  functional freeze for Release 10. See https://portal.3gpp.org/#/55934-releases Release 10 end

  date “2011-06-08 (SA#52)”.

                 Huawei, nonetheless, through briefing in this case and through its infringement

  contentions served on Harris, alleges that products complying with TS 36.300 version 10.5.0

  and later infringe the ’226 patent, including by compliance with section 15.3.7 of that standard.

                 Despite its apparent contribution to the change request to section 15.3.7, and

  despite its allegation here that the ’226 patent is allegedly essential to practicing TS 36.300

  version 10.5.0, released in October of 2011, Huawei, on information and belief, has not

  submitted a declaration to 3GPP or ETSI alleging this patent, or any member of its family, to be

  standard essential in accordance with the 3GPP or ETSI IPR policies.

         HUAWEI’S NEGOTIATIONS WITH HARRIS AND BREACH OF FRAND
                             OBLIGATIONS

                 Harris is informed and believes that Huawei is a member of, and an active

  participant in, standards setting organizations such as 3GPP, ETSI, and IEEE. Huawei

  Complaint at ¶ 6. Huawei admits that it is obligated to license the Huawei Asserted Patents on

  FRAND terms. Case No. 2:18-cv-00439-JRG, Dkt. 68 at 1 (“. . . Huawei readily acknowledges

  that its patents are subject to FRAND obligations . . .”).

                 A party that has made a FRAND commitment has committed that it will be

  prepared to license its patents. That requires being prepared to propose specific licensing terms

  to a potential licensee.

                 On information and belief, Huawei was aware of the impropriety of bringing an

  action for infringement after a party had expressed willingness to negotiate for a license on

  FRAND terms, but before offering such a license with specific terms including a royalty rate.


                                                 -44-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 45
                                                         289ofof68312 PageID
                                                                   PageID #: #:
                                                                             185896




                In ITC litigation with Complainant InterDigital in 2012 (337-TA-800), Huawei

  recognized that FRAND-committed patents could be declared “void and unenforceable” where

  the patent holder initiated litigation against a party without proposing FRAND terms, arguing in

  its Response to the Third Amended Complaint: “The Asserted Patents are void and

  unenforceable by reason of the equitable doctrine of unclean hands based (among other things)

  on . . . their failure to comply with the rules and obligations of ETSI, 3GPP, and other SSOs

  including TIA by undertaking to grant but failing to propose RAND or FRAND terms for

  licensing the Asserted Patents they claim are essential.” Likewise, in the same litigation,

  Huawei recognized and argued in Respondents’ July 15, 2013 Petition for Review that “a

  FRAND obligation requires more than good faith efforts, and actually requires an SEP holder to

  grant FRAND licenses.”

                In a decision in litigation between Huawei and ZTE in the European Court of

  Justice, the Court required that “after the alleged infringer has expressed its willingness to

  conclude a licensing agreement on FRAND terms, it is for the proprietor of the SEP to present

  to that alleged infringer a specific, written offer for a license on FRAND terms, in accordance

  with the undertaking given to the standardisation body, specifying, in particular, the amount of

  the royalty and the way in which that royalty is to be calculated.” Huawei Tech. v. ZTE Corp.,

  C-170/13 (E.C.J. July 16, 2015) at ¶ 63.

                In recent litigation with PanOptis in this Court, Huawei argued that a patent

  owner could be barred from asserting its ETSI and 3GPP standard FRAND-committed patents

  for “failing to offer and grant FRAND terms and conditions for licensing the Asserted Patents.”

  Optis Wireless Tech., LLC v. Huawei Techs. Co., No. 2:17-CV-00123-JRG-RSP, Dkt. 70 at 31-

  32. Huawei further argued that: “The Asserted Patents are void and unenforceable by reason of



                                                 -45-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 46
                                                         290ofof68312 PageID
                                                                   PageID #: #:
                                                                             186897




  the equitable doctrine of unclean hands based on (among other things) PanOptis’ (or its

  predecessors-in-interest’s) participation in ETSI and 3GPP, its commitments to license the

  Asserted Patents on FRAND terms and conditions, and its failure to offer FRAND terms and

  conditions for licensing the Asserted Patents.” Id., Dkt. 70 at 32. Huawei argued for (id. at

  Dkt. 179 at 17) and obtained a ruling from this Court that trial was needed to resolve factual

  questions, such as whether “offers made during negotiations … are consistent with the FRAND

  obligation.” Optis Wireless Tech., LLC v. Huawei Techs. Co., No. 2:17-CV-00123-JRG-RSP,

  2018 WL 3375192, at *6 (E.D. Tex. July 11, 2018). Huawei argued that pre-litigation offers

  there were inconsistent with FRAND obligations despite the patent owner having negotiated

  with Huawei over the royalty rate for three years before filing suit. Optis, No. 2:17-CV-00123-

  JRG-RSP, Dkt. 153 at 1. On information and belief, Huawei was aware of the impropriety of

  bringing its counterclaims for infringement prior to having even proposed a royalty rate to

  Harris.

                Harris was and remains a willing licensee of the Huawei Asserted Patents to the

  extent they are valid, enforceable, and infringed standard-essential patents.

                On December 5, 2018 and December 21, 2018, Huawei sent Harris’s licensing

  representative a presentation stating that Huawei had unidentified patents relating to LTE and

  Power over Ethernet and including no information about offered license terms. On December

  21, 2018, Huawei identified certain Huawei patents to Harris’s licensing representative,

  including only one of the Huawei Asserted Patents. On March 31, 2019, Huawei sent a letter to

  Harris stating that a worldwide FRAND license would be available but included no information

  about offered license terms and no further identification of patents (that would be asserted or

  otherwise).



                                                 -46-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 47
                                                         291ofof68312 PageID
                                                                   PageID #: #:
                                                                             187898




                Harris responded to Huawei’s March 31, 2019 letter on April 3, 2019 stating a

  willingness to include discussion of Huawei’s Asserted Patents in ongoing discussions. Harris

  further arranged a phone call with Huawei representatives and further responded on April 12,

  2019 that Harris would provide more details concerning Huawei’s March 31, 2019 letter. On

  April 22, 2019, Harris emailed Huawei to ask if they could set up a call that week. Huawei did

  not respond. Instead, Huawei asserted its counterclaims for infringement on April 26, 2019

  despite Harris’s good faith responses and without having communicated specific offered license

  terms. On May 1, 2019, after Huawei’s counterclaims were filed, Harris again emailed Huawei

  seeking to set up the requested call.

                Contrary to the obligations expressed in its representations to Harris, Huawei did

  not make an offer to license Huawei’s Asserted Patents on FRAND terms and conditions to

  Harris or otherwise negotiate a FRAND license in good faith before filing its counterclaims for

  patent infringement and to date it has not done so. Huawei did not communicate terms,

  including economic terms, to Harris. Huawei brought its counterclaims before even making any

  offer to Harris to license the Huawei Asserted Patents, and since initiating this suit Huawei has

  yet to provide FRAND terms to Harris for the Huawei Asserted Patents.

    THE FEDERAL TRADE COMMISSION’S ENFORCEMENT ACTIONS FOR SSO
                          MISCONDUCT

                The Federal Trade Commission (“FTC”) has recognized that the type of SSO

  misconduct Huawei has committed violates Section 5 of the Federal Trade Commission Act, 15

  U.S.C. § 45 (“FTC Act”) which prohibits “unfair or deceptive acts or practices in or affecting

  commerce.”

                First, the FTC has recognized that an SSO member’s failure to disclose the

  existence of intellectual property rights relevant to an industry standard violates Section 5 of the


                                                 -47-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 48
                                                         292ofof68312 PageID
                                                                   PageID #: #:
                                                                             188899




  FTC Act. For example, in a complaint against Dell Computer Corporation, the FTC alleged that

  Dell’s deception of an SSO regarding the existence of patents relating to the standard and

  subsequent assertion of those patents against implementers of the standard constituted unfair

  methods of competition that “restrained competition” in violation of Section 5.

                Second, the FTC has recognized that reneging on FRAND commitments can

  violate Section 5 of the FTC Act. In 2008, the FTC filed a complaint against Negotiated Data

  Solutions LLC in which it alleged that Negotiated Data “and its predecessor in interest, Vertical

  Networks, Inc. (‘Vertical’), engaged in unfair acts or practices and unfair methods of

  competition through which it sought to break a licensing commitment that its predecessor,

  National Semiconductor (‘National’), made to the Institute of Electrical and Electronics

  Engineers (‘IEEE’), a standard setting organization, in 1994.” Specifically, the FTC alleged

  that although National had committed to license patents essential to an IEEE standard for

  $1,000, Vertical sought to rescind that commitment and sought licensing royalties at a

  “substantial increased over National’s commitment to license the NWay technology for a one-

  time fee of one thousand dollars.”

                The FTC concluded that this breach of a licensing commitment caused or

  threatened to cause substantial harm to competition and consumers, including “increased

  royalties (or other payments) associated with the manufacture, sale, use or importation of

  products that implement an IEEE standard enabling autonegotiation by or with 802.3 compliant

  products,” “increases in price and/or reductions in the use or output of products that implement

  an IEEE standard enabling autonegotiation by or with 802.3 compliant products,” “decreased

  incentives on the part of semiconductor chip and LAN equipment manufacturers to produce

  products that implement IEEE standards enabling autonegotiation by or with 802.3 compliant



                                                -48-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 49
                                                         293ofof68312 PageID
                                                                   PageID #: #:
                                                                             189900




     products,” “decreased incentives on the part of semiconductor chip and LAN equipment

     manufacturers and others to participate in IEEE or other standard setting activities,” and “both

     within and outside the semiconductor chip and LAN equipment industries decreased reliance, or

     willingness to rely, on standards established by industry standard setting organizations.”

                                COUNT I
         (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF ’892 PATENT)

                   Harris repeats and incorporates by reference the allegations contained in the

     preceding paragraphs as if fully set forth herein.

                   On April 26, 2019, Huawei filed counterclaims2 naming Harris as counter-

     defendant.

                   Huawei’s counterclaims allege that Huawei infringes the ’892 Patent, even though

     Harris has not infringed, contributed to the infringement of, or induced infringement of any

     valid and enforceable claim of the ’892 Patent.

                   An actual, continuing and justiciable controversy exists between Harris and

     Huawei as to Harris’s non-infringement of the ’892 Patent as evidenced by Huawei’s

     counterclaims and Harris’s Answer, as set forth above. Absent a declaration of non-

     infringement, Huawei will continue to wrongfully assert the ’892 Patent against Harris and will

     continue to cause Harris injury and damage.

                   Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

     requests a judicial determination and declaration that Harris does not and has not infringed,

     contributed to the infringement of, or induced infringement of any valid and enforceable claim




 2Huawei’s April 26, 2019 “counterclaims” numbered 15-19 as discussed here and below
 correspond to its First through Fifth Cause of Action in its Complaint here.


                                                    -49-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 50
                                                         294ofof68312 PageID
                                                                   PageID #: #:
                                                                             190901




  of the ’892 Patent either literally or under the doctrine of equivalents, willfully, or in any other

  manner.

                             COUNT II
      (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF ’575 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                On April 26, 2019, Huawei filed counterclaims naming Harris as counter-

  defendant.

                Huawei’s counterclaims allege that Huawei infringes the ’575 Patent, even though

  Harris has not infringed, contributed to the infringement of, or induced infringement of any

  valid and enforceable claim of the ’575 Patent.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to Harris’s non-infringement of the ’575 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of non-

  infringement, Huawei will continue to wrongfully assert the ’575 Patent against Harris and will

  continue to cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Harris does not and has not infringed,

  contributed to the infringement of, or induced infringement of any valid and enforceable claim

  of the ’575 Patent either literally or under the doctrine of equivalents, willfully, or in any other

  manner.




                                                  -50-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 51
                                                         295ofof68312 PageID
                                                                   PageID #: #:
                                                                             191902




                             COUNT III
      (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF ’851 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                On April 26, 2019, Huawei filed counterclaims naming Harris as counter-

  defendant.

                Huawei’s counterclaims allege that Huawei infringes the ’851 Patent, even though

  Harris has not infringed, contributed to the infringement of, or induced infringement of any

  valid and enforceable claim of the ’851 Patent.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to Harris’s non-infringement of the ’851 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of non-

  infringement, Huawei will continue to wrongfully assert the ’851 Patent against Harris and will

  continue to cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Harris does not and has not infringed,

  contributed to the infringement of, or induced infringement of any valid and enforceable claim

  of the ’851 Patent either literally or under the doctrine of equivalents, willfully, or in any other

  manner.

                             COUNT IV
      (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF ’226 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.




                                                  -51-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 52
                                                         296ofof68312 PageID
                                                                   PageID #: #:
                                                                             192903




                On April 26, 2019, Huawei filed counterclaims naming Harris as counter-

  defendant.

                Huawei’s counterclaims allege that Huawei infringes the ’226 Patent, even though

  Harris has not infringed, contributed to the infringement of, or induced infringement of any

  valid and enforceable claim of the ’226 Patent.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to Harris’s non-infringement of the ’226 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of non-

  infringement, Huawei will continue to wrongfully assert the ’226 Patent against Harris and will

  continue to cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Harris does not and has not infringed,

  contributed to the infringement of, or induced infringement of any valid and enforceable claim

  of the ’226 Patent either literally or under the doctrine of equivalents, willfully, or in any other

  manner.

                             COUNT V
      (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF ’325 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                On April 26, 2019, Huawei filed counterclaims naming Harris as counter-

  defendant.

                Huawei’s counterclaims allege that Huawei infringes the ’325 Patent, even though

  Harris has not infringed, contributed to the infringement of, or induced infringement of any

  valid and enforceable claim of the ’325 Patent.


                                                  -52-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 53
                                                         297ofof68312 PageID
                                                                   PageID #: #:
                                                                             193904




                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to Harris’s non-infringement of the ’325 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of non-

  infringement, Huawei will continue to wrongfully assert the ’325 Patent against Harris and

  continue to cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Harris does not and has not infringed,

  contributed to the infringement of, or induced infringement of any valid and enforceable claim

  of the ’325 Patent either literally or under the doctrine of equivalents, willfully, or in any other

  manner.

                               COUNT VI
            (DECLARATORY JUDGMENT OF INVALIDITY OF ’892 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to the validity of the claims of the ’892 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of invalidity,

  Huawei will continue to wrongfully assert the ’892 Patent against Harris and will continue to

  cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that the claims of the ’892 Patent are invalid

  for failure to comply with one or more of the statutory requirements for patentability set forth in

  Title 35 of the United States Code, including without limitation §§ 101, 102, 103, 112, 116, 119

  and/or 120, and the requirements of The Code of Federal Regulations.


                                                  -53-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 54
                                                         298ofof68312 PageID
                                                                   PageID #: #:
                                                                             194905




                               COUNT VII
            (DECLARATORY JUDGMENT OF INVALIDITY OF ’575 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to the validity of the claims of the ’575 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of invalidity,

  Huawei will continue to wrongfully assert the ’575 Patent against Harris and will continue to

  cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that the claims of the ’575 Patent are invalid

  for failure to comply with one or more of the statutory requirements for patentability set forth in

  Title 35 of the United States Code, including without limitation §§ 101, 102, 103, 112, 116, 119

  and/or 120, and the requirements of The Code of Federal Regulations.

                              COUNT VIII
            (DECLARATORY JUDGMENT OF INVALIDITY OF ’851 PATENT)

                 Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to the validity of the claims of the ’851 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of invalidity,

  Huawei will continue to wrongfully assert the ’851 Patent against Harris and will continue to

  cause Harris injury and damage.




                                                 -54-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 55
                                                         299ofof68312 PageID
                                                                   PageID #: #:
                                                                             195906




                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that the claims of the ’851 Patent are invalid

  for failure to comply with one or more of the statutory requirements for patentability set forth in

  Title 35 of the United States Code, including without limitation §§ 101, 102, 103, 112, 116, 119

  and/or 120, and the requirements of The Code of Federal Regulations.

                               COUNT IX
            (DECLARATORY JUDGMENT OF INVALIDITY OF ’226 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to the validity of the claims of the ’226 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of invalidity,

  Huawei will continue to wrongfully assert the ’226 Patent against Harris and will continue to

  cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that the claims of the ’226 Patent are invalid

  for failure to comply with one or more of the statutory requirements for patentability set forth in

  Title 35 of the United States Code, including without limitation §§ 101, 102, 103, 112, 116, 119

  and/or 120, and the requirements of The Code of Federal Regulations.

                               COUNT X
            (DECLARATORY JUDGMENT OF INVALIDITY OF ’325 PATENT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.




                                                 -55-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 56
                                                         300ofof68312 PageID
                                                                   PageID #: #:
                                                                             196907




                An actual, continuing and justiciable controversy exists between Harris and

  Huawei as to the validity of the claims of the ’325 Patent as evidenced by Huawei’s

  counterclaims and Harris’s Answer, as set forth above. Absent a declaration of invalidity,

  Huawei will continue to wrongfully assert the ’325 Patent against Harris and will continue to

  cause Harris injury and damage.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that the claims of the ’325 Patent are invalid

  for failure to comply with one or more of the statutory requirements for patentability set forth in

  Title 35 of the United States Code, including without limitation §§ 101, 102, 103, 112, 116, 119

  and/or 120, and the requirements of The Code of Federal Regulations.

                                         COUNT XI
                                   (BREACH OF CONTRACT)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                Harris is informed and believes that Huawei has declared at least the ’892, ’575,

  and ’851 patent families as allegedly essential to the 3GPP and/or ETSI standards and has

  agreed to license these patents and the other Huawei Asserted Patents on FRAND terms.

                Harris is informed and believes that Huawei has submitted a general IPR licensing

  declaration whereby it has agreed to license any IPRs that it believes are essential to any ETSI

  Standards and Technical Specifications in accordance with Clause 6.1 of the ETSI IPR Policy.

                Huawei has a contractual obligation to license the ’325 patent on FRAND terms

  in accordance with Alcatel-Lucent’s LOA and the IEEE-SA policy.

                Harris is informed and believes that Harris has entered into express or implied

  contractual commitments, in accordance with the applicable rules and intellectual property


                                                 -56-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 57
                                                         301ofof68312 PageID
                                                                   PageID #: #:
                                                                             197908




  rights policies of the applicable SSOs, to grant licenses to each of the Huawei Asserted Patents

  on fair, reasonable and nondiscriminatory (“FRAND”) terms and conditions. These FRAND

  obligations are found in Intellectual Property Policies adopted by ETSI, 3GPP and the bylaws

  adopted by IEEE-SA, including but not limited to clause 6.1 of the ETSI IPR Policy, Article 5,

  and Clause 6.2 of the IEEE-SA IPR Policy.

                Initially, as an independent breach of its contractual obligations to ETSI, 3GPP,

  and to Harris, Huawei failed to timely disclose its allegedly essential patents in accordance with

  the requirements of the ETSI IPR Policy.

                As described above, by eventually committing to license its declared-essential

  patents on FRAND terms to all parties practicing the ETSI/3GPP standards, Huawei entered into

  contractual commitments with ETSI and/or 3GPP obligating it to license 3GPP and/or ETSI’s

  members and suppliers of products that support the standard (as third-party beneficiaries) on

  FRAND terms. Huawei’s FRAND commitments impose ongoing, continuing contractual

  obligations on Huawei.

                By initiating litigation against Harris before making any FRAND compliant

  licensing offer, Huawei has breached its FRAND commitment to be prepared to license the

  Huawei Asserted Patents.

                In addition, by failing to provide Harris with FRAND license terms for each of

  the Asserted Patents—even after bringing its counterclaims for infringement—Huawei has

  breached its FRAND commitments specific to each of the Huawei Asserted Patents.

                As a result of these multiple contractual breaches, Harris has been injured,

  including in its business or property. Harris has been forced to defend groundless infringement

  claims and has incurred substantial expense in doing so.



                                                -57-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 58
                                                         302ofof68312 PageID
                                                                   PageID #: #:
                                                                             198909




                           COUNT XII
  (DECLARATORY JUDGMENT THAT HUAWEI HAS NOT MADE A FRAND OFFER)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                There is a dispute between the parties concerning whether Huawei has complied

  with its FRAND obligations to offer Harris a license on fair, reasonable and nondiscriminatory

  terms. The dispute is of sufficient immediacy and reality to warrant the issuance of a

  declaratory judgment.

                Huawei has failed to offer license terms conforming to applicable legal and

  equitable requirements or provide a date certain by which it will make such an offer.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Huawei has not offered license terms to

  Harris conforming to applicable legal and equitable requirements.

                                  COUNT XIII
               (BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                There is an implied duty of good faith and fair dealing in every contract. This

  duty applies to FRAND commitments no less than to any other contract.

                Huawei has failed to comport with the implied duty of good faith and fair dealing

  inherent in every contract, including by failing to make a FRAND offer conforming to

  applicable legal and equitable requirements and by filing suit against Harris before making any

  FRAND offer.




                                                 -58-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 59
                                                         303ofof68312 PageID
                                                                   PageID #: #:
                                                                             199910




                As a result of Huawei’s breach of the implied covenant of good faith and fair

  dealing, Harris has been injured in its business and is threatened by loss of profits, customers,

  goodwill and product image.

                                        COUNT XIV
                                  (PROMISSORY ESTOPPEL)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                Harris is informed and believes that Huawei has entered into express or implied

  contractual commitments, in accordance with the applicable rules and IPR policies of the

  applicable SSOs, to grant licenses to the Huawei Asserted Patents on FRAND terms and

  conditions.

                Huawei’s declarations and representations of essentiality constitute an express or

  implied contractual commitment with ETSI, 3GPP, IEEE-SA and its members, affiliates and

  adopters.

                Each third party that would potentially implement the technologies covered by

  those standards was and is an intended beneficiary to those contracts.

                The intended purpose of Huawei’s (and/or its predecessor in interest’s) promises

  was to induce reliance. Huawei (and/or its predecessor in interest, Alcatel Lucent) knew or

  should have reasonably expected that this promise would induce companies producing products

  incorporating the standards to develop products compliant with the relevant standards.

                Huawei asserts that Harris, Harris’s vendors, and third-parties have developed,

  marketed and/or used products and services that allegedly incorporate the standards. Any such

  demonstrated incorporation was done in reliance on Huawei’s promises.




                                                 -59-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 60
                                                         304ofof68312 PageID
                                                                   PageID #: #:
                                                                             200911




                Huawei is estopped from reneging on these promises to 3GPP, ETSI, IEEE-SA

  and/or their Organizational Partners and third-party beneficiaries under the doctrine of

  promissory estoppel.

                Harris has been and continues to be harmed as a result of its reasonable reliance

  on Huawei’s (and/or its predecessor in interest, Alcatel Lucent’s) promises and is threatened by

  the imminent loss of profits, loss of customers and potential customers, and loss of goodwill and

  product image.

                Harris will suffer irreparable injury by reason of the acts and conduct of Huawei

  alleged above unless and until the court enjoin such acts, practices and conduct.

                                            COUNT XV
                                            (WAIVER)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                Harris is informed and believes that Huawei has entered into express or implied

  contractual commitments, in accordance with the applicable rules and IPR policies of the

  applicable SSOs, to grant licenses to the Huawei Asserted Patents on FRAND terms and

  conditions.

                Huawei’s declarations and representations of essentiality constitute an express or

  implied contractual commitment with ETSI, 3GPP, IEEE-SA and its members, affiliates and

  adopters.

                Each third party that would potentially implement the technologies covered by

  those standards was and is an intended beneficiary to those contracts.

                Through this express statement, Huawei (and/or its predecessor in interest, Alcatel

  Lucent) voluntarily and intentionally waived its rights to obtain compensation for any allegedly


                                                 -60-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 61
                                                         305ofof68312 PageID
                                                                   PageID #: #:
                                                                             201912




  essential patents for 3GPP, ETSI, and IEEE Standards other than at reasonable rates and on

  non-discriminatory terms.

                Harris will suffer irreparable injury by reason of the acts and conduct of Huawei

  alleged above until and unless the court enjoins such acts, practices, and conduct.

                            COUNT XVI
       (DECLARATORY JUDGMENT THAT PATENTS ARE UNENFORCEABLE)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                There is a dispute between the parties concerning whether Huawei has complied

  with its FRAND obligations to offer Harris a license on fair, reasonable and nondiscriminatory

  terms. The dispute is of sufficient immediacy and reality to warrant the issuance of a

  declaratory judgment.

                Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Harris

  requests a judicial determination and declaration that Huawei’s Asserted Patents are

  unenforceable due to its conduct with respect to SSO standardization efforts described above

  and/or its conduct with respect to Harris described above.

                                  COUNT XVII
                 (VIOLATION OF TEXAS UNFAIR COMPETITION LAW)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                The FTC has recognized that reneging on FRAND commitments can violate

  Section 5 of the FTC Act. In re Motorola Mobility LLC, Docket No. C-4410; In re Negotiated

  Data Solutions LLC, Docket No. C-4234.




                                                 -61-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 62
                                                         306ofof68312 PageID
                                                                   PageID #: #:
                                                                             202913




                Huawei has reneged on the FRAND commitments to which its Huawei Asserted

  Patents are subject.

                Huawei’s unfair and fraudulent business acts and practices are a direct and

  proximate cause of injury to the public and Harris.

                Huawei’s unlawful, anticompetitive, and unfair conduct constitutes unfair

  competition under Texas law and has interfered or threatens to interfere with competition and

  Harris’s ability to conduct its business.

                Huawei has committed unlawful and unfair acts that constitute violations of

  Section 5 of the FTC Act, including: (a) failing to timely disclose the existence of patent or

  patent applications related to the Huawei Asserted Patents in accordance with the requirements

  of the 3GPP and/or ETSI IPR Policy, and (b) failing to abide by its FRAND commitments,

  including initiating this lawsuit without negotiating with Harris and refusing to license the

  Huawei Asserted Patents on FRAND terms and conditions.

                For example, Huawei’s failure to disclose the existence of patents or patent

  applications in accordance with the IPR policies is an unfair and deceptive trade practice that

  violates at least Tx. Bus. & Com. Code §17.46(b)(24) for failing to disclose information

  concerning services which was known at the time of the transaction because such failure to

  disclose such information was intended to induce the consumer into a transaction into which the

  consumer would not have entered had the information been disclosed.

                As a direct, proximate, and foreseeable result of Huawei’s unfair and wrongful

  conduct, as alleged above, there is a significant threat of injury to downstream price, quality,

  innovation, and consumer choice for cellular services and products, thereby causing injury to

  consumers in Texas and elsewhere. These threatened injuries include the inevitable passing on



                                                 -62-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 63
                                                         307ofof68312 PageID
                                                                   PageID #: #:
                                                                             203914




  to consumers of improper royalties demanded by Huawei and decreases in innovation, quality,

  and consumer choice for products and services that support the standards, as well as decreased

  incentives to participate in standard setting generally and to support products that rely on

  standards.

                As a direct, proximate, and foreseeable result of Huawei’s unfair and wrongful

  conduct, as alleged above, Huawei has interfered with Harris’s ability to do business in Texas

  and elsewhere by, among other things: (a) causing Harris to face a threat of loss of profits and

  loss of customers; and (b) being forced to expend money and other resources defending against

  Huawei’s actions notwithstanding that Huawei has committed to license the Asserted Patents on

  FRAND terms. As a result, Harris is entitled to damages, and is additionally entitled to

  attorneys’ fees, including pursuant to Tx. Bus. & Com. Code §17.50(d).

                                 COUNT XVIII
                (VIOLATION OF FLORIDA UNFAIR COMPETITION LAW)

                Harris repeats and incorporates by reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

                Florida’s Consumer protection act, including FLA. STAT. § 501.204 states that

  “Unfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts

  or practices in the conduct of any trade or commerce are hereby declared unlawful.” And

  further explains: “It is the intent of the Legislature that, in construing subsection (1), due

  consideration and great weight shall be given to the interpretations of the Federal Trade

  Commission and the federal courts relating to s. 5(a)(1) of the Federal Trade Commission Act,

  15 U.S.C. s. 45(a)(1) as of July 1, 2017.”




                                                  -63-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 64
                                                         308ofof68312 PageID
                                                                   PageID #: #:
                                                                             204915




                  The FTC has recognized that reneging on FRAND commitments can violate

  Section 5 of the FTC Act. In re Motorola Mobility LLC, Docket No. C-4410; In re Negotiated

  Data Solutions LLC, Docket No. C-4234.

                  Huawei has reneged on the FRAND commitments to which its Huawei Asserted

  Patents are subject.

                  Huawei’s unfair and fraudulent business acts and practices are a direct and

  proximate cause of injury to the public and Harris.

                  Huawei’s unlawful, anticompetitive, and unfair conduct constitutes unfair

  competition under Florida law and has interfered or threatens to interfere with competition and

  Harris’s ability to conduct its business.

                  Huawei has committed unlawful and unfair acts that constitute violations of

  Section 5 of the FTC Act, including: (a) failing to timely disclose the existence of patent or

  patent applications related to the Huawei Asserted Patents in accordance with the requirements

  of the 3GPP and/or ETSI IPR Policy, and (b) failing to abide by its FRAND commitments,

  including refusing to license the Huawei Asserted Patents on FRAND terms and conditions.

                  As a direct, proximate, and foreseeable result of Huawei’s unfair and wrongful

  conduct, as alleged above, there is a significant threat of injury to downstream price, quality,

  innovation, and consumer choice for cellular services and products, thereby causing injury to

  consumers in Florida and elsewhere. These threatened injuries include the inevitable passing on

  to consumers of improper royalties demanded by Huawei and decreases in innovation, quality,

  and consumer choice for products and services that support the 4G standard, as well as

  decreased incentives to participate in standard setting generally and to support products that rely

  on standards.



                                                 -64-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 65
                                                         309ofof68312 PageID
                                                                   PageID #: #:
                                                                             205916




                As a direct, proximate, and foreseeable result of Huawei’s unfair and wrongful

  conduct, as alleged above, Huawei has interfered with Harris’s ability to do business in Florida

  and elsewhere by, among other things: (a) causing Harris to face a threat of loss of profits and

  loss of customers; and (b) being forced to expend money and other resources defending against

  Huawei’s actions notwithstanding that Huawei has committed to license the Asserted Patents on

  FRAND terms. As a result, Harris is entitled to damages, and is additionally entitled to

  attorneys’ fees, including pursuant to FLA. STAT. § 501.2105.

                                  RESERVATION OF RIGHTS

        Harris Corporation expressly reserves the right to assert counterclaims or any additional

 defenses which may now exist or in the future may be available based on discovery and further

 factual investigation in this case, including doctrine of acquiescence, patent misuse, inequitable

 conduct, waiver, unclean hands and/or other applicable equitable doctrines.

                                     PRAYER FOR RELIEF

 Harris respectfully requests this Court grant relief on Huawei’s Complaint and Harris’s

 counterclaims as follows:

            A. Judgment that Huawei’s claims in their entirety be dismissed with prejudice;

            B. Judgment that Huawei takes nothing by its claims, including that Huawei is not

                entitled to an award of compensatory damages, attorneys’ fees, costs,

                prejudgment or post-judgment interest under 35 U.S.C. §§ 284 or 285, or any

                applicable law;

            C. Denial of any and all of Huawei’s requests for relief;

            D. Judgment that Harris has not infringed, and is not infringing, any valid and

                enforceable claim of the Huawei Asserted Patents.



                                                -65-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 66
                                                         310ofof68312 PageID
                                                                   PageID #: #:
                                                                             206917




          E. Judgment that the asserted claims of the Huawei Asserted Patents are invalid;

          F. Judgment that Huawei and/or any of its successors and attorneys, and all persons

             in active concert or participation with any of them, are enjoined from directly or

             indirectly asserting infringement or instituting any further action for infringement

             of the Huawei Asserted Patents against Harris, or any of Harris’s customers, end-

             users, agents, suppliers, contractors, consultants, successors, and assigns;

          G. Judgment that Huawei has breached its contractual obligations to IEEE, ETSI and

             3GPP to offer the Huawei Asserted Patents on FRAND terms;

          H. Judgment that the Huawei Asserted Patents are unenforceable;

          I. Judgment requiring Huawei to pay Harris’s costs and expenses, along with pre-

             judgment and post-judgment interest;

          J. Judgment requiring Huawei to pay Harris’s attorneys’ fees pursuant to Tx. Bus. &

             Com. §17.50, FLA. STAT. §501.2105, or any other applicable statute;

          K. Grant to Harris such other and further relief as the Court deems just and proper.




                                             -66-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 67
                                                         311ofof68312 PageID
                                                                   PageID #: #:
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 Dated: June 25, 2019                 Respectfully Submitted,



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                                       -67-
Case
 Case1:19-cv-01306-MN  Document
       2:19-cv-00222-JRG        16-3
                         Document    Filed 06/25/19
                                   5 Filed 09/03/19 Page
                                                    Page 68
                                                         312ofof68312 PageID
                                                                   PageID #: #:
                                                                             208919




                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served electronically on all

 counsel who are deemed to have consented to electronic service.



 Dated: June 25, 2019
                                                     By: /s/ Denise De Mory
                                                         Denise De Mory




                                              -68-
